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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

 CMC MATERIALS, INC.,                     )
                                          )
               Plaintiff,                 )
                                          )
   v.                                     )       C.A. No. 20-738-MN
                                          )
 DUPONT DE NEMOURS, INC., ROHM            )
 AND HAAS ELECTRONIC MATERIALS            )
 CMP, LLC, ROHM AND HAAS                  )
 ELECTRONIC MATERIALS CMP ASIA            )       Redacted - Public Version
 INC. (d/b/a ROHM AND HAAS                )
 ELECTRONIC MATERIALS CMP ASIA            )
 INC, TAIWAN BRANCH (U.S.A.)), ROHM       )
 AND HAAS ELECTRONIC MATERIALS            )
 ASIA-PACIFIC CO. LTD., ROHM AND          )
 HAAS ELECTRONIC MATERIALS K.K.,          )
 and ROHM AND HAAS ELECTRONIC             )
 MATERIALS LLC,                           )
                                          )
                Defendants.               )


             LETTER TO THE HONORABLE MARYELLEN NOREIKA
                       FROM PLAINTIFF’S COUNSEL

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 Dated: September 1, 2022
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Dear Judge Noreika,

Plaintiff CMC Material Inc. (“CMC”) hereby submits this letter regarding the parties’ dispute over
the proposed protective order, a redlined copy of which is attached as Ex. A. As background, the
parties previously agreed to produce, and exchanged, thousands of documents in International
Trade Commission (ITC) Investigation No. 337-TA-1204 (“1204 Investigation”), including
communications with non-parties, as Confidential Business Information (“CBI”)—an outside
attorney eyes’ only designation. For this case, the parties have agreed to (1) a two-tier format in
which in-house counsel can access some (CONFIDENTIAL) but not other (HIGHLY
CONFIDENTIAL) discovery material and (2) that all CBI from the 1204 Investigation “shall” be
produced under the HIGHLY CONFIDENTIAL tier. Ex. A ¶¶ 4, 6, 13. This format reflects the
parties’ positions as competitors in the highly secretive and proprietary semiconductor
manufacturing industry, where participants typically do not even know which specific products
others sell, let alone who their respective customers or suppliers are. E.g., Ex. D (Initial
Determination) at 183 (describing strict confidentiality). It also maintains the protections afforded
to non-parties in the 1204 Investigation.

At dispute now, however, is Defendants’ request that this Court categorically deem material from
CMC and/or non-parties (including                                                               )
as falling within the lower confidentiality tier—based solely on whether the material was
exchanged between CMC and non-parties, without regard to substance. Defendants specifically
seek re-designation as CONFIDENTIAL any and all highly confidential and proprietary
                                                              previously produced as CBI (outside
counsel eyes’ only) in the 1204 Investigation. See, e.g., Ex. C (email) at 2.

Defendants’ arbitrary request for carte blanche in-house access to non-party disclosures
effectively eviscerates the protections to which the parties have already agreed and implicates
highly confidential and proprietary information of non-parties. If anything, this sensitive non-
party information deserves more, not less, protection than other discovery material. CMC thus
respectfully requests that Defendants’ request be denied.

   I.      Background

In the 1204 Investigation, involving the same infringed patent and products, Defendants raised
invalidity and inequitable conduct defenses, including based on purported prior art from Fuso.
CMC produced thousands of documents, including confidential and proprietary
                                                                   —all as CBI, outside counsel
eyes’ only, under the ITC protective order. After extensive analysis of this material and more, the
ITC rejected all of Defendants’ defenses and found that Defendants knowingly infringed CMC’s
patent. Defendants here raise the same rejected invalidity and inequitable conduct defenses and
add purported antitrust counterclaims on largely the same grounds, which CMC has moved to
dismiss. D.I. 61, 62.

CMC has sought to proceed with discovery since May 2022, when this Court lifted the stay, and
proposed a protective order and full cross-use of the ITC materials, which could greatly expedite
discovery in this matter. Defendants have caused significant delays by refusing to agree to (or
even discuss) cross-use of depositions, discovery responses, or pleadings from the ITC or to permit



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CMC’s damages expert to access the existing production—blaming the outstanding protective
order for their refusal. E.g., Ex. B. Defendants’ position is inexplicable, as the parties have reached
agreement on nearly every provision, including the two-tier structure, the expert disclosure
procedure and, notably, that all materials produced as CBI in the 1204 Investigation be deemed
HIGHLY CONFIDENTIAL here. See Ex. A ¶¶ 4, 6, 13. The only dispute relates to Defendants’
insistence that any documents “first disclosed to and/or from” any “third parties” any time before
June 1, 2020 be categorically deemed CONFIDENTIAL and thus accessible to Defendants’ in-
house counsel—regardless of the specific content of the material.

          Defendants’ Position: CONFIDENTIAL Discovery Materials includes confidential
          information disclosed to and/or from third parties (with the exception of discovery
          produced by a third party during the ITC investigation). Such CONFIDENTIAL
          Discovery Material shall not be designated as HIGHLY CONFIDENTIAL. Confidential
          information first disclosed to and/or from third parties after June 1, 2020, may be
          designated as HIGHLY CONFIDENTIAL Discovery Material if the information otherwise
          meets the requirements under paragraph 4 below.

Id. ¶ 3 (emphasis added). Defendants admit that their proposed carve-out to the agreed two-tier
structure is specifically intended to cover discovery materials related to Fuso, including
                                                                     See Ex. C (email). Defendants
contend that in-house counsel access to this broad swath of material will help Defendants “assess”
the facts and merits of Defendants’ counterclaims. Id. Defendants, however, have not addressed
the risk of inadvertent disclosure or use of this material or explained why in-house access to such
extensive information is necessary here when it was not before the ITC.

In response, CMC provided a counterproposal declining to accept Defendants’ “third-party” carve
out, instead requiring that all discovery material be subject to the same agreed two-tiered
structure. 1 See Ex. A ¶ 3. In short, CMC’s counterproposal is necessary to prevent misuse, even
inadvertent misuse, by Defendants of CMC’s and Fuso’s collective confidential information.

    II.      Defendants’ Position Risks Inadvertent Disclosure of Highly Sensitive
             Competitive Information

“A party seeking a modification to a protective order…regarding an attorney’s access to otherwise
protected information carries the burden of demonstrating ‘good cause’ for the modification.”
PhishMe, Inc. v. Wombat Security Techs., Inc., C.A. No. 16-403, D.I. 118 at 4 (D. Del. Sept. 18,
2017); see also Pansy v. Borough of Stroudsburg, 23 F.3d 772, 790 (3d Cir. 1994). Here, CMC
submits that Defendants should carry that burden. The parties have already agreed as a general
matter that documents marked CBI at the ITC should be treated as HIGHLY CONFIDENTIAL
precisely because of the competitively sensitive CMC and non-party information at issue. See Ex.
A ¶ 13; Ex. C at 2 (Defendants’ correspondence identifying “third-party” concerns in disclosing
the CBI ITC decisions to the Court and CMC’s counsel). Defendants should thus provide good
cause for their request to treat certain of that highly confidential material with lower confidentiality

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  CMC submits that the Court could also resolve this dispute by simply rejecting Defendants’
position without adopting CMC’s or any alternative language, such that the undisputed portions
of the agreed two-tiered structure govern all discovery material, without exception.

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solely because of its disclosure to, or generation with, a non-party. In any event, whether CMC or
Defendants bear the burden, there is good cause to reject Defendants’ broad carve-out to the
parties’ agreed two-tier structure.

First, the risk of inadvertent disclosure or use of CMC’s competitive information is significant.
By agreeing to a two-tier structure in which in-house counsel has access to only the lower tier of
information, the parties—long-standing competitors—have already recognized the inherent risk of
in-house attorney review of highly confidential information such as “highly sensitive information
pertaining to research and development” and “financial” information such as “costs, customer
accounts, and pricing information.” Ex. A ¶ 4. The nature and substance of this discovery material
does not change simply because it was communicated with a non-party as of a certain date.

Indeed, communications with other strategically aligned partners (and non-parties), particularly
                                                                    , regarding
                       , is the most highly sensitive information deserving of the highest protection
available. Without protection, there is significant risk that the uniquely confidential
information at issue cannot be compartmentalized and will be used (even inadvertently) by
Defendants in its negotiations and dealings with Fuso or, more generally, against CMC’s business
interests. The risks are further heightened here in view of Defendants’ actions regarding their prior
knowledge of CMC’s patent and knowing infringement of this intellectual property. Ex. D at 134.

Second, Defendants’ proposal does not account for the past productions of non-party information
in the 1204 Investigation on an outside counsel basis and fails to provide an avenue to protect such
information here. CMC and Fuso, for example, have

Defendants’ proposal ignores that process. Further, it is not infrequent that non-parties demand
outside counsel eyes’ only treatment of their information (particularly in competitive situations
like the one here) as a condition to production via a subpoena. Defendants’ proposal provides no
option for such a production and simply allows their own attorneys to access all such information.

Third, Defendants have identified no particular harm or prejudice they would suffer from having
their in-house counsel denied access to this highly sensitive information, as opposed to other kinds
of highly sensitive information that will be shielded from review by the parties’ in-house counsel.
Nor do Defendants identify a reasonable tie between their proposal, as written (allowing in-house
counsel access to any and all information disclosed to any third party before June 1, 2020), and
any issues relevant here. To the contrary, Defendants’ request covers all communications related
to all agreements, all correspondence, all negotiations, all intellectual property, all competitors,
all commercial transactions, and all particles—without specifying any particular contract, alleged
prior art, or subject matter at issue in this case. E.g., Ex. C at 2. A generalized request to “better
understand[] the factual issues” (id.) does not outweigh the acknowledged risk of inadvertent
disclosure. This is particularly so when such broad categories of information are at issue, when
Defendants have capable outside counsel, and while CMC has a pending motion to dismiss the
counterclaims that Defendants contend justify their request. PhishMe, D.I. 118 at 19-20
(“PhishMe has competent and capable outside counsel.”).

For these reasons, CMC respectfully requests that the Court reject Defendants’ proposal, issue the
protective order, and prohibit Defendants continued delay of discovery in this matter.


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                                               Respectfully submitted,

                                               /s/ Andrew E. Russell
                                               Andrew E. Russell (No. 5382)

cc:   Clerk of the Court (via CM/ECF & Hand Delivery)
      All counsel of record (via CM/ECF & E-mail)




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                     Exhibit A
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 CABOT MICROELECTRONICS                          )
 CORPORATION,                                    )
                                                 )
                  Plaintiff,                     )
                                                 )
    v.                                           ) C.A. No. 20-738-MN
                                                 )
 DUPONT DE NEMOURS, INC., ROHM                   )
 AND HAAS ELECTRONIC MATERIALS                   )
 CMP INC., ROHM AND HAAS                         )
 ELECTRONIC MATERIALS CMP ASIA                   )
 INC. (d/b/a ROHM AND HAAS                       )
 ELECTRONIC MATERIALS CMP ASIA                   )
 INC, TAIWAN BRANCH (U.S.A.)), ROHM              )
 AND HAAS ELECTRONIC MATERIALS                   )
 ASIA-PACIFIC CO. LTD., ROHM AND                 )
 HAAS ELECTRONIC MATERIALS K.K.,                 )
 and ROHM AND HAAS ELECTRONIC                    )
 MATERIALS LLC,                                  )
                                                 )
                  Defendants.                    )


                                      PROTECTIVE ORDER

         WHEREAS, documents and information may be sought, produced or exhibited by and

among the parties to the above captioned proceeding, which materials relate to trade secrets or

other confidential research, development or commercial information;

         WHEREAS, the parties recognize that confidential information is being produced only

for use in this civil action;

         IT IS HEREBY ORDERED THAT the following provisions of this Order shall govern

the confidential information produced by a party to any other party or by a third party to any

party in the course of this civil action:
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I.     DEFINITIONS

       1. Confidential information is information which has not been made public and which

concerns or relates to the trade secrets, processes, operations, style of work, or apparatus, or to the

production, sales, shipments, purchases, transfers, identification of customers, inventories, amount

or source of any income, profits, losses, or expenditures of any person, firm, partnership,

corporation, or other organization, the disclosure of which information is likely to have the effect

of causing substantial harm to the competitive position of the person, firm, partnership,

corporation, or other organization from which the information was obtained (“Discovery

Material”).

       2. As used herein, “Producing Party” shall refer to any party to this Action and to any non-

party who produces Discovery Material, and “Receiving Party” shall refer to any individual who

properly receives, is shown, or is exposed to Discovery Material.

       3. As used herein, CONFIDENTIAL Discovery Material refers to business or commercial

information defined in paragraph 1 that the Producing Party believes in good faith is (i)

confidential, sensitive, competitive, or potentially invasive of an individual’s privacy interests; (ii)

not generally known to others in the context or form as known by the Producing party; (iii) not

normally revealed to the public or third parties or, if disclosed to third parties, is such that the

Producing Party would require such third parties to maintain the information in confidence; and

(iv) information (regardless of how generated, stored, or maintained) or tangible things that qualify

for protection under standards developed under Fed. R. Civ. P. 26(c). [CMC’s Position:

CONFIDENTIAL Discovery Materials may include confidential information disclosed to and/or

from third parties (with the exception of discovery produced by a third party during the ITC

investigation). Such CONFIDENTIAL Discovery Material shall not be designated as HIGHLY

CONFIDENTIAL unless it includes, in whole or in part, confidential information that could be


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designated as HIGHLY CONFIDENTIAL under paragraph 4 below.] [DuPont’s Position:

CONFIDENTIAL Discovery Materials includes confidential information disclosed to and/or from

third parties (with the exception of discovery produced by a third party during the ITC

investigation). Such CONFIDENTIAL Discovery Material shall not be designated as HIGHLY

CONFIDENTIAL. Confidential information first disclosed to and/or from third parties after June

1, 2020, may be designated as HIGHLY CONFIDENTIAL Discovery Material if the information

otherwise meets the requirements under paragraph 4 below.]

       4. As used herein, HIGHLY CONFIDENTIAL Discovery Material refers to business or

commercial information defined in paragraph 1 that a Producing Party claims to be extremely

confidential and/or sensitive in nature and the Producing Party reasonably believes that the

disclosure of such Discovery Material is likely to cause economic harm or significant competitive

disadvantage to the Producing Party. This HIGHLY CONFIDENTIAL information also includes,

but is not limited to, (i) highly sensitive technical information, such as product formulations of the

Producing Party’s products; (ii) highly sensitive information pertaining to research and

development of the Producing Party’s products; (iii) financial or business reports and forecasts

including plans, strategies, market analyses, costs, customer accounts, and pricing information;

and (iv) pending or abandoned patent, trademark, and copyright applications, foreign or domestic,

unless published or otherwise publicly available.

II.    DESIGNATION OF “CONFIDENTIAL” OR “HIGHLY CONFIDENTIAL
       INFORMATION”

       A.      Procedure for Designating Discovery Material

       5. (a) Any Producing Party may designate Discovery Material as “CONFIDENTIAL” or

“HIGHLY CONFIDENTIAL” provided that it meets the requirements for such designation as

provided for herein. Any Producing Party may designate Discovery Material as CONFIDENTIAL


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in accordance with this Protective Order if such party in good faith believes that such Discovery

Material contains CONFIDENTIAL information as defined in Paragraph 3. Any Producing Party

may designate Discovery Material as HIGHLY CONFIDENTIAL in accordance with this

Protective Order if such party in good faith believes that such Discovery Material contains

HIGHLY CONFIDENTIAL information as defined in Paragraph 4. The burden of establishing

that Discovery Material is CONFIDENTIAL or HIGHLY CONFIDENTIAL as defined herein

shall be on the Producing Party. The designation of any Discovery Material as CONFIDENTIAL

or HIGHLY CONFIDENTIAL shall be deemed effective unless and until the Court orders

otherwise or the Producing Party withdraws the designation.

          (b) Information to be treated under this Protective Order as CONFIDENTIAL or

HIGHLY CONFIDENTIAL shall include but not be limited to:

       i) Information set forth in responses to discovery requests made under Fed. R. Civ. P. 31,

       33, or 36, or in documents and things produced under Fed. R. Civ. P. 33(d) or 34, provided

       that, prior to delivery to the Receiving Party, the responses or copies of documents and

       things are marked by the Producing Party with the following legends or their substantial

       equivalents: “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.” Documents, things

       and/or information may be made available for inspection without designation and

       designated subsequently at the time of production.

       ii) Information revealed by inspection of documents, things and premises under Fed. R.

       Civ. P. 34, provided that, prior to or at any time up to fifteen (15) calendar days after the

       inspection, the party permitting inspection specifically identifies in writing the

       CONFIDENTIAL or HIGHLY CONFIDENTIAL Discovery Material that will be or that

       was disclosed by the inspection. To ensure that the Producing Party has the full fifteen (15)




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      calendar days to make appropriate designations, all information gleaned from inspection

      of documents, things and premises will be automatically treated as HIGHLY

      CONFIDENTIAL Discovery Material for fifteen (15) calendar days after the day of

      inspection. There will be no waiver of confidentiality by the inspection of

      CONFIDENTIAL or HIGHLY CONFIDENTIAL Discovery Material before it is copied

      and marked pursuant to this Order. Inspection of Discovery Material by any party shall be

      conducted by persons eligible under Paragraph 6 below.

      iii) Information revealed during a deposition under oral or written examination under Fed.

      R. Civ. P. 30 and 31, provided that, prior to or at any time up to ten (10) calendar days

      following receipt of the final transcript by counsel for a Party, counsel for a Party notifies

      counsel for the other Party in writing that CONFIDENTIAL or HIGHLY

      CONFIDENTIAL Discovery Material is set forth in the transcript and specifies in writing

      the portions of the transcript that disclose CONFIDENTIAL or HIGHLY

      CONFIDENTIAL Discovery Material, or during the deposition, counsel for a Party or

      counsel for a third party designates the transcript or portions thereof to be

      CONFIDENTIAL or HIGHLY CONFIDENTIAL Discovery Material. To ensure that the

      Producing Party has the full ten (10) calendar days to make appropriate designations, all

      Information revealed during a deposition under oral or written examination under Fed. R.

      Civ. P. 30 and 31 will be automatically treated as HIGHLY CONFIDENTIAL Discovery

      Material for ten (10) calendar days after the day of inspection. The legends described in

      Paragraph 3(d)(i) shall be placed on the front of any deposition transcript (and, if

      videotaped, any copies of the videotape) containing CONFIDENTIAL or HIGHLY

      CONFIDENTIAL information.




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       B.      Disclosure of HIGHLY CONFIDENTIAL Discovery Material

       6. In the absence of written permission from the Producing Party or an order by the Court,

any HIGHLY CONFIDENTIAL information designated in accordance with the provisions of

paragraph 4 above shall not be disclosed to any person other than: (i) outside counsel of record for

parties to this litigation, including necessary secretarial and support personnel assisting such

counsel; (ii) qualified persons taking testimony involving such documents or information and

necessary stenographic and clerical personnel thereof; (iii) experts and their staff who are

employed for the purposes of this litigation (unless they are otherwise employed by, consultants

to, or otherwise affiliated with a non-governmental party, or are employees of any domestic or

foreign manufacturer, wholesaler, retailer, or distributor of certain chemical mechanical

planarization slurries and components thereof, which are the subject of this litigation), subject to

paragraph 8 below; (iv) the Court and its staff. HIGHLY CONFIDENTIAL Discovery Material

shall not be made available to any person designated in this paragraph unless he or she shall have

first read this order and shall have agreed in writing in the form of agreement included as

Attachment A hereto: (i) to be bound by the terms thereof; (ii) not to reveal such confidential

information to anyone other than another person designated in this paragraph; and (iii) to utilize

such confidential information solely for purposes of this Action.

       C.      Disclosure of CONFIDENTIAL Discovery Material

       7. In the absence of written permission from the Producing Party or an order by the Court,

any CONFIDENTIAL information designated in accordance with the provisions of paragraph 3

above shall not be disclosed to any person other than: (i) persons entitled to receive HIGHLY

CONFIDENTIAL information as defined in paragraph 6 above; (ii) one (1) identified in-house

counsel who, because of their work managing, supervising, defending, or evaluating this action,




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require access to discovery material designated as “CONFIDENTIAL” (“Designated In-House

Counsel”), subject to paragraph 9 below. No current or former officer of any party may be the

“Designated In-House Counsel.” CONFIDENTIAL Discovery Material shall not be made

available to any person designated in this paragraph unless he or she shall have first read this order

and shall have agreed in writing in the form of agreement included as Attachment A hereto: (i) to

be bound by the terms thereof; (ii) not to reveal such confidential information to anyone other than

another person designated in this paragraph; and (iii) to utilize such confidential information solely

for purposes of this Action.

       D.       Procedure for Designating Persons for Disclosure of
                CONFIDENTIAL or HIGHLY CONFIDENTIAL Discovery Material

                1.     Experts

       8. CONFIDENTIAL or HIGHLY CONFIDENTIAL information designated in

accordance with the provisions of paragraph 3 or 4 above shall not be made available to persons

designated in paragraph 6(iii) unless he or she has read this order, agreed in writing in the form of

agreement included as Attachment A hereto, and has been disclosed with no remaining objections

in accordance with the following procedure:

            (a) No less than 10 days (or any other period of time designated by the Court) prior to

the initial disclosure to a proposed expert of any CONFIDENTIAL or HIGHLY CONFIDENTIAL

information designated in accordance with paragraph 3 or 4, the party proposing to disclose

information to such expert shall submit in writing the name of such proposed expert , their current

curriculum vitae, including a list of case testimony, consulting activities, and employment for the

past 4 years, educational and employment history, and a disclosure of any current or prior

relationships with the receiving party.

            (b) If the Producing Party objects to the disclosure of such CONFIDENTIAL or


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HIGHLY CONFIDENTIAL information to such proposed expert, , as inconsistent with the

language or intent of this order or on other grounds, it shall notify the Receiving Party in writing

of its objection within ten (10) days of receiving notice of the proposed expert and the grounds

therefor prior to the initial disclosure.

           (c) If the dispute is not resolved on an informal basis within ten days of receipt of such

notice of objections, the Producing Party shall bring a dispute under the Court’s protective order

dispute procedures. The submission of CONFIDENTIAL or HIGHLY CONFIDENTIAL

information to such proposed expert shall be withheld pending the ruling of the Court.

                2.      Designated In-House Counsel

        9. CONFIDENTIAL information designated in accordance with the provisions of

paragraph 3 above shall not be made available to persons designated in paragraph 7(ii) unless he

or she has read this order, agreed in writing in the form of agreement included as Attachment A

hereto, and has been disclosed with no remaining objections in accordance with the following

procedure:

           (a) No less than 10 days (or any other period of time designated by the Court) prior to

the initial disclosure to a designated in-house counsel of any CONFIDENTIAL information

designated in accordance with paragraph 3, the party proposing to disclose information to such

designated in-house counsel shall submit in writing the name of such designated in-house counsel,

and their current and former positions and/or titles at the Receiving Party, to the Producing Party.

           (b) If the Producing Party objects to the disclosure of such CONFIDENTIAL

information to such designated in-house counsel, as inconsistent with the language or intent of this

order or on other grounds, it shall notify the Receiving Party in writing of its objection within ten

(10) days of receiving notice of the proposed designated in-house counsel and the grounds therefor



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prior to the initial disclosure.

              (c) If the dispute is not resolved on an informal basis within ten days of receipt of such

notice of objections, the Producing Party shall bring a dispute under the Court’s protective order

dispute procedures. The submission of CONFIDENTIAL information to such designated in-house

counsel shall be withheld pending the ruling of the Court.

        E.        Disclosure of HIGHLY CONFIDENTIAL or CONFIDENTIAL
                  Discovery Materials to Other Persons

        10.       If the Court orders, or if the Producing Party and all parties to the litigation agree,

that access to, or dissemination of information designated as CONFIDENTIAL or HIGHLY

CONFIDENTIAL information shall be made to persons not included in paragraphs 6 or 7 above,

such information shall only be accessible to, or disseminated to, such persons based upon the

conditions pertaining to, and obligations arising from this order, and such persons shall be

considered subject to it, unless the Court finds that the information is not CONFIDENTIAL or

HIGHLY CONFIDENTIAL information as defined in paragraphs 1, 3, or 4 hereof.

        11. If any CONFIDENTIAL or HIGHLY CONFIDENTIAL information which is

supplied in accordance with paragraph 5 above is supplied by a nonparty to this litigation, such a

nonparty shall be considered a “Producing Party” as that term is used in the context of this order.

        12. Each nonparty Producing Party shall be provided a copy of this order by the party

seeking information from said Producing Party.

        F.        Confidentiality Designations for ITC Material

        13. The parties may agree on mechanisms for using Discovery Material from the related

ITC action in this action (“ITC Material”) through a separate agreement. All ITC Materials

designated as containing CONFIDENTIAL BUSINESS INFORMATION shall be treated as

containing HIGHLY CONFIDENTIAL Discovery Material in accordance with paragraph 4 above


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and may be disclosed to persons designated in paragraph 6 above.

III.   PROSECUTION BAR

       14.     Absent written consent from the Producing Party, any individual who accesses

Discovery Material designated as HIGHLY CONFIDENTIAL shall not be involved in the

prosecution of patents or patent applications relating to the subject matter of this action

(“Prosecution Bar”). For purposes of this paragraph, “prosecution” includes drafting or amending

patent claims. The foregoing restrictions of this paragraph shall apply only to individuals, and not

to the firms or organizations by which they are employed, nor to individuals who received access

to HIGHLY CONFIDENTIAL information solely in their capacity as clerical staff. Nothing in this

section shall prevent any person from sending non-confidential prior art, without additional input

or consultation, to an attorney involved in patent prosecution for purposes of ensuring that such

prior art is submitted to the USPTO (or any similar agency of a foreign government) to assist a

patent applicant in complying with its duty of candor. Nothing in these provisions is intended to

preclude counsel from participating in activities directly for the purpose of settling litigations. This

Prosecution Bar shall begin when access to Discovery Material designated as HIGHLY

CONFIDENTIAL is first received by the individual and shall end one (1) year after final

termination of this action.

IV.    COMPETITIVE DECISION-MAKER BAR

       15.     Absent written consent from the Producing Party, any Designated In-House

Counsel who accesses Discovery Material designated as CONFIDENTIAL shall not be involved

in competitive decision making relating to the subject matter of this action (“Competitive

Decision-Maker Bar”). Competitive decision making refers to, for example, business or strategic

decisions, including marketing, financial, product development/design, procurement, and pricing



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decisions, on issues affecting competition. For the avoidance of doubt, no former or current officer

of any party may be the “Designated In-House Counsel” with access to Discovery Material

designated as CONFIDENTIAL. The foregoing restrictions of this paragraph shall apply only to

individuals, and not to the organizations by which they are employed. Nothing in these provisions

is intended to preclude Designated In-House Counsel from participating in activities directly for

the purpose of settling litigations. This Competitive Decision-Maker Bar shall begin when access

to Discovery Material designated as CONFIDENTIAL is first received by the Designated In-

House Counsel and shall end one (1) year after final termination of this action.

V.      ADDITIONAL PROCEDURES REGARDING DISCOVERY MATERIAL

        A.      Discovery Material Submitted to the Court or Used in Depositions

        16.     Any HIGHLY CONFIDENTIAL or CONFIDENTIAL information submitted to

the Court in connection with a motion or other proceeding within the scope of this litigation shall

be submitted under seal pursuant to the procedures of the United States District Court for the

District of Delaware. When any confidential information designated in accordance with paragraph

3 or 4 above is included in an authorized transcript of a deposition or exhibits thereto, the transcript

will be designated HIGHLY CONFIDENTIAL, unless the parties agree otherwise.

        B.      Discovery Material Was Publicly Known

        17. The restrictions upon, and obligations accruing to, persons who become subject to this

order shall not apply to any information designated in accordance with paragraphs 3 or 4 above to

which the person asserting the confidential status thereof agrees in writing, or the Court rules, after

an opportunity for hearing, was publicly known at the time it was supplied to the Receiving Party

or has since become publicly known through no fault of the Receiving Party.




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       C.      Process for Objecting to Confidentiality Designations

        18. If while this litigation is pending, a party to this order who is to be a recipient of any

information designated as CONFIDENTIAL or HIGHLY CONFIDENTIAL and designated in

accordance with paragraph 3 or 4, disagrees with respect to such a designation, in full or in part, it

shall notify the Producing Party in writing, and they will thereupon confer as to the status of the

subject information proffered within the context of this order. If prior to, or at the time of such a

conference, the Producing Party withdraws its designation of such information as being subject to

this order, but nonetheless submits such information for purposes of the litigation, such Producing

Party shall express the withdrawal, in writing, and serve such withdrawal upon all parties. If the

Receiving Party and Producing Party are unable to concur upon the status of the subject

information designated as CONFIDENTIAL or HIGHLY CONFIDENTIAL information within

ten days from the date of notification of such disagreement, any party to this order may raise the

issue of the designation of such a status through the Court’s protective order dispute procedures.

The Court may sua sponte question the designation of the confidential status of any information

and, after opportunity for hearing, may remove the confidentiality designation.

       D.      Improper Disclosure of Designated Discovery Material

        19. If CONFIDENTIAL or HIGHLY CONFIDENTIAL information designated in

accordance with paragraph 3 or 4 is disclosed to any person other than in the manner authorized

by this protective order, the party responsible for the disclosure must immediately bring all

pertinent facts relating to such disclosure to the attention of the Producing Party and, without

prejudice to other rights and remedies of the Producing Party, make every effort to prevent further

disclosure by it or by the person who was the Receiving Party of such information.




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       E.      Inadvertent Failure to Designate Discovery Material

       20. The inadvertent failure by a party to designate Discovery Material as

CONFIDENTIAL or HIGHLY CONFIDENTIAL shall not be a waiver of such designation

provided that the party who fails to make such a designation informs the Receiving Party that such

Discovery Material is confidential promptly but not more than five (5) days from when the failure

to designate became known to the Producing Party. The inadvertent failure by any party to

designate discovery material as CONFIDENTIAL or HIGHLY CONFIDENTIAL shall not

preclude the filing of a motion at a later date seeking to impose such designation or challenging

the proprietary thereof. The party receiving the Discovery Material that the Producing Party failed

to designate as CONFIDENTIAL or HIGHLY CONFIDENTIAL information shall not be in

breach of this Order for any use made of such discovery material before the Receiving Party is

informed of the inadvertent failure to designate. Once the Receiving Party has been informed of

the inadvertent failure to designate pursuant to this Paragraph, the Receiving party shall take

reasonable steps to, at the Producing Party’s option, either ensure that all copies of any such

discovery material are returned promptly to the Producing Party or ensure that all copies of any

such discovery material are marked with the proper designation and distributed only as permitted

under this Protective Order.

       F.      Right to Seek Judicial Review

       21. Nothing in this order shall abridge the right of any person to seek judicial review or to

pursue other appropriate judicial action with respect to any ruling made by the Court concerning

the issue of the status of CONFIDENTIAL or HIGHLY CONFIDENTIAL information.

       G.      Handling of Discovery Material Upon Termination of Litigation

       22. Upon final termination of this litigation, each party that is subject to this order shall



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assemble and return to the Producing Party all items containing CONFIDENTIAL or HIGHLY

CONFIDENTIAL information designated in accordance with paragraphs 3 or 4 above, including

all copies of such matter which may have been made. Alternatively, the parties subject to this order

may, with the written consent of the Producing Party, destroy all items containing

CONFIDENTIAL or HIGHLY CONFIDENTIAL information and certify to the Producing Party

(or his counsel) that such destruction has taken place. This paragraph shall not apply to the Court

or its staff.

VI.      OTHER PROCEEDINGS

         23. By entering this order and limiting the disclosure of information in this case, the Court

does not intend to preclude another court from finding that information may be relevant and subject

to disclosure in another case. Any person or party subject to this order who becomes subject to a

motion to disclose another party’s information designated in accordance with paragraph 3 or 4 of

this order, including information designated CONFIDENTIAL or HIGHLY CONFIDENTIAL

pursuant to this order, shall promptly notify that party of the motion so that the party may have an

opportunity to appear and be heard on whether that information should be disclosed.




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 /s/ DRAFT                                  /s/ DRAFT
 John W. Shaw (No. 3362)                    David E. Moore (No. 3983)
 Karen E. Keller (No. 4489)                 Bindu A. Palapura (No. 5370)
 Andrew E. Russell (No. 5382)               Carson R. Bartlett (No. 6750)
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 I.M. Pei Building                          Hercules Plaza, 6th Floor
 1105 North Market Street, 12th Floor       1313 N. Market Street
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 (302) 298-0700                             (302) 984-600
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 kkeller@shawkeller.com                     bpalapura@potteranderson.com
 arussell@shawkeller.com                    cbartlett@potteranderson.com
 Attorneys for Plaintiff                    Attorneys for Defendants

 OF COUNSEL:                                OF COUNSEL:
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 Robert L. Maier                            Eric J. Fues
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 (212) 408 2500                             & DUNNER, LLP
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 Lisa M. Kattan                             Washington, DC 20001-4413
 Katharine M. Burke                         Tel: (202) 408-4000
 BAKER BOTTS L.L.P.
 700 K Street, N.W.                         Charles Lipsey
 Washington, D.C.                           FINNEGAN, HENDERSON, FARABOW, GARRETT
                                            & DUNNER, LLP
                                            1875 Explorer Street, Suite 800
                                            Reston, VA 20190
                                            Telephone: (571) 203-2700
                                            Facsimile: (571) 203-2777

 Dated:


       SO ORDERED this ____ day of _______________, 2022.



                                        United States Judge




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                                         ATTACHMENT A

                               NONDISCLOSURE AGREEMENT

            I, _________________, do solemnly swear or affirm that I will not divulge any

   information communicated to me in any confidential portion of the litigation or hearing in CMC

   Materials, Inc. v. Dupont De Nemours, Inc., C.A. No. 20-738-MN (D. Del.), except as

   permitted in the protective order issued in this case. I will not directly or indirectly use or allow

   the use of such information for any purpose other than that directly associated with my official

   duties in this case.

            Further, I will not by direct action, discussion, recommendation, or suggestion to any

   person reveal the nature or content of any information communicated during any confidential

   portion of the litigation or hearing in this case.



   Signed

   Dated

   Affiliation
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                      Exhibit B
        Case 1:20-cv-00738-JLH Document 68 Filed 09/07/22 Page 25 of 367 PageID #: 2838


Kassa, Sam

From:                              Hlinka, Matthew <Matthew.Hlinka@finnegan.com>
Sent:                              Monday, August 8, 2022 8:41 AM
To:                                Burke, Katharine; Fues, Eric; Townsend, Paul; EXT Moore, David; EXT Palapura, Bindu;
                                   DuPont-Delaware; cbartlett@potteranderson.com
Cc:                                John Shaw; DL CMC v DP Delaware
Subject:                           RE: CMC/DuPont cross-use


[EXTERNAL EMAIL]


Dear Kate,

Thank you for your email, but we disagree entirely with your characterization of DuPont’s position and the parties’
previous discussions. Your continued false and inconsistent assertions appear intentionally designed to mislead.

First, DuPont did not “unilaterally and selectively rely on material from the ITC Investigation in preparing its
counterclaims,” as you assert. The parties expressly agreed to the cross-use of the documents produced in the ITC
investigation three months ago. See May 5, 2022, Email from J. Shaw to B. Palapura (“On cross-use, thank you for
agreeing to cross-use of the parties’ productions in the ITC be deemed produced in the district court action, subject to
Local Rule 26.2 (AEO) until a protective order is issued.”). You know this to be the case, having referenced in your July
29, 2022, email “the parties’ agreement that the productions from Inv. 337-TA-1204 (‘1204 Investigation’) be deemed
produced in this action.” DuPont properly prepared its counterclaims in accordance with this agreement.

Second, DuPont has not “refused to engage with CMC on a cross use agreement, without explanation.” As we explained
in our June 8, 2022, and June 13, 2022, emails from P. Townsend to S. Kassa, DuPont has proposed discussing a cross-use
agreement relating to the remainder of the ITC record once the Protective Order is finalized and in place so that the
parties know how the ITC documents will be handled and by whom. Contrary to your assertion, this position has not
changed. Moreover, as you also know, having so represented to the Court, DuPont did not oppose CMC’s Motion for
Transmission of the ITC record to the District Court, which the Court granted.

Third, DuPont’s request that CMC and its counsel comply with the ITC Protective Order is neither unreasonable nor
inexplicable. What is unreasonable and inexplicable is CMC’s filing a subscription under the ITC protective for its
Delaware counsel in April 2022—after the ITC proceeding had terminated—contrary to the restriction that protected
confidential business information must be used “solely for purposes of this investigation.”

Fourth, DuPont’s position is not “obstructionist” or “highly prejudicial” to CMC. Dupont has already agreed to cross use
of the parties’ production, which CMC is able to rely upon in its response to DuPont’s counterclaims, and did not oppose
CMC’s Motion for Transmission of the ITC record to the District Court. Further, rather than obstructing, DuPont agreed
to an extension for CMC to respond to the first amended counterclaims. This is notably in contrast to CMC’s unnecessary
and prejudicial prior refusal to agree to a short extension for DuPont’s counterclaims without unwarranted conditions.

Best regards,
Matt
Matthew Hlinka
Associate
Finnegan, Henderson, Farabow, Garrett & Dunner, LLP
901 New York Avenue, NW, Washington, DC 20001-4413
202.408.4333 | fax: 202.408.4400 | matthew.hlinka@finnegan.com | www.finnegan.com



                                                             1
      Case 1:20-cv-00738-JLH Document 68 Filed 09/07/22 Page 26 of 367 PageID #: 2839

From: Burke, Katharine <Katharine.Burke@BakerBotts.com>
Sent: Wednesday, August 3, 2022 8:17 AM
To: Hlinka, Matthew <Matthew.Hlinka@finnegan.com>; Fues, Eric <Eric.Fues@finnegan.com>; Townsend, Paul
<Paul.Townsend@finnegan.com>; EXT- dmoore@potteranderson.com <dmoore@potteranderson.com>; EXT-
bpalapura@potteranderson.com <bpalapura@potteranderson.com>; DuPont-Delaware <DuPont-
Delaware@finnegan.com>; cbartlett@potteranderson.com
Cc: John Shaw <jshaw@shawkeller.com>; DL CMC v DP Delaware <DLCMCvDPDelaware@BakerBotts.com>
Subject: RE: CMC/DuPont cross-use

EXTERNAL Email:

Dear Matthew,

Thank you for your email, but we disagree. It is DuPont’s changing positions that have caused confusion here and, more
importantly, that have significantly prejudiced CMC.

For months, CMC has consistently proposed a full cross use—the only path that makes sense in view of the extensive
discovery that has already occurred leading to the thorough decisions of the ITC. First, DuPont refused to engage with
CMC on a cross use agreement, without explanation. Next, DuPont decided to unilaterally and selectively rely on
material from the ITC Investigation in preparing its counterclaims—without reengaging CMC in a cross-use
discussion. And now, even more inexplicably, DuPont refuses to allow CMC’s Delaware counsel or CMC’s non-ITC
counsel to review even the full decision from the ITC case, let alone DuPont’s positions in that matter—even if CMC’s
Delaware and non-ITC counsel agree to sign the ITC protective order.

In view of the above, DuPont’s positions have been obstructionist and are highly prejudicial to CMC in responding to
DuPont’s counterclaims. Please confirm that DuPont is now refusing to engage in any discussions regarding cross use of
discovery responses and deposition transcripts, as well as cross use of the full ITC record, including the Initial
Determination and Final Determination? Assuming so, CMC will have no choice but to raise this matter with the Court.

Best regards,
Kate


Katharine Burke
Baker Botts L.L.P.
katharine.burke@bakerbotts.com
T +1.202.639.7720
M +1.202.340.7283


From: Hlinka, Matthew <Matthew.Hlinka@finnegan.com>
Sent: Tuesday, August 2, 2022 4:08 PM
To: Burke, Katharine <Katharine.Burke@BakerBotts.com>; Fues, Eric <Eric.Fues@finnegan.com>; Townsend, Paul
<Paul.Townsend@finnegan.com>; EXT Moore, David <dmoore@potteranderson.com>; EXT Palapura, Bindu
<bpalapura@potteranderson.com>; DuPont-Delaware <DuPont-Delaware@finnegan.com>;
cbartlett@potteranderson.com
Cc: John Shaw <jshaw@shawkeller.com>; DL CMC v DP Delaware <DLCMCvDPDelaware@BakerBotts.com>
Subject: RE: CMC/DuPont cross-use


[EXTERNAL EMAIL]


Dear Katharine,
                                                           2
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In view of Judge Noreika’s June 30 Order regarding transmitting the record of the proceedings before the ITC (D.I. 38),
Defendants will wait for the ITC to transmit the record and do not agree to circumvent this process with separate
agreements. This will also avoid any disputes related to the use of ITC materials, such as reflected in the inconstancies
between your recognition below that 1204 Investigation productions have been deemed produced in this action and the
contrary assertion in Samuel L. Kassa’s June 21, 2021, letter that “the parties have not entered a cross-use agreement
regarding any materials from the 1204 Investigation.”

Best regards,
Matt
Matthew Hlinka
Associate
Finnegan, Henderson, Farabow, Garrett & Dunner, LLP
901 New York Avenue, NW, Washington, DC 20001-4413
202.408.4333 | fax: 202.408.4400 | matthew.hlinka@finnegan.com | www.finnegan.com


From: Burke, Katharine <Katharine.Burke@BakerBotts.com>
Sent: Friday, July 29, 2022 2:40 PM
To: Hlinka, Matthew <Matthew.Hlinka@finnegan.com>; Fues, Eric <Eric.Fues@finnegan.com>; Townsend, Paul
<Paul.Townsend@finnegan.com>; EXT- dmoore@potteranderson.com <dmoore@potteranderson.com>; EXT-
bpalapura@potteranderson.com <bpalapura@potteranderson.com>; DuPont-Delaware <DuPont-
Delaware@finnegan.com>; cbartlett@potteranderson.com
Cc: John Shaw <jshaw@shawkeller.com>; DL CMC v DP Delaware <DLCMCvDPDelaware@BakerBotts.com>
Subject: CMC/DuPont cross-use

EXTERNAL Email:

Counsel for Dupont,

In view of Judge Noreika’s order directing transmission of the ITC record, we write to confirm that DuPont will now
agree to a cross-use involving the full set of ITC materials. Specifically, in addition to the parties’ agreement that the
productions from Inv. 337-TA-1204 (“1204 Investigation”) be deemed produced in this action, please confirm the
following by Tuesday, August 2:

    -   The parties agree that written discovery, deposition testimony, trial testimony, expert reports, and testing
        results from the 1204 Investigation shall be deemed to have been made or produced in this action,
        notwithstanding any designation under the Protective Order in the 1204 Investigation.
    -   The parties further agree that motions, briefs, stipulations, orders, and other pleadings in the 1204 Investigation
        shall be deemed produced in this action, notwithstanding any designation under the Protective Order in the
        1204 Investigation.
    -   To the extent the above-materials contain confidential information, the parties agree to handle such
        information as confidential pursuant to Delaware Local Rule 26.2, pending entry of a superseding protective
        order by this Court.

Best,
Kate


Katharine Burke
Baker Botts L.L.P.
katharine.burke@bakerbotts.com
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M +1.202.340.7283
                                                               3
         Case 1:20-cv-00738-JLH Document 68 Filed 09/07/22 Page 28 of 367 PageID #: 2841




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your mailbox. Thank you.




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                      Exhibit C
        Case 1:20-cv-00738-JLH Document 68 Filed 09/07/22 Page 30 of 367 PageID #: 2843


Kassa, Sam

From:                             Burke, Katharine
Sent:                             Tuesday, August 23, 2022 7:27 PM
To:                               Frederick, Mareesa; Scheinfeld, Robert C.; Maier, Robert L.; Welsh, Margaret; Zhu, Frank;
                                  Kattan, Lisa; John Shaw; Martin, Tommy; Kassa, Sam
Cc:                               Bartlett, Carson R.; EXT Moore, David; EXT Palapura, Bindu; DuPont-Delaware-atty
Subject:                          RE: CMC/DuPont: Protective Order


Dear Mareesa,

Thank you for your email. CMC is not able to agree to this proposal at least for the following reasons.

The broad set of information you list below is squarely within the category of highly confidential information defined in
the proposed protective order—i.e., business and commercial information that is extremely confidential and sensitive in
nature, the disclosure or use of which is likely to cause economic harm or significant competitive disadvantage to CMC.

More specifically, DuPont in-house counsel is seeking access to and the ability to review numerous CMC highly
confidential                                                                                             including
information regarding



Even assuming arguendo that the documents DuPont seeks support DuPont’s counterclaims (they do not), DuPont’s
expressed rationale for seeking these documents (i.e., to “allow [in-house counsel] to have a better understanding of the
factual issues in the case” and, as you said on the phone, to better assess DuPont’s antitrust counterclaims) does not



Finally, regarding your question about disclosure of the ID and FD to the Court in this matter and to CMC’s non-ITC
counsel, we again see no basis for DuPont to continue to fight this issue and to delay such access, which continues to
prejudice CMC and the advancement of this litigation. But, to the extent you believe there is any confidential business
information produced or provided by a non-party in the decisions, please identify it. As you know there was limited
non-party production in the ITC matter, and we do not believe this should be an impediment to the Court’s and non-ITC
counsel’s review. Accordingly, we ask once again for DuPont’s consent to allow the Court access to the full unredacted
decisions. We look forward to hearing from you.

Best regards,
Kate

Katharine Burke
Baker Botts L.L.P.
katharine.burke@bakerbotts.com
T +1.202.639.7720
M +1.202.340.7283


From: Frederick, Mareesa <Mareesa.Frederick@finnegan.com>
Sent: Monday, August 22, 2022 2:12 PM
To: Scheinfeld, Robert C. <Robert.Scheinfeld@Bakerbotts.com>; Burke, Katharine <Katharine.Burke@BakerBotts.com>;
Maier, Robert L. <Robert.Maier@BakerBotts.com>; Welsh, Margaret <margaret.welsh@BakerBotts.com>; Zhu, Frank
                                                            1
          Case 1:20-cv-00738-JLH Document 68 Filed 09/07/22 Page 31 of 367 PageID #: 2844
<frank.zhu@BakerBotts.com>; Kattan, Lisa <Lisa.Kattan@BakerBotts.com>; John Shaw <jshaw@shawkeller.com>;
Martin, Tommy <tommy.martin@bakerbotts.com>; Kassa, Sam <Sam.Kassa@BakerBotts.com>
Cc: Bartlett, Carson R. <cbartlett@potteranderson.com>; EXT Moore, David <dmoore@potteranderson.com>; EXT
Palapura, Bindu <bpalapura@potteranderson.com>; DuPont-Delaware-atty <DuPont-Delaware-atty@finnegan.com>
Subject: CMC/DuPont: Protective Order


[EXTERNAL EMAIL]


Kate,

As we discussed on Thursday, we would like to propose a compromise to the protective order in an effort to resolve the
parties’ dispute on the definition of “CONFIDENTIAL.” As you know, we believe it is important for in-house counsel for
both parties to have access to certain discovery documents to allow them to have a better understanding of the factual
issues in the case. Therefore, DuPont is willing to agree to CMC’s exception to the third-party “CONFIDENTIAL”
designation with the understanding that CMC will not designate certain information disclosed to and/or from Fuso as
“HIGHLY CONFIDENTIAL.” Specifically, the following should be designated as “CONFIDENTIAL” only:

     1.




In return, DuPont is would be willing to designate as “CONFIDENTIAL” sales information relating to the Accused
Products. In addition, DuPont would be willing to allow CMC’s damages expert to see the sales information relating to
the Accused Products prior to entry of the protective order.

Finally, you had asked whether DuPont would agree that the ID and FD from the 1204 investigation be shared with
CMC’s non-ITC counsel. How would you propose to handle third-party confidential information, if any, in the ID/FD?

The above proposal is for discussion purposes only at this stage. Please let us know if CMC would agree to this
compromise.

Regards,
Mareesa




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                                                                                  2
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                      Exhibit D
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             UNITED STATES INTERNATIONAL TRADE COMMISSION
                         WASHINGTON, D.C. 20436



    In the Matter of

    CERTAIN CHEMICAL MECHANICAL                                      Inv. No. 337-TA-1204
    PLANARIZATION SLURRIES AND
    COMPONENTS THEREOF



                           FINAL INITIAL DETERMINATION

                         Administrative Law Judge David P. Shaw

          Pursuant to the notice of investigation, 85 Fed. Reg. 40685 (July 7, 2020), this is

   the Initial Determination in Certain Chemical Mechanical Planarization Slurries and

   Components Thereof, United States International Trade Commission Investigation No.

   337-TA-1204.

          It is held that a violation of section 337 (19 U.S.C. § 1337) has occurred with

   respect to U.S. Patent No. 9,499,721.
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   The following abbreviations may be used in this Initial Determination:

                         ALJ    -       Administrative Law Judge

                         CDX -          Complainant’s Demonstrative Exhibit

                         CPX    -       Complainant’s Physical Exhibit

                         CX     -       Complainant’s Exhibit

                         Dep.   -       Deposition

                         EDIS -         Electronic Document Imaging System

                         JPX    -       Joint Physical Exhibit

                         JX     -       Joint Exhibit

                         P.H.   -       Prehearing

                         RDX -          Respondents’ Demonstrative Exhibit

                         RPX    -       Respondents’ Physical Exhibit

                         RWS -          Rebuttal Witness Statement

                         RX     -       Respondents’ Exhibit

                         Tr.    -       Transcript

                         WS     -       Witness Statement




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   I.     Background

          A.      Institution of the Investigation; Procedural History

          By publication of a notice in the Federal Register on July 7, 2020, pursuant to

   subsection (b) of section 337 of the Tariff Act of 1930, as amended, the Commission

   instituted this investigation to determine:

                  [W]hether there is a violation of subsection (a)(1)(B) of
                  section 337 in the importation into the United States, the
                  sale for importation, or the sale within the United States
                  after importation of certain products identified in paragraph
                  (2) by reason of infringement of one or more of claims 1,
                  3–6, 10, 11, 13, 14, 18–20, 24, 26–29, 31, 35–37, and 39–
                  44 of the ’721 patent [U.S. Patent No. 9,499,721]; and
                  whether an industry in the United States exists as required
                  by subsection (a)(2) of section 337.

   85 Fed. Reg. 40685 (July 7, 2020).

          Pursuant to section 210.10(b)(1) of the Commission’s Rules of Practice and

   Procedure, 19 C.F.R. § 210.10(b)(1):

                  [T]he plain language description of the accused products or
                  category of accused products, which defines the scope of
                  the investigation, is “chemical mechanical planarization
                  (“CMP”) slurries and components thereof, including
                  colloidal silica.”

   Id.

          The named complainant is Cabot Microelectronics Corporation of Aurora,

   Illinois. The named respondents are:

               1. DuPont de Nemours, Inc. of Wilmington, Delaware;
               2. Rohm and Haas Electronic Materials CMP Inc. of Newark,
                  Delaware;
               3. Rohm and Haas Electronic Materials CMP Asia Inc. (d/b/a Rohm
                  and Haas Electronic Materials CMP Asia Inc., Taiwan Branch
                  (U.S.A.)) of Taoyuan City, Taiwan;
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              4. Rohm and Haas Electronic Materials Asia-Pacific Co., Ltd. of
                 Miaoli, Taiwan;
              5. Rohm and Haas Electronic Materials K.K. of Tokyo, Japan; and
              6. Rohm and Haas Electronic Materials LLC of Marlborough,
                 Massachusetts.

   The Office of Unfair Import Investigations is a party to this investigation. Id.

          The target date for completion of this investigation was originally set at 15

   months, i.e., October 7, 2021, with an evidentiary hearing scheduled to commence on

   February 3, 2021. See Order No. 3 (July 16, 2020).

          The Commission affirmed the following initial determinations:

          •   Order No. 7 (Initial Determination Granting Motion for Leave to Amend the
              Complaint and Notice of Investigation) (Oct. 1, 2020), aff’d, Commission
              Determination Not to Review an Initial Determination Granting
              Complainant’s Motion to Amend the Complaint and the Notice of
              Investigation (Oct. 19, 2020). 1

          •   Order No. 8 (Initial Determination Granting Motion for Leave to Amend the
              Complaint and Notice of Investigation) (Nov. 10, 2020), aff’d, Commission
              Determination Not to Review an Initial Determination Granting
              Complainant’s Motion to Amend the Complaint and the Notice of
              Investigation (Nov. 24, 2020). 2

          •   Order No. 12 (Initial Determination Granting Motion to Terminate the
              Investigation As to the Assertion of Infringement of Claim 5 of U.S. Patent
              No. 9,499,721) (Jan. 26, 2021), aff’d, Commission Determination Not to
              Review an Initial Determination Terminating the Investigation in Part Based
              on Withdrawal of Complainant's Allegation of Infringement as to Claim 5 of
              U.S. Patent No. 9,499,721 (Feb. 16, 2021).

          •   Order No. 13 (Initial Determination Granting Motion for Leave to Amend the
              Complaint and Notice of Investigation) (Jan. 26, 2021), aff’d, Commission

   1
     The initial determination (Order No. 7) granted the motion to amend the complaint and
   notice of investigation to include an allegation of infringement of claims 17 and 46 of the
   ‘721 patent.
   2
    The initial determination (Order No. 8) granted the motion to amend the complaint and
   notice of investigation to change the name of the complainant from Cabot
   Microelectronics Corporation to CMC Materials, Inc.

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              Determination Not to Review an Initial Determination Granting
              Complainant’s Motion to Amend the Complaint and the Notice of
              Investigation (Feb. 12, 2021). 3

          A prehearing conference was held on February 3, 2021, with the evidentiary

   hearing in this investigation commencing immediately thereafter. The hearing concluded

   on February 5, 2021. See Order No. 5 (July 28, 2020); P.H. Tr. 1-17; Tr. 1-809. The

   parties were requested to file post-hearing briefs not to exceed 250 pages in length, and to

   file reply briefs not to exceed 65 pages in length. See Order No. 11 (Jan. 22, 2021) at 4.

   On February 19, 2021, the parties filed a joint outline of the issues to be decided in the

   Final Initial Determination. See Joint Outline of Issues to Be Decided in the Final Initial

   Determination (Pursuant to G.R. 11(a)) (“Joint Outline”) (EDIS Doc. ID No. 734669).

   On March 5, 2021, the parties filed a joint outline for the reply briefs. See Joint Outline

   of Issues to Be Decided in the Final Initial Determination (Pursuant to Ground Rule

   11(a)) (“Joint Reply Outline”) (EDIS Doc. ID No. 736140).

          On June 3, 2021, the undersigned issued an order setting the target date at

   approximately 15.6 months, i.e., October 25, 2021, which made the deadline for this

   initial determination June 25, 2021. Order No. 16 (June 3, 2021). On June 21, 2021, the

   administrative law judge issued an order setting the target date at 16 months, i.e.,

   November 8, 2021, which makes the deadline for this initial determination July 8, 2021.

   Order No. 17 (June 21, 2021).




   3
     The initial determination (Order No. 13) granted the motion to amend the complaint and
   notice of investigation to change respondent “Rohm and Haas Electronic Materials CMP
   Inc.” to “Rohm and Haas Electronic Materials CMP, LLC.”

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             B.     The Parties

                    1.      Complainant

             Complainant CMC Materials, Inc. (“CMC” or “complainant”) is a leading global

   supplier of CMP slurries. See JX-0019 (CMC 2019 Form 10-K) at 3. CMC is a publicly

   traded Delaware corporation and is the owner and assignee of the ’721 Patent. See CX-

   0223 (Certified Assignment). CMC has CMP operations in the United States, including

   at its global R&D and manufacturing headquarters in Aurora, Illinois.

                    2.      Respondents

             Respondents 4 are DuPont de Nemours, Inc., a company organized under the laws

   of Delaware, and subsidiaries of DuPont de Nemours, Inc. located in the United States,

   Japan, and Taiwan, including Rohm and Haas Electronic Materials CMP Inc., Rohm and

   Haas Electronic Materials CMP Asia Inc., Rohm and Haas Electronic Materials Asia-

   Pacific Co., Ltd., Rohm and Haas Electronic Materials K.K., and Rohm and Haas

   Electronic Materials LLC.


                                           *       *      *


             As noted, the Office of Unfair Import Investigations (“Staff”) is also a party to

   this investigation. 85 Fed. Reg. 40685 (July 7, 2020).

             C.     Asserted Patent and Technological Background

             U.S. Patent No. 9,499,721 (“the ‘721 patent”), entitled “Colloidal Silica

   Chemical-Mechanical Polishing Composition,” issued on November 22, 2016, to named



   4
       Hereinafter, respondents are collectively referred to as “DuPont” or “respondents.”

                                                   4
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            Products”). See EDIS DOC Id. 716138 (07/31/20 Complainant’s
            Identification of DI Prod.).

   Resps. Br. at 14-15.

            The Staff argues, inter alia:

                    CMC’s Domestic Industry Products include the D922X family
            products, including D9228, D9222, D9225, D9228 7.5 X,
                     and developments and improvements thereof. See CMC Br. at
            11-12. They are part of CMC’s “dielectrics” product line, largely intended
            for polishing dielectric materials. Id. All of these products include
                 colloidal silica particles; CMC continues to manufacture and sell in
            the United States its D922X family products. Id.

   Staff Br. at 15.

            As can be seen from the parties’ arguments, there is no dispute that CMC’s DI

   Products include the D922x family products, including D9228, D9222, D9225, D9228

   7.5 X,                            and developments and improvements thereof. See CX-0001C

   (Woodland DWS) at Q/A 8. All of these products include                 colloidal silica

   abrasive particles. See CX-0002C (Grumbine DWS) at Q/A 30.


   II.      Jurisdiction and Importation

            A.        Jurisdiction

            Section 337(a)(1)(B) declares unlawful, inter alia, “[t]he importation into the

   United States, the sale for importation, or the sale within the United States after

   importation by the owner, importer, or consignee, of articles that . . . infringe a valid and

   enforceable United States patent.” 19 U.S.C. § 1337(a)(1)(B). Complainant has filed a

   complaint alleging a violation of this subsection, and the Commission therefore has

   subject matter jurisdiction. See Amgen, Inc. v. United States Int’l Trade Comm’n, 902




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          Third, DuPont continued to sell this same product to U.S. customers even
          after the subject importation. See Hg. Tr. at 293:2–14; RX-1389C (Jacobs
          RWS) at Q/A 36.

                 2. DuPont Imports Components of the Accused CMP Slurries

                  Respondents do not dispute that they imported and continue to
          import BS-3 silica particles in the United States. Rather, Respondents
          argue that these importations should be exempted from Section 337 based
          on four flawed reasons: (1) Respondents’ manufacturing activities are
          “purely domestic,” (2) “       is one of a number of components in the
          Accused Slurry Products,” (3) “the BS-3 particle is not even used as
          imported,” and (4) Respondents have not “been involved in the design or
          development of any [      ] particles contained in the Accused Products.”
          RPreHBr at 39, 40, 42. None of these reasons are grounded in law or fact.

                  First, Respondents’ manufacturing activities are not “purely
          domestic,” as Respondents do not dispute that they import          colloidal
                                                  5
          silica particles into the United States to be combined with other imported
          components in the manufacturing of the Accused Products. RPreHBr at
          39; Hg. Tr. at 294:3–5; RX-1389C (Jacobs RWS) at CX-0018C
          (Umberger Dep.) at 55:12–21; Q/A 12; JX-0243C (Development Gate
          Presentation: Optiplane 2602) at 6; JX-0342C (           Importations); JX-
          0349C (        Importations); JX-0406C (Respondents’ Discovery
          Responses) at 25, 30, 32. Further, Respondents concede that they do not
          use the imported          particles to make any other products. See CX-
          0007C (Auger Dep.) at 218:21–219:3.

                  Second, the BS-3 particles are no less “imported” simply because
          they are combined with other components in the United States after
          importation. Preventing the combination of imported components into
          infringing products in the United States is squarely within the jurisdiction
          of the Commission. See Certain Network Devices, Related Software &
          Components Thereof (II), Inv. 337-TA-945 (“Network Devices II”),
          Comm’n Op. at 123 (Jun. 1, 2017) (“[Respondent] is barred from
          importing components of its devices and then assembling those devices

   5
    Respondents imported over              of BS-3 particles from
       . See JX-0349C (Fuso Importations); see also CX-0011C (Hutchinson Dep.) at
   171:25–172:5, 175:21–176:8, 181:16–22, 182:10–19, 183:13–25; JX-0054 (Shipment
   Results/Details from Rohm/US Imports - Panjiva, April 28, 2020); JX-0055 (Shipment
   Results/Details – Dec. 6, 2018); JX-0056 (Shipment Results/Details – Feb. 27, 2019); JX-
   0057 (Shipment Results/Details–Mar. 6, 2019); JX-0193C (US Imports Shipments); JX-
   0343C (Invoice); JX-0358C (Bill of Lading); JX-0363C (CBP Form 7501 Entry
   Summary); JX-0382C (CBP Form 7501 Entry Summary).

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         BS-3 particle sold by Fuso, is similarly flawed. Section 337 declares
         certain specific acts as unlawful, including importing “articles that ...
         infringe a valid and enforceable United States patent.” 19 U.S.C.
         § 1337(a)(1)(B). The ITC’s jurisdiction does not extend to purely
         domestic conduct. Motiva, LLC v. Int’l Trade Comm'n, 716 F.3d 596, 601
         (Fed. Cir. 2013) (“[T]he Commission is fundamentally a trade forum, not
         an intellectual property forum”) (internal quotations and citation omitted).
         But that is precisely what CMC seeks to cover here.

                 The “unfair act” in this investigation, as alleged by CMC, involves
         the importation of a single, standard component used in a manufacturing
         process that occurs in the U.S. to produce the Accused Slurry Products.
         This is not the type of importation that Section 337 was intended or meant
         to include as unfair act under Section 337. 19 U.S.C. § 1337(a)(1)(B)(i).

                        1.      No Nexus Exists Between the Importation of the
                                Fuso BS-3 Particle and the Accused Slurry
                                Products

                 As background, DuPont purchases prior art, colloidal silica BS-3
         particles from Fuso in Japan. DuPont then uses these submicron-sized
         silica particles to manufacture certain CMP polishing slurries in the U.S.
         at its                    manufacturing plant. The Fuso BS-3 particle is
         sold by Fuso Chemical, along with other colloidal silica particles, for a
         variety of applications, including CMP slurries. JX-0296C (2015 High
         Purity Electronic Materials); JX-0125C (Fuso Chemical Colloidal Silica)
         at 3 (“Colloidal Silica” suggested for application for “CMP Slurry,”
         “Coating Materials,” “Paints,” and Fillers”); RX-0177C (2013 Pres.) at 14.

                  It is undisputed that the             particle is but one of a number
         of components in the Accused Slurry Products.                    particles are
         imported into the U.S. and then combined with non-accused components
         in the U.S., and                        , to make the final, saleable slurry
         product. Each of these non-accused components and the
         particles contribute to the overall effectiveness of the finished slurry
         product. Indeed, Dr. Dauskardt testified that in CMP slurries, particles
         interact with various chemicals to achieve the necessary performance.
         (Dauskardt Hearing Tr.) at 702:12-23; see also id. at 723:24-724:3
         (testifying that CMP slurries are complex and adding one wrong
         component can cause the entire slurry performance to collapse). The
         functionality of the Accused Slurry Products depends not only on the
         contributions of each individual component but the interactions between
         all the various components in the composition. Id. Thus, CMC’s reliance
         on the               particle as an “importation” constituting an “unfair act”
         is even more tenuous given that it is but one component in the finished
         product.
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         at *7 (Sept. 14, 2020); Certain RF Capable Integrated Circuits and
         Products Containing the Same, Inv. No. 337-TA-982, Order No. 23 at *2
         (Mar. 9, 2017).

                 Even considering CMC’s untimely argument, CMC is wrong. As
         noted above, the alleged “unfair act” in this investigation rests upon the
         importation of a single component used in a product manufactured entirely
         in the U.S. This is not the type of importation that Section 337 was
         intended or meant to include as unfair act under Section 337. 19 U.S.C. §
         1337(a)(1)(B)(i). Respondents’ arguments concerning importation
         address Complainant’s attempt to expand the scope of the ITC’s
         jurisdiction by relying on the importation of a single, standard component
         as a basis for “an unfair act.”

                 The facts of this particular investigation stand in stark contrast to
         other cases in which the ITC has found importation satisfied based on a
         component. Indeed, even the case upon which the Staff heavily relies,
         Certain Fluidized Supporting Apparatus and Components Thereof, Inv.
         Nos. 337-TA-182 and 337-TA-188, Initial Determination, 1984 WL
         273788 (Jun. 16, 1984) misses the mark. In Fluidized Supporting
         Apparatus, the ALJ found that all respondents had imported and sold the
         fluidized beds at issue. Id. at *59. The Staff contends that because one of
         the named respondents in that investigation, UHI, imported glass beads
         that were subject to further processing in the U.S., “post-importation
         processing of imported components did not defeat importation.” Staff
         PreHB at 35. But the Staff does not acknowledge that UHI was not just
         importing “beads,” rather it was found that “UHI places it orders with
         respondent Fuji, who manufactures portions of the fluidized bed in Japan,
         and ships them to UHI in the United States . . . Between March 15, 1983
         and February 29, 1984, UHI imported from Japan [C] partly assembled
         therapeutic beds and spare parts manufactured and sold by Fuji. UHI
         imports from Japan the base, which contains the compressor unit, motor,
         heating device, and temperature controls; tank; glass beads; means for
         attached the filter sheet; and wheels.” Id. at *59 (internal citations
         omitted). Thus, Fluidized Beds does not address the unique situation here
         where a single imported component, further processed in the U.S., is relied
         upon to support a basis for jurisdiction at the ITC.

                 Simply put, CMC’s basis for importation rests on a standard raw
         material made by a third party that is publicly sold, is not customized, and
         existed in the prior art. See infra § VI.C. In Certain Cardiac Pacemakers
         and Components Thereof, Inv. No. 337-TA-162, Initial Determination at 1
         (Mar. 21, 1984), the Commission terminated an investigation for lack of
         subject matter jurisdiction where the complainant based jurisdiction on
         two imported staple components that were used in “several non-infringing

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         applications.” The Commission determined that “[j]urisdiction ultimately
         turns on whether there is a nexus between the importation and the unfair
         act” and “the two imported components do not constitute the entire
         [accused product] and, therefore, cannot read on all elements of the claims
         recited in the suit patents.” Id. at 2; see also Dynamic Random Access
         Memories, Component Thereof and Products Containing Same, Inv. No.
         337-TA-242, Comm’n Op. at 90-92 (Sept. 21, 1987). Just as in Cardiac
         Pacemakers, there is no nexus between the purported unfair act and the
         importation of BS-3 particles.

                 This investigation also diverges from situations where the imported
         component relied on to satisfy the importation requirement and establish
         infringement was either developed, assembled, or manufactured for or by
         the named respondent. For example, in Certain X-Ray Breast Imaging
         Devices and Components Thereof, Inv. No. 337-TA-1063, Initial
         Determination at 21 (July 26, 2018), Fujifilm made the components of the
         x-ray exposure unit in Japan and imported them into the U.S. for assembly
         into the Accused Products. There is no such evidence here, however.

                 DuPont and Fuso have only a customer/supplier relationship, in
         which DuPont purchases BS-3 particles from Fuso. RX-1402C (Raghavan
         Reb. WS) at QA 57. Years before the filing date of the asserted patent and
         pursuant to that relationship, DuPont (through its predecessor Dow
         Electronic Materials) and Fuso entered into a “Supplier General Quality
         Agreement,” effective in 2010. JX-0346C (Dow Supplier General Quality
         Agreement, effective 10/22/10). Notably, as the title suggests, this is a
         general agreement that DuPont enters into with all suppliers to ensure
         quality of the materials provided by its numerous suppliers. Id. at 1.
         Nothing in this document is specifically or uniquely tailored to Fuso. Id.
         Notably, any supplier can also choose not to agree with the conditions set
         forth in the general agreement if it so desires. Id. at 1, 8. Moreover, as
         was shown at the hearing, DuPont only uses Fuso BS-3 particles because
         Fuso stopped supplying           particles to DuPont due to an exclusivity
         agreement with CMC. RX-0039C (1st Am. & Rest. Sup. Agrmt.); RX-
         1400C (Herrington Reb. WS) at QA 97-98.

                 DuPont neither controls the characteristics of the Fuso BS-3
         particles nor are these particles made to DuPont’s specifications, as
         discussed in more detail in Section VI.C.1. (Induced Infringement).
         Despite this, CMC contends that importation of this “critical component of
         the Accused Products induces infringement and, therefore violates Section
         337.” CMC PreHB at 77-78. DuPont is not involved in the design,
         research and development, or manufacture of BS-3 particles. See, e.g.,
         RX-1402C (Raghavan Reb. WS) at QA 87. CMC provided no evidence
         showing that the manufacturing process for Fuso’s BS-3 particles resulted

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          from DuPont’s negotiations, and not, for example, due to Fuso advertising
          BS-3 as a “                ” for Fuso. Nor has CMC cited any evidence
          that Fuso BS-3 particles themselves have the claimed “permanent positive
          charge” of at least 15 or 13 mV, or that DuPont directed Fuso to prepare
          particles with such a charge. Thus, CMC has failed to present evidence
          that DuPont’s use of BS-3 particles is an affirmative step to induce or
          contribute to infringement.

                  In view of the above, CMC cannot meet its burden of establishing
          jurisdiction under 19 U.S.C. §1337(a)(1)(B).

   Resps. Br. at 36-48.

          The Staff argues:

                  CMC contends that DuPont satisfies the importation requirement
          through its importation of certain CMP slurries and components thereof.
          Specifically, CMC alleged importation based on DuPont’s activities
          directed to: (1) importing seventy-two drums of Optiplane 2600 slurry that
          were produced domestically, and later shipped abroad and re-imported
          from a customer in Taiwan; and (2) importation of              colloidal
          silica particles used in the domestic manufacture of the Optiplane 2300
          and Optiplane 2600 families of slurries. See generally CMC Br. at 15-19.

                  DuPont contends that neither accused act of importation constitutes
          “importation” within the statutory meaning of Section 337, and on that
          basis challenges the Commission’s jurisdiction over this investigation.
          See generally DuPont Br. at 33-47.

                 The Staff is of the view that DuPont’s importation of (1) seventy-
          two drums of formulated Optiplane slurry returned from Taiwan, and (2)
          Fuso BS-3 colloidal silica particles, are each sufficient under Section 337
          to confer in rem jurisdiction, for the reasons explained below.

                  1.      Re-Importation of Accused Product From Taiwan

                   The Staff agrees with CMC that under applicable Commission
          precedent, DuPont’s re-importation of accused product from Taiwan
          constitutes an act of importation under Section 337. See Certain Sputtered
          Carbon Computer Disks & Products Containing the Same, Inv. No. 337-
          TA-350, USITC Pub. 2701, Comm’n Op. at 4-9 (Nov. 1993) (“The
          statute, by its terms, does not limit coverage to articles of foreign
          manufacture. . . . We see no basis for respondents’ position that the
          statutory term ‘importation’ excludes goods that have been
          ‘reimported.’”); Certain Digital Set-Top Boxes and Components Thereof,
          Inv. No. 337-TA-712, Initial Determination at 14 (May 20, 2011) (“The

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         Commission does not distinguish between importation and re-importation
         for purposes of establishing the jurisdictional requirement.”).

                  DuPont emphasizes that the seventy-two drums of re-imported
         Optiplane were recalled from a Taiwanese customer purely for disposal
         purposes, emphasizing that the drums contained an old design that is
         currently “obsolete                               DuPont Br. at 36. To the
         extent DuPont suggests that its re-importation of an obsolete product was
         a one-time occurrence and will not be repeated, such that this accused act
         of importation is now moot, the Staff disagrees. See Intel Corp. v. ITC,
         946 F.2d 821, 830 (Fed. Cir. 1991) (respondent’s “unilateral decision to
         stop manufacturing the ‘old’ design” did not moot investigation because
         “mere voluntary cessation of allegedly illegal conduct does not moot a
         case; if it did, the courts would be compelled to leave the defendant . . .
         free to return to his old ways.”); Certain Condensers, Parts Thereof &
         Products Containing Same, Inv. No. 337-TA-334, Comm’n Op. (Aug. 20,
         1997) (“[I]mportation of even a single infringing article is sufficient to
         support an action under section 337, and discontinuance of unfair
         importation is not a defense under section 337.”) (citation omitted).

                 While DuPont argues that “CMC has not identified a single ITC
         investigation in which the Commission has found the importation
         requirement satisfied based on the return of a sole shipment of an accused
         domestically-made product to the U.S.            ” (DuPont Br. at 38), it is
         equally true that DuPont has not identified any Commission precedent in
         which importation was not found under such circumstances. In the Staff’s
         view, the Federal Circuit and Commission precedent discussed above,
         addressing the cessation or discontinuation of prior product designs,
         provides the closest guidance, and weighs in favor of finding importation.

                DuPont also invokes the nexus requirement as a final consideration
         weighing against finding importation. In the Staff’s view, the fact that the
         re-imported slurry product contains the            particles imported from
               provides a sufficient nexus for purposes of importation, for the
         reasons explained below.

                2.      Importation of Accused Components From

                  DuPont concedes that it purchases          colloidal silica particles
         from                , and that after those particles are imported into the
         United States, DuPont uses those particles to manufacture its accused
         products in Delaware. See DuPont Br. at 39. However, DuPont argues
         that its importation of             particles does not satisfy the importation
         of Section 337 based on several arguments, which the Staff addresses in
         turn below.


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         approach would be contrary to Commission precedent emphasizing that
         the importation and infringement inquiries are separate and distinct
         analyses. See Certain Dental & Orthodontic Scanners & Software, Inv.
         No. 337-TA-1144, Initial Determination at 13 (Apr. 30, 2020)
         (“Importation is a separate inquiry from infringement, and the two
         inquiries, while related, should not be conflated.”).

                Certain Fluidized Supporting Apparatus and Components Thereof,
         Inv. Nos. 337-TA-182 and 337-TA-188, Initial Determination, 1984 WL
         273788 (Jun. 16, 1984) is directly on point. There, the ALJ found that the
         respondents in each investigation had satisfied the importation
         requirement, despite evidence of the very same factual circumstances that
         DuPont now contends should preclude a finding of importation.

                 Specifically, the case involved consolidated Section 337
         investigations brought by two U.S.-based companies—UHI Corporation
         (“UHI”) in Los Angeles, and Supporting Systems International (“SSI”) in
         South Carolina—against each other. Both entities had alleged importation
         based on each other’s importation of various structural components used
         to manufacture the accused hospital-type beds at issue in both
         investigations. Id. at *4. In the Initial Determination, the ALJ found
         importation had been established as to all respondents in both
         investigations. See id. at *59 (“[I]mportation and sale of the fluidized
         beds or components thereof has been established as to all respondents in
         Inv. Nos. 337-TA-182 and 337-TA-188.”).

                 Significantly, the ALJ’s importation finding arose in the context of
         factual circumstances materially identical to those DuPont now contends
         bar a finding of importation, as addressed in turn below.

                 Accused Product Domestic Industry. First, the ALJ found
         importation even though he also simultaneously found that UHI and SSI
         (who were both complainants and respondents, as a result of commencing
         Section 337 investigations against each other) had satisfied the domestic
         industry requirement with respect to their respective fluidized bed
         products. See id. at *69 (“[T]here are domestic industries in Inv. No. 337-
         TA-182 and Inv. No. 337-TA-188 as defined by the domestic production,
         sale, rental and servicing of the fluidized beds by SSI and UHI.”). Thus,
         finding domestic industries for the accused products did not immunize
         against importation.

                Post-Importation Processing. Second, the ALJ’s findings of fact
         also demonstrate that the post-importation processing of the accused
         hospital-bed components do not preclude a finding of importation.
         Specifically, UHI imported several components of its beds from Japan,
         including “glass beads.” UHI then performed post-importation processing

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         on those beads in Los Angeles, by “cooking” the beads in the bed at a high
         temperature. See id. at **27-29, FF Nos. 251, 264, 278 (“UHI imports
         from Japan the base, which contains the compressor unit, motor, heating
         device, temperature controls; tank; glass beads; means for attaching the
         filter sheet; and wheels.”); (“The beads are processed at UHI’s facility in
         Los Angeles or at each branch. This is accomplished by ‘cooking’ the
         beads in the bed itself at a high temperature.”). Thus, the performance of
         post-importation processing of imported components did not defeat
         importation.

                 Customized Components. Third, the ALJ’s importation analysis
         indicates that the degree of customization of the accused components, or
         lack thereof, is immaterial to the importation analysis, as the ALJ found
         that SSI (whose imported components were modified to its
         “specifications”) and UHI (whose imported products were not described
         as modified in any way) had both satisfied the importation requirement.
         See id. at *4, FF3 (noting that the “imported Fuji blower” is “a major
         component of the SSI bed” that “is modified to SSI’s specification”).
         Significantly, in finding jurisdiction and importation with respect to SSI,
         the ALJ focused on the importance of SSI’s imported components to the
         final accused product—and not the fact that they were modified to SSI’s
         specifications:

                [T]here is a sufficient link between the alleged unfair acts and the
                assembled article if the importation of components of the article is
                an important step in the production and sale of the article . . . .
                Here, the imported components are essential and even
                indispensable to production of the beds made by SSI, and the
                importation is, therefore, an important step in the production and
                distribution of the article.

         Id. at *55. Thus, customized components designed specifically for or by a
         respondent are not a prerequisite for importation, contrary to DuPont’s
         assertion. Here, as in Certain Fluidized Supporting Apparatus and
         Components Thereof, the record evidence shows that the imported
                particles are important and essential to the operation of the accused
         products, and their importation from          is thus an indispensable,
         important step to the production and distribution of the accused products.
         See, e.g., CX-0018C (Umberger Dep. Tr.) at 74:2-7.

                 Domestic Assembly, Manufacturing, and R&D. Finally, the
         ALJ also made several findings of fact indicating that the vast majority of
         SSI’s components were domestically sourced, and relevant R&D,
         manufacturing, and assembly also occurred domestically in the United
         States. See id. at **26-27, FF234 (“SSI assembles its fluidized beds in the
         United States and obtains virtually all of the components for the product
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          from domestic suppliers.”); FF253 (“SSI’s production facilities are located
          at or adjacent to its headquarters in Charleston South Carolina”); FF256
          (“SSI maintains a research and development facility in Charlotte, North
          Carolina”). Thus, importation may be found even if virtually all
          components and activities have domestic origins.

                  DuPont contends that because the          particle is a “standard raw
          material,” there can be no importation under Certain Cardiac Pacemakers,
          Inv. No. 337-TA-162, 1984 WL 273827, Initial Determination at *2 (Mar.
          21, 1984). But there, the “record contain[ed] evidence that both [imported
          components] are interchangeable, staple items that are used in several non-
          infringing applications.” Id. Here, by contrast, DuPont has not identified
          any such record evidence of substantial non-infringing uses by actual end-
          users. The mere fact that        particles are also “purchased by and
          promoted to other third parties” (DuPont Br. at 42) does not speak to
          whether those particles are used by third parties for substantial non-
          infringing uses. See, e.g., Vita-Mix Corp. v. Basic Holding, Inc., 581 F.3d
          1317, 1327 (Fed. Cir. 2009) (identifying examples of substantial non-
          infringing uses); Ricoh Co. v. Quanta Computer Inc., 550 F.3d 1325,
          1337-38 (Fed. Cir. 2008) (explaining that not all non-infringing uses for
          components are “substantial”).

   Staff Br. at 27-33.

          As shown, the parties briefed the importation issue in detail. The admininistrative

   law judge finds the arguments of CMC and the Staff persuasive. The undersigned

   disagrees with respondents’ arguments that unique facts are presented in this

   investigation for the purpose of determining whether importation requirement has been

   satisfied. The undersigned finds that importation requirement has been met, as

   summarized below.

          In particular, under Commission precedent, DuPont’s re-importation of accused

   product from Taiwan constitutes an act of importation under section 337. See Intel Corp.

   v. ITC, 946 F.2d 821, 830 (Fed. Cir. 1991) (respondent’s “unilateral decision to stop

   manufacturing the ‘old’ design” did not moot investigation because “mere voluntary

   cessation of allegedly illegal conduct does not moot a case; if it did, the courts would be

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   compelled to leave the defendant . . . free to return to his old ways.”); Certain

   Condensers, Parts Thereof & Products Containing Same, Inv. No. 337-TA-334, Comm’n

   Op. (Aug. 20, 1997) (“[I]mportation of even a single infringing article is sufficient to

   support an action under section 337, and discontinuance of unfair importation is not a

   defense under section 337.”) (citation omitted).

          Furthermore, under Commission precedent, DuPont’s importation of accused

   components from                  , and subsequently using those particles to manufacture

   its accused products in Delaware is an act of importation under section 337. The facts in

   Fluidized Supporting Apparatus are similar. See Certain Fluidized Supporting Apparatus

   and Components Thereof, Inv. Nos. 337-TA-182 and 337-TA-188, Initial Determination,

   1984 WL 273788 (June 16, 1984) at *4, **26-29, *55, *59, *69; Certain Fluidized

   Supporting Apparatus and Components Thereof, Inv. Nos. 337-TA-182 and 337-TA-188,

   Comm’n Op., 1984 WL 63741 (Oct. 1984) at *6 (“The ALJ found that respondent UHI

   imports partly assembled burn beds made by Fuji into the United States through Fuji and

   UHI Systems, that UHI leases or sells the burn beds in the United States and that

   respondent Katayama owns or controls, directly or indirectly, respondents UHI and UHI

   Systems. None of the respondents has petitioned for review of this finding and we

   concur with it.”).




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   III.      General Principles of Applicable Law

             A.     Claim Construction

             Claim construction begins with the plain language of the claim. 7 Claims should

   be given their ordinary and customary meaning as understood by a person of ordinary

   skill in the art, viewing the claim terms in the context of the entire patent. 8 Phillips v.

   AWH Corp., 415 F.3d 1303, 1312-13 (Fed. Cir. 2005), cert. denied, 546 U.S. 1170

   (2006).

             In some instances, claim terms do not have particular meaning in a field of art,

   and claim construction involves little more than the application of the widely accepted

   meaning of commonly understood words. Phillips, 415 F.3d at 1314. “In such

   circumstances, general purpose dictionaries may be helpful.” Id.

             In many cases, claim terms have a specialized meaning, and it is necessary to

   determine what a person of skill in the art would have understood the disputed claim

   language to mean. “Because the meaning of a claim term as understood by persons of

   skill in the art is often not immediately apparent, and because patentees frequently use

   terms idiosyncratically, the court looks to ‘those sources available to the public that show

   what a person of skill in the art would have understood disputed claim language to

   7
    Only those claim terms that are in controversy need to be construed, and only to the
   extent necessary to resolve the controversy. Vanderlande Indus. Nederland BV v. Int’l
   Trade Comm., 366 F.3d 1311, 1323 (Fed. Cir. 2004); Vivid Tech., Inc. v. American Sci. &
   Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999).
   8
     Factors that may be considered when determining the level of ordinary skill in the art
   include: “(1) the educational level of the inventor; (2) type of problems encountered in
   the art; (3) prior art solutions to those problems; (4) rapidity with which innovations are
   made; (5) sophistication of the technology; and (6) educational level of active workers in
   the field.” Environmental Designs, Ltd. v. Union Oil Co., 713 F.2d 693, 696 (Fed. Cir.
   1983), cert. denied, 464 U.S. 1043 (1984).

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   mean.’” Phillips, 415 F.3d at 1314 (quoting Innova/Pure Water, Inc. v. Safari Water

   Filtration Sys., Inc., 381 F.3d 1111, 1116 (Fed. Cir. 2004)). The public sources identified

   in Phillips include “the words of the claims themselves, the remainder of the

   specification, the prosecution history, and extrinsic evidence concerning relevant

   scientific principles, the meaning of technical terms, and the state of the art.” Id. (quoting

   Innova, 381 F.3d at 1116).

          In cases in which the meaning of a claim term is uncertain, the specification

   usually is the best guide to the meaning of the term. Phillips, 415 F.3d at 1315. As a

   general rule, the particular examples or embodiments discussed in the specification are

   not to be read into the claims as limitations. Markman v. Westview Instruments, Inc., 52

   F.3d 967, 979 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996). The specification

   is, however, always highly relevant to the claim construction analysis, and is usually

   dispositive. Phillips, 415 F.3d at 1315 (quoting Vitronics Corp. v. Conceptronic, Inc., 90

   F.3d 1576, 1582 (Fed. Cir. 1996)). Moreover, “[t]he construction that stays true to the

   claim language and most naturally aligns with the patent’s description of the invention

   will be, in the end, the correct construction.” Id. at 1316.

          Claims are not necessarily, and are not usually, limited in scope to the preferred

   embodiment. RF Delaware, Inc. v. Pacific Keystone Techs., Inc., 326 F.3d 1255, 1263

   (Fed. Cir. 2003); Decisioning.com, Inc. v. Federated Dep’t Stores, Inc., 527 F.3d 1300,

   1314 (Fed. Cir. 2008) (“[The] description of a preferred embodiment, in the absence of a

   clear intention to limit claim scope, is an insufficient basis on which to narrow the

   claims.”). Nevertheless, claim constructions that exclude the preferred embodiment are

   “rarely, if ever, correct and require highly persuasive evidentiary support.” Vitronics, 90

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   F.3d at 1583. Such a conclusion can be mandated in rare instances by clear intrinsic

   evidence, such as unambiguous claim language or a clear disclaimer by the patentees

   during patent prosecution. Elekta Instrument S.A. v. O.U.R. Sci. Int’l, Inc., 214 F.3d

   1302, 1308 (Fed. Cir. 2000); Rheox, Inc. v. Entact, Inc., 276 F.3d 1319 (Fed. Cir. 2002).

          If the intrinsic evidence does not establish the meaning of a claim, then extrinsic

   evidence may be considered. Extrinsic evidence consists of all evidence external to the

   patent and the prosecution history, and includes inventor testimony, expert testimony, and

   learned treatises. Phillips, 415 F.3d at 1317. Inventor testimony can be useful to shed

   light on the relevant art. In evaluating expert testimony, a court should discount any

   expert testimony that is clearly at odds with the claim construction mandated by the

   claims themselves, the written description, and the prosecution history, in other words,

   with the written record of the patent. Id. at 1318. Extrinsic evidence may be considered

   if a court deems it helpful in determining the true meaning of language used in the patent

   claims. Id.

          B.      Infringement

                  1.     Direct Infringement

          Under 35 U.S.C. §271(a), direct infringement consists of making, using, offering

   to sell, or selling a patented invention without consent of the patent owner. The

   complainant in a section 337 investigation bears the burden of proving infringement of

   the asserted patent claims by a “preponderance of the evidence.” Certain Flooring

   Products, Inv. No. 337-TA-443, Comm’n Notice of Final Determination of No Violation

   of Section 337, 2002 WL 448690, at *59, (Mar. 22, 2002); Enercon GmbH v. Int’l Trade

   Comm’n, 151 F.3d 1376 (Fed. Cir. 1998).

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          Literal infringement of a claim occurs when every limitation recited in the claim

   appears in the accused device, i.e., when the properly construed claim reads on the

   accused device exactly. 9 Amhil Enters., Ltd. v. Wawa, Inc., 81 F.3d 1554, 1562 (Fed.

   Cir. 1996); Southwall Tech. v. Cardinal IG Co., 54 F.3d 1570, 1575 (Fed Cir. 1995).

          If the accused product does not literally infringe the patent claim, infringement

   might be found under the doctrine of equivalents. “Under this doctrine, a product or

   process that does not literally infringe upon the express terms of a patent claim may

   nonetheless be found to infringe if there is ‘equivalence’ between the elements of the

   accused product or process and the claimed elements of the patented invention.” Warner-

   Jenkinson Co., Inc. v. Hilton Davis Chemical Co., 520 U.S. 17, 21 (1997) (citing Graver

   Tank & Mfg. Co. v. Linde Air Products Co., 339 U.S. 605, 609 (1950)). “The

   determination of equivalence should be applied as an objective inquiry on an

   element-by-element basis.” 10 Id. at 40.

          “An element in the accused product is equivalent to a claim limitation if the

   differences between the two are insubstantial. The analysis focuses on whether the

   element in the accused device ‘performs substantially the same function in substantially

   the same way to obtain the same result’ as the claim limitation.” AquaTex Indus. v.




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     Each patent claim element or limitation is considered material and essential. London v.
   Carson Pirie Scott & Co., 946 F.2d 1534, 1538 (Fed. Cir. 1991). If an accused device
   lacks a limitation of an independent claim, the device cannot infringe a dependent claim.
   See Wahpeton Canvas Co. v. Frontier, Inc., 870 F.2d 1546, 1552 n.9 (Fed. Cir. 1989).
   10
     “Infringement, whether literal or under the doctrine of equivalents, is a question of
   fact.” Absolute Software, Inc. v. Stealth Signal, Inc., 659 F.3d 1121, 1130 (Fed. Cir.
   2011).

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   Techniche Solutions, 419 F.3d 1374, 1382 (Fed. Cir. 2005) (quoting Graver Tank, 339

   U.S. at 608); accord Absolute Software, 659 F.3d at 1139-40. 11

          Prosecution history estoppel can prevent a patentee from relying on the doctrine

   of equivalents when the patentee relinquished subject matter during the prosecution of the

   patent, either by amendment or argument. AquaTex, 419 F.3d at 1382. In particular,

   “[t]he doctrine of prosecution history estoppel limits the doctrine of equivalents when an

   applicant makes a narrowing amendment for purposes of patentability, or clearly and

   unmistakably surrenders subject matter by arguments made to an examiner.” Id.

   (quoting Salazar v. Procter & Gamble Co., 414 F.3d 1342, 1344 (Fed. Cir. 2005)).

                  2.      Indirect Infringement

                          a.      Induced Infringement

          Section 271(b) of the Patent Act provides: “Whoever actively induces

   infringement of a patent shall be liable as an infringer.” 35 U.S.C. § 271(b).

          Under 35 U.S.C. § 271(b), whoever actively induces infringement of a patent

   shall be liable as an infringer. In contrast to direct infringement, liability for inducing

   infringement attaches only if the defendant knew of the patent and that the induced acts

   constituted patent infringement. Commil USA, LLC v. Cisco Sys., Inc., 135 S. Ct. 1920,

   1926 (2015); see also Microsoft Corp. v. Datatern, Inc., 755 F.3d 899, 904 (Fed. Cir.

   2014) (to prove induced infringement, patentee must show that accused inducer took an

   11
     “The known interchangeability of substitutes for an element of a patent is one of the
   express objective factors noted by Graver Tank as bearing upon whether the accused
   device is substantially the same as the patented invention. Independent experimentation
   by the alleged infringer would not always reflect upon the objective question whether a
   person skilled in the art would have known of the interchangeability between two
   elements, but in many cases it would likely be probative of such knowledge.”
   Warner-Jenkinson, 520 U.S. at 36.

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   affirmative act to encourage infringement with knowledge that the induced acts constitute

   patent infringement). Induced infringement requires a finding that the infringer

   possessed a specific intent to encourage another’s infringement. i4i Ltd. Partnership v.

   Microsoft Corp., 598 F.3d 831, 851 (Fed. Cir. 2010), aff’d, 564 U.S. 91 (2011).

                          b.      Contributory Infringement

          Section 271(c) of the Patent Act provides: “Whoever offers to sell or sells within

   the United States or imports into the United States a component of a patented machine,

   manufacture, combination or composition, or a material or apparatus for use in practicing

   a patented process, constituting a material part of the invention, knowing the same to be

   especially made or especially adapted for use in an infringement of such patent, and not a

   staple article or commodity of commerce suitable for substantial noninfringing use, shall

   be liable as a contributory infringer.” 35 U.S.C. § 271(c).

          Section 271(c) “covers both contributory infringement of system claims and

   method claims.” 12 Arris, 639 F.3d at 1376 (footnotes omitted). To hold a component

   supplier liable for contributory infringement, a patent holder must show, inter alia, that

   (a) the supplier’s product was used to commit acts of direct infringement; (b) the

   product’s use constituted a material part of the invention; (c) the supplier knew its

   product was especially made or especially adapted for use in an infringement” of the

   patent; and (d) the product is not a staple article or commodity of commerce suitable for

   substantial noninfringing use. Id.


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     “Claims which recite a ‘system,’ ‘apparatus,’ ‘combination,’ or the like are all
   analytically similar in the sense that their claim limitations include elements rather than
   method steps. All such claims can be contributorily infringed by a component supplier.”
   Arris, 639 F.3d at 1376 n.8.

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          C.      Validity

          One cannot be held liable for practicing an invalid patent claim. See Pandrol

   USA, LP v. AirBoss Railway Prods., Inc., 320 F.3d 1354, 1365 (Fed. Cir. 2003).

   Nevertheless, each claim of a patent is presumed to be valid, even if it depends from a

   claim found to be invalid. 35 U.S.C. § 282; DMI Inc. v. Deere & Co., 802 F.2d 421 (Fed.

   Cir. 1986).

          A respondent that has raised patent invalidity as an affirmative defense must

   overcome the presumption by “clear and convincing” evidence of invalidity. Checkpoint

   Systems, Inc. v. United States Int’l Trade Comm’n, 54 F.3d 756, 761 (Fed. Cir. 1995).

                  1.      Anticipation

          Anticipation under 35 U.S.C. § 102 is a question of fact. z4 Techs., Inc. v.

   Microsoft Corp., 507 F.3d 1340, 1347 (Fed. Cir. 2007). Section 102 provides that,

   depending on the circumstances, a claimed invention may be anticipated by variety of

   prior art, including publications, earlier-sold products, and patents. See 35 U.S.C. § 102

   (e.g., section 102(b) provides that one is not entitled to a patent if the claimed invention

   “was patented or described in a printed publication in this or a foreign country or in

   public use or on sale in this country, more than one year prior to the date of the

   application for patent in the United States”).

          The general law of anticipation may be summarized, as follows:

                  A reference is anticipatory under § 102(b) when it satisfies
                  particular requirements. First, the reference must disclose each
                  and every element of the claimed invention, whether it does so
                  explicitly or inherently. Eli Lilly & Co. v. Zenith Goldline
                  Pharms., Inc., 471 F.3d 1369, 1375 (Fed.Cir.2006). While those
                  elements must be “arranged or combined in the same way as in the
                  claim,” Net MoneyIN, Inc. v. VeriSign, Inc., 545 F.3d 1359, 1370

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                   (Fed.Cir.2008), the reference need not satisfy an ipsissimis verbis
                   test, In re Bond, 910 F.2d 831, 832-33 (Fed.Cir.1990). Second, the
                   reference must “enable one of ordinary skill in the art to make the
                   invention without undue experimentation.” Impax Labs., Inc. v.
                   Aventis Pharms. Inc., 545 F.3d 1312, 1314 (Fed.Cir.2008); see In
                   re LeGrice, 49 C.C.P.A. 1124, 301 F.2d 929, 940-44 (1962). As
                   long as the reference discloses all of the claim limitations and
                   enables the “subject matter that falls within the scope of the claims
                   at issue,” the reference anticipates -- no “actual creation or
                   reduction to practice” is required. Schering Corp. v. Geneva
                   Pharms., Inc., 339 F.3d 1373, 1380-81 (Fed.Cir.2003); see In re
                   Donohue, 766 F.2d 531, 533 (Fed.Cir.1985). This is so despite the
                   fact that the description provided in the anticipating reference
                   might not otherwise entitle its author to a patent. See Vas-Cath
                   Inc. v. Mahurkar, 935 F.2d 1555, 1562 (Fed.Cir.1991) (discussing
                   the “distinction between a written description adequate to support a
                   claim under § 112 and a written description sufficient to anticipate
                   its subject matter under § 102(b)”).

   In re Gleave, 560 F.3d 1331, 1334 (Fed. Cir. 2009).

                   2.      Obviousness

           Under section 103 of the Patent Act, a patent claim is invalid “if the differences

   between the subject matter sought to be patented and the prior art are such that the subject

   matter as a whole would have been obvious at the time the invention was made to a

   person having ordinary skill in the art to which said subject matter pertains.” 13 35 U.S.C.

   § 103. While the ultimate determination of whether an invention would have been

   obvious is a legal conclusion, it is based on “underlying factual inquiries including: (1)

   the scope and content of the prior art; (2) the level of ordinary skill in the art; (3) the

   differences between the claimed invention and the prior art; and (4) objective evidence of




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     The standard for determining whether a patent or publication is prior art under section
   103 is the same as under 35 U.S.C. § 102, which is a legal question. Panduit Corp. v.
   Dennison Mfg. Co., 810 F.2d 1561, 1568 (Fed. Cir. 1987).

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   nonobviousness.” Eli Lilly and Co. v. Teva Pharmaceuticals USA, Inc., 619 F.3d 1329

   (Fed. Cir. 2010).

           The objective evidence, also known as “secondary considerations,” includes

   commercial success, long felt need, and failure of others. Graham v. John Deere Co.,

   383 U.S. 1, 13-17 (1966); Dystar Textilfarben GmbH v. C.H. Patrick Co., 464 F.3d 1356,

   1361 (Fed. Cir. 2006). “[E]vidence arising out of the so-called ‘secondary

   considerations’ must always when present be considered en route to a determination of

   obviousness.” Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530, 1538 (Fed. Cir. 1983).

   Secondary considerations, such as commercial success, will not always dislodge a

   determination of obviousness based on analysis of the prior art. See KSR Int’l Co. v.

   Teleflex Inc., 550 U.S. 398, 426 (2007) (commercial success did not alter conclusion of

   obviousness).

           “One of the ways in which a patent’s subject matter can be proved obvious is by

   noting that there existed at the time of invention a known problem for which there was an

   obvious solution encompassed by the patent’s claims.” KSR, 550 U.S. at 419-20. “[A]ny

   need or problem known in the field of endeavor at the time of invention and addressed by

   the patent can provide a reason for combining the elements in the manner claimed.” Id.

           Specific teachings, suggestions, or motivations to combine prior art may provide

   helpful insights into the state of the art at the time of the alleged invention. Id. at 420.

   Nevertheless, “an obviousness analysis cannot be confined by a formalistic conception of

   the words teaching, suggestion, and motivation, or by overemphasis on the importance of

   published articles and the explicit content of issued patents. The diversity of inventive

   pursuits and of modern technology counsels against limiting the analysis in this way.” Id.

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   “Under the correct analysis, any need or problem known in the field of endeavor at the

   time of invention and addressed by the patent can provide a reason for combining the

   elements in the manner claimed.” Id. A “person of ordinary skill is also a person of

   ordinary creativity.” Id. at 421.

           Nevertheless, “the burden falls on the patent challenger to show by clear and

   convincing evidence that a person of ordinary skill in the art would have had reason to

   attempt to make the composition or device, or carry out the claimed process, and would

   have had a reasonable expectation of success in doing so.” PharmaStem Therapeutics,

   Inc. v. ViaCell, Inc., 491 F.3d 1342, 1360 (Fed. Cir. 2007); see KSR, 550 U.S. at 416 (a

   combination of elements must do more than yield a predictable result; combining

   elements that work together in an unexpected and fruitful manner would not have been

   obvious). 14

                  3.      Enablement

           The Patent Act requires that “[t]he full scope of the claimed invention . . . be

   enabled.” Sitrick v. Dreamworks, LLC, 516 F.3d 993, 999 (Fed. Cir. 2008); see also

   Northpoint Tech. Ltd. v. MDS America Inc., 413 F.3d 1301, 1308-10 (Fed. Cir. 2005)

   (affirming a finding of invalidity for lack of enablement due to the patent’s failure to

   disclose an embodiment with an antenna that met the “directional reception range”

   limitation of each claim). Namely, “[a] patentee who chooses broad claim language must

   make sure the broad claims are fully enabled. ‘The scope of the claims must be less than

   or equal to the scope of enablement’ to ‘ensure[] that the public knowledge is enriched by

   14
     Further, “when the prior art teaches away from combining certain known elements,
   discovery of a successful means of combining them is more likely to be nonobvious.”
   KSR, 550 U.S. at 416 (citing United States v. Adams, 383 U.S. 39, 52 (1966)).

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   the patent specification to a degree at least commensurate with the scope of the claims.’”

   Sitrick, 516 F.3d at 999 (quoting National Recovery Techs., Inc. v. Magnetic Separation

   Sys., Inc., 166 F.3d 1190, 1195-96 (Fed. Cir. 1999)). The enablement requirement is

   satisfied when one skilled in the art, after reading the specification, could practice the

   claimed invention without undue experimentation. AK Steel Corp. v. Sollac & Ugine,

   344 F.3d 1234, 1244 (Fed. Cir. 2003), citing In re Wands, 858 F.2d 731, 737 (Fed. Cir.

   1988).

                    The question of undue experimentation is a matter of degree, and
            what is required is that the amount of experimentation not be “unduly
            extensive.” Chiron Corp. v. Genentech, Inc., 363 F.3d 1247, 1253 (Fed.
            Cir. 2004) (quoting PPG Indus., Inc. v. Guardian Indus., Corp., 75 F.3d
            1558, 1564 (Fed. Cir. 1996)). For example, the fact that a clinician’s
            involvement may be necessary to determine effective amounts of the
            single compound effervescent agent and its corresponding soluble acid
            source does not itself constitute undue experimentation. See Ortho–
            McNeil Pharm., Inc. v. Mylan Labs., Inc., 520 F.3d 1358, 1365–66 (Fed.
            Cir. 2008) (“[E]ven if clinical trials informed the anticonvulsively
            effective amount, this record does not show that extensive or ‘undue’ tests
            would be required to practice the invention.”). In addition, extensive
            experimentation does not necessarily render the experiments unduly
            extensive where the experiments involve repetition of known or
            commonly used techniques. See Johns Hopkins Univ. v. CellPro, Inc.,
            152 F.3d 1342, 1360 (Fed. Cir. 1998) (finding that the difficulty in
            producing certain antibodies could not be attributed to the shortcomings in
            the disclosure of the patent at issue, but rather, the difficulty was attributed
            to the technique commonly used during experimentation that generally
            required repetition). Thus, the focus “is not merely quantitative, since a
            considerable amount of experimentation is permissible, if it is merely
            routine, or if the specification in question provides a reasonable amount of
            guidance . . . .” PPG Indus., Inc., 75 F.3d at 1564 (citation and quotation
            omitted).

   Cephalon, Inc. v. Watson Pharms., Inc., 70 F.3d 1330, 1338-39 (Fed. Cir. 2013).

            Enablement is determined from the viewpoint of persons of ordinary skill in the

   field of the invention at the time the patent application was filed. Ajinomoto Co., Inc. v.


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   Archer-Daniels-Midland Co., 228 F.3d 1338, 1345 (Fed. Cir. 2000). A claim in an

   issued patent can be rendered invalid due to lack of enablement if its scope is not fully

   enabled. Id.

                  4.      Written Description

          The issue of whether a patent is invalid for failure to meet the written description

   requirement of 35 U.S.C. § 112, ¶ 1 is a question of fact. Bard Peripheral Vascular, Inc.

   v. W.L. Gore & Assocs., Inc., 670 F.3d 1171, 1188 (Fed. Cir. 2012). A patent’s written

   description must clearly allow persons of ordinary skill in the art to recognize that the

   inventor invented what is claimed. The test for sufficiency of a written description is

   “whether the disclosure of the application relied upon reasonable conveys to those skilled

   in the art that the inventor had possession of the claimed subject matter as of the filing

   date.” Id. (quoting Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir.

   2010) (en banc)).

                  5.      Indefiniteness

          The definiteness requirement of 35 U.S.C. § 112 ensures that the patent claims

   particularly point out and distinctly claim the subject matter that the patentee regards to

   be the invention. See 35 U.S.C. § 112, ¶ 2; Metabolite Labs., Inc. v. Lab. Corp. of Am.

   Holdings, 370 F.3d 1354, 1366 (Fed. Cir. 2004). If a claim’s legal scope is not clear

   enough so that a person of ordinary skill in the art could determine whether or not a

   particular product infringes, the claim is indefinite, and is, therefore, invalid. Geneva

   Pharm., Inc. v. GlaxoSmithKline PLC, 349 F.3d 1373, 1384 (Fed. Cir. 2003). 15


   15
     Indefiniteness is a question of law. IGT v. Bally Gaming Int’l, Inc., 659 F.3d 1109
   (Fed. Cir. 2011).

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             Thus, it has been found that:

                    When a proposed construction requires that an artisan make a
                    separate infringement determination for every set of circumstances
                    in which the composition may be used, and when such
                    determinations are likely to result in differing outcomes
                    (sometimes infringing and sometimes not), that construction is
                    likely to be indefinite.

   Halliburton Energy Servs. v. M-I LLC, 514 F.3d 1244, 1255 (Fed. Cir. 2008).

             The Supreme Court addressed the issue of indefiniteness, and stated that a finding

   of indefiniteness should not be found if the claims, “viewed in light of the specification

   and prosecution history, inform those skilled in the art about the scope of the invention

   with reasonable certainty.” Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 910

   (2014).

             The burden is on the accused infringer to come forward with clear and convincing

   evidence to prove invalidity. See Young v. Lumenis, Inc., 492 F.3d 1336, 1344 (Fed. Cir.

   2007) (“A determination that a patent claim is invalid for failing to meet the definiteness

   requirement in 35 U.S.C. § 112, ¶ 2 is a legal question reviewed de novo.”).

                    6.      Inventorship

             “The burden of showing misjoinder or nonjoinder of inventors is a heavy one.”

   BJ Servs. Co. v. Halliburton Energy Servs., Inc., 338 F.3d 1368, 1373–74 (Fed. Cir.

   2003). 35 U.S.C. § 116 provides the standard for joint inventorship:

             When an invention is made by two or more persons jointly, they shall
             apply for patent jointly and each make the required oath, except as
             otherwise provided in this title. Inventors may apply for a patent jointly
             even though (1) they did not physically work together or at the same time,
             (2) each did not make the same type or amount of contribution, or (3) each
             did not make a contribution to the subject matter of every claim of the
             patent.


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   35 U.S.C. § 116.
           “Because conception is the touchstone of inventorship, each joint inventor must

   generally contribute to the conception of the invention.” Ethicon, Inc. v. U.S. Surgical

   Corp., 135 F.3d 1456, 1460 (Fed. Cir. 1998). Conception exists “when a definite and

   permanent idea of an operative invention, including every feature of the subject matter

   sought to be patented, is known.” Sewall v. Walters, 21 F.3d 411, 415 (Fed. Cir. 1994).

   In other words, conception is only complete when the “idea is so clearly defined in the

   inventor's mind that only ordinary skill would be necessary to reduce the invention to

   practice, without extensive research or experimentation.” Burroughs Wellcome Co. v.

   Barr Labs., Inc., 40 F.3d 1223, 1228 (Fed. Cir. 1994).

          Inventorship is a question of law based on underlying factual determinations.

   Vapor Point LLC v. Moorhead, 832 F.3d 1343, 1348 (Fed. Cir. 2016).

                  7.     Inequitable Conduct

          “To prevail on a claim of inequitable conduct, the accused infringer must prove

   that the patentee acted with the specific intent to deceive the PTO.” Therasense, Inc. v.

   Becton, Dickinson & Co., 649 F.3d 1276, 1290 (Fed. Cir. 2011) (en banc). “In other

   words, the accused infringer must prove by clear and convincing evidence that the

   applicant knew of the reference, knew that it was material, and made a deliberate decision

   to withhold it.” Id. “[T]o meet the clear and convincing evidence standard, the specific

   intent to deceive must be the single most reasonable inference able to be drawn from the

   evidence,” and thus, “when there are multiple reasonable inferences that may be drawn,

   intent to deceive cannot be found.” Id. at 1290-91 (citations omitted). “Intent and

   materiality are separate requirements,” and thus a court “may not infer intent solely from

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   materiality. Instead, a court must weigh the evidence of intent to deceive independent of

   its analysis of materiality.” Id. at 1290. “The absence of a good faith explanation for

   withholding a material reference does not, by itself, prove intent to deceive.” Id. at 1291.

           D.      Domestic Industry

           A violation of section 337(a)(1)(B), (C), (D), or (E) can be found “only if an

   industry in the United States, with respect to the articles protected by the patent,

   copyright, trademark, mask work, or design concerned, exists or is in the process of being

   established.” 19 U.S.C. § 1337(a)(2). Section 337(a) further provides:

                   (3) For purposes of paragraph (2), an industry in the United States
                   shall be considered to exist if there is in the United States, with
                   respect to the articles protected by the patent, copyright, trademark,
                   mask work, or design concerned—

                       (A) significant investment in plant and equipment;

                       (B) significant employment of labor or capital; or

                       (C) substantial investment in its exploitation, including
                       engineering, research and development, or licensing.

   19 U.S.C. § 1337(a)(3).

           These statutory requirements consist of an economic prong (which requires

   certain activities) 16 and a technical prong (which requires that these activities relate to the


   16
      The Commission practice is usually to assess the facts relating to the economic prong
   at the time that the complaint was filed. See Certain Coaxial Cable Connectors and
   Components Thereof and Products Containing Same, Inv. No. 337-TA-560, Comm’n Op.
   at 39 n.17 (Apr. 14, 2010) (“We note that only activities that occurred before the filing of
   a complaint with the Commission are relevant to whether a domestic industry exists or is
   in the process of being established under sections 337(a)(2)-(3).”) (citing Bally/Midway
   Mfg. Co. v. U.S. Int’l Trade Comm’n, 714 F.2d 1117, 1121 (Fed. Cir. 1983)). In some
   cases, however, the Commission will consider later developments in the alleged industry,
   such as “when a significant and unusual development occurred after the complaint has
   been filed.” See Certain Video Game Systems and Controllers, Inv. No. 337-TA-743,
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   intellectual property being protected). Certain Stringed Musical Instruments and

   Components Thereof, Inv. No. 337-TA-586, Comm’n Op. at 13 (May 16, 2008)

   (“Stringed Musical Instruments”). The burden is on the complainant to show by a

   preponderance of the evidence that the domestic industry requirement is satisfied.

   Certain Multimedia Display and Navigation Devices and Systems, Components Thereof,

   and Products Containing Same, Inv. No. 337-TA-694, Comm’n Op. at 5 (July 22, 2011)

   (“Navigation Devices”).

          With respect to the economic prong, and whether or not section 337(a)(3)(A) or

   (B) is satisfied, the Commission has held that “whether a complainant has established that

   its investment and/or employment activities are significant with respect to the articles

   protected by the intellectual property right concerned is not evaluated according to any

   rigid mathematical formula.” Certain Printing and Imaging Devices and Components

   Thereof, Inv. No. 337-TA-690, Comm’n Op. at 27 (Feb. 17, 2011) (“Printing and

   Imaging Devices”) (citing Certain Male Prophylactic Devices, Inv. No. 337 TA-546,

   Comm’n Op. at 39 (Aug. 1, 2007)). Rather, the Commission examines “the facts in each

   investigation, the article of commerce, and the realities of the marketplace.” Id. “The

   determination takes into account the nature of the investment and/or employment

   activities, ‘the industry in question, and the complainant’s relative size.’” Id. (citing

   Stringed Musical Instruments at 26).

          With respect to section 337(a)(3)(C), whether an investment in domestic industry

   is “substantial” is a fact-dependent inquiry for which the complainant bears the burden of

   Comm’n Op., at 5-6 (Jan. 20, 2012) (“[I]n appropriate situations based on the specific
   facts and circumstances of an investigation, the Commission may consider activities and
   investments beyond the filing of the complaint.”).

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   proof. Stringed Musical Instruments at 14. There is no minimum monetary expenditure

   that a complainant must demonstrate to qualify as a domestic industry under the

   “substantial investment” requirement of this section. Id. at 25. There is no need to define

   or quantify an industry in absolute mathematical terms. Id. at 26. Rather, “the

   requirement for showing the existence of a domestic industry will depend on the industry

   in question, and the complainant’s relative size.” Id. at 25-26.

          Investments in plant and equipment, labor, and capital that are also related to

   research and development or licensing may be considered under subparagraph (C) as well

   as under subparagraphs (A) and (B). Certain Optoelectronic Devices for Fiber Optic

   Communications, Components Thereof, and Products Containing the Same, Inv. No.

   337-TA-860, USITC Pub. No. 4852, Comm’n Op. at 15 (Nov. 2018); Certain Solid State

   Storage Drives, Stacked Electronics Components, and Products Containing Same, Inv.

   No. 337-TA-1097, Comm’n Op. at 14 (June 29, 2018) (“[T]he text of the statute, the

   legislative history, and Commission precedent do not support narrowing subsections (A)

   and (B) to exclude non-manufacturing activities, such as investments in engineering and

   research and development. Rather, the guiding principle is whether the asserted

   expenditures satisfy the plain language of the statute.”); Certain Marine Sonar Imaging

   Devices, Including Downscan and Sidescan Devices, Products Containing the Same, and

   Components Thereof, Inv. No. 337-TA-921, Comm’n Op. at 58-59, 64, 66 (Jan. 6, 2016)

   (reversing finding that expenses could not be counted under both subparagraphs (B) and

   (C); holding that the same R&D expenses “separately constitute[d]” a domestic industry

   under each subparagraph).



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   IV.     U.S. Patent No. 9,499,721

           U.S. Patent No. 9,499,721 (“the ‘721 patent”), entitled “Colloidal Silica

   Chemical-Mechanical Polishing Composition,” issued on November 22, 2016, to named

   inventors Steven Grumbine, Jeffrey Dysard, Ernest Shen, and Mary Cavanaugh. JX-

   0001 (‘721 Patent). The application leading to the ‘721 patent was filed on June 25,

   2015, and claims priority to a provisional application filed on June 25, 2014. See id.; JX-

   0027 (Provisional Patent Application 62/017100). In the BRIEF SUMMARY OF THE

   INVENTION section, the ‘721 patent states, “A chemical-mechanical polishing

   composition is disclosed for polishing a semiconductor substrate.” JX-0001 at 2:15-16.

           The ‘721 patent has 46 claims, including 2 independent and 44 dependent claims.

   See JX-0001 (‘721 Patent). For infringement, CMC asserts claims 1, 3–4, 6, 10–11, 13–

   14, 17–20, 24, 26–29, 31, 35–37, 39–44, and 46. See Compl. Br. at xix, 45. With respect

   to domestic industry, CMC asserts claims 1, 3–11, 13–21, 23, 26–29, 31–36, and 38–44.

   See id. at xix, 92-93.

           As discussed below, the evidence shows that (1) the asserted claims are infringed

   by the accused products; (2) complainant has satisfied the technical prong of the domestic

   industry requirement; and (3) the asserted claims are not invalid.

           Asserted independent claims 1 and 26 read as follows:

                   1. A chemical mechanical polishing composition
                       comprising:
                            a water based liquid carrier;
                            colloidal silica abrasive particles dispersed in the
                                liquid carrier;
                            a chemical species incorporated in the colloidal
                                silica abrasive particles internal to an outer
                                surface thereof, wherein the chemical species is

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                          a nitrogen containing compound or a
                          phosphorus containing compound;
                      a pH in a range from about 3.5 to about 6;
                      wherein the colloidal silica abrasive particles have a
                         permanent positive charge of at least 15 mV; and
                      wherein the chemical species is not an aminosilane
                         or a phosphonium silane.

                 26. A chemical mechanical polishing composition
                     comprising:
                      a water based liquid carrier;
                      colloidal silica abrasive particles dispersed in the
                          liquid carrier;
                      a chemical species incorporated in the colloidal
                          silica abrasive particles internal to an outer
                          surface thereof, wherein the chemical species is
                          a nitrogen containing compound or a
                          phosphorus containing compound;
                      a pH in a range from about 1.5 to about 7;
                      wherein the colloidal silica abrasive particles have a
                         permanent positive charge of at least 13 mV; and
                      wherein an aminosilane compound is bonded with
                         the outer surface of the colloidal silica abrasive
                         particles.

   JX-0001 (‘721 Patent) at 39:63-40:9, 41:49-62 (emphasis added).

          A.     Claim Construction

                 1.     Applicable Law

          Claim construction begins with the plain language of the claim. 17 Claims should

   be given their ordinary and customary meaning as understood by a person of ordinary



   17
     Only those claim terms that are in controversy need to be construed, and only to the
   extent necessary to resolve the controversy. Vanderlande Indus. Nederland BV v. Int’l
   Trade Comm., 366 F.3d 1311, 1323 (Fed. Cir. 2004); Vivid Tech., Inc. v. American Sci. &
   Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999).

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   skill in the art, viewing the claim terms in the context of the entire patent. 18 Phillips v.

   AWH Corp., 415 F.3d 1303, 1312-13 (Fed. Cir. 2005), cert. denied, 546 U.S. 1170

   (2006).

             In some instances, claim terms do not have particular meaning in a field of art,

   and claim construction involves little more than the application of the widely accepted

   meaning of commonly understood words. Phillips, 415 F.3d at 1314. “In such

   circumstances, general purpose dictionaries may be helpful.” Id.

             In many cases, claim terms have a specialized meaning, and it is necessary to

   determine what a person of skill in the art would have understood the disputed claim

   language to mean. “Because the meaning of a claim term as understood by persons of

   skill in the art is often not immediately apparent, and because patentees frequently use

   terms idiosyncratically, the court looks to ‘those sources available to the public that show

   what a person of skill in the art would have understood disputed claim language to

   mean.’” Phillips, 415 F.3d at 1314 (quoting Innova/Pure Water, Inc. v. Safari Water

   Filtration Sys., Inc., 381 F.3d 1111, 1116 (Fed. Cir. 2004)). The public sources identified

   in Phillips include “the words of the claims themselves, the remainder of the

   specification, the prosecution history, and extrinsic evidence concerning relevant

   scientific principles, the meaning of technical terms, and the state of the art.” Id. (quoting

   Innova, 381 F.3d at 1116).


   18
     Factors that may be considered when determining the level of ordinary skill in the art
   include: “(1) the educational level of the inventor; (2) type of problems encountered in
   the art; (3) prior art solutions to those problems; (4) rapidity with which innovations are
   made; (5) sophistication of the technology; and (6) educational level of active workers in
   the field.” Environmental Designs, Ltd. v. Union Oil Co., 713 F.2d 693, 696 (Fed. Cir.
   1983), cert. denied, 464 U.S. 1043 (1984).

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          In cases in which the meaning of a claim term is uncertain, the specification

   usually is the best guide to the meaning of the term. Phillips, 415 F.3d at 1315. As a

   general rule, the particular examples or embodiments discussed in the specification are

   not to be read into the claims as limitations. Markman v. Westview Instruments, Inc., 52

   F.3d 967, 979 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996). The specification

   is, however, always highly relevant to the claim construction analysis, and is usually

   dispositive. Phillips, 415 F.3d at 1315 (quoting Vitronics Corp. v. Conceptronic, Inc., 90

   F.3d 1576, 1582 (Fed. Cir. 1996)). Moreover, “[t]he construction that stays true to the

   claim language and most naturally aligns with the patent’s description of the invention

   will be, in the end, the correct construction.” Id. at 1316.

          Claims are not necessarily, and are not usually, limited in scope to the preferred

   embodiment. RF Delaware, Inc. v. Pacific Keystone Techs., Inc., 326 F.3d 1255, 1263

   (Fed. Cir. 2003); Decisioning.com, Inc. v. Federated Dep’t Stores, Inc., 527 F.3d 1300,

   1314 (Fed. Cir. 2008) (“[The] description of a preferred embodiment, in the absence of a

   clear intention to limit claim scope, is an insufficient basis on which to narrow the

   claims.”). Nevertheless, claim constructions that exclude the preferred embodiment are

   “rarely, if ever, correct and require highly persuasive evidentiary support.” Vitronics, 90

   F.3d at 1583. Such a conclusion can be mandated in rare instances by clear intrinsic

   evidence, such as unambiguous claim language or a clear disclaimer by the patentees

   during patent prosecution. Elekta Instrument S.A. v. O.U.R. Sci. Int’l, Inc., 214 F.3d

   1302, 1308 (Fed. Cir. 2000); Rheox, Inc. v. Entact, Inc., 276 F.3d 1319 (Fed. Cir. 2002).

          If the intrinsic evidence does not establish the meaning of a claim, then extrinsic

   evidence may be considered. Extrinsic evidence consists of all evidence external to the

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   patent and the prosecution history, and includes inventor testimony, expert testimony, and

   learned treatises. Phillips, 415 F.3d at 1317. Inventor testimony can be useful to shed

   light on the relevant art. In evaluating expert testimony, a court should discount any

   expert testimony that is clearly at odds with the claim construction mandated by the

   claims themselves, the written description, and the prosecution history, in other words,

   with the written record of the patent. Id. at 1318. Extrinsic evidence may be considered

   if a court deems it helpful in determining the true meaning of language used in the patent

   claims. Id.

                  2.     A Person of Ordinary Skill in the Art

          CMC argues:

                   The appropriate level of ordinary skill in the art for the ‘721 Patent
          is an individual who, as of the priority date, had a bachelor’s degree in
          materials science, chemistry, chemical engineering, or a closely related
          field, with three or more years of experience in processing of electronic
          materials. SPreHBr at 38; CX-0006C (Dauskardt DWS) at Q/A 41. The
          minor differences in Respondents’ proposed level of skill do not impact
          the substantive arguments or analysis although, as noted herein below,
          certain of Respondents’ experts, including at least Dr. Klein and Dr.
          Miller, approach certain Section 112 issues without sufficiently
          considering the perspective and base knowledge of a person having
          experience in CMP slurries—the field of the invention of the ‘721
          Patent—and those opinions therefore should be viewed with skepticism
          for at least that reason, and because these experts would not qualify as
          POSAs under this standard. See CX-0006C (Dauskardt DWS) at Q/A 42–
          43; Hg. Tr. (Klein) at 414:25–416:22 (testifying that she “never worked in
          CMP industry,” “never developed a CMP slurry,” “never developed a
          colloidal silica particle for use in a CMP slurry,” “never operated a CMP
          machine,” and did not speak with anyone “to get their views on the issues
          from a perspective of a CMP scientist”); Hg. Tr. (Miller) at 370:9–371:12
          (testifying that he has “never researched or developed any CMP slurries,”
          “never tested a CMP slurry,” and never “had any prior experience at all
          with CMP”); RX-1075C (Miller DWS) at Q/A 33–36; RX-1073C (Klein
          DWS) at Q/A 33.

     Compl. Br. at 16-17.

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          Respondents argue:

                 A person of ordinary skill in the art (“POSA”) for the ‘721 patent
          should be defined as:

                  A person with an advanced degree involving materials science,
                  chemistry, applied physics, mechanical engineering, or the like,
                  and at least two years of experience designing, developing, or
                  researching in the field of CMP slurries and/or colloid science, or
                  alternatively, that person would have had a bachelor’s degree
                  involving materials science, chemistry, applied physics,
                  mechanical engineering, or the like, and at least three years of
                  experience designing, developing, or researching in the field of
                  CMP slurries and/or colloid science.

          RX-1076C (Raghavan WS) at QA 70-72. This definition is consistent
          with, inter alia, the background of named inventors (E.g., CX-0004C
          (Dysard WS), ¶6 (Ph.D. in chemistry), CX-0002C (Grumbine WS), ¶6
          (Ph.D. in chemistry)) and the prior art. See Daiichi Sankyo Co., Ltd. v.
          Apotex, Inc., 501 F.3d 1254, 1256 (Fed. Cir. 2007).

     Resps. Br. at 18.

          The Staff argues, “Although the Staff is of the view that there are no material

   differences between the proposed definitions that would significantly affect any analysis

   in this investigation, for purposes of its analysis, the Staff has adopted CMC’s proposed

   definition.” Staff Br. at 35.

          As shown, CMC proposes a broader experience in “processing of electronic

   materials” whereas respondents propose experience specific to the “field of CMP slurries

   and/or colloid science.” CMC’s proposed broader level of ordinary skill is more

   persuasive, and respondents’ proposed experience requirement is too restrictive. Indeed,

   as seen by CMC’s arguments above, certain respondents’ experts may not qualify as

   persons of ordinary skill under respondents’ proposed two or three years of experience

   “designing, developing, or researching in the field of CMP slurries and/or colloid



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          composition claims and turns them into hybrid composition/method claims
          that require additional unrecited components (e.g., additives and
          substrates, and even including “industrial scale”) and specific uses (e.g.,
          suitable for commercial scale manufacture is claimed, but “lab-scale”
          production of the same composition is not). Id. at 68. This, then, does not
          broaden the independent claims; it fundamentally transforms and limits
          them. Respectfully, Staff’s proposal should be rejected on both procedural
          and substantive grounds.

   Compl. Br. at 19-20.

          The Staff makes the following four points:

          1.      The Staff’s construction requires that a “chemical mechanical
          polishing composition” combines both mechanical abrasive particles and
          chemical additives, exactly as the plain claim language requires.

          2.      The Staff’s construction also requires that the claimed “chemical
          mechanical polishing” compositions are suitable for polishing various
          target substrates, consistent with the inventors’ explicit and repeated
          statements throughout the specification.

          3.      The Staff’s construction also requires that the claimed CMP
          compositions have desirable utility for CMP applications rendering them
          suitable for CMP processes at an industrial or commercial scale. Both the
          intrinsic and extrinsic evidence support such a requirement.

          4.     Finally, the Staff’s construction is supported by the extrinsic
          evidence, including technical treatises and CMC’s expert testimony.

   Staff Br. at 63-65.

          Respondents argue, in essence, that they agree with the Staff’s ultimate position.

   Respondents’ argument in its entirety is as follows:

                   The proper construction of this term is relevant to the lack of the
          required written description and enabling disclosure for the full scope of
          the ’721 patent claims. Initially, no party proposed any construction of the
          preamble in the Joint Claim Construction statement. See RX-1045
          (11/17/20 Amended Joint Claim Construction chart). However, as the
          Staff Attorney has documented, CMC and its expert subsequently imbued
          the preamble with significant meaning to support its substantive position
          in this case. Staff PreHB at 65-68. For example, CMC read
          “commercially successful” into the preamble to distinguish slurries
          described in its own prior art publications as “particularly useful” in

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          polishing silicon oxide (RX-0025 (U.S. Pat. 7,944,057) at 10:61-63; RX-
          0230 (WO 2009/042073) at 14, ¶ 46), arguing that they were not
          commercially successful. CX-0004C (Dysard WS) QA 13-20.

                  Given the way CMC is reading its own claims in this regard, the
          law would require that the preamble, read by CMC as requiring a
          commercially optimized CMP slurry to support nonobviousness, would
          also require CMC to fully describe and enable production of commercially
          optimized CMP slurries for the full scope of its claims in order to satisfy
          the requirements of 35 U.S.C. §112. Claims are not a “nose of wax” to be
          twisted one way to prevail on a first issue and some other way to prevail
          on a second issue. Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576,
          1583 (Fed. Cir. 1996). As the Staff Attorney ably demonstrated at trial,
          CMC’s own reliance on the preamble, if successful, compels a conclusion
          of invalidity for failure to comply with at least the written description and
          enablement requirements of 35 U.S.C. §112. See § VIII.

   Resps. Br. at 28-29. 19

          The substantive disputes regarding the preamble are: (1) whether the preamble is

   limiting and needs construction; and (2) whether the Staff’s proposed construction is

   proper. With respect to the first issue, the preamble of claims 1 and 26 is not limiting. 20


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      As an initial matter, CMC argues, “As a procedural matter, Staff’s proposed
   construction of the preamble is untimely, as set forth in CMC’s pending motion to
   strike.” Compl. Br. at 20 (citing Motion Docket No. 1204-34 (EDIS Doc. ID No.
   732291). The administrative law judge agrees that the Staff’s proposed construction of
   the preamble is untimely. Nonetheless, the issue has been fully briefed, and in the
   interest of developing a full record, it is determined that the claim term should be
   construed. Motion No. 1204-34 is denied.
   20
      CMC’s expert explained that the preamble “gives meaning” to the claims and, “based
   on [his] review of the entire ‘721 Patent specification,” the “inventors intended to claim a
   chemical mechanical polishing composition used [or configured to achieve desirable
   performance] in CMP process applications (e.g., ILD applications).” See CX-0229C
   (Dauskardt RWS) at Q/A 78; Dauskardt Tr. 715-717. Indeed, as Dr. Dauskardt explained
   at the hearing, “[y]ou would always look to the specification to see what the benefits of
   the composition are.” See Dauskardt Tr. 717, 702-704 (“It is a compositional claim,” so
   the preamble “tells you that is a CMP composition as opposed to … something else;” “it
   tells whoever is reading it that they are going to be learning about the CMP
   composition.”). The Federal Circuit requires more for a preamble to be found limiting.
   Arctic Cat Inc. v. GEP Power Prod., Inc., 919 F.3d 1320, 1328 (Fed. Cir. 2019) (“[A]
   preamble is not limiting ‘where a patentee defines a structurally complete invention in the
                                                57
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   The preamble—a “chemical mechanical polishing composition”—does not provide

   antecedent basis for terms in the body of the claim; “nor does it supply structure needed

   to make the body itself a ‘structurally complete invention.’” Arctic Cat, 919 F.3d at 1329

   (determining that the preamble including “[a] personal recreational vehicle” is not

   limiting). Indeed, the claim term “chemical mechanical polishing composition” is

   “entirely conventional apart from the improvement in the body” of claims 1 and 26. Id.

   at 1329–1330.

           For similar reasons, even if the term is determined to be limiting, it requires no

   further construction. The patent explains that “[c]hemical mechanical polishing

   compositions” “are well known in the art.” JX-0001 (‘721 Patent) at 1:54–56. Neither

   CMC’s expert, nor any one of Dupont’s four experts identified any ambiguity in the term.

   See, e.g., RX-1076C (Raghavan WS) at Q/A 91 (recognizing well known meaning); CX-

   0229C (Dauskardt RWS) at Q/A 66 (same). Nor does anything in this “plain claim

   language” require the addition of “chemical additives,” as the Staff argues. See Staff Br.

   at 63 (“Chemical mechanical polishing is the core focus of the claimed invention that

   gives meaning and purpose to the elements recited in the body of the asserted claims, and

   the specification notes that in addition to the recited colloidal silica abrasive particles,

   chemical additives also play an important role in chemical mechanical polishing.”).

           The claims already recite the essential chemical aspects—including an internal

   “chemical species” and “a water based liquid carrier” at an acidic pH and, for claim 26,


   claim body and uses the preamble only to state a purpose or intended use for the
   invention.’”) (citations omitted). As Dr. Dauskardt testified, the words “a chemical
   mechanical polishing composition” merely indicates a CMP “composition claim,” and
   lists afterwards the “essential features of the invention.” See Dauskardt Tr. 756-757.

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   an “aminosilane” bonded to the particle surface. Moreover, for certain slurries, the

   abrasive particle itself can also “act as a chemical component” without any additional

   additives. See Dysard Tr. 110; Dauskardt Tr. 697 (chemical additives are generally

   optional), 723 (same).

          Accordingly, inasmuch as the Staff’s “proposed construction erroneously reads

   limitations into the claims,” the construction need not be adopted. ActiveVideo Networks,

   Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1326 (Fed. Cir. 2012) (“The district court

   did not err in concluding that these terms have plain meanings that do not require

   additional construction.”); U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568

   (Fed. Cir. 1997) (Claims are not to be construed for the mere purpose of replacing

   understandable claim language with new “construction” language, and courts need not

   construe claims as an “obligatory exercise in redundancy.”).

          The other claims in the ‘721 patent do not support the Staff’s proposed

   construction. Phillips, 415 F.3d at 1314 (“Differences among claims can ... be a useful

   guide in understanding the meaning of particular claim terms.”). Several limitations in

   the Staff’s preamble construction are already recited in dependent claims. For example,

   claims 3, 20, 21, 24, 30, 45, and 46 each recites specific “chemical additives.” See JX-

   0001 (‘721 Patent) at claims 3, 20, 21 (buffering agent), claims 24, 46 (silicon nitrogen

   polishing inhibitor), claim 30 (polycarboxylic acid and poly phosphonic acid), claim 45

   (silicon nitride polishing accelerator). Other dependent method claims recite polishing

   specific “substrates” with specific performance levels. Id. at claims 39–43 (“silicon

   oxygen” substrate), claim 44 (“silicon oxygen” and “silicon nitride” substrates), claims

   45–46 (TEOS and silicon nitride substrates). These claims show that “when the

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   inventor[s] wanted to restrict the claims to require the use of a” particular chemical

   additive or substrate, they “did so explicitly.” Kara Tech. Inc. v. Stamps.com Inc., 582

   F.3d 1341, 1347 (Fed. Cir. 2009).

          The specification does not support the Staff’s construction, as it describes each of

   the Staff’s proposed limitations as additional components that may be used. For

   example, regarding the Staff’s proposal to require “chemical additives,” the Staff cites to

   portions of the ‘721 patent that state that such additives “may be incorporated into the

   claimed CMP compositions” (Staff Br. at 64 (citing JX-0001 at 1:38–64, 6:1–6, 39:14–

   19), and other portions of the specification expressly describe such additives as

   “optional” (JX-0001 at 10:29). Regarding the proposed requirement that the composition

   polish “substantially any substrate,” the Staff relies on a description of how a CMP slurry

   may be utilized in different applications. See Staff Br. at 64 (citing JX-0001 at 15:1–8,

   39:1–19).

          As for the requirement that the composition be suitable for “industrial and

   commercial” processes, the Staff relies only on the background description of a general

   need to reduce costs and increase throughput in CMP. See Staff Br. at 65 (citing JX-0001

   at 1:65–2:11 (“The specification notes that “[t]here is a real need in the industry for CMP

   slurries that provide high throughput at reduced overall costs”—considerations relevant

   to industrial- or commercial- scale CMP rather than lab-scale research.”)). This is not

   lexicography or disavowal and does not justify reading limitations from the patent into

   the claims. Hill-Rom Servs., Inc. v. Stryker Corp., 755 F.3d 1367, 1371 (Fed. Cir. 2014)

   (“We depart from the plain and ordinary meaning of claim terms based on the

   specification in only two instances: lexicography and disavowal.”); see also Intel Corp. v.

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   ITC, 946 F.2d 821, 836 (Fed. Cir. 1991) (“‘Where a specification does not require a

   limitation, that limitation should not be read from the specification into the claims.’”)

   (quoting Specialty Composites v. Cabot Corp., 845 F.2d 981, 987 (Fed. Cir. 1988)).

          Finally, none of the extrinsic evidence cited by the Staff justifies departing from

   the term’s plain and ordinary meaning. Phillips, 415 F.3d at 1319. Treatises that discuss

   “chemicals” and “abrasive particles” (Staff Br. at 65) cannot justify reading the claims to

   require chemical additives that are expressly “optional” in the specification. The Staff

   also cites testimony from Dr. Dauskardt that a chemical additive may be required in a

   CMP composition. Id. at 68. As Dr. Dauskardt explained at the hearing, there is a

   difference between an operational CMP slurry that implements the “essential removal

   mechanism” of CMP—that is, which meets the limitations of the compositions as

   claimed—and a “real manufacturing slurry” in which “there would be other

   components.” See Dauskardt Tr. 711.

          Accordingly, the administrative law judge has determined that the claim term “a

   chemical mechanical polishing composition comprising” should be given its plain and

   ordinary meaning, i.e., “a chemical mechanical polishing composition comprising.”

                  5.      “colloidal silica abrasive particles” (Claims 1, 4–9, 15,
                          18–21, 23, 26, 28–29, 31–34, 38, 40–44)

          Below is a chart showing the parties’ proposed claim constructions.




                                                61
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             Respondents argue that “‘colloidal silica particles’ is an expressly defined term in

   the ’721 patent,” and that “Respondents’ proposed construction directly tracks this

   definition and should be adopted.” Resps. Br. at 29. Respondents also argue that the

   parties’ proposed constructions transform the composition claims into product-by-process

   claims:

                      This term is a “product-by-process” limitation. E.g., Bonito Boats,
             Inc. v. Thunder Craft Boats, Inc., 489 U.S. 141, 158 n.* (1989) (product-
             by-process claim is one in which the claimed product “is defined at least
             in part in terms of the method or process by which it is made”) (citation
             omitted). Acknowledgement that the term is a product-by-process
             limitation is relevant to the inventorship issue because Fuso developed and
             conducted this claimed process step for most, if not all, of the ’721 patent
             examples. See § XII.

   See Resps. Br. at 29.

             Respondents’ claim construction position is not supported. All parties’

   constructions expressly specify that the recited “wet process” “produces structurally

   different particles;” the particles therefore should be interpreted in their structural sense.

   See 3M Innovative Props. Co. v. Avery Dennison Corp., 350 F.3d 1365, 1371–72 (Fed.

   Cir. 2003) (“Words of limitation that can connote with equal force a structural

   characteristic of the product or a process of manufacture are commonly and by default

   interpreted in their structural sense, unless the patentee has demonstrated otherwise.”).

             As in 3M, there is no reason to depart from that default rule here. A POSA would

   have clearly understood that colloidal silica is structurally distinct from other types of

   silica particles, such as fumed silica, and the term does not restrict the claimed particles

   to those produced by a particular method. See CX-0006C (Dauskardt WS) at Q/A 52; see

   also Amgen Inc. v. Hoechst Marion Roussel, Inc., 314 F.3d 1313, 1329 (Fed. Cir. 2003)


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   (“Each of these limitations only excludes human EPO from specific sources and does not

   restrict the claimed EPO to that produced from any particular source or by any particular

   method.”).

          Accordingly, the administrative law judge has determined that the claim term

   “colloidal silica abrasive particles” should be construed to mean “colloidal silica abrasive

   particles that are prepared via a wet process rather than a pyrogenic or flame hydrolysis

   process which produces structurally different particles.”

                  6.      “permanent positive charge of at least [15 or 13] mV”
                          (Claims 1, 19–21, 26, 28, 38)

          Below is a chart showing the parties’ proposed claim constructions.




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    Respondents’ proposal omits the three-step test for measuring permanent positive charge,

    thereby selectively truncating the express definition, and replaces the term “positive

    charge” with the term “zeta potential.” CMC’s and the Staff’s proposed construction is

    consistent with the specification.

           First, the three step filtration test is part of the express definition in the

    specification. See JX-0001 (‘721 Patent) at 11:4–6 (“By permanent positive charge it is

    meant that the positive charge on the silica particles is not readily reversible, for example,

    via flushing, dilution, filtration, and the like.”); 11:14–31 (“Notwithstanding, as used

    herein, a permanent positive charge of at least 6 mV means that the zeta potential of the

    colloidal silica particles remains above 6 mV after the following three step filtration

    test…”). A POSA would have understood these statements to provide an express

    definition that delineates the scope of the claims to require permanent positive charge be

    measured by the recited test. See CX-0006C (Dauskardt WS) at Q/A 54; see also

    Braintree Labs., Inc. v. Novel Labs., Inc., 749 F.3d 1349, 1356 (Fed. Cir. 2014) (finding

    that the part of the specification stating “The terms ‘clinically significant’ as used herein

    are meant to convey…” to be a clear definition and holding “[u]nder our precedent, the

    patentee’s lexicography must govern the claim construction analysis. Therefore, we

    disagree with the district court’s modification of the clear language found in the

    specification.”) (citations omitted).

           Second, respondents replace the term “positive charge” in the inventors’

    definition with the term “zeta potential” without referring to the three-step filtration test

    that precedes measuring zeta potential in that definition. Respondents’ proposal is based

    on the conclusory opinions of their expert. See Resps. Br. at 30; RX-1075C (Miller WS)

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    positive charge” values “result[] from” the internal chemical species alone. CMC

    proposes, and the Staff appears to agree, that the permanent positive charge should be

    measured as the particles exist in the “chemical mechanical polishing composition” as

    claimed, and should cover charge from the internal chemical species as well as charge

    from any aminosilane bonded to the external particle surface.

           The second dispute relates to whether the particles must be divided into sub-

    populations for purposes of the permanent positive charge measurement. Respondents

    and the Staff appear to argue that permanent positive charge must be measured based on

    a sub-population of particles in the Accused Products.

           Whether the claim covers permanent positive charge from internal
           chemical species and externally bonded aminosilane

           Claim 26 in particular requires two sources of permanent positive charge—an

    internally incorporated chemical species [26c] and an externally bonded aminosilane

    [26f]. Although claim 1 does not separately recite an externally bonded aminosilane, it

    does not exclude use of such aminosilane bonding. The “permanent positive charge”

    term in both claims should therefore be construed to account for both acknowledged

    sources of permanent charge (internally incorporated and externally bonded). Phillips,

    415 F.3d at 1314 (“[C]laim terms are normally used consistently throughout the patent.”).

           The specification states that a “permanent positive charge may be the result of

    incorporating the positive charged species in the particle” and “may further result from a

    covalent interaction between the particle and a positively charged species… [i.e., external

    surface treatment]” JX-0001 at 11:6–10; see also JX-0001 at 11:45–48 (“Components

    that are in the particle or are strongly associated (e.g., covalently bonded) with the


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    particle surface remain with the particle such that there tends to be little if any change in

    the positive zeta potential thereof.”), 7:33–37 (“Positively charged colloidal silica

    abrasive particles may alternatively be obtained via incorporating a positively charged

    chemical species into the abrasive particles and then further bonding (via surface treating)

    the same or a different chemical species to the particle surface.”).

           Dr. Dauskardt explained that the “sources” of positive charge in the claims

    include “the chemical species incorporated in the colloidal silica abrasive particles and

    also the aminosilanes that are bounded to the outer surface of the particle.” Dauskardt Tr.

    235; CX-0006C (Dauskardt WS) at Q/A 68. Respondents’ expert, Dr. Klein, also

    admitted that the specification does “not indicate that the threshold value comes from

    inside,” Klein Tr. 432, and does say that “there are species that could be covalently

    bonded to the surface and they would further increase the positive charge” and “because

    they are bonded to the surface, they’re permanent.” See Klein Tr. 431, 429.

           Respondents’ proposed construction seeks to import a functional requirement that

    is not otherwise recited in the claim. In these circumstances, the Federal Circuit’s case

    law is clear: “[w]here the function is not recited in the claim itself by the patentee, we do

    not import such a limitation.” Ecolab, Inc. v. Envirochem, Inc., 264 F.3d 1358, 1367

    (Fed. Cir. 2001). Respondents cite no authority for their contrary position. See Resps.

    Br. at 20; Joint Reply Outline at 2; Resps. Reply Br. at 1-8. The Altiris case cited by

    respondents addresses the entirely different issue of “determining if the steps of a method

    claim that do not otherwise recite an order[] must nonetheless be performed in the order

    in which they are written.” Altiris, Inc. v. Symantec Corp., 318 F.3d at 1363, 1369–1370

    (Fed. Cir. 2003). Likewise, the claims at issue in K-2 Corp. involved the issue of

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    whether functional language expressly recited in the claim dictates the meaning of the

    element preceding it. See K-2 Corp. V. Salomon S.A., 191 F.3d 1356, 1363–64 (Fed. Cir.

    1999). 22 Neither situation is present here, where the claims do not expressly recite the

    functional requirement respondents’ construction imposes.

           The “function” that respondents seek to add—”that the claimed minimum

    permanent positive charge of 13 or 15 mV ‘results from’” only the internal nitrogen or

    phosphorous chemical species—does not actually reflect the function of the internal

    chemical species described in the specification. See Resps. Br. at 20, 22. For example,

    the specification describes that “prior to the surface treatment” the zeta potential of

    particles “may be less than 15 mV (e.g., less than 13 mV or less than 10 mV) at a pH of

    4.” See JX-0001 (‘721 Patent) at 7:62–67. These particles are then combined with an

    “aminosilane compound bonded to the surface” (id.), which Dr. Dauskardt explained

    “would get you above the threshold.” Dauskardt Tr. 237; Klein Tr. 432 (respondents’

    expert also conceding that the “patent specification also discloses embodiments with

    internal chemical species and external surface treatment where zeta potential of the

    particles prior to the surface treatment is less than that threshold value.”). The benefit of

    this structure is that “you are moving some of the charge to the interior and you don’t




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      Kaken Pharm. Co., Ltd. v. Iancu, 952 F.3d 1346, 1352 (Fed. Cir. 2020) and Medrad,
    Inc. v. MRI Devices Corp., 401 F.3d 1313, 1319 (Fed. Cir. 2005) stand for the
    proposition that the invention’s purpose can be considered during claim construction, not
    that that function must be imported into a structural claim. See Resps. Br. at 22. Indeed,
    the Medrad Court acknowledged the widely accepted and “unremarkable proposition”
    that “where a function ‘is not recited in the claim itself by the patentee, we do not import
    such a limitation.’” Medrad, 401 F.3d at 1319 (citing Ecolab). In any event, as
    described below, respondents do not correctly describe the function.

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    have to put as much charge on the surface” and “you get these advantages of having more

    of the surface available for the chemical-mechanical planarization.” Dauskardt Tr. 238.

           Example 15 provides a working example, disclosing a composition in which the

    colloidal silica particles had a zeta potential of 10 or fewer mV before surface treatment,

    and a zeta potential of well over the claimed 15 mV threshold after surface treatment.

    See JX-0001 (‘721 Patent) at 32:57–33:42 (compositions 15D-15G); CX-0229C

    (Dauskardt RWS) at Q/A 95; Tr. 761-762 (compositions 15I and 15J have zeta potential

    of 5 and 10 mV before surface treatment, and then surface treatment in compositions in

    15D, E, G increases zeta potentials to above 26 mV); Klein Tr. 456 (“[P]olishing

    compositions 15D, 15E, 15F, and 15G … all have internal EOPA and an external

    aminosilane surface treatment.”). Respondents’ expert, Dr. Klein, acknowledged that

    particles with this structure would be expected to have permanent positive charge. Klein

    Tr. 456 (testifying that “when [the surface treatment described in Example 15] goes

    through the three-step filtration or washing process … it won’t wash off.”).

           Respondents admit that these are embodiments “to which claim 26 of the patent

    refers” (Resps. Br. at 24) but argue that a “skilled reader” would nonetheless ignore these

    teachings and interpret the claim to require that all the “permanent positive charge”

    comes from the internal species inasmuch as the “chemical species’ limitation appears in

    the claim “before” the reference to aminosilane bonding. Id. at 17–18; see also Klein Tr.

    433 (“Q. [T]here is a timing and an ordering, you think, that’s required here? A. That’s

    my understanding.”). Indeed, respondents’ expert, Dr. Klein, acknowledged that it would

    not be possible to measure the permanent positive charge of compositions practicing

    claim 26 under respondents’ claim construction without using a contrived procedure not

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    described in the specification or recited in the claims. Klein Tr. 433 (“[W]hen the

    particle has both internal chemical species and surface treatment, the zeta potential

    measurements cannot be attributable to only the internal chemical species.”), Klein Tr.

    434 (“I would have to test it before it was surface treated and after its surface treated.”).

           This reading, however, is incorrect. A composition is a mixture, not a recipe or

    set of ordered steps for making the composition. Exxon Chem. Patents, Inc. v. Lubrizol

    Corp., 64 F.3d 1553, 1557–58 (Fed. Cir. 1995) (“Exxon claims a product, not merely a

    recipe for making whatever product results from the use of the recipe ingredients. This

    conclusion respects that which is claimed, namely a chemical composition.”); Baldwin

    Graphic Sys., Inc. v. Siebert, Inc., 512 F.3d 1338, 1344 (Fed. Cir. 2008) (“Courts must

    generally take care to avoid reading process limitations into an apparatus claim because

    the process by which a product is made is irrelevant to the question of whether that

    product infringes a pure apparatus claim.”) (citations omitted); see also Tr. 236 (“This is

    a composition claim. It’s a series of ingredients. It doesn’t matter which order you put

    them in.”).

           Thus, respondents’ argument that “[t]here is no reasonable interpretation of this

    supporting written description other than that the minimal 15 mV positive charge results

    from the internally incorporated species” (Resps. Br. at 22) is incorrect and improperly

    excludes preferred embodiments of the asserted claims. See GE Lighting Sols., LLC v.

    AgiLight, Inc., 750 F.3d 1304, 1311 (Fed. Cir. 2014) (“[W]here claims can reasonably

    [be] interpreted to include a specific embodiment, it is incorrect to construe the claims to

    exclude that embodiment, absent probative evidence on the contrary.”).



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           Whether the term does not require measurement of individual
           particle components before they are added to the composition

           Permanent positive charge is a characteristic of colloidal silica abrasive particles

    in a polishing composition at a specific pH and thus can be measured across all the

    particles of a polishing composition. This is reflected in the claims, which recite a

    composition with colloidal silica abrasive particles at a specific pH of the polishing

    composition (JX-0001 (‘721 Patent) at claims 1, 26) and is also described throughout the

    specification. See JX-0001 (‘721 Patent) at 10:38–39 (“The colloidal silica abrasive

    particles may optionally have a permanent positive charge in the polishing

    composition.”). Indeed, the required “three step filtration test” for “permanent positive

    charge” is described as being performed on a “volume of the polishing composition.” Id.

    at 11:14–17, 11:27–28 (“The zeta potential of the triply filtered and replenished polishing

    composition is then measured and compared with the zeta potential of the original

    polishing composition.”).

           The Staff and respondents, on the other hand, would require that individual

    particles be measured separate and apart from the polishing composition depending on

    whether a specific particle does or does not include an internal chemical species. See

    RX-1401C (Miller RWS) at Q/A 50–54; Resps. Br. at 24-25; Staff Br. at 68. This

    approach distorts the claim. Under respondents’ theory, to prove infringement, the

    patentee would have to obtain a single ingredient of an infringing product, assemble that

    ingredient into a CMP composition, and then measure that new product. However, the

    claims recite a composition, not a method of manufacture.




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            The Staff’s and respondents’ position appears to stem from an assumption that

    internal “chemical species” (and therefore “permanent positive charge” too, for

    consistency) must be measured on a particle-by-particle basis, removing any particle that

    may lack that species before measurement. Nothing in the patent, however, supports

    such a restrictive reading. The claim simply states that that same group of particles must

    be measured to have both an internally-incorporated chemical species and a permanent

    positive charge in the claimed range—it does not concern itself with a particle-by-particle

    assessment of the source of the chemical species within the group. Indeed, given the

    uniform nature of nanoparticles (as shown for example in the patent’s Figure), this would

    be difficult.

            The dependent claims and specification provide additional support for this

    understanding. Indeed, the patent expressly allows for the possibility that the internal

    chemical species may only “become incorporated into at least a portion of the colloidal

    silica particles during growth thereof”—i.e., a portion of the population of particles in the

    polishing composition, but perhaps not all. See JX-0001 (‘721 Patent) at 5:21–41; see

    also id. at 7:33–55; CX-0006C (Dauskardt WS) at Q/A 73. That only means that the

    particles in the composition may have a lower concentration of nitrogen across the full

    population, not that a “smaller sub-population” of particles must be considered and

    measured. It is apparent throughout the intrinsic record that the chemical species is

    measured as a concentration of all the particles in the polishing composition, not just of

    some sub-population confirmed to be the source of that species. For example, dependent

    claim 22 requires a level of chemical species as measured as a concentration of particles.



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    See id. at claim 22 (“the colloidal silica abrasive particles include 0.20 or more weight

    percent nitrogen”).

           The specification also repeatedly states that chemical species are measured as a

    concentration—measured as a molar ratio—of chemical species to silica in the chemical

    species in a composition. See e.g., id. at 3:66-4:3 (“a molar ratio of the chemical species

    to silica in the colloidal silica abrasive particles…” and measuring chemical species as a

    concentration). Indeed, the method of measuring “chemical species” described in the

    patent is to dissolve the entire polishing composition into a mass and measure a

    “[n]itrogen level” as a concentration for all the particles in the “polishing composition.”

    See JX-0001 (‘721 Patent) at 21:7–22 (Table 2 reporting “Nitrogen level” as a

    concentration of nitrogen in a “Polishing Composition), 20:48–53 (dissolving all particles

    in the composition).

           Accordingly, the administrative law judge has determined that the claim term

    “wherein the colloidal silica abrasive particles have a permanent positive charge of at

    least [15 or 13] mV” should be construed to mean “the colloidal silica abrasive particles

    in the chemical mechanical polishing composition have a permanent positive charge of at

    least [15 or 13] mV.”

                   8.       “a chemical species incorporated in the colloidal silica
                            abrasive particles internal to an outer surface thereof”
                            (Claims 1 and 26)

           Below is a chart showing the parties’ proposed claim constructions.




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    language superfluous); Bicon, Inc. v. Straumann Co., 441 F.3d 945, 950 (Fed. Cir. 2006)

    (Claims must be “interpreted with an eye toward giving effect to all terms in the claim.”).

            The specification discloses that, “[w]hile the chemical species is incorporated

    internally in the colloidal silica abrasive particles, it will be understood that a portion of

    the chemical species may be at or near the particle surface (such that the chemical species

    is both internal to the surface and at the surface).” See JX-0001 (‘721 Patent) at 5:21–41.

    This description reinforces that a chemical species must be at least sub-surface but also

    can be at the particle surface, as reflected in CMC proposed construction—not that those

    two terms refer to the same position, as respondents propose. See CX-0006C (Dauskardt

    WS) at Q/A 57.

            Accordingly, the administrative law judge has determined that the claim term “a

    chemical species incorporated in the colloidal silica abrasive particles internal to an outer

    surface thereof” should be construed to mean “the recited chemical species is

    incorporated sub-surface in the interior of the colloidal silica abrasive particles.”

                    9.      “a chemical species incorporated in the colloidal silica
                            abrasive particles internal to an outer surface thereof
                            wherein the chemical species is a nitrogen containing
                            compound or a phosphorus containing compound…”
                            (Claims 1 and 26)

            Below is a chart showing the parties’ proposed claim constructions.




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    infringement is not avoided by the presence of elements or steps in addition to those

    specifically recited in the claim.”).

            Respondents do not identify any special circumstances that justify departing from

    the claim language or standard principles of claim construction. See Resps. Br. at 31-35.

    In fact, respondents’ position appears to conflict with the opinion of their own expert, Dr.

    Klein, who agrees that “yes,” the claim “can include other species that aren’t even recited

    in this claim.” Klein Tr. 423.

            The ‘721 patent specification discloses embodiments that includes two or more

    different chemical species: “[i]t will be understood that the colloidal silica abrasive

    particles may include two or more of the above described chemical species incorporated

    in the particles,” including an aminosilane species and a non-aminosilane species, such as

    a quaternary amine JX-0001 (‘721 Patent) at 4:59–65. Example 13 of the ‘721 patent

    provides a working example of that structure, describing a particle that contains both 3-

    ethyloxypropylamine (“EOPA”)—which is a non-aminosilane nitrogen containing

    compound—and an aminosilane. See JX-0001 (‘721 Patent) at 30:19–43 (Example 13

    describing EOPA and APTMS, an aminosilane), 32:36–42 (confirming that EOPA is

    incorporated using the process of Example 13); CX-0006C (Dauskardt WS) at Q/A 62.

    This embodiment is covered by Claim 1 because one chemical species—the EOPA—is

    not an aminosilane. See CX-0006C (Dauskardt WS) at Q/A 62.

            The Jeneric/Pentron case cited by respondents dealt with a plaintiff trying to

    change and expand the claim, interpreting a range of 0–1% to cover a product containing

    1.61% of material). See Resps. Br. at 34 (citing Jeneric/Pentron, Inc. v. Dillon Co., Inc.,

    205 F.3d 1377 (Fed. Cir. 2000)). It appears that respondents are expanding claim

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    language and seeking to apply to the entire particle a negative limitation that expressly

    applies only to the chemical species.

           Respondents do not provide support for their argument that the existence of other

    related CMC patents that do claim particles with aminosilanes somehow means that the

    particles of claim 1 contain no species that is an aminosilane. See Resps. Br. at 34-35.

    The cases cited by respondents do not support their argument. Those cases state that

    different claims can be directed to different embodiments. Id. Respondents do not

    support their opinion that a limitation requiring a non-aminosilane species is somehow

    not supported by embodiments that include both aminosilane and non-aminosilane. See

    CollegeNet, Inc. v. ApplyYourself, Inc., 418 F.3d 1225, 1235 (Fed. Cir. 2005) (assessing

    claims reciting actions to be performed “automatically” and concluding that “the use of

    ‘comprising’ suggests that additional, unrecited elements are not excluded. Such elements

    could include human actions…This construction does not read ‘automatically’ out of the

    claims, as ApplyYourself suggests, because a machine still performs the claimed

    functions without manual operation, even though a human may initiate or interrupt the

    process.”).

           Finally, the portion of the file history recited by the respondents does not support

    their position and certainly does not meet the “exacting” standard required to limit the

    claim scope. See Resps. Br. at 35; Continental Circuits LLC v. Intel Corp., 915 F.3d 788,

    798 (Fed. Cir.), cert. denied, 140 S. Ct. 648, 205 L. Ed. 2d 390 (2019) (holding “absent

    ‘clear and unmistakable’ language suggesting otherwise, we conclude that the

    aforementioned statements do not meet the ‘exacting’ standard required to limit the scope

    of the claims to a repeated desmear process”) (citing Thorner v. Sony Computer Entm’t

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    Am. LLC, 669 F.3d 1362, 1367 (Fed. Cir. 2012)).

            Specifically, respondents rely on applicants’ statement during prosecution that the

    Fu reference “does not exclude an aminosilane or phosphonium silane, as required by the

    pending claims.” See Resps. Br. at 35 (citing CX-0222 (Certified File History of ‘721

    Patent), 5/18/2016 Applicant Response at 308). The sentence portion quoted by

    respondents by itself is ambiguous as it paraphrases, but does not recite, the language of

    any particular claim.

            For context, the relevant paragraph is reproduced below:




    CX-0222 (Certified File History of ‘721 Patent), 5/18/2016 Applicant Response at 308.

            Read in context, the statement quoted by respondents, which refers to the

    “chemical species” limitation and limits the opinion to that limitation: “Fu does not teach

    a chemical species incorporated in the colloidal silica abrasive particles internal to an

    outer surface thereof.” Id. These statements made in the above paragraph fall short of “a

    clear and unmistakable disclaimer” of the plain claim language. See Thorner, 669 F.3d at

    1367.

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           First, there is nothing ambiguous about the term “bonded with the outer surface.”

    A POSA would have understood this term to cover various ways to arrive at an

    aminosilane compound bonded with the surface of the colloidal silica abrasive particles,

    including treatment of the surface of a particle with an aminosilane compound after it is

    formed and modification of the surface of a particle through a particle growth process

    that includes an aminosilane compound. See CX-0006C (Dauskardt WS) at Q/A 82.

           Second, respondents identify no support in the specification for limiting the

    claims to just one way of bonding an aminosilane compound with the particle surface.

    See Resps. Br. at 36 (“The supporting patent disclosure refers to bonded to the outer

    surface as resulting from subsequent treatment onto the surface of a pre-formed

    particle.”). The ‘721 patent describes both treatment of the surface of a particle after it is

    formed (respondents’ proposal) and modification of the surface of a particle through the

    particle growth process. See CX-0006C (Dauskardt WS) at Q/A 82; JX-0001 (‘721

    Patent) at 30:19–43 (bonding with surface through growth process), 28:22–26 (surface

    treatment after particle is formed). Indeed, the method of modifying a particle’s surface

    during growth is described in detail in Example 13, which is also referenced in numerous

    other examples. See CX-0006C (Dauskardt WS) at Q/A 82; JX-0001 (‘721 Patent) at

    19:31 (Example 1), 22:39 (Example 4), 24:3 (Example 6), 29:66 (Example 11), 29:51

    (Example 12). Respondents’ proposal would improperly exclude this embodiment.

           Moreover, the inventors used the terms “bonded with” and “bonded to” in

    different contexts. “Bonded with” is used in the patent to refer generally to any method

    of surface bonding. See e.g., JX-0001 (‘721 Patent) at 11:45–48 (“Components that are

    in the particle or are strongly associated (e.g., covalently bonded) with the particle

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    surface remain with the particle such that there tends to be little if any change in the

    positive zeta potential thereof.”); see also id. at 2:33, 16:35. “Bonded to” is used to refer

    to specific structures. Id. at 28:23 (describing Example 10B), 32:59 (Example 15), 41:48

    (claim 25). Of these two phrases, the inventors selected one—”bonded with”—for claim

    26. Respondents’ proposal does not give effect to these selected terms. See K–2 Corp.,

    191 F.3d at 1364 (“Courts do not rewrite claims; instead, we give effect to the terms

    chosen by the patentee.”).

           Respondents also propose to modify the claim language by changing “bonded” to

    “chemically bonded,” in order to distinguish other types of weak associations, including

    “electrostatic attraction.” See Resps. Br. at 35 (“Construing the term, as proposed by

    DuPont, to require ‘chemically bonded’ follows from the specification, which

    distinguishes irreversible chemical bonding (e.g., ‘covalent interaction’ or ‘covalent

    bonding’) that leads to a permanent positive charge from reversible weak associations

    (e.g., electrostatic attraction) that do not.”). The word “bonded” already distinguishes

    such weak associations. See, e.g., JX-0001 (‘721 Patent) at 11:45–55 (distinguishing

    components that are “strongly associated (e.g., covalently bonded)” with the particle

    surface—from components that “have a weaker association (e.g., an electrostatic

    interaction)”). For this additional reason, respondents’ construction is not correct.

           Accordingly, the administrative law judge has determined that the claim term

    “bonded with the outer surface of the colloidal silica abrasive particles” should be given

    its plain and ordinary meaning, i.e., “bonded with the outer surface of the colloidal silica

    abrasive particles.”



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    are (1) basic organic compounds, and thus positively charged under acidic conditions,

    derived from ammonia by (2) replacement of hydrogen with one or more monovalent

    hydrocarbon radicals.” Resps. Br. at 36. Yet, respondents’ construction is redundant as

    it uses the word “basic,” as a POSA have understood this from the structural description

    of replacing a hydrogen atom in ammonia with an organic group. See CX-0229C

    (Dauskardt RWS) at Q/A 102.

            Accordingly, the administrative law judge has determined that the claim term

    “amine” should be construed to mean “an organic compound derived by replacing one or

    more of the hydrogen atoms in ammonia by organic groups.”

            B.      Infringement Analysis of the ‘721 Patent

            As noted above, CMC asserts claims 1, 3–4, 6, 10–11, 13–14, 17–20, 24, 26–29,

    31, 35–37, 39–44, and 46 of the ‘721 patent.

            CMC argues, inter alia:

                    Respondents infringe the Asserted Claims, both directly and
            indirectly, by making, selling, using, and importing the Accused Products
            and components thereof. Respondents also sell and provide the Accused
            Products to their customers and other third parties for infringing use in the
            United States. Respondents have few rebuttal arguments. Respondents’
            experts performed no testing of any Accused Product, and Respondents’
            non-infringement positions largely rely on unsupported allegations of a
            “failure of proof.” But extensive technical documents and testimony from
            Respondents, as well as in-depth testing conducted at independent
            laboratories at the direction of CMC’s expert, establish clear proof of
            infringement by each of the Accused Products.

    Compl. Br. at 44; see id. at 44-91.

            Respondents argue that “CMC has failed to establish direct, induced, or

    contributory infringement, either literally or under the Doctrine of Equivalents.” Resps.

    Br. at 49; see id. at 49-80.

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           The Staff argues that “the Staff is of the view that CMC will demonstrate, by a

    preponderance of the evidence, that DuPont infringes the asserted claims.” Staff Br. at

    70; see id. at 70-84.

           For the reasons discussed below, the Accused Products directly infringe claims 1,

    3–4, 10–11, 13–14, 18, 24, 26–29, 35–37. Moreover, each of the Accused Products, at

    “POU” (“point of use”), infringe claims 6, 17, 19–20, 31, and when used by respondents,

    their agents, or their customers, infringe claim 39–44 and 46.

                   1.       Applicable Law

           Under 35 U.S.C. §271(a), direct infringement consists of making, using, offering

    to sell, or selling a patented invention without consent of the patent owner. The

    complainant in a section 337 investigation bears the burden of proving infringement of

    the asserted patent claims by a “preponderance of the evidence.” Certain Flooring

    Products, Inv. No. 337-TA-443, Comm’n Notice of Final Determination of No Violation

    of Section 337, 2002 WL 448690, at *59, (Mar. 22, 2002); Enercon GmbH v. Int’l Trade

    Comm’n, 151 F.3d 1376 (Fed. Cir. 1998).

           Literal infringement of a claim occurs when every limitation recited in the claim

    appears in the accused device, i.e., when the properly construed claim reads on the

    accused device exactly. 23 Amhil Enters., Ltd. v. Wawa, Inc., 81 F.3d 1554, 1562 (Fed.

    Cir. 1996); Southwall Tech. v. Cardinal IG Co., 54 F.3d 1570, 1575 (Fed Cir. 1995).




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      Each patent claim element or limitation is considered material and essential. London v.
    Carson Pirie Scott & Co., 946 F.2d 1534, 1538 (Fed. Cir. 1991). If an accused device
    lacks a limitation of an independent claim, the device cannot infringe a dependent claim.
    See Wahpeton Canvas Co. v. Frontier, Inc., 870 F.2d 1546, 1552 n.9 (Fed. Cir. 1989).

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           If the accused product does not literally infringe the patent claim, infringement

    might be found under the doctrine of equivalents. “Under this doctrine, a product or

    process that does not literally infringe upon the express terms of a patent claim may

    nonetheless be found to infringe if there is ‘equivalence’ between the elements of the

    accused product or process and the claimed elements of the patented invention.” Warner-

    Jenkinson Co., Inc. v. Hilton Davis Chemical Co., 520 U.S. 17, 21 (1997) (citing Graver

    Tank & Mfg. Co. v. Linde Air Products Co., 339 U.S. 605, 609 (1950)). “The

    determination of equivalence should be applied as an objective inquiry on an

    element-by-element basis.” 24 Id. at 40.

           “An element in the accused product is equivalent to a claim limitation if the

    differences between the two are insubstantial. The analysis focuses on whether the

    element in the accused device ‘performs substantially the same function in substantially

    the same way to obtain the same result’ as the claim limitation.” AquaTex Indus. v.

    Techniche Solutions, 419 F.3d 1374, 1382 (Fed. Cir. 2005) (quoting Graver Tank, 339

    U.S. at 608); accord Absolute Software, 659 F.3d at 1139-40. 25

           Prosecution history estoppel can prevent a patentee from relying on the doctrine

    of equivalents when the patentee relinquished subject matter during the prosecution of the

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      “Infringement, whether literal or under the doctrine of equivalents, is a question of
    fact.” Absolute Software, Inc. v. Stealth Signal, Inc., 659 F.3d 1121, 1130 (Fed. Cir.
    2011).
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      “The known interchangeability of substitutes for an element of a patent is one of the
    express objective factors noted by Graver Tank as bearing upon whether the accused
    device is substantially the same as the patented invention. Independent experimentation
    by the alleged infringer would not always reflect upon the objective question whether a
    person skilled in the art would have known of the interchangeability between two
    elements, but in many cases it would likely be probative of such knowledge.”
    Warner-Jenkinson, 520 U.S. at 36.

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    patent, either by amendment or argument. AquaTex, 419 F.3d at 1382. In particular,

    “[t]he doctrine of prosecution history estoppel limits the doctrine of equivalents when an

    applicant makes a narrowing amendment for purposes of patentability, or clearly and

    unmistakably surrenders subject matter by arguments made to an examiner.” Id.

    (quoting Salazar v. Procter & Gamble Co., 414 F.3d 1342, 1344 (Fed. Cir. 2005)).

                   2.      Accused Products

           The Accused Products include respondents’ Optiplane™ 2300 and Optiplane™

    2600 product families and components thereof. The Accused Product families can

    effectively be treated the same for purposes of the infringement issues in this

    investigation. See Compl. Br. at 45; Resps. Br. at 15 (“DuPont’s Optiplane™ 2300 and

    2600 families of CMP slurries” are the “Accused Products,” as discussed throughout

    respondents’ brief, including infringement sections); CX-0006C (Dauskardt WS) at Q/A

    308; RX-1402C (Raghavan RWS) at Q/A 145–48; CX-0007C (Auger Dep. Tr.) at 55

    (“A. All of the ones that you mentioned just now. So, you know, the 2300, 2300A, 2600,

    2601, and 2602, you know, from my perspective,

                ; see also JX-0403C (Joint Stipulation).

           Each Accused Product has different concentrations, including




                                                       . See CX-0006C (Dauskardt WS) at

    Q/A 411–15; JX-0175C (OPTIPLANE 2600 Acidic CMP Slurry) at 19; JX-0242C

    (Optiplane 2601) at 9. When respondents ship the products to customers at

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        , they also instruct customers to dilute the product to bring it to              . See

    CX-0006C (Dauskardt WS) at Q/A 198–211, 414–15, 508.

           In their reply brief, respondents argue, “The Accused Products—Optiplane

    2300™ and Optiplane™ 2600—contain different components and CMC, therefore, must

    address each separately.” Resps. Reply Br. at 16. Respondents argue that “CMC cites

    Dr. Miller’s testimony and his documentary evidence regarding                           silica

    particles in Optiplane™ 2300 as support for showing infringement of all Accused

    Products,” even though “Optiplane™ 2600

                                          ” Id. at 17. Yet, the Joint Stipulation states, (1)

    “Any one of the Optiplane™ 2600, Optiplane™ 2601, Optiplane™ 2602,

           , or Optiplane™ 2300 (            slurries and silica particles thereof are

    representative of all models of the Optiplane™ 2600 product family and silica particles

    thereof;” and “Any one of the Optiplane™ 2300A or Optiplane™ 2300

    slurries and silica particles thereof are representative of all models of the Optiplane™

    2300 product family and silica particles thereof.” JX-0403C (Joint Stipulation) at 1-2

    (emphases added). In their reply brief, respondents, however, do not specify whether the

    the Optiplane™ 2300 they argue is different from Optiplane™ 2600,



           In any event, detailed element-by-element infringement analyses below include

    discussions covering any relevant material differences between the two product families

    (Optiplane™ 2300 and Optiplane™ 2600).

                   3.      Direct Infringement

           As discussed above, CMC asserts claims 1, 3–4, 6, 10–11, 13–14, 17–20, 24, 26–

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    29, 31, 35–37, 39–44, and 46 of the ‘721 patent.

           For the reasons discussed below, the Accused Products directly infringe claims 1,

    3–4, 10–11, 13–14, 18, 24, 26–29, 35–37.

                          a.      Independent Claim 1

                                  i.     [1 pre] A chemical mechanical polishing
                                         composition comprising

           Respondents do not dispute that the preamble of claim 1 is met. See Resps. Br. at

    59–61; RX-1402C (Raghavan RWS) at Q/A 150–78; JX-409C (Respondents’ Response

    to Request for Admission) at Nos. 35, 36. The Accused Products are chemical

    mechanical polishing compositions used for chemical mechanical planarization. See,

    e.g., CX-0006C (Dauskardt WS) at Q/A 316–21. This is shown in respondents’

    marketing material and safety data sheets for the Accused Products. JX-0010 (Dow

    Launches Optiplane); JX-0008 (respondents’ website); JX-0174C (Dow Advanced

    Acidic ILD Slurries - OPTIPLANE 2300); JX-0269C (Safety Data Sheet of Optiplane

    2300A); JX-0270C (Safety Data Sheet: OPTIPLANE 2602 Slurry). 26

                                  ii.    [1a] a water based liquid carrier;

           Respondents do not dispute that this limitation is met. See Resps. Br. at 59–61;

    RX-1402C (Raghavan RWS) at Q/A 150–78; JX-0409C (Respondents’ Response to


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      Even if the Staff’s proposed claim construction were adopted, the Accused Products
    would meet all the various limitations imported into the claims through that construction.
    For example, and even though a full record was never developed and never needed to be
    developed during discovery on these points, the Accused Products all include
                                  , CX-0006C (Dauskardt WS) at Q/A 165, are commercial
    products, id. at Q/A 317–18, and can be used on multiple different substrates. See JX-
    0185C (Optiplane 2300/2600 &                    ) at 22 (showing test results of Optiplane
    2300                       ).

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    Request for Admission) at Nos. 37–39, 40–41. The Accused Products include a water

    based liquid carrier. See, e.g., CX-0006C (Dauskardt WS) at Q/A 322–27. This is shown

    in respondents’ recipes and technical documents (see JX-0207C (

    OPTIPLANE 2300 - Advanced Acidic ILD Slurry); JX-0207C (

    OPTIPLANE 2300 - Advanced Acidic ILD Slurry); JX-0227C (OP2300 & OP2600

    Formulations); JX-0242C (OPTIPLANE 2601 Acidic ILD Slurry Slot into Development

    gate Presentation); JX-0198C (Rohm & Haas Recipe Select - OP2602 Full); JX-0199C

    (Rohm & Haas Recipe Select - OP2602 Full); JX-0391C (Rohm & Haas Recipe Select -

    OP2602 Full)) as well as their safety data sheets (JX-0269C (Safety Data Sheet of

    Optiplane 2300A Slurry); JX-0270C (Safety Data Sheet of OPTIPLANE 2602 Slurry)).

                                   iii.   [1b] colloidal silica abrasive particles
                                          dispersed in the liquid carrier;

           Respondents’ experts do not dispute that this limitation is met by the Accused

    Products under any party’s proposed constructions. See Resps. Br. at 59–61; RX-1402C

    (Raghavan RWS) at Q/A 150–78; Resps. Reply Br. at 13-18. Specifically, both the

    Optiplane 2300 and Optiplane 2600 families include          particles, which are colloidal

    silica abrasive particles under all parties’ proposed constructions. Tr. 293 (Mr. Jacobs

    testifying: “Q. Now, let’s talk about DuPont’s importation of colloidal silica particles into

    the United States. Optiplane 2300 and 2600 products contain           particles as part of

    their mixture, right? A. That is correct.”); CX-0006C (Dauskardt WS) at Q/A 336. This

    claim limitation is met by the colloidal silica abrasive particles in the Optiplane 2300

    family products—

                                                                     . For the same reasons,


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                                  iv.       [1c] a chemical species incorporated in
                                            the colloidal silica abrasive particles
                                            internal to an outer surface thereof,
                                            wherein the chemical species is a nitrogen
                                            containing compound or a phosphorus
                                            containing compound;

            Respondents do not dispute this limitation is met under any party’s proposed

    constructions. See Resps. Br. at 59–61; RX-1402C (Raghavan RWS) at Q/A 151–55;

    CX-0006C (Dauskardt WS) at Q/A 339–352. Specifically, for both the Optiplane 2300

    and Optiplane 2600 families, there is

                                                                                   of the

    colloidal silica abrasive particles. Testing directed and overseen by Dr. Dauskardt

    confirmed that                                  to the population of colloidal silica

    abrasive particles, at                        in the Optiplane 2300 products, and

                      in the Optiplane 2600 products. See CX-0006C (Dauskardt WS) at Q/A

    340–43.

            The source of the                               , and the

                                                                                and when the

    entire population of abrasive particles is considered because

                                                      the silica particles in the population by

    weight. Id. at Q/A 334–36, 343–48; see also JX-0213C (Development of Next-Gen Low

    Abrasive ILD Slurry, OPTIPLANE 2300, Leveraging CMP Mechanism and Particle

    Modification Studies) (indicating that

              ” and DuPont uses

              in the Accused Products); JX-0217C (OP2300 NMR Analysis) (NMR Analysis


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    showing                                                         JX-0231C (Update on New

          Particle) at 9, 10 (showing certain amount of                           JX-0176C

    (CMP Slurry Update) at 12 (listing certain amount of                                JX-

    0247C (Measurement Data) (listing an amount of                                 JX-0167C

    (Low Selective Acidic ILD Slurry Slot into Assessment Gate Presentation) at 9

    (identifying
                            28



           Respondents’ experts do not dispute that the colloidal silica abrasive particles in

    the Accused Products                  . See Tr. 464 (Dr. Klein testifying: “Q. Now, you

    understand that the accused products include particles called        particles, right? A.

    Yes. Q. You understand that                                                               see

    also CX-0010C (Guo Dep. Tr.) at 176 (testifying

                                                                                      ”); id. at

    178–179; see also CX-0007C (Auger Dep. Tr.) at 199; CX-0014C (Mosley Dep. Tr.) at

    184-185, 228. Indeed, the Accused Products are designed to rely on



           ” See CX-0006C (Dauskardt WS) at Q/A 344; JX-0213C (Development of Next-

    Gen Low Abrasive ILD Slurry, OPTIPLANE 2300, Leveraging CMP Mechanism and

    Particle Modification Studies).



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       As discussed above in the Claim Construction section, respondents construe this term
    to mean “the colloidal silica abrasive particles contain within, including at or near, their
    external surfaces one or more chemical species.” While respondents’ construction is
    incorrect,        is contained within, including at or near, the external surfaces of the
    particles. See CX-0006C (Dauskardt WS) at Q/A 350.

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                                 v.     [1d] a pH in a range from about 3.5 to
                                        about 6

           Respondents do not dispute that this limitation is met by the Accused Products.

    See Resps. Br. at 59–61; RX-1402C (Raghavan RWS) at Q/A 150–78. The pH of the

    Accused Products                                was shown via Dr. Dauskardt’s testing.

    CX-0024C (DTI Analysis Report) at 11 (measuring a pH                             for

    Accused Products                                  CX-0026C (PTL Analysis report II) at

    3–5 (measuring a pH                         for Accused Products a

         ; CX-0006C (Dauskardt WS) at Q/A 361. This testing is consistent with

    respondents’ technical documents. See, e.g., CX-0006C (Dauskardt WS) at Q/A 353–61;

    JX-0266C (Safety Data Sheet of Optiplane 2300 Slurry) (indicating a pH range of 3.5–

    5.0); JX-0173C (Developmental Gate Presentation: OPTIPLANE 2602)(indicating a pH

    of    for Optiplane 2300A and a pH of      for Optiplane 2602); JX-0242C

    (OPTIPLANE 2601 Acidic ILD Slurry Slot into Development gate Presentation); JX-

    0267C (Certificate of Analysis for Optiplane 2300A); JX-0191C (Dynamic Pot-Life and

    Handling Evaluation of Optiplane 2300 Slurry) (showing a dynamic study pH of

    Optiplane 2300 at

                                 vi.    [1e] wherein the colloidal silica abrasive
                                        particles have a permanent positive
                                        charge of at least 15 mV; and

           Under any proposed construction, the Accused Products meet this limitation. See

    CX-0006C (Dauskardt WS) at Q/A 362–81. Infringement is clear from the extensive

    testing Dr. Dauskardt directed and oversaw at two independent commercial labs, using

    two different zeta potential measurement instruments—the DT-1202 instrument, which is


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    specified in the ‘721 patent, and the Malvern Zetasizer instrument, which respondents

    argue is a more common instrument. See CX-0006C (Dauskardt WS) at Q/A 257–304;

    RX-1401C (Miller RWS) at Q/A 131. The Accused Products were measured in

    accordance with testing procedure in the ‘721 patent. Zeta potential was measured prior

    to conducting the three-step filtration test, and permanent positive charge was determined

    after the three-step filtration test.

            For all products, the resulting permanent positive charge of the colloidal silica

    abrasive particles was                               See CX-0006C (Dauskardt WS) at Q/A

    364–65. These infringing permanent positive charge values measured by both

    instruments, the DT-1202 and the Malvern Zetasizer, were highly consistent. CX-0229C

    (Dauskardt RWS) at Q/A 843. The test results of the Accused Products                  are

    summarized in CDX-0006C.0031, depicted below. See CDX-0006C.0031 (CX-0026C

    (PTL Analysis Report II) at 3–5; CX-0024C (DTI Analysis Report) at 11). As Dr.

    Dauskardt explains, the filtration test he used also shows that

            that is not readily reversible, for example, via flushing, dilution, filtration, and the

    like,” under respondents’ construction of “permanent positive charge.” CX-0006C

    (Dauskardt WS) at Q/A 371.




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           As shown, the population of colloidal silica particles in the Optiplane 2300A

    products                           have a permanent positive charge of

               as measured by the DT-1202, and a permanent positive charge of

        as measured by the Malvern instrument. See CX-0006C (Dauskardt WS) at Q/A

    365. The population of colloidal silica abrasive particles in the Optiplane 2602 products

                         have a permanent positive charge of                            as

    measured by the DT-1202, and about                as measured by the Malvern instrument.

    Id. The population of colloidal silica abrasive particles in the Optiplane 2601 products

                         have a permanent positive charge of                     , as measured

    by the DT-1202, and                   as measured by the Malvern instrument. Id.

    Ultimately, the permanent positive charge values of all Accused Products fall well within

    the claimed range.




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            Despite these results and despite not doing any testing of their own, respondents

    allege a “failure of proof.” First, respondents’ experts, applying respondents’ proposed

    claim construction, opine that CMC should have



                            . See Resps. Br. at 50-52. As discussed above in the Claim

    Construction section, such an approach is not consistent with the ‘721 patent.

    Nonetheless, there is no “failure of proof” under this theory. The technical

    documentation and Dr. Dauskardt’s testing clearly shows the permanent positive charge

    of          particles   also falls well within the claim scope. See CX-0006C (Dauskardt

    WS) at Q/A 372–81.

            For example, respondents’ own documents show that             particles, serving the

    role of “



                                                      . Id. at Q/A 372–76; Tr. 185 (Dr.

    Dauskardt testifying that rule of          “is such fundamentally well-known

    principle.”), Tr. 187 (Dr. Dauskardt explaining that “CVI, which is the colloidal vibration

    current that is measured, is related to the volume fraction,” consistent with “the

    fundamental physics of a rule of             , Tr. 395 (Dr. Miller admitting that it is “a

    reasonable rule of thumb” that the particles with the higher charge would have a higher

    true zeta potential”), Tr. 398–402 (Dr. Miller admitting that the document he cited shows

                                                                            have a lower zeta

    potential than the Accused Products). This analysis is consistent with the ‘721 patent,

    which shows in Example 12 that a single zeta potential measurement for two types of

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    particles will be the weighted average of those particles. 29 See JX-0001 (‘721 Patent) at

    29:40–30:55; CX-0006C (Dauskardt WS) at Q/A 373; Tr. 233-234.

           In addition, Dr. Dauskardt’s testing shows that                               of

    permanent positive charge of the entire population is higher than 15 mV; the

                                                                   necessarily also have a

    permanent positive charge of above 15 mV. See CX-0006C (Dauskardt WS) at Q/A

    377–81; Tr. 223-226.




    CDX-0006C.0052 (CX-0026C (PTL Analysis Report II) at 20). Ultimately, the test data

    conclusively shows that, even considering the permanent positive charge that results


    29
       Contrary to respondents’ argument (Resps. Br. at 52, 54), the particles in Example 12
    have different morphologies,                                 . See JX-0001 (‘721 Patent)
    at 29:51–55 (“Each composition included a blend of a first colloidal silica (having a mean
    particle size of about 60 nm in which greater than 50% of the aggregates included three
    or more primary particles) and a second colloidal silica (25 nm primary particles).”); Tr.
    234.

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               particles as respondents would require, this claim limitation is met by the

    Accused Products.

           Indeed, neither Dr. Raghavan nor Dr. Klein challenge Dr. Dauskardt’s analysis of

    the permanent positive charge distribution. Respondents’ third expert Dr. Miller does not

    contradict Dr. Dauskardt’s opinion when Dr. Miller opines that “diffusion broadening

    always accompanies that distribution.” See RX-1401C (Miller RWS) at Q/A 210. Dr.

    Miller’s statement in fact confirms that Dr. Dauskardt’s conclusion of the permanent

    positive charge of             is “conservative” because of the “broadening of the

    distribution,” and “the actual zeta potential distribution would have been narrower.” See

    CX-0006C (Dauskardt WS) at Q/A 379. In other words, an even higher percentage of

    particles would be shown as measuring above 15 mV were it not for this diffusion

    broadening. 30

           Second, respondents argue that CMC improperly used an “eight-step” filtration

    test to measure the permanent positive charge of the Accused Products. That is not

    factually correct with regard to the majority of the tested samples. See Resps. Br. at 54-

    56. As is clear in his test results, Dr. Dauskardt oversaw permanent positive charge

    testing of all of the Accused Products at a POU concentration           for Optiplane

    2300A, 2602, and 2601) with three steps. See CX-0006C (Dauskardt WS) at Q/A 275–

    30
      The documents pointed to by respondents to try to rebut the clear test results (Resps.
    Br. at 53) are either irrelevant or further prove that the permanent positive charge of
    particles by themselves is higher than that of the Accused Products measured by Dr.
    Dauskardt. See Tr. 397–398 (Dr. Miller admitting that RX-1425C describes different
    particles than those in the Accused Products), 398–402 (Dr. Miller admitting that RX-
    1426C shows                          silica particles                                 have a
    lower zeta potential than the Accused Products).


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    76 (also using the three step filtration to test Optiplane 2601 at the as-received

    concentration of           This testing alone proves infringement because it measures

    permanent positive charge of the products as respondents test them, as provided to

    respondents’ customers and as their customers use them. See CX-0006C (Dauskardt WS)

    at Q/A 193–211, 414–15, 508.

             Respondents focus on different, additional testing that CMC performed of

    Accused Products in a highly concentrated form (              This testing further bolsters

    infringement by showing across-the-board permanent positive charge in the claimed

    ranges                             . Due to efficiency and timing considerations in

    filtering these                      samples, Dr. Dauskardt did the filtering steps in more

    times with the same total amount of pH adjusted DI water. See CX-0006C (Dauskardt

    WS) at Q/A 277; Tr. 193. The process led to the same measurement—identifying the

    permanent positive charge by removing weakly adsorbed species on the particles—but in

    a shorter time period. 31 See CX-0006C (Dauskardt WS) at Q/A 370. Dr. Miller, who

    never did any testing of the Accused Products, has no basis to allege that the additional

    steps “fail[] to remove interferences.” See Resps. Br. at 55-56 (citing RX-1401C (Miller

    RWS).)

             Respondents also have no basis to allege any deviation in pH or conductivity

    adjustment. See CX-0006C (Dauskardt WS) at Q/A 259; JX-0001 (‘721 Patent) at

    31
       Nonetheless, to the extent respondents argue that the permanent positive charge results
    for the                       samples do not literally meet the claim, they infringe under
    doctrine of equivalents. Even to the extent a minor modification of the three-step
    filtration test was applied, CX-0006C (Dauskardt WS) at Q/A 365, the modified
    procedures were conducted in substantially the same way as described in the ‘721 patent,
    and performed the same function of removing weakly adsorbed species on the particles,
    in the same way (repeated filtration), and achieved the same results. Id. at Q/A 370.

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    11:56–61 (describing the need for matching pH and conductivity). Respondents

    essentially argue that they would have used a different test for permanent positive charge

    other than the one expressly and thoroughly described by the inventors. See Resps. Br. at

    54-56.

             Third, respondents argue that DT-1202 and Malvern instruments are not

    “quantitative[ly] reliable” based on the testimony of Dr. Miller, who has no experience

    with CMP slurries, is unfamiliar with DT-1202 instrument, and conducted no testing of

    the Accused Products. See, e.g., Resps. Br. at 56-57; RX-1401C (Miller RWS) at Q/A

    154; Tr. 370-371 (Dr. Miller admitting that he “never had any prior experience at all with

    CMP”), 377 (Dr. Miller admitting that he “never used a DT-1202 instrument”), 375 (Dr.

    Miller admitting that he “performed no testing”).

             This position is not supported by respondents’ other technical experts, who do not

    challenge Dr. Dauskardt’s testing results. See, e.g., RX-1402C (Raghavan RWS) at Q/A

    160 (arguing only that the Accused Products do not meet this limitation under

    respondents’ construction); Tr. 462 (admitting that she has “no reason to doubt [Dr.

    Dauskardt’s] measurements of zeta potential”). The position is also directly contradicted

    by respondents’ own measurements of zeta potential values in the ordinary course of

    business. See CX-0006C (Dauskardt WS) at Q/A 367–69, 261, 274–78, 294–96, 303;

    JX-0191C (Optiplane 2300 slurry document) at 11 (showing the zeta potential of

    Optiplane 2300 products at                ); JX-0188C (DuPont Slurry Document) at 3

    (illustrating the zeta potential of Optiplane 2300 and 2600 products at                ).

             Indeed, the Malvern and DT-1202 are highly accurate and reliable instruments

    used extensively in the CMP industry—including by respondents—for measuring zeta

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    potential of these exact particles. See CX-0229C (Dauskardt RWS) at Q/A 837–39, 843.

    Moreover, the instruments produced highly consistent results when measuring the

    Accused Products. See CX-0229C (Dauskardt RWS) at Q/A 812–52. Respondents’

    allegations of “loss of particles” in filtering and lack of “calibrat[ion]” reflect speculation

    based on unrelated data, and are unpersuasive in view of respondents’ failure to do any

    testing at all and Dr. Miller’s unfamiliarity with CMP slurries. See Resps. Br. at 56-57;

    CX-0006C (Dauskardt WS) at Q/A 274, 278; Tr. 675.

            Finally, to the extent this limitation is not literally met under respondents’ claim

    construction, which respondents argue requires all of the measured permanent positive

    charge to result from the       particles, this limitation is also met under the doctrine of

    equivalents. Even if the entirety of the measured permanent positive charge is not

    attributable to      particles, the permanent positive charge of the colloidal silica

    abrasive particles in the Accused Products performs the same function as in the ‘721

    patent (providing colloidal silica abrasive particles having a permanent positive charge),

    in the same way (by including internal nitrogen species in those particles), to achieve the

    same result (improving performance and removal rate). See CX-0006C (Dauskardt WS)

    at Q/A 381. The differences are insubstantial, particularly given that

                                                                                               .

    Id.

            Contrary to respondents’ argument (Resps. Br. at 60-61), a structure in which

    both                                                        contribute to permanent positive

    charge is what the inventors contemplated. The patent shows that a “low level” of

    internal nitrogen coupled with external aminosilane achieves the benefits of “moving

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    some of the charge to the interior” and “having more of the surface available for the

    chemical-mechanical planarization”). See Tr. 238; JX-0001 at 7:59–61 (“low level of the

    internal chemical species”), 32:40–42 (working example with “low level” of EOPA and

    aminosilane,                                ).

                                  vii.   [1f] wherein the chemical species is not an
                                         aminosilane or a phosphonium silane.

           This limitation is met by the Accused Products under any party’s proposed

    construction. See CX-0006C (Dauskardt WS) at Q/A 382–85. As discussed above, in

    the Accused Products, the chemical species is                              ), which is not

    an aminosilane or a phosphonium silane. See CX-0006C (Dauskardt WS) at Q/A 382–

    85; JX-0409C (Respondents’ Response to Request for Admission) at Nos. 66, 67.



           of the colloidal silica abrasive particles in the Accused Products, the particles do

    not contain aminosilane or phosphonium silane compounds. See CX-0006C (Dauskardt

    WS) at Q/A 382–85; JX-0213C (Development of Next-Gen Low Abrasive ILD Slurry,

    OPTIPLANE-2300, Leveraging CMP Mechanism and Particle Modification Studies)

    (indicating                                               ); CX-0010C (Guo Dep. Tr.) at

    73-74 (explaining that                                                      ), 230-231

    (explaining that                                                               ); Tr. 295-

    296 (Mr. Jacobs testifying: “Q. Now, you testified that

                                                              A. Correct.”).

           For all of the above reasons, all of the Accused Products practice claim 1.




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                           b.       Dependent Claims

                                    i.     Claim 3: The composition of claim 1,
                                           further comprising a buffering agent
                                           having a pKa in a range from about 3.5
                                           to about 5.5.

           Record evidence, including testing, shows that each Accused Product includes a

    buffering agent,                 which has a pKa from about 3.5 to 5.5. See, e.g. CX-

    0006C (Dauskardt WS) at Q/A 386–94; JX-0118C ( PubChem,                       ) at 8

    (showing that                has a pKa of     ); JX-0207C (

    OPTIPLANE) at 11382; JX-0227C (OP2300 & OP2600 Formulations) (listing

                    component of Optiplane 2300); JX-0173C (Developmental Gate

    Presentation: OPTIPLANE 2602) at 3875 (indicating that the         in Optiplane 2300 also

    serves as           ); JX-0204C (2019 DuPont document) at 7974 (“

           ); JX-0205C (                  ) at 8297                     ”). Dr. Raghavan’s

    opinion that                does not function as a buffer (RX-1402C (Raghavan RWS) at

    Q/A 181), is refuted by respondents’ own description of its buffer capacity. See Resps.

    Br. at 61-62; JX-0409C (Respondents’ Response to Request for Admission) at 106, 107,

    111, 112, 116, 117 (admitting

                    ”); JX-0249C (Benchmark analysis) at 01 Slurry Properties tab

    (comparing                   between OP2300, OP2600, and competitor’s slurry); CX-

    0006C (Dauskardt WS) at Q/A 390. Accordingly, all Accused Products infringe claim 3.

                                    ii.    Claim 4: The composition of claim 1,
                                           wherein the colloidal silica abrasive
                                           particles have a mean particle size in a
                                           range from about 30 to about 70 nm.



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              Respondents’ specifications for mean particle size and measured mean particle

    size values for the Accused Products show that claim 4 is met. See, e.g. CX-0006C

    (Dauskardt WS) at Q/A 395–406; JX-0185C (ILD Slurries) at 11 (listing mean particle

    size of          for Optiplane 2300); JX-0175C (OPTIPLANE 2600 Acidic CMP Slurry) at

    5 (depicting CPS particle size distribution of Optiplane 2300 and 2600 of

                                                ); JX-0187C (OPTIPLANE 2300/2600 Series

                   ) at 4 (listing mean particle size of          for Optiplane 2300); JX-0225C

    (D9228 Benchmark Analysis) (showing that, as measured by DLS, the mean particle size

    for OP2300 is            and for OP2600 is              ). Dr. Dauskardt also determined the mean

    particle size of         particles            falls within the claimed range. See CX-0006C

    (Dauskardt WS) at Q/A 402–04; JX-0201C (Certificate of Analysis) (reporting the

    secondary particle size of             particles of          JX-0202C (Certificate of Analysis)

    (same); JX-0203C (Certificate of Analysis) (reporting secondary particle size of

    particles of

              Dr. Raghavan opines that Dr. Dauskardt ignored the primary particle size. See

    Resps. Br. at 62. As explained by Dr. Dauskardt, primary particle size “corresponds to a

    sub-portion of an aggregated particle, not a mean particle size.” See CX-0006C

    (Dauskardt WS) at Q/A 405; RX-1402C (Raghavan RWS) at Q/A 195. Accordingly, all

    Accused Products infringe claim 4.

                                         iii.      Claim 6: The composition of claim 1,
                                                   comprising from about 0.5 to about 4
                                                   weight percent of the colloidal silica
                                                   abrasive particles.




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              The Accused Products are designed to be and are provided to customers and used

    by respondents and their customers at                        of colloidal silica abrasive

    particles or less, squarely within the claim. See CX-0006C (Dauskardt WS) at Q/A 407–

    12; JX-0189C (Optiplane 2300 / 2600 Series                               ); JX-0191C

    (Dynamic Pot- Life and Handling Evaluation of Optiplane 2300 Slurry) at 6356 (showing

    test results of           Optiplane 2300); JX-0187C (OPTIPLANE 2300/2600 Series

                            ) (listing Abrasive                      for Optiplane 2300

          JX-0188C (Optiplane document) (listing Abrasive                             for Optiplane

    2300 at                  JX-0258C (                      Document) at 20618 (showing

          abrasive of OP2300). Respondents also make Optiplane 2601 at

              colloidal silica abrasive particles. See CX-0006C (Dauskardt WS) at Q/A 413–

    15.

              Respondents argue that dilution impacts slurry “properties.” See Resps. Br. at 62-

    63. This is not relevant to whether claim 6 is met, and is not relevant to any other claim,

    because, as discussed above, CMC tested and showed the properties of the Accused

    Products at both                    and at                               for OP2601 and

          for other products). See CX-0006C (Dauskardt WS) at Q/A 316–85. Therefore, all

    Accused Products             infringe claim 6, and Optiplane 2601 also infringes claim 6 as

    made at           concentration.

                                       iv.       Claim 10: The composition of claim 1,
                                                 wherein the chemical species is not
                                                 ammonium.

              The chemical species identified in the colloidal silica abrasive particles in each

    Accused Product is                                      which is not ammonium. See CX-

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    0006C (Dauskardt WS) at Q/A 417–19; JX-0409C (Respondents’ Response to Request

    for Admission) at 135. Respondents argue that CMC has not proven an absence of

    ammonium in the particles and point to                              as a potential source of

    ammonium. See Resps. Br. at 63.                    do not contain ammonium (as discussed

    in the context of invalidity), and respondents cite no testing, documents or other

    evidence. Accordingly, all the Accused Products infringe claim 10.

                                     v.     Claim 11: The composition of claim 1,
                                            wherein the chemical species comprises a
                                            primary amine, a secondary amine, a
                                            tertiary amine, or a quaternary amine
                                            compound.

           Respondents do not dispute that this limitation is met. As discussed, the chemical

    species identified in the Accused Products is                             ), which is a

            amine. See Resps. Br. at 63; CX-0006C (Dauskardt WS) at Q/A 420–21; JX-

    0409C (Respondents’ Response to Request for Admission) at No. 136. Accordingly, all

    Accused Products infringe claim 11.

                                     vi.    Claim 13: The composition of claim 1,
                                            wherein the chemical species comprises
                                            from 1 to 6 carbon atoms.

           Respondents do not dispute that this limitation is met. As discussed, the

    identified chemical species is                               which comprises    carbon

    atoms. See Resps. Br. at 63; CX-0006C (Dauskardt WS) at Q/A 422–423; JX-0409C

    (Respondents’ Response to Request for Admission) at No. 137. Accordingly, all

    Accused Products infringe claim 13.

                                     vii.   Claim 14: The composition of claim 13,
                                            wherein the chemical species comprises

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                                              ethyloxypropylamine, tetramethyl
                                              ammonium hydroxide, or
                                              ethylenediamine.

           Respondents do not dispute that this limitation is met. As discussed, the chemical

    species is                                 , which is also known as                        .

    See Resps. Br. at 63; CX-0006C (Dauskardt WS) at Q/A 424–25. Accordingly, all

    Accused Products infringe claim 14.

                                   viii.      Claim 17: The composition of claim 1,
                                              having an electrical conductivity of less
                                              than about 300 μS/cm.

           Testing conducted by Dr. Dauskardt and numerous documents produced by

    respondents show that the Accused Products at                     have an electrical

    conductivity less than about 300 μS/cm. See, e.g., CX-0006C (Dauskardt WS) at Q/A

    427–31; JX-0189C (Optiplane 2300 / 2600 Series                              ) at 10; JX-

    0187C (listing Optiplane 2300            ” conductivity as

                      ) at 4; JX-0188C (DuPont Advanced Acidic ILD Slurries Optiplane

    2300 and 2600 CMP Slurries, May 2019) at 5 (same); JX-0258C (Troubleshooting Issues

    of OPTIPLANE 2300 Slurry) at 2 (showing conductivity testing data of            Optiplane

    2300); JX-0409C (Respondents’ Response to Request for Admission) at Nos. 164–67

    (                                             ); CX-0024C (DTI Analysis Report) at 11; CX-

    0026C (PTL Analysis Report II) at 3–5.

           Respondents argue that claim 17 is limited to high concentration slurries. See

    Resps. Br. at 63-64 (arguing           slurries at      are somehow an “unclaimed, diluted

    form”). The inventors measured conductivity of slurries at 2 wt%,

                         . See JX-0001 at 24:15–60 (measuring conductivity in Table 6B of

                                                    111
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    compositions at 2 wt% in Table 6A). Accordingly, all Accused Products infringe claim

    17.

                                  ix.    Claim 18: The composition of claim 1,
                                         wherein the colloidal silica has a density
                                         of greater than 1.90 g/cm3.

           Respondents do not dispute that this limitation is met. See Resps. Br. at 63. Dr.

    Dauskardt’s testing shows the true density—the appropriate measure, CX-0006C

    (Dauskardt WS) at Q/A 434—of colloidal silica abrasive particles in the Accused

    Products is              for the Optiplane 2300A products and                  for

    Optiplane 2602 products, both within the claimed range. CX-0025C (PTL Analysis

    Report I) at 6; CX-0006C (Dauskardt WS) at Q/A 432–36.

                                  x.     Claim 19: The composition of claim 1,
                                         wherein the colloidal silica abrasive
                                         particles have a permanent positive
                                         charge of at least 15 mV; the composition
                                         has a pH in a range from about 3.5 to
                                         about 6; the colloidal silica abrasive
                                         particles have a mean particle size in a
                                         range from about 30 to about 70 nm; and
                                         the composition includes from about 0.5
                                         to about 4 weight percent of the colloidal
                                         silica abrasive particles.

           Respondents do not dispute that this limitation is met. See Resps. Br. at 64. For

    the reasons discussed above with respect to claims 1, 4, and 6, all of the Accused

    Products         infringe claim 19. See CX-0006C (Dauskardt WS) at Q/A 437–42.

                                  xi.    Claim 20: The composition of claim 1,
                                         wherein the colloidal silica abrasive
                                         particles have a permanent positive
                                         charge of at least 15 mV; the composition
                                         further includes a buffering agent having
                                         a pKa in a range from about 3.5 to about

                                               112
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                                           5.5; the composition includes from about
                                           0.5 to about 4 weight percent of the
                                           colloidal silica abrasive particles; the
                                           colloidal silica has a density of greater
                                           than 1.90 g/cm3; and the chemical species
                                           comprises from 1 to 6 carbon atoms.

           Respondents do not dispute that this limitation is met. See Resps. Br. at 64. For

    the reasons discussed above with respect to claims 1, 3, 6, 13, and 18, all Accused

    Products         also infringe claim 20. See CX-0006C (Dauskardt WS) at Q/A 443–49.

                                  xii.     Claim 24: The composition of claim 1,
                                           further comprising a silicon nitrogen
                                           polishing accelerator including a
                                           polycarboxylic acid, a poly phosphonic
                                           acid, or a mixture thereof.

           The Accused Products include a                                       . See, e.g.,

    CX-0006C (Dauskardt WS) at Q/A 450-53; JX-0227C (OP2300 & OP2600

    Formulations) (listing                as a component of Optiplane 2300 and Optiplane

    2600 products); JX-0221C (OP2600 Formulation); JX-0263C (OP2300 Technical Team

    Meeting) at 11. Moreover, the ‘721 patent expressly discloses                as a silicon

    nitrogen polishing accelerator. JX-0001 (‘721 Patent) at 12:56–64. Respondents provide

    no support for their arguments that               is not present in a large enough amount

    to be a polishing accelerator beyond conclusory statements. See Resps. Br. at 64.

    Accordingly, all Accused Products infringe claim 24.

                             c.   Independent Claim 26

           Claim 26: A chemical mechanical polishing composition comprising: a water
              based liquid carrier; colloidal silica abrasive particles dispersed in the
              liquid carrier; a chemical species incorporated in the colloidal silica
              abrasive particles internal to an outer surface thereof, wherein the
              chemical species is a nitrogen containing compound or a phosphorus
              containing compound; a pH in a range from about 1.5 to about 7;
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               wherein the colloidal silica abrasive particles have a permanent positive
               charge of at least 13 mV; and wherein an aminosilane compound is
               bonded with the outer surface of the colloidal silica abrasive particles.

           For the reasons discussed above with respect to claim 1, the Accused Products

    meet each limitation [1pre], [a], [b], [c], [d], and [e] in claim 26. See CX-0006C

    (Dauskardt WS) at Q/A 454–61. There is no dispute the additional “bonded” limitation is

    also met under any party’s proposed construction. See Tr. 235-238; CX-0006C

    (Dauskardt WS) at Q/A 462–69; RX-1402C (Raghavan RWS) at Q/A 242–45 (conceding

                          ). Respondents’ documents and witnesses describe

                       the colloidal silica abrasive particles in the Accused Products, which

                                                            . See JX-0213C (Development of

    Next- Gen Low Abrasive ILD Slurry); JX-0181C (Development of Advanced Low-

    Abrasive Dielectric CMP slurry) at 10; JX-0178C (Technical Review - Development of

    Advanced Acidic ILD Slurry); JX-0207C (                        OPTIPLANE 2300 -

    Advanced Acidic ILD Slurry); Tr. 295-296; CX-0010C (Guo Dep. Tr.) at 78, 179; CX-

    0012C (Jacobs Dep. Tr.) at 81; CX-0014C (Mosley Dep. Tr.) at 242-243. Dr.

    Dauskardt’s testing also shows that

              the colloidal abrasive particles at an equivalent concentration of         in the

    Accused Products. CX-0006C (Dauskardt WS) at Q/A 466. Accordingly, all Accused

    Products infringe claim 26.




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                          d.      Dependent Claims

                                  i.     Claim 27: The composition of claim 26,
                                         having a pH in a range from about 3.5 to
                                         about 6.

           Respondents do not dispute that this limitation is met. See Resps. Br. at 66. For

    the reasons discussed for claims 1 and 26, all Accused Products infringe claim 27. See

    CX-0006C (Dauskardt WS) at Q/A 470.

                                  ii.    Claim 28: The composition of claim 26,
                                         wherein the colloidal silica abrasive
                                         particles have a permanent positive
                                         charge of at least 15 mV.

           Respondents do not dispute that this limitation is met. See Resps. Br. at 66. For

    the reasons discussed for claims 1 and 26, all Accused Products infringe claim 28. See

    CX-0006C (Dauskardt WS) at Q/A 471.

                                  iii.   Claim 29: The composition of claim 26,
                                         wherein the colloidal silica abrasive
                                         particles have a mean particle size in a
                                         range from about 30 to about 70 nm.

           Respondents do not dispute that this limitation is met. See Resps. Br. at 66. For

    the reasons discussed for claims 1, 4, and 26, all Accused Products infringe claim 29. See

    CX-0006C (Dauskardt WS) at Q/A 472.

                                  iv.    Claim 31: The composition of claim 26,
                                         comprising less than [a]bout 3 weight
                                         percent of the colloidal silica abrasive
                                         particles

           Respondents do not dispute that this limitation is met. See Resps. Br. at 66. For

    the reasons discussed for claims 1, 6, and 26, all Accused Products        infringe claim

    31. See CX-0006C (Dauskardt WS) at Q/A 473.

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                                  v.      Claim 35: The composition of claim 26,
                                          wherein the chemical species comprises
                                          from 1 to 6 carbon atoms

           Respondents do not dispute that this limitation is met. See Resps. Br. at 66. For

    the reasons discussed for claims 1, 13, and 26, all Accused Products infringe claim 35.

    See CX-0006C (Dauskardt WS) at Q/A 474.

                                  vi.     Claim 36: The composition of claim 35,
                                          wherein the chemical species comprises
                                          ethyloxypropylamine, tetramethyl
                                          ammonium hydroxide, or
                                          ethylenediamine.

           Respondents do not dispute that this limitation is met. See Resps. Br. at 66. For

    the reasons discussed for claims 1, 14, 26, 35, all Accused Products infringe claim 36.

    See CX-0006C (Dauskardt WS) at Q/A 475.

                                  vii.    Claim 37: The composition of claim 26,
                                          wherein the aminosilane compound is
                                          bonded with less than 4% of silanol
                                          groups on the outer surface of the
                                          colloidal silica particles.

           Dr. Dauskardt’s testing shows that the aminosilane compound in the Accused

    Products is bonded with                of silanol groups on the outer surface of the

    colloidal silica particles, as measured by the procedure set forth in the ‘721 patent. See

    CX-0006C (Dauskardt WS) at Q/A 476–78; JX-0001 (‘721 Patent) at 32:61–65; CX-

    0023C (EAG Analysis Report) at 28, 34, 51, 57; CX-0025C (PTL Analysis Report I) at 3;

    JX-0267C (CoA for Optiplane 2300A); JX-0268C (CoA for Optiplane 2602); see also

    CX-0006C (Dauskardt WS) at Q/A 478.

           Respondents have performed no testing relevant to this claim. Respondents

    nonetheless argue the claim is not infringed because            colloidal silica abrasive
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    particles in the Accused Products should be treated            for purposes of

    determining surface area and

                                                                  . See Resps. Br. at 66-67.

    These arguments are not relevant in view of the guidance in the specification on how to

    calculate the aminosilane loading. The patent directs a POSA to use a silanol density of

    all particles of 4.5 SiOH/nm2and calculate the amount of APTMS as a percentage of the

    resulting number of silanols. See JX-0001 (‘721 Patent) at 32:61–65 (“The amount of

    APTMS was calculated as a percentage of the number of silanols on the surface . . . of the

    precursor particle . . . assuming 4.5 SiOH/nm2”). None of respondents’ arguments are

    relevant under this procedure. See CX-0006C (Dauskardt WS) at Q/A 478. Dr.

    Dauskardt followed this method, which is what a POSA would have used to determine

    infringement of the claims. Accordingly, all Accused Products infringe claim 37.

                                   viii.   Claim 39: A method of chemical
                                           mechanical polishing a substrate
                                           including a silicon oxygen containing
                                           material, the method comprising (a)
                                           contacting the substrate with the chemical
                                           mechanical polishing composition of
                                           claim 1; (b) moving the polishing
                                           composition relative to the substrate; and
                                           (c) abrading the substrate to remove a
                                           portion of the silicon oxygen containing
                                           material from the substrate and thereby
                                           polish the substrate.

           This claim requires a specific use of the composition of claim 1. Respondents do

    not dispute the limitations of claim 39 are met. See Resps. Br. at 64. Indeed, the

    evidence shows that the                       use of the Accused Products, including by

    respondents in their testing of the Accused Products, infringes claim 39. See CX-0006C


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    (Dauskardt WS) at Q/A 479–81. The claimed method, including all of the contacting,

    moving, and abrading steps, recites                   for the Accused Products for CMP

    processing of silicon oxygen materials, and therefore this claim is infringed every time

    respondents, their agents, or any of their customers use the Accused Products for

    polishing silicon oxygen containing material in the United States. See, e.g., JX-0010

    (Dow Announcement) at 2 (DuPont advertising the Accused Products as “Most

    Advanced Slurries for Dielectric [CMP] Applications”); JX-0185C (Dow Advanced ILD

    Slurries - OPTIPLANE 2300/2600) at 2 (illustrating the mechanism of oxide CMP with

    the Accused Products following                                                              .

           Further, the evidence shows that respondents test with the Accused Products on




                                . See, e.g., CX-0007C (Auger Dep. Tr.) at 54-55 (Q: “[I]s it

    the case that the                                , for example, has performed

    experiments using Optiplane 2300?” A: “Yes, yeah, they have performed those

    experiments …. most likely, all of them have been tested in             ); CX-0010C

    (Guo Dep. Tr.) at 188-190 (discussing generating testing results

                                                        ), 194, 148-149 (discussing JX-0249C

    (Summary of Competitive Analysis)).

           Moreover, respondents’ internal documents show that respondents frequently test

    their products using the claimed method and that the Accused Products achieve high

    removal rates for silicon oxygen containing material, a key feature of the products. See,

    e.g., JX-0174C (OPTIPLANE 2300) at 9, 11, 12 (showing a                                         ,

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                                           Optiplane 2300 slurry

    JX-0185C (OPTIPLANE 2300/2600) at 20 (showing a

                                       Optiplane 2600 slurry                             JX-

    0208C (Research Update on ILD CMP Slurry Program) at 15 (showing a

                                                            Optiplane 2300 slurry

                    JX-0175C (OPTIPLANE 2600 Acidic CMP Slurry) at 13 (showing

                                          Optiplane 2300 and Optiplane 2600 slurries

    JX-0177C (OPTIPLANE 2600 DuPont Advanced Acidic ILD Slurry) at 17 (showing a

                                                                h Optiplane 2600 slurry at

                                       ); JX-0219C (Slurry chemistries) at 5 (showing

                        of Optiplane 2600 slurries); JX-0173C (OPTIPLANE 2300

    (OPTIPLANE 2602)) at 3 (describing                                ” as a characteristic of

    OP2602).

           Respondents’ documents further show that the Accused Products are also

    frequently              by customers using the claim method. See, e.g., JX-0179C

    (                       ) at 8; JX-0332C          CMP) at 1 (Testing conducted by        on

    removal rate and selectivity); JX-0341C (Oxide Slurry Proposal for              ) at 7

    (presenting “                                                            for OP2300 and

    OP2600 at       .

           Accordingly, each element of method claim 39 is practiced by the use of the

    Accused Products.

                                 ix.      Claim 40: The method of claim 39,
                                          wherein: the polishing composition
                                          comprises less than 4 percent by weight of

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                                          the colloidal silica abrasive particles; and
                                          an average removal rate of the silicon
                                          oxygen material in (c) is greater than
                                          3000 Å/min at a downforce of 5 psi or less.

            Respondents do not dispute the limitations of claim 40 are met. See Resps. Br. at

    64-65. This claim is infringed for the reasons discussed above with respect to claims 1,

    6, and 39. See CX-0006C (Dauskardt WS) at Q/A 482–84. The Accused Products

    achieve an average removal rate of silicon oxygen material greater than 3000 Angstroms

    per minute at a downforce of less than 5 psi. See, e.g., JX-0174C (Optiplane 2300) at 12

    (showing                                                          Optiplane 2300 slurry

    data with a                                                              ); JX-0173C

    (OPTIPLANE 2300             (OPTIPLANE 2602)) at 3 (describing

            as a characteristic of OP2602); JX-0341C (Oxide Slurry Proposal for

    at 7 (showing                       of OP2300,     and OP2600,

                    respectively,                           ).

            Respondents argue that the average removal rate is ambiguous and there may be

    circumstances where this method is not used. See Resps. Br. at 64-65. However,

    respondents do not dispute that the claimed method is                                of

    the Accused Products, and that the Accused Products

                    . See CX-0006C (Dauskardt WS) at Q/A 483–484; Bell Commc’ns

    Research, Inc. v. Vitalink Commc’ns Corp., 55 F.3d 615, 622–23 (Fed. Cir. 1995) (“[A]n

    accused product that sometimes, but not always, embodies a claimed method nonetheless

    infringes.”).




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           Accordingly, each element of method claim 40 is practiced by the use of the

    Accused Products.

                                  x.      Claim 41: The method of claim 39,
                                          wherein: the polishing composition
                                          comprises less than 2 percent by weight of
                                          the colloidal silica abrasive particles; and
                                          an average removal rate of the silicon
                                          oxygen material in (c) is greater than
                                          3000 Å/min at a downforce of 5 psi or less.

           Respondents do not dispute the limitations of claim 41 are met. See Resps. Br. at

    64-65. This claim is infringed for the reasons discussed above with respect to claims 1,

    6, 39, and 40. See CX-0006C (Dauskardt WS) at Q/A 485–86. Thus, each element of

    method claim 41 is practiced by the use of the Accused Products.

                                  xi.     Claim 42: The method of claim 39,
                                          wherein: the polishing composition
                                          comprises less than 3 percent by weight of
                                          the colloidal silica abrasive particles; and
                                          an average removal rate of the silicon
                                          oxygen material in (c) is greater than
                                          2000 Å/min at a downforce of 4 psi or less.

           Respondents do not dispute the limitations of claim 41 are met. See Resps. Br. at

    64-65. This claim is infringed for the reasons discussed above with respect to claims 1, 6,

    39, 40 and 41. See CX-0006C (Dauskardt WS) at Q/A 487–88. The Accused Products

    achieve an average removal rate of silicon oxygen material greater than 2000 Angstroms

    per minute at a downforce of 4 psi or less. See, e.g., JX-0174C (Optiplane 2300) at 12

    (showing                                                           Optiplane 2300 slurry

    data                                                                      ). Thus, each

    element of method claim 42 is practiced by the use of the Accused Products.



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                                  xii.    Claim 43: The method of claim 39,
                                          wherein: the polishing composition
                                          comprises less than 2.0 percent by weight
                                          of the colloidal silica abrasive particles;
                                          and an average removal rate of the silicon
                                          oxygen material in (c) is greater than
                                          2000 Å/min at a downforce of 4 psi or less.

            Respondents do not dispute the limitations of claim 41 are met. See Resps. Br. at

    64-65. This claim is infringed for the reasons discussed above with respect to claims 1,

    6, 39, 40 41, and 42. See CX-0006C (Dauskardt WS) at Q/A 489–90. Thus, each

    element of method claim 43 is practiced by the use of the Accused Products.

                                  xiii.   Claim 44: The method of claim 39,
                                          wherein: the polishing composition
                                          comprises less than 2.5 percent by weight
                                          of the colloidal silica abrasive particles;
                                          and a removal rate of the silicon oxygen
                                          material in (c) is greater than 2000 Å/min
                                          at a downforce of 4 psi or less and a
                                          removal rate of a silicon nitride material
                                          is less than 300 Å/min at a downforce of 3
                                          psi or less.

            Respondents do not dispute the limitations of claim 41 are met. See Resps. Br. at

    64-65. This claim is infringed for the reasons discussed above with respect to claims 1,

    6, 39, 40 41, 42, and 43. See CX-0006C (Dauskardt WS) at Q/A 491–93. Further, the

    Accused Products meet the limitation reciting “removal rate of a silicon nitride material

    is less than 300 Å/min at a downforce of 3 psi or less.” In particular,    Optiplane 2300

            achieves an TEOS removal rate of                                  and the removal

    rate of silicon nitride is                          . Optiplane 2600 products behave

    substantially the same as the Optiplane 2300 products. See, e.g., JX-0185C (Dow

    Advanced ILD Slurries - OPTIPLANE 2300/2600); JX-0332C (              CMP) at 1 (Testing


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    conducted by        on removal rate and selectivity); JX-0175C (OPTIPLANE 2600 Acidic

    CMP Slurry - High purity Next-Gen ILD Platform with Enhanced and Tunable

    Performance) at 1, 9; JX-0188C (DuPont Advanced Acidic ILD Slurries Optiplane 2300

    and 2600 CMP Slurries) at 22; JX-0190C (Optiplane 2300) at 39; JX-0174C

    (OPTIPLANE 2300) at 15.

            Accordingly, each element of method claim 44 is practiced by the use of the

    Accused Products.

                                    xiv.   Claim 46: The method of claim 39,
                                           wherein the polishing composition
                                           further comprises a silicon nitrogen
                                           polishing inhibitor and a TEOS:SiN
                                           polishing rate selectivity is greater than
                                           about 25:1.

            This claim is infringed for the reasons discussed above with respect to claims 1, 6,

    39, 40 41, 42, 43, and 44. See CX-0006C (Dauskardt WS) at Q/A 494–97. The Accused

    Products also include a silicon nitrogen polishing inhibitor (          and a TEOS:SiN

    polishing rate selectivity is greater than about 25:1. Id.. Optiplane 2300 at

                     achieves an TEOS removal rate of                               and the

    removal rate of silicon nitride is                           . This leads to a TEOS:SiN

    selectivity of       , meeting the claim limitation. See JX-0185C (Dow Advanced ILD

    Slurries - OPTIPLANE 2300/2600) at 22; CX-0006C (Dauskardt WS) at Q/A 496; See

    also JX-0340C (Optiplane) at 12 (showing a                                 ).

            Respondents argue that            is not used in an amount sufficient to act as a

    silicon nitrogen polishing inhibitor. See Resps. Br. at 65. However, the evidence shows

    that the very reason that                                                also makes it a SiN


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    suppressor. JX-0207C (                     Optiplane 2300) at 2 (describing

                                            ”). As Dr. Dauskardt explains, silicon nitride is

    charged positively even in acidic environments, and the positive charges introduced by

             lead to repulsive force between the positively charged particles and the

    positively charged silicon nitride, thus inhibiting its polishing rate. CX-0006C

    (Dauskardt WS) at Q/A 497.

           Accordingly, each element of method claim 46 is practiced by the use of the

    Accused Products.

                   4.     Indirect Infringement

           For the reasons discussed below, each of the Accused Products,              , infringe

    claims 6, 17, 19–20, 31, and when used by respondents, their agents, or their customers,

    infringe claim 39–44 and 46.

                          a.       Direct Infringement

           Respondents, their customers, and certain third-party laboratories make, use, and

    sell the Accused Products and components thereof in the United States that infringe the

    asserted claims. See CX-0006C (Dauskardt WS) at Q/A 505–06.

                                   i.     Direct Infringement by Making

           Making a patented invention in the United States without authorization infringes a

    patent and is actionable under section 337. 19 U.S.C. §1337(a)(1)(B)(i); 35 U.S.C. §

    271(a). Respondents infringe the asserted claims by using imported         particles to

    make the Accused Products in the United States. Respondents’ domestic manufacture of

    these products was confirmed by multiple witnesses. See, e.g., Tr. 294, 295 (Mr. Jacobs


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    testifying: “Q. And DuPont imports the             particles from      , right? A. Yes, we

    do.” and “Q. And then the           particles,

                       , right? A. Yes, they are.”); CX-0012C (Jacobs Dep. Tr.) at 25-26,

    102; CX-0015C (McDavitt Dep. Tr.) at 75.

           Respondents admit that at least respondent Rohm and Haas Electronic Materials

    CMP, LLC (formerly known as Rohm and Haas Electronic Materials CMP, Inc.) is

    involved in

                                                       of the Accused Products in the United

    States after they are either imported or manufactured from imported components. See

    JX-0405C (Respondents’ Response to CMC’s Interrogatory Nos. 12, 13, 18); see also

    JX-0007 (Respondents’ Website); JX-0008 (Respondent’s Website); JX-0344C

    (Revenues in 2017). Specifically, Respondents admit to manufacturing both Optiplane

    2300 and Optiplane 2600 in                                          ” facility with the imported

         colloidal silica abrasive particles. See JX-0406C (Respondents’ Oct. 16, 2020

    Supp. Response to Interrogatory No. 58) at 30, 32.

                                  ii.        Direct Infringement by Use

           Use of a patented apparatus or composition by a respondent in the United States

    after importation without authorization is a type of direct infringement and is a violation

    of section 337. Certain Beverage Dispensing Systems & Components Thereof, Inv. No.

    337-TA-1130 (“Beverage Dispensing Systems”), Comm’n Op. at 16 (Mar. 26, 2020)

    (“The Commission finds a violation of section 337 based on ABI’s direct

    infringement…as explained above, ABI has itself used the NOVA systems in the United

    States, in violation of 35 U.S.C. § 271(a), when its employees dispensed beer from a

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    NOVA system assembled from the imported components.”). Courts have interpreted the

    term “use” in 35 U.S.C. § 271(a) broadly to include testing. See, e.g., Roche Prods., Inc.

    v. Bolar Pharm. Co., 733 F.2d 858, 863 (Fed. Cir. 1984). The Commission does not

    recognize any exception from liability for infringing use for R&D testing. Certain

    Microfluidic Systems, Inv. No. 337-TA-1100, Comm’n Op. at 87–88 (Mar. 24, 2020).

    Likewise, respondents directly infringe a patented method in violation of section 337

    when they perform the method. Certain Blood Cholesterol Testing Strips & Associated

    Systems Containing the Same, Inv. No. 337-TA- 1116 (“Testing Strips”), Comm’n Op. at

    29 n.22 (May 1, 2020) (“Congress did not preclude section 337 from covering the

    ordinary case of post-importation use without post-importation sale.”) (citing Suprema,

    Inc. v. U.S. Int’l Trade Comm’n, 796 F.3d 1338, 1348 (Fed. Cir. 2015) (en banc) and

    Certain Apparatus for the Production of Copper Rod, Inv. No. 337-TA-52, USITC Pub.

    1017, Comm’n Op. at 18 (Nov. 23, 1979)).

           As discussed below, respondents, their customers of the Accused Products, and

    third-party laboratories all directly infringe when they use and test the Accused Products

    in the United States.

                                  iii.    Direct Infringement by Respondents’ Use

           Respondents perform application testing of the Accused Products that involves

    conducting polishing experiments in the United States. See CX-0007C (Auger Dep. Tr.)

    at 155. More specifically, respondents have an “

    that does                               ” using the Accused Products to generate

                                   ” for the Accused Products. See CX-0007C (Auger Dep.

    Tr.) at 44-45, 54-55; see also CX-0019C (Van der Velden Dep. Tr.) at 57. These

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    polishing tests are performed by respondents

         .” CX-0019C (Van der Velden Dep. Tr.) at 37. Records of respondents’ internal

    polishing tests provide many details regarding respondents’ testing and experiments, such

    as: (a) identification of the Accused Product; (b) physical properties of the Accused

    Product such as




                               See, e.g., JX-0324C (OP2300 Internal Testing Results); JX-

    0328C (Testing Results); JX-0336C (Testing Results).

            Respondents also               of the Accused Products                 in their

    facilities in        . See CX-0019C (Van der Velden Dep. Tr.) at 109. Records of

    respondents’                   also provide many details regarding respondents’ testing

    and experiments, such as: (a) identification of the Accused Product;




                                                                                       . See

    JX-0258C (Troubleshooting Optiplane 2300). The evidence shows direct infringement

    by respondents.

                                   iv.    Direct Infringement by Customers’ Use

            Respondents have numerous customers that use the Accused Products in the

    United States as a “chemical mechanical composition.” Users of the Accused Products

    that deploy and make routine use of the Accused Products directly infringe the asserted

    claims. Indeed, respondents witnesses confirmed that at least

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               , and      have sampled and tested one of the Accused Products. See, e.g.,

    Tr. 229-230; CX-0015C (McDavitt Dep. Tr.) at 84, 87-88. For example,

    started using and testing OP2300 and recently started using OP2602 in the United States;

         is using OP2602 in the United, and                        is testing and running low-

    volume early production using OP2300A in the United States. See, e.g., Tr. 300 (Mr.

    Jacobs testifying: “Q. And one of those customers is                       ? A. That is

    correct. Q. And                        is a customer in the United States, right? A. Yes,

    they are.”); see also CX-0015C (McDavitt Dep. Tr.) at 20-21, 23, 35, 42, 105-106.

           Respondents argue that it does not know how customers are using the Accused

    Products and that the Accused Products could allegedly be modified so they are no longer

    infringing. However, as further described below regarding inducement, this argument

    disregards the evidence that respondents’ customers use the Accused Products as

                                                                               . Moreover, there

    is no dispute that customers are looking to achieve specific parameters and

                                   the Accused Products to meet those specific parameters,

    which are squarely within the scope of the claims. Indeed, respondents have sales and

    field service engineering teams that

          s for the Accused Products. See CX-0019C (Van der Velden Dep. Tr.) at 60.

                                  v.        Direct Infringement by Third-Party
                                            Lab’s Use

           There is no dispute that respondents have hired a third-party lab,

                                                to conduct tests and polishing experiments

    using the Accused Products. See Resps. Br. at 70; CX-0007C (Auger Dep. Tr.) at 103;


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    JX-0286 (ILD Slurry Plan); JX-0219C (Design of Slurry Chemistries). Contrary to

    respondents’ argument, the polishing tests done by         on respondents’ behalf included

    measuring and collecting data such as

                                        . These activities are also direct infringement of the

    ‘721 patent.

                                  vi.     Direct Infringement by Domestic Sale

           The sale of a product that practices a U.S. patent without permission is another act

    of direct infringement that is actionable under section 337. See 19 U.S.C. §

    1337(a)(1)(B)(i), 35 U.S.C. § 271(a). Respondents also infringe the ‘721 patent through

    its domestic sale of the Accused Products. Respondents admit that after using the

    imported particles to make and use the Accused Products, respondents sell samples of the

    Accused Products to customers and others in the United States. See Tr. 300 (Mr. Jacobs

    testifying: “Q. And one of those customers is                    ? A. That is correct.”);

    CX-0015C (McDavitt Dep. Tr.) at 84, 87-88; JX-0272C (Sales & StdMargin – Adhoc

    Financial Analysis); JX-0211C (Optiplane 2300 Acidic CMP Slurry for                 CX-

    0045C (Respondents’ Response to CMC’s Interrogatory No. 67) (admitting Accused

    Product have been




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           Within the CMP slurries into which they are incorporated, these colloidal silica

    particles are the component that “



                . See CX-0007C (Auger Dep. Tr.) at 86; Tr. 697; JX-0001 (‘721 Patent) at

    1:50–53 (“Polishing of the substrate is generally aided by the chemical activity of the

    polishing composition (e.g., by a chemical accelerator) and/or the mechanical activity of

    an abrasive suspended in the polishing composition.”); JX-0176C (CMP Slurry Update)

    at 4 (describing      particles as a “              ”); JX-0207C (

    OPTIPLANE 2300 - Advanced Acidic ILD Slurry, dated March 1, 2017) at 2 (describing

          particles as                                    ”). In other words,       colloidal

    silica particles are a material and necessary component of the Accused Products, without

    which the intended purpose of the claimed invention could not be achieved.

           The importance of the imported           particles to the claimed invention also is

    evident when viewed “in light of the limitations of the asserted claims.” Testing Strips,

    Comm’n Op. at 33, n.26. To be sure, claims 1 and 26 expressly recite “colloidal silica

    abrasive particles” that include a “chemical species” with “permanent positive charge”

    and, as discussed above, the         particles represent the     of the colloidal silica

    particles                      ) in the Accused Products. See JX-0001 (‘721 Patent) at

    39:66–67, 40:1–4, 40:6–9, 41:52–57.

           The facts here also support a finding of direct infringement under the second

    Testing Strips factor — “what additional activity occurs in the United States, including

    any combinations or modifications that are made with respect to the imported articles

    after importation.” Testing Strips, Comm’n Op. at 33 n.26. More specifically,

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    independent claims 1 and 26 of the ‘721 patent recite that the claimed colloidal silica

    abrasive particles are “dispersed in [a] liquid carrier.” See JX-0001 (‘721 Patent) at

    39:66–67, 41:52–53. Independent claim 26 further recites that “an aminosilane

    compound is bonded with the outer surface of the colloidal silica abrasive particles.” Id.

    at 41:61–62. These recitations correspond to the additional activity that occurs in the

    United States with respect to the imported         particles.

           The third factor raised in Testing Strips also is satisfied, as set forth in

    respondents’ statements, “the              particles are imported into the U.S. and then

    combined with other non- accused components in the U.S. to make the final, saleable

    slurry product.” See JX-0406C (Respondents’ 6th Suppl Objs. and Rsps. to 3rd Set of

    ROGs) at 32. This includes mixing the            particles

                                                                           , as recited in claim

    26. See CX-0006C (Dauskardt WS) at Q/A 466; Tr. 295–296 (Mr. Jacobs testifying: “Q.

    Now, you testified that

                                  A. Correct.”); CX-0010C (Guo Dep. Tr.) at 179; CX-0012C

    (Jacobs Dep. Tr.) at 81; CX-0014C (Mosley Dep. Tr.) at 242–243.

           DuPont employee Kevin Jacobs states that the             particles are

                See RX-1398C (Jacobs RWS) at Q/A 24–25. Yet, as DuPont employee Dr.

    Yi Guo explained, the first “use” of the        particles after importation is



                                                        . See CX-0010C (Guo Dep. Tr.) at 231;

    Tr. 294–295. This                 step is the first step of the manufacturing process for the

    Accused Products. See id. Thus, to the extent that

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             particles is considered a                   of the         particles, that



                              , as Mr. Jacobs suggests.

              Moreover, the manufacturing process for the Accused Products leaves the

    relevant “as imported” characteristics of the                 particles intact.



                                                                      . In fact, respondents deliberately

                                              particles for the Accused Products so they would already

    have these characteristics “as imported” by DuPont. 33 See e.g., CX-0007C (Auger Dep.

    Tr.) at 89; JX-0231C (Update on New                   Particle) at 2; JX-0212C (Optiplane 2300

    Poster Presentation); JX-0176C (CMP Slurry Update) at 4. Thus, importation of the

         particles supplied to respondents to directly infringe the ‘721 patent is, independently, a

    violation of section 337. See Testing Strips, Comm’n Op. at 32 n.25 (citing Suprema,

    796 F.3d at 1352-1353); see also 19 U.S.C. § 1337(a)(1)(B)(i).

                              b.         Induced and Contributory Infringement

                                         i.        Knowledge

              Both inducement and contributory infringement require that the respondents knew

    or at least were willfully blind to fact that their actions would induce or contribute to the

    direct infringement of the ‘721 patent. Global-Tech Appliances, Inc. v. SEB S.A., 563



    33
       As Mr. Jacobs confirmed, the       particles have
                                 This is consistent with Dr. Klein and Dr. Raghavan who
    each opine the importance of the positive charge being internal to the claimed colloidal
    silica particles. See RX-1076C (Raghavan WS) at Q/A 88, 93; RX-1076C (Raghavan
    WS) at Q/A 866.

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    U.S. 754, 768-769 (2011). As discussed above, there is no dispute that respondents have

    known of the ‘721 patent since

                                                        . See JX-0405C (Respondents’

    Discovery Responses) at 63; CX-0008C (Chu Dep. Tr.) at 205–206; CX-0010C (Guo

    Dep. Tr.) at 93–94; CX-0007C (Auger Dep. Tr.) at 78; Tr. 228–229. Respondents also

    have had direct knowledge of their infringement of the ‘721 patent since at least April 13,

    2020, when CMC sent a claim chart detailing infringement. See CX-0048C (Ltr from

    CMC to respondent). Respondents’ knowledge of the ‘721 patent as of institution of this

    investigation is further proof.

           Further, the evidence shows that respondents knew, or were willfully blind to the

    fact, that the Accused Products may infringe the ‘721 patent. First, it was routine for

    respondents to                              products during development. See, e.g., JX-

    0249C (Summary of

    Second, the timeline of events shows that respondents were well-aware of the ‘721 patent

    during their development of the Accused Products. In fact, as discussed above, soon after

    learning of the ‘721 patent, including its description of a   particle and a “high purity

    particle from Fuso,”

                              See CX-0006C (Dauskardt WS) at Q/A 501; JX-0178C (DuPont

    Technical Review); JX-0212C (Optiplane 2300 Poster Presentation). It appears

    respondents followed CMC’s invention even though they had identified

                                                                                        . See

    JX-181C (DuPont Presentation); CX-0006C (Dauskardt WS) at Q/A 503.



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                                  ii.     Inducement

           “Whoever actively induces infringement of a patent shall be liable as an

    infringer.” Certain Biometric Scanning Devices, Components Thereof, Associated

    Software, & Products Containing the Same, Inv. No. 337-TA- 720, Comm’n Op. at 5

    (Nov. 10, 2011) (citing 35 U.S.C. § 271(b)). To be liable for inducement, a respondent

    must have acted with specific intent to encourage direct infringement by another, which

    may be shown with circumstantial evidence. See Commil USA LLC v. Cisco Systems,

    Inc., 135 S. Ct. 1920, 1926 (2015); Eli Lilly & Co. v. Teva Parenteral Meds., Inc., 845

    F.3d 1357, 1368 (Fed. Cir. 2017).

           As discussed below, the record evidence shows that respondents induced the

    direct infringement of the ‘721 patent by multiple third parties, including respondents’

    own subsidiaries, respondents’ customers, and third-party labs.

           Inducement of Respondents’ Subsidiaries

           Certain respondents, including DuPont de Nemours, Inc. and Rohm and Haas

    Electronic Materials K.K., actively induce other respondent subsidiaries, including at

    least Rohm and Haas Electronic Materials CMP in Delaware to infringe the ‘721 patent.

    See Testing Strips, Comm’n Op. at 32 n.25. Specifically, employees of DuPont de

    Nemours, Inc. and subsidiary Rohm and Haas Electronic Materials K.K. of Japan



                  with the intention that they will be used in the United States by Rohm and

    Haas Electronic Materials CMP LLC to manufacture infringing CMP slurries, which are

    then used in an infringing manner in the United States by both Rohm and Haas Electronic

    Materials CMP LLC and its customers. See JX-0349C (            Importations); see also CX-

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    0011C (Hutchinson Dep. Tr.) at 171–172, 175–176, 181, 182, 183; JX-0054 (Shipment

    Details/Rohm/US Imports, Panjiva, Apr. 2020); Tr. 293–294.

           Indeed, the imported       colloidal silica particles that respondents import is both

    a             ” of the Accused Products and also comprises a

                      of the CMP infringing slurries. See JX-0207C (2017 Optiplane 2300

    Presentation) at 2; JX-0176C (CMP Slurry Update) at 4; CX-0006C (Dauskardt WS) at

    Q/A 334–35. The importation of this          component of the Accused Products induces

    infringement and, therefore, violates section 337. See, e.g., Testing Strips, Comm’n Op.

    at 32 n.25; see also Suprema, 796 F.3d at 1349, 1352–1353 (“[A]rticles that infringe”

    include “goods that were used by an importer to directly infringe post-importation as a

    result of the seller’s inducement.”). Therefore, DuPont de Nemours, Inc. and Rohm and

    Haas Electronic Materials K.K. induce the direct infringement of the ‘721 patent in the

    United States through their actions, and also contribute to such infringement by supplying

    a component that respondents control for purposes of making the Accused Products.

           Inducement of Customers

           There is evidence that respondents induce infringement by respondents’ United

    States customers. See Beverage Dispensing Systems, Comm’n Op. at 13 (“[E]vidence of

    customer direct infringement” can be “circumstantial,” “based upon [Respondents’]

    undisputed sales…, instructions…, and lack of any non-infringing combinations….”).

    Respondents supply their customers with the Accused Products and

    the Accused Products in a manner that infringes both the asserted composition and

    method claims. The record evidence shows that respondents are

            with their customers’ CMP slurry requirements, and

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                to their customers specifically on how to use the Accused Products in an

    infringing manner. See, e.g., JX-0187C (Optiplane 2300/2600                             );

    JX-0248C (Optiplane 2300/2600                            ); JX-0211C (Optiplane

    Presentation for         ); JX-0257C (Optiplane 2300                ); 34 Tr. 300.

            First, respondents market, distribute, and/or sell the Accused Products to

    customers with                                       the Accused Products, which results in

    infringement. For example, respondents provide                          to their customers

    with

           See, e.g., JX-0187C (Optiplane 2300/2600 Handling Instructions) at 8; JX-0189C

    (Slurry Dilution and Mixing              ) at 9–18; JX-0337C (OP2300

                                                                                   ); JX-0248C

    (OP2300/2600                          ). These           also recommend

                                        that a customer may try. See CX-0019C (Van der

    Velden Dep. Tr.) at 111, 112.

            Further, it is a common practice for respondents to test the Accused Products

    extensively to generate examples of

                                                      . See JX-0225C (Benchmark Analysis);

    CX-0019C (Van der Velden Dep. Tr.) at 33, 34, 37, 38, 44; CX-0007C (Auger Dep. Tr.)

    at 234, 235. Respondents also frequently                          from their own

    experiments (e.g., the                        described above) as



    34
      Respondents also advertise and promote use of their products in an infringing manner.
    JX-0007 (respondents’ Website); JX-0008 (respondents’ Website); JX-0212C, (Optiplane
    2300 Poster Presentation).

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                       See CX-0019C (Van der Velden Dep. Tr.) at 22, 23. Thus,

    respondents are familiar with how their customers use the Accused Products.

           Second, respondents are familiar with the properties of the CMP slurries used by

    their customers. Indeed, respondents

              with the Accused Products through presentations, telephone calls, technical

    review meetings, or                . See JX-0317C (Log of biweekly call with

                 ; JX-0318C (Log from              call); CX-0007C (Auger Dep. Tr.) at 244–

    246, 248; CX-0019C (Van der Velden Dep. Tr.) at 145–146. Multiple respondent

    witnesses confirmed that typical



                                             . See CX-0007C (Auger Dep. Tr.) at 45–46; CX-

    0015C (McDavitt Dep. Tr.) at 33–34, 36–38. Respondents also admit to having a product

    quality engineering team located in

                          regarding the infringing slurries. See CX-0019C (Van der Velden

    Dep. Tr.) at 56.

           Respondents argue that “customers themselves may choose how to dilute and use

    the Accused Products.” See Resps. Br. at 71. It is undisputed that respondents

                                to customers that bring the products squarely within the claim

    scope. This was confirmed by numerous respondent witnesses, including Mr. Kevin

    Jacobs, global product scale up manager, who testified that respondents

                           to customers, and that he was not aware of

                                , which brings the Accused Products within the claim scope.

    See CX-0012C (Jacobs Dep. Tr.) at 52; 233; Tr. 300.

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           The evidence in this case is far from the “hypothetical infringement” discussed in

    Dynacore Holdings Corp. v. U.S. Philips Corp., 363 F.3d 1263, 1274 (2004) as

    respondents suggest. As discussed above, there is direct infringement by respondents’

    customers and respondents induce this infringement by supplying them with the Accused

    Products and                         the Accused Products in a manner that infringes the

    claims. In light of the above, respondents knowingly induced infringement of the ‘721

    patent with specific intent to do so, including by providing components in the United

    States to assemble and/or make infringing products, selling these products to United

    States customers for use in the United States and otherwise intentionally causing direct

    infringement.

           Inducement of Third Party Testing Labs

           Respondents also actively induced a third-party laboratory to use and test the

    Accused Products. Multiple respondent witnesses testified that respondents told            to

    test the Accused Products in the United States

             . See CX-0007C (Auger Dep. Tr.) at 102, 103, 256, 257, 258; CX-0010C (Guo

    Dep. Tr.) at 143; JX-0286C (ILD Slurry Plan) at 10; JX-0219C (Design of Slurry

    Chemistries). Specifically, the evidence shows that respondents told



        . Thus, the evidence shows that respondents also actively induced a third-party

    testing laboratory      to use an Accused Product in the United States, and thus infringe

    the ‘721 patent.




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                                  iii.    Contributory Infringement

           The evidence shows that respondents have also contributed to the infringement of

    the ‘721 patent. Contributory infringement under section 337 can be shown if “(1) there

    is an act of direct infringement in violation of Section 337; (2) the accused device has no

    substantial non-infringing uses; and (3) the accused infringer imported, sold for

    importation, or sold after importation within the United States, the accused components

    that contributed to another’s direct infringement.” Spansion, Inc. v. Int’l Trade Comm’n,

    629 F.3d 1331, 1353 (Fed. Cir. 2010); 19 U.S.C. § 1337(a)(1)(B).

           As discussed above, certain respondents, including DuPont de Nemours, Inc. and

    subsidiaries Rohm and Haas Electronic Materials CMP LLC and Rohm and Haas

    Electronic Materials K.K. of Japan, cause to be imported into the United States from

           the              particle component of the Accused Products. Rohm and Haas

    Electronic Materials CMP LLC combines the            particle with other components of the

    Accused Products. Direct infringement in the United States is established when (1)

    Rohm and Haas Electronic Materials CMP LLC makes, uses, sells, and tests the Accused

    Products; (2) respondents’ customers use and test the Accused Products; and (3)           a

    third-party laboratory, uses and tests the Accused Products in the United States. See, e.g.,

    Testing Strips, Comm’n Op. at 32 n.25 (finding that “the foreign respondent …

    contributed to the infringement of the asserted claims by supplying the Accused Products

    to [the domestic respondent] for its use in directly infringing … after importation into the

    United States”).

           The evidence shows that respondents satisfy each of the factors of contributory

    infringement, the first of which (an act of direct infringement) was already addressed.

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           Indeed, respondents have identified no other use for the          particles than to be

    made into the Accused Products, and the Accused Products in turn have no use other than

    to be used for CMP as described in the ‘721 patent. See CX-0007C (Auger Dep. Tr.) at

    218–219. For at least these reasons the         particles are especially made for

    infringement of the ‘721 patent and are not a staple article. See CX-0006C (Dauskardt

    WS) at Q/A 175–190, 513–514.

           Respondents argue that                  particles are also provided to Sumitomo and

    Fujimi, and thus, the         particles are not especially made for an infringing use. See

    Resps. Br. at 73, 75. However, respondents have not shown that any             particle is

    actually used or implemented in a non-infringing manner. Indeed, the evidence shows

    the contrary—that DuPont specifically                                  particle for use in its

    Optiplane slurries, and the        particles that DuPont receives were              made for

    DuPont. See CX-0012C (Jacobs Dep. Tr.) at 133 (“Q:…[O]nce somebody at

    DuPont…comes up with the

                                                        ; is that right? A: Correct”). Further,

    respondents argue that respondents have no “control” over             manufacturing process.

    This argument disregards the substantial evidence discussed above showing respondents’

                                                                  regarding the parameters of

    the      particles.

           Finally, importation of the accused BS-3 particles is not disputed. See CX-0006C

    (Dauskardt WS) at Q/A 191–92, 512; CX-0007C (Auger Dep. Tr.) at 88. Thus,

    respondents satisfy the factors for contributory infringement. As discussed above, each



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    of the respondents knew that the combination of the BS-3 particles with other ingredients

    was patented, and each of the respondents knew of the ‘721 patent.

            In sum, the evidence has shown that respondents, including Rohm and Haas

    Electronic Materials K.K. in Japan, contribute to the infringement of the United States

    respondents, and all respondents contribute to the infringement of respondents’ United

    States customers and the third-party laboratory that performs testing in the United States,

    through their importation of components such as the           particles, and the Accused

    Products themselves, into the United States. See CX-0006C (Dauskardt WS) at Q/A 511.

                                    iv.      Whether the        Precludes Infringement

            Respondents argue that

                              precludes CMC from enforcing the ‘721 patent against Fuso

    silica particles falling outside the scope of               . See Resps. Br. at 76.

    Respondents argue that “the           bars CMC from alleging infringement of the ’721

    patent based on                                                                               Id.

    Respondents argue that the                       allegedly “bars CMC from alleging

    infringement” of                                                                       and

    are allegedly identified as                                     Id. Respondents concede

    that BS-3 particles did not exist at the time of           and were not even introduced until

    2015. See RX-1402C (Raghavan RWS) at Q/A 39. Moreover,

             ” are expressly defined to mean

                                              . See JX-0111C                at §7.3(a), 7.4(a).

    The       does not limit CMC’s ability to allege infringement of CMC’s slurry IP. To the

    contrary, the

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                                                                              .” Id. at §17.2.

           C.       Domestic Industry (Technical Prong)

           As discussed above, with respect to domestic industry, CMC asserts claims 1, 3–

    11, 13–21, 23, 26–29, 31–36, and 38–44. See Compl. Br. at xix, 92-93.

           As discussed below, the DI Products practice claims 1, 3–5, 7–11, 13–16, 18, 23,

    26–29, 32–36, and 38. Moreover, each of the DI Products, at its POU concentration,

    practices claims 6, 17, 19–21, and 31, and when used by CMC, or its customers, practices

    claims 39–44.

                    1.      Applicable Law

           A violation of section 337(a)(1)(B), (C), (D), or (E) can be found “only if an

    industry in the United States, with respect to the articles protected by the patent,

    copyright, trademark, mask work, or design concerned, exists or is in the process of being

    established.” 19 U.S.C. § 1337(a)(2). Section 337(a) further provides:

                    (3) For purposes of paragraph (2), an industry in the United States
                    shall be considered to exist if there is in the United States, with
                    respect to the articles protected by the patent, copyright, trademark,
                    mask work, or design concerned—

                         (A) significant investment in plant and equipment;

                         (B) significant employment of labor or capital; or

                         (C) substantial investment in its exploitation, including
                         engineering, research and development, or licensing.

    19 U.S.C. § 1337(a)(3).

           These statutory requirements consist of an economic prong (which requires

    certain activities) and a technical prong (which requires that these activities relate to the

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    intellectual property being protected). Stringed Musical Instruments, Comm’n Op. at 13.

    The burden is on the complainant to show by a preponderance of the evidence that the

    domestic industry requirement is satisfied. Navigation Devices, Comm’n Op. at 5.

           “To determine the relationship between a domestic industry and protected articles

    (the ‘technical prong’ of the domestic industry requirement), the Commission determines

    whether the industry produces articles covered by the asserted claims.” Crocs, Inc., 598

    F.3d at 1306-07.

           The test for the technical prong of the industry requirement “is essentially the

    same as that for infringement, i.e., a comparison of domestic products to the asserted

    claims.” Alloc, 342 F.3d at 1375. “In other words, the technical prong requires proof that

    the patent claims cover the articles of manufacture that establish the domestic industry.

    Put simply, the complainant must practice its own patent.” Crocs, Inc., 598 F.3d at 1307.

           It is sufficient to show that the domestic industry practices any claim of the

    patent, not necessarily an asserted claim. Microsphere Adhesives, Comm’n Op. at 7-16.

                   2.      Domestic Industry Products

           There is no dispute that CMC’s DI Products include the D922x family products,

    including D9228, D9222, D9225, D9228 7.5 X,                            and developments

    and improvements thereof. See Compl. Br. at 9; Resps. Br. at 14-15; Staff Br. at 15; CX-

    0001C (Woodland DWS) at Q/A 8. All of these products include                 colloidal

    silica abrasive particles. See CX-0002C (Grumbine DWS) at Q/A 30.

           CMC’s iDIEL™ D922X family products, including iDIEL™ D9228, D9222,

    D9225, D9228 7.5 X,                         demonstrate CMC’s domestic industry in the

    ‘721 patent and practice the DI Claims, 1, 3–11, 13–21, 23, 26–29, 31–36, and 38–44.

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    See CX-0006C (Dauskardt WS) at Q/A 517–19. As Dr. Dauskardt explained, and

    respondents do not dispute, all of these products include            colloidal silica abrasive

    particles, and D9228 is representative with respect to the DI Claims. See Resps. Br. at

    14-15; CX-0006C (Dauskardt WS) at Q/A 519–25.

           The specific formulation of each DI Product is summarized at CDX-0006C.00121

    (CX-0006C (Dauskardt WS) at Q/A 518; JX-0093C (

                        JX-0099C                                                     ); JX-

    0098C (                                            ); JX-0069C

                                          )). As seen with the                      , the DI

    Products often are made at          of colloidal silica particles to reduce the cost of

    transportation and shipping to customer sites and then made and used at around             of

    colloidal silica particles, the POU. See CX-0006C (Dauskardt WS) at Q/A 519–21.

                   3.     Independent Claim 1

                          a.       A chemical mechanical polishing composition
                                   comprising

           Respondents do not dispute that the preamble is met by the DI Products. See

    Resps. Br. at 80-81; RX-1402C (Raghavan RWS) at Q/A 309–318. Evidence shows that

    the DI Products are chemical mechanical polishing compositions. See CX-0006C

    (Dauskardt WS) at Q/A 526–530; JX-0020 (iDIEL D9228 CMP Slurry); JX-0100C

    (iDIEL™ D9228 ILD CMP Polishing Slurry); JX-0093C

                   at 3; JX-0070C                                                   ) at 1.




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                            b.      a water based liquid carrier

            Respondents do not dispute that this limitation is met. See Resps. Br. at 80-8.

    The DI Products comprise a water based liquid carrier. See CX-0006C (Dauskardt WS)

    at Q/A 531; JX-0021 (Safety Data Sheet of iDIEL D9228) at 3; JX-0099C (

                                         ) at 4; JX-0023C (D9228 Production Formula) at 2 (DI

    Products are made using “DI water.”).

                            c.      colloidal silica abrasive particles dispersed in the liquid
                                    carrier

            None of respondents’ experts disputes this limitation is met by the DI Products

    under any party’s proposed constructions. See RX-1402C (Raghavan RWS) at Q/A 309–

    18; CX-0006C (Dauskardt WS) at Q/A 533–36. The DI Products each includes colloidal

    silica abrasive particles, specifically          particles, dispersed in water. See, e.g., JX-

    0021 (Safety Data Sheet of iDIEL D9228) at 3; JX-0020 (iDIEL D9228 CMP Slurry);

    JX-0099C (                                            ) at 4; JX-0104C (

        ) at 1; JX-0101C (                                          ) at 5; CX-0073C (

                                   ) at 1; JX-0069C (                                           ) at

    4; CX-0002C (Grumbine WS) at Q/A 33. Even under respondents’ product-by-process

    construction of “colloid silica abrasive particles,” this limitation is satisfied because

                   are made using a wet process. See CX-0006C (Dauskardt WS) at Q/A 535;

    JX-0062C (                                  ) at 4.




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                          d.      a chemical species incorporated in the colloidal silica
                                  abrasive particles internal to an outer surface thereof,
                                  wherein the chemical species is a nitrogen containing
                                  compound or a phosphorus containing compound

           This limitation is met by the DI Products under any party’s proposed

    constructions. Respondents do not dispute this. See Resps. Br. at 80-81; RX-1402C

    (Raghavan RWS) at Q/A 309–318; CX-0006C (Dauskardt WS) at Q/A 537–544. The

             colloidal silica abrasive particles are “positively-charged particles.” See CDX-

    0006C.00124 (CX-0006C (Dauskardt WS) at Q/A 537; JX-0022 (D9228 website)). The

             colloidal silica abrasive particles include multiple chemical species, including

                                                           , which is a nitrogen containing

    compound incorporated internal to the outer surface of the           particles. See CX-

    0006C (Dauskardt WS) at Q/A 538. The               particles are made under such

    conditions that                                                               . See, e.g.,

    JX-0062C (                                ) at 4; JX-0418C (Colloidal Silica Particles) at

    3; JX-0059C (D9228 spreadsheet); JX-0060C (D9228 DOE) and JX-0084C (Particle

    Data). Moreover, Dr. Dauskardt’s testing shows that          is incorporated internal to

    the outer surface of the colloidal silica abrasive particles. See CX-0023C (EAG Analysis

    Report) at 80; CX-0006C (Dauskardt WS) at Q/A 236–37, 542.

                          e.      a pH in a range from about 3.5 to about 6;

           Respondents do not dispute that this limitation is met. See Resps. Br. at 80-81;

    RX-1402C (Raghavan RWD) at Q/A 309–318. The documents and Dr. Dauskardt’s

    testing show the DI Products comprise a pH in a range from about 3.5–6. See, e.g., CX-

    0006C (Dauskardt WS) at Q/A 545–547; CX-0024C (DTI Analysis Report) at 11; CX-


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    0026C (PTL Analysis Report II) at 3–5; JX-0021 (D9228 Safety Data Sheet) at 4

    (describing a pH of between 4.0 and 5.0 for the D9228 products); JX-0024C (Product

    Specification iDIELTM D9228) (showing a pH in a range of                           ); JX-

    0120C (Certificate of Analysis for iDIEL D9228); JX-0091C (D9228 Spreadsheet); JX-

    0035C (D9228 Manufacturing Data). The same pH range applies for all the DI Products.

    See JX-0103C (D9225/D9222 Product Specification); JX-0121C (D9225 Certificate of

    Analysis); JX-0101C (                                        JX-0090C (D9225 Quality

    Control data); CX-0073C (Product Specification) (describing a pH

    at 1; JX-0097C (Product Specification) at 1 (describing a pH of

    for                ). The DI Products practice this limitation at POU and as

    concentrated. See CX-0006C (Dauskardt WS) at Q/A 546; JX-0102C (D9225 study) at

    6; JX-0038C (D9228 Study); JX-0048C              study); JX-0072C (            study).

                          f.     wherein the colloidal silica abrasive particles have a
                                 permanent positive charge of at least 15 mV; and

           This limitation is met by each of the DI Products under any party’s proposed

    constructions. See CX-0006C (Dauskardt WS) at Q/A 548–561. Dr. Dauskardt’s testing

    confirms that the DI Products have a permanent positive charge of the           particles

    greater than 15 mV. Tr. 750–751 (Dr. Dauskardt testifying: “Q. And did you oversee

    zeta potential measurements of the accused products and domestic industry products? A.

    Yeah, I spent hours on zoom overseeing measurements of two different instruments. . . .

    [W]e measured, I think there were three samples from the accused products and two from

    domestic industry, and we made multiple measurements [on] those.”); see also CX-

    0006C (Dauskardt WS) at Q/A 548–550; CX-0024C (DTI Analysis Report) at 11; CX-


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    0026C (PTL Analysis Report II) at 3–5. As Dr. Dauskardt explains, the triple filtration

    test he used also shows that “positive charge of at least 15 mV that is not readily

    reversible, for example, via flushing, dilution, filtration, and the like,” under respondents’

    construction of “permanent positive charge.” CX-0006C (Dauskardt WS) at Q/A 554.

    Respondents’ allegation that this testing was not reliable or accurate (Resps. Br. at 82) is

    not supported and fails for the reasons explained above in the context of infringement.

    By contrast, respondents did not perform any testing of the DI Products. See, e.g., Tr.

    392 (Dr. Miller testifying: “Q. You didn’t -- you did not instruct any lab to perform any

    zeta potential testing on the accused products or the DI products, right? A. Correct.”).

           Respondents argue that this limitation is not met under respondents’ construction

    of “wherein the colloidal silica abrasive particles have a permanent positive charge of at

    least 15 mV,” which incorrectly requires the only source of permanent positive charge to

    be internal charge, rather than charge on the surface of the particle.           particles

    have an internal nitrogen chemical species, and the permanent positive charge results at

    least from that, as Dr. Dauskardt measured. See CX-0006C (Dauskardt WS) at Q/A 559.

    In any event, this limitation is at least practiced under the doctrine of equivalents. For

    example, the differences, if any relevant differences exist, between this element as

    claimed in the ‘721 patent, on the one hand, and DI Products, on the other, are

    insubstantial. The patent describes a particle with internal nitrogen and covalently

    bonded aminosilane with the surface, as in the DI Products, and both practice the same

    function (CMP polishing) in substantially the same way (colloidal silica abrasive

    particles with an amount of internal nitrogen containing species and surface bonded

    aminosilane that leads to a requisite amount of permanent positive charge, to achieve the

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    same result (targeted removal rates). See CX-0006C (Dauskardt WS) at Q/A 561. In

    fact,

                                                              . CX-0227C (Grumbine RWS) at

    Q/A 30.

                           g.      wherein the chemical species is not an aminosilane or a
                                   phosphonium silane.

            In the DI Products, the chemical species is                                which is

    not an aminosilane or a phosphonium silane. See CX-0006C (Dauskardt WS) at Q/A

    562. Respondents argue that this limitation is not met by the DI Products under their

    proposed construction, which is based on respondents’ reading of this limitation as

    requiring that the colloidal silica abrasive particles—as opposed to the recited chemical

    species—contain no aminosilane and phosphonium silane. See Resps. Br. at 83. For the

    reasons described in the Claim Construction section above, respondents’ position is

    incorrect.

            For at least the above reasons, all of the DI Products practice claim 1.

                   4.      Dependent Claim 3: The composition of claim 1, further
                           comprising a buffering agent having a pKa in a range from
                           about 3.5 to about 5.5.

            Respondents do not dispute that the DI Products practice this claim limitation.

    See Resps. Br. at 80-87; see also RX-1402C (Raghavan RWS) at Q/A 301–48. The DI

    Products have a weak acid that functions as a buffering agent having a pKa in a range

    from about 3.5 to about 5.5. See CX-0006C (Dauskardt WS) at Q/A 563–565; JX-0115C

                                           at 12; JX-0023C (iDIEL D9228 Document) at 2;

    JX-0099C (D9228 7.5x Production Formula) at 4; JX-0104C (D9225 Control Plan) at 1;

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    JX-0101C (Product Specification for D9225) at 4–5; CX-0073C (Product Specification

    for D9228 – 7.5X); JX-0069C (                                              ) at 4. For at least

    the above reasons, all of the DI Products practice claim 3.

                   5.      Dependent Claim 4: The composition of claim 1, wherein the
                           colloidal silica abrasive particles have a mean particle size in a
                           range from about 30 to about 70 nm.

           Respondents do not dispute that the DI Products practice this claim limitation.

    See Resps. Br. at 80-87; see also RX-1402C (Raghavan RWS) at Q/A 301–48. The

    colloidal silica abrasive particles have a mean particle size in a range from about 30 to

    about 70 nm. See, e.g., CX-0006C (Dauskardt WS) at Q/A 566–568; JX-0033C

                                     ) (showing a secondary particle size of

           using Dynamic Light Scattering); JX-0136C (                                 ); JX-

    0109C (Certificate of Analysis Data); JX-0024C (D9228 Product Specification) at 2; JX-

    0091C (                              ); JX-0035C (D9228 Manufacturing data); JX-0120C

    (Certificate of Analysis for iDIEL D9228). For at least the above reasons, all of the DI

    Products practice claim 4.

                   6.      Dependent Claim 5: The composition of claim 1, wherein the
                           colloidal silica abrasive particles have a mean particle size in a
                           range from about 40 to about 60 nm.

           Respondents do not dispute that the DI Products practice this claim limitation.

    See Resps. Br. at 80-87; see also RX-1402C (Raghavan RWS) at Q/A 301–48. As

    discussed in claim 4, the colloidal silica abrasive particles have a mean particle size in a

    range from about 40 to about 60 nm. See CX-0006C (Dauskardt WS) at Q/A 569–70.

    For at least the above reasons, all of the DI Products practice claim 5.



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                   7.         Dependent Claim 6: The composition of claim 1, comprising
                              from about 0.5 to about 4 weight percent of the colloidal silica
                              abrasive particles.

           Respondents do not dispute that the DI Products practice this claim limitation.

    See Resps. Br. at 80-87; see also RX-1402C (Raghavan RWS) at Q/A 301–48. The DI

    Products include about 0.5 to about 4 weight percent of the colloidal silica abrasive

    particles at POU. CX-0006C (Dauskardt WS) at Q/A 571–574. Further, an advantage of

    the DI Products is their capability of being used at low solid content, typically containing

    about 2 wt% of colloidal silica abrasive particles.                     CMP Slurry

    Products include about 2 weight percent of the colloidal silica abrasive particles as made.

    See, e.g., CX-0073C (                                        ); JX-0107C (

                          .

           For all of the other DI Products, CMC uses and tests the products at about 2

    weight percent and also instructs customers to use the DI Products at a POU of about 2

    weight percent. For example, JX-0020 (CMC’s website) identifies a 2% Point-of-Use for

    D9228. See JX-0100C (D9228 Document)(describing dilution ratios

        ; JX-0099C                               ); CX-0074C (iDIEL™ D9225 ILD CMP

    Polishing Slurry); JX-0070C (iDIEL™                  ILD CMP Polishing Slurry); JX-0101C

                                 ) at 9–10; JX-0069C (                           ) at 8–9; JX-

    0102C (                                                   ) at 6; JX-0038C (D9228

    Spreadsheet); JX-0048C               Testing); JX-0072C (          Testing) at 3. For at

    least these reasons, all DI Products at POU practice claim 6.




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                   8.      Dependent Claim 7: The composition of claim 1, wherein 30
                           percent or more of the colloidal silica abrasive particles include
                           three or more aggregated primary particles.

           Respondents do not dispute that the DI Products practice this claim limitation.

    See Resps. Br. at 80-87; see also RX-1402C (Raghavan RWS) at Q/A 301–48. As

    described above, each DI Product includes             colloidal silica abrasive particles.

                                             establishes that 30 percent or more of the

        colloidal silica abrasive particles include three or more aggregated primary particles.

    See CX-0006C (Dauskardt WS) at Q/A 575–576; JX-0077C

            ) at 7; JX-0062C                               ) at 30. For at least the above

    reasons, all of the DI Products practice claim 7.

                   9.      Dependent Claim 8: The composition of claim 1, wherein 50
                           percent or more of the colloidal silica abrasive particles include
                           three or more aggregated primary particles and 20 percent or
                           more of the colloidal silica abrasive particles are monomers or
                           dimers.

           Respondents do not dispute that the DI Products practice this claim limitation.

    See Resps. Br. at 80-87; RX-1402C (Raghavan RWS) at Q/A 301–48. As described

    above, each DI Product includes            colloidal silica abrasive particles.

                                              shows 50 percent or more of the colloidal silica

    abrasive particles include three or more aggregated primary particles and 20 percent or

    more of the colloidal silica abrasive particles are monomers or dimers. See CX-0006C

    (Dauskardt WS) at Q/A 577; JX-0077C                                       ) at 7; JX-0062C

    (                             at 30. For at least the above reasons, all of the DI Products

    practice claim 8.



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                     10.     Dependent Claim 9: The composition of claim 1, wherein the
                             colloidal silica abrasive particles include primary particles and
                             95 percent or more of the primary particles have a primary
                             particle size in a range from 15 to 35 nm.

              Respondents do not dispute that the DI Products practice this claim limitation.

    See Resps. Br. at 80-87; see also RX-1402C (Raghavan RWS) at Q/A 301–48. As

    described above, each DI Product includes              colloidal silica abrasive particles.

                                                       shows 95 percent or more of the primary

    particles have a primary particle size in a range from 15 to 35 nm. See CX-0006C

    (Dauskardt WS) at Q/A 578–79; JX-0077C                                       es) at 15–16,

    19; JX-0062C (                               ) at 30. For at least the above reasons, all of

    the DI Products practice claim 9.

                     11.     Dependent Claim 10: The composition of claim 1, wherein the
                             chemical species is not ammonium.

              Respondents do not dispute that the DI Products practice this claim limitation.

    See Resps. Br. at 80-87. For the reasons explained above,               particles incorporate

    the chemical species                               ), which is not ammonium. See CX-

    0006C (Dauskardt WS) at Q/A 580–82. For at least the above reasons, all of the DI

    Products practice claim 10.

                     12.     Dependent Claim 11: The composition of claim 1, wherein the
                             chemical species comprises a primary amine, a secondary
                             amine, a tertiary amine, or a quaternary amine compound.

              Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. As described above,              particles incorporate the chemical

    species           which is a primary amine. See CX-0006C (Dauskardt WS) at Q/A 583.

    For at least the above reasons, all of the DI Products practice claim 11.
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                     13.     Dependent Claim 13: The composition of claim 1, wherein the
                             chemical species comprises from 1 to 6 carbon atoms.

              Respondents do not dispute that the DI Products practice this claim limitation.

    See Resps. Br. at 80-87. As described above,              particles incorporate the chemical

    species                                            . See CX-0006C (Dauskardt WS) at Q/A

    584. For at least the above reasons, all of the DI Products practice claim 13.

                     14.     Dependent Claim 14: The composition of claim 13, wherein the
                             chemical species comprises ethyloxypropylamine, tetramethyl
                             ammonium hydroxide, or ethylenediamine.

              Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. As described above,              particles incorporate the chemical

    species                                                         . See CX-0006C (Dauskardt

    WS) at Q/A 585. For at least the above reasons, all of the DI Products practice claim 14.

                     15.     Dependent Claim 15: The composition of claim 1, wherein the
                             colloidal silica abrasive particles have a core-shell structure in
                             which an outer shell is disposed over an inner core, the
                             chemical species being incorporated in the outer shell.

              Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. As described above, each DI Product includes the                colloidal

    silica abrasive particles.           have a core-shell structure in which an outer shell is

    disposed over an inner core, the chemical species being incorporated in the outer shell.

    See CX-0006C (Dauskardt WS) at Q/A 586–588; JX-0062C

    at 4; JX-0418C (Colloidal Silica Particles) at 3; JX-0134C (Understanding Key

    Parameters of High Oxide Rate Colloidal Silica Particles) at 3; JX-0147C (2016 CMC

    Email). Accordingly, all of the DI Products practice claim 15.



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                   16.     Dependent Claim 16: The composition of claim 15, wherein the
                           outer shell has a thickness of at least 1 nm.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. The outer shell of           particles has a thickness of at least 1 nm.

    See CX-0006C (Dauskardt WS) at Q/A 589. Accordingly, all of the DI Products practice

    claim 16.

                   17.     Dependent Claim 17: The composition of claim 1, having an
                           electrical conductivity of less than about 300 μS/cm.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. As discussed above, an advantage of the DI Products is that they are

    used at low solid content, typically containing about 2 wt% of colloidal silica abrasive

    particles. Inasmuch as charge attraction between the positively charge colloidal silica

    abrasive particles and the negatively charged oxide surfaces is important for the polishing

    performance,                                                                      . See CX-

    0006C (Dauskardt WS) at Q/A 591. The DI Products practice this claim at POU. Id. at

    Q/A 592–594; CX-0074C (D9225 polishing slurry); JX-0070C (                      ); JX-0101C

    (                         ) at 9–10; JX-0069C (                             ) at 8–9; JX-

    0038C (D9228 data); JX-0048C (                    ); JX-0072C (

           ); JX-0102C (                                                  ) at 6; CX-0024C

    (DTI Analysis Report) at 11. Accordingly, all DI Products at POU practice claim 17.

                   18.     Dependent Claim 18: The composition of claim 1, wherein the
                           colloidal silica has a density of greater than 1.90 g/cm3.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. Testing and CMC documents shows that the density of


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    particles is greater than 2. See CX-0006C (Dauskardt WS) at Q/A 595–596; JX-0039C

    (testing data) (showing the density of the          particles is above 2); JX-0135C

    (Particle Density Results); CX-0025C (PTL Analysis Report I) at 6 (showing density of

                                Accordingly, all DI Products practice claim 18.

                   19.     Dependent Claim 19: The composition of claim 1, wherein the
                           colloidal silica abrasive particles have a permanent positive
                           charge of at least 15 mV; the composition has a pH in a range
                           from about 3.5 to about 6; the colloidal silica abrasive particles
                           have a mean particle size in a range from about 30 to about 70
                           nm; and the composition includes from about 0.5 to about 4
                           weight percent of the colloidal silica abrasive particles.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. For at least the reasons explained above with respect to claims 1, 4,

    and 6, all DI Products at POU practice claim 19. See CX-0006C (Dauskardt WS) at Q/A

    597.

                   20.     Dependent Claim 20: The composition of claim 1, wherein the
                           colloidal silica abrasive particles have a permanent positive
                           charge of at least 15 mV; the composition further includes a
                           buffering agent having a pKa in a range from about 3.5 to
                           about 5.5; the composition includes from about 0.5 to about 4
                           weight percent of the colloidal silica abrasive particles; the
                           colloidal silica has a density of greater than 1.90 g/cm3; and the
                           chemical species comprises from 1 to 6 carbon atoms.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. For the reasons explained above with respect to claims 1, 3, 6, 13,

    and 18, all DI Products at POU practice claim 20. See CX-0006C (Dauskardt WS) at

    Q/A 598.

                   21.     Dependent Claim 21: The composition of claim 1, wherein: the
                           colloidal silica abrasive particles have a permanent positive
                           charge of at least 15 mV; the composition further includes a

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                          buffering agent having a pKa in a range from about 3.5 to
                          about 5.5; the composition includes from about 0.5 to about 4
                          weight percent of the colloidal silica abrasive particles; 30
                          percent or more of the colloidal silica abrasive particles include
                          three or more aggregated primary particles; and the chemical
                          species comprises from 1 to 6 carbon atoms.

           Respondents do not dispute that the DI Products practice this claim limitation.

    See Resps. Br. at 80-87. For the reasons explained above with respect to claims 1, 3, 6, 7,

    and 13, all DI Products at POU practice claim 21. See CX-0006C (Dauskardt WS) at

    Q/A 599.

                   22.    Dependent Claim 23: The composition of claim 1, wherein: the
                          colloidal silica abrasive particles have a mean particle size in a
                          range from about 30 to about 70 nm; 30 percent or more of the
                          colloidal silica abrasive particles include three or more
                          aggregated primary particles; and the colloidal silica abrasive
                          particles include primary particles and 95 percent or more of
                          the primary particles have a primary particle size in a range
                          from 15 to 35 nm.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. For the reasons explained above with respect to claims 1, 4, 7, and

    9, all DI Products practice claim 23. See CX-0006C (Dauskardt WS) at Q/A 600.

                   23.    Independent Claim 26

                          a.      A chemical mechanical polishing composition
                                  comprising: a water based liquid carrier; colloidal silica
                                  abrasive particles dispersed in the liquid carrier; a
                                  chemical species incorporated in the colloidal silica
                                  abrasive particles internal to an outer surface thereof,
                                  wherein the chemical species is a nitrogen containing
                                  compound or a phosphorus containing compound; a pH
                                  in a range from about 1.5 to about 7; wherein the
                                  colloidal silica abrasive particles have a permanent
                                  positive charge of at least 13 mV; and




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           For the reasons explained above with respect to claim 1, all DI Products practice

    these limitations of claim 26. See CX-0006C (Dauskardt WS) at Q/A 601–08. As for

    claim 1, respondents argue that the DI products do not meet respondents’ proposed

    construction for the term “wherein the colloidal silica abrasive particles have a permanent

    positive charge of at least 13 mV.” See Resps. Br. at 84. Respondents are incorrect for

    the reasons discussed for claim 1.

                          b.      wherein an aminosilane compound is bonded with the
                                  outer surface of the colloidal silica abrasive particles.

           This limitation is met by each of the DI Products under any party’s proposed

    constructions. See CX-0006C (Dauskardt WS) at Q/A 609–614. As discussed above in

    the context of claim 1, each of the DI Products includes          colloidal silica abrasive

    particles. An aminosilane compound,                                                      is

    bonded with the outer surface of the          colloidal silica abrasive particles. For

    example,                                         describes a            processes of

    preparing a core-shell structure, where

                                                                                   , which

    causes aminosilane to be incorporated throughout the shell and to bond with the outer

    surface of the          colloidal silica abrasive particles. See, e.g., CX-0006C

    (Dauskardt WS) at Q/A 610; JX-0062C (                               ) at 4; JX-0142C

    (Particle Strategy Overview) at 4; JX-0134C (Internal CMC Document) at 3; CX-0002C

    (Grumbine WS) at Q/A 33–39. The externally bonded aminosilane is depicted in CMC’s

    technical documents, as shown in the excerpt below from JX-0142C at 4. The lower left




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    portion of the graphic shows




           Respondents dispute that the            particles included externally bonded

    aminosilane. See Resps. Br. at 84-85. However, CMC’s preexisting technical

    documents, like JX-0142C (excerpted above), show this limitation is met. Further, Dr.

    Dauskardt’s testing of D9228 slurries, which include            particles, showed that

                                                                                See CX-0006C

    (Dauskardt WS) at Q/A 611; CX-0023C (EAG Analysis Report) at 64. Given the

                                                      of colloidal silica particles, at least some

             molecules are bonded with the outer surface of the colloidal silica abrasive

    particles. CX-0006C (Dauskardt WS) at Q/A 611; see also CX-0010C (Guo Dep.) at 78

    (“Q. So, is it fair to say that aminosilane has a strong tendency to form a covalent bond

    with a silica particle surface? A. If you mange direction, condition correctly, yes, most



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    organosilane can form a strong covalent bond.”). Furthermore, after complete removal of

                                                                                   that may be

    adsorbed on           particle surface, the NMR analysis of

    particles (after digestion by NaOH) clearly detected

                      . At least a portion of the          are bonded with the outer surface of

    the           particles, given the known synthesis process. See CX-0006C (Dauskardt

    WS) at Q/A 611; CX-0002C (Grumbine WS) at Q/A 33–39.

           As discussed in the Claim Construction section above, respondents’ proposed

    construction of this limitation requires a specific method of bonding (post-treatment).

    Even under this construction, this limitation is practiced under the doctrine of

    equivalents. The differences, if any relevant differences exist, between the process used

    to make           , on the one hand, and an aminosilane post-treatment process, on the

    other, are insubstantial. Both resulting particles can practice the same function (CMP

    polishing) in substantially the same way (with an amount of covalently bound

    aminosilane surface treatment that prevents shielding the particle surface) to achieve the

    same result (targeted removal rates). See CX-0006C (Dauskardt WS) at Q/A 615.

           For at least the above reasons, all of the DI Products practice claim 26.

                   24.     Claim 27: The composition claim 26, having a pH in a range
                           from about 3.5 to about 6.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. For the reasons explained above with respect to claims 1 and 26, all

    DI Products practice claim 27. See CX-0006C (Dauskardt WS) at Q/A 615.




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                   25.    Claim 28: The composition of claim 26, wherein the colloidal
                          silica abrasive particles have a permanent positive charge of at
                          least 15 mV.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. For the reasons explained above with respect to claims 1 and 26, all

    DI Products practice claim 28. See CX-0006C (Dauskardt WS) at Q/A 616.

                   26.    Claim 29: The composition of claim 26, wherein the colloidal
                          silica abrasive particles have a mean particle size in a range
                          from about 30 to about 70 nm.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. For the reasons explained above with respect to claims 1, 4 and 26,

    all DI Products practice claim 29. See CX-0006C (Dauskardt WS) at Q/A 617.

                   27.    Claim 31: The composition of claim 26, comprising less than
                          [a]bout 3 weight percent of the colloidal silica abrasive
                          particles.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. For the reasons explained above with respect to claims 1, 6, and 26,

    all DI Products practice claim 31. See CX-0006C (Dauskardt WS) at Q/A 618.

                   28.    Claim 32: The composition of claim 26, wherein 30 percent or
                          more of the colloidal silica abrasive particles include three or
                          more aggregated primary particles.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. For the reasons explained above with respect to claims 1, 7, and 26,

    all DI Products practice claim 32. See CX-0006C (Dauskardt WS) at Q/A 619.




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                   29.    Claim 33: The composition of claim 26, wherein 50 percent or
                          more of the colloidal silica abrasive particles include three or
                          more aggregated primary particles and 20 percent or more of
                          the colloidal silica abrasive particles are monomers or dimers.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. For the reasons explained above with respect to claims 1, 8 and 26,

    all DI Products practice claim 33. See CX-0006C (Dauskardt WS) at Q/A 620.

                   30.    Claim 34: The composition of claim 26, wherein the colloidal
                          silica abrasive particles include primary particles and 95
                          percent or more of the primary particles have a primary
                          particle size in a range from 15 to 35 nm.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. For the reasons explained above with respect to claims 1, 9, and 26,

    all DI Products practice claim 34. See CX-0006C (Dauskardt WS) at Q/A 621.

                  31.    Claim 35: The composition of claim 26, wherein the chemical
               species comprises from 1 to 6 carbon atoms.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. For the reasons explained above with respect to claims 1, 13, and

    26, all DI Products practice claim 35. See CX-0006C (Dauskardt WS) at Q/A 622.

                   32.    Claim 36: The composition of claim 35, wherein the chemical
                          species comprises ethyloxypropylamine, tetramethyl
                          ammonium hydroxide, or ethylenediamine.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. For the reasons explained above with respect to claims 1, 14, and

    26, all DI Products practice claim 36. See CX-0006C (Dauskardt WS) at Q/A 623.

                   33.    Claim 38: The polishing composition of claim 26, wherein the
                          colloidal silica abrasive particles have a permanent positive
                          charge of at least 15 mV; the chemical species comprises from

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                          1 to 6 carbon atoms; 30 percent or more of the colloidal silica
                          abrasive particles include three or more aggregated primary
                          particles; and the colloidal silica abrasive particles have a
                          mean particle size in a range from about 30 to about 70 nm.

           Respondents do not dispute that the DI Products practice this limitation. See

    Resps. Br. at 80-87. For the reasons explained above with respect to claims 1, 4, 7, 13,

    and 26, all DI Products practice claim 38. See CX-0006C (Dauskardt WS) at Q/A 624.

                   34.    Claim 39: A method of chemical mechanical polishing a
                          substrate including a silicon oxygen containing material, the
                          method comprising (a) contacting the substrate with the
                          chemical mechanical polishing composition of claim 1; (b)
                          moving the polishing composition relative to the substrate; and
                          (c) abrading the substrate to remove a portion of the silicon
                          oxygen containing material from the substrate and thereby
                          polish the substrate.

           Respondents do not dispute that these method steps are met. See Resps. Br. at 80-

    87. These contacting, moving, and abrading steps are a routine and intended use of the

    DI Products for CMP of silicon oxygen materials. See CX-0006C (Dauskardt WS) at

    Q/A 626; JX-0138C (“What is Chemical Mechanical Planarization (CMP)?”); JX-0117C

    (Fundamentals of CMP & Slurry). The DI Products are designed to be used to polish a

    substrate including a silicon oxygen containing material using the claimed steps. JX-

    0020 (CMC Website) (advertising use with “bulk oxide applications”). Therefore, claim

    39 is practiced when CMC or any of its customers uses any of the DI Products for

    polishing silicon oxygen materials in the United States. CX-0006C (Dauskardt WS) at

    Q/A 625.

           For example, CMC frequently tests its products using the claimed method and

    achieve high removal rates. See CX-0006C (Dauskardt WS) at Q/A 626; JX-0079C

                                           at 23; JX-0137C (D9228 Introduction) at 8; CX-

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    0072C (Dielectric Product Introduction) at 7; JX-0132C (Dielectrics iDIEL D9228); JX-

    0131C (The New Standard of Advanced Dielectrics CMP Solution) at 15; JX-0065C

                      at 16; JX-0133C (                     at 14. CMC’s customers also use

    the DI Products for polishing silicon oxygen containing material. See CX-0006C

    (Dauskardt WS) at Q/A 626; JX-0082C                                           ) at 10

                                                                JX-0063C




            For all of the above reasons, all of the DI Products practice claim 39.

                   35.     Claim 40: The method of claim 39, wherein: the polishing
                           composition comprises less than 4 percent by weight of the
                           colloidal silica abrasive particles; and an average removal rate
                           of the silicon oxygen material in (c) is greater than 3000 Å/min
                           at a downforce of 5 psi or less.

            For the reasons explained for claims 6 and 39, the DI Products at POU include

    less than 4 weight percent of colloidal silica abrasive particles and are used for chemical

    mechanical polishing. The DI Products also achieve an average removal rate of silicon

    oxygen material greater than 3000 Angstroms per minute at a downforce of 5 psi. See

    CX-0006C (Dauskardt WS) at Q/A 630–633; JX-0137C (D9228 Introduction) at 8

    (showing that the DI Products achieve a removal rate of               Angstroms per

    minute at a downforce of                                              JX-0082C

                                          ) at 10; JX-0081C (D9225 Preliminary Data Package)

    at 10

                                           ); JX-0063C



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                                                                                       JX-

    0133C                      ) at 14.

            Respondents do not dispute this evidence but argue that the term “removal rate” is

    indefinite and there may be circumstances where this method is not used. See Resps. Br.

    at 87. As further explained in Section IV.D.2.c (Indefiniteness), infra, “removal rate” is

    not indefinite, as it is a standard industry measurement which is routinely used. See CX-

    0006C (Dauskardt WS) at Q/A 633; CX-0229C (Dauskardt RWS) at Q/A 864–70.

    Further, it is immaterial whether there are circumstances where the claim method is not

    practiced. Bell Commc’ns Research, 55 F.3d at 622–23 (“[A]n accused product that

    sometimes, but not always, embodies a claimed method nonetheless infringes.”). For all

    of the above reasons, all DI Products at POU practice claim 40.

                   36.    Claim 41: The method of claim 39, wherein: the polishing
                          composition comprises less than 2 percent by weight of the
                          colloidal silica abrasive particles; and an average removal rate
                          of the silicon oxygen material in (c) is greater than 3000 Å/min
                          at a downforce of 5 psi or less.

            This claim is practiced when CMC or its customers use the DI Products in the

    United States. Specifically, all DI Products at POU meet each limitation of claim 41 for

    the reasons described with respect to claims 6, 39, and 40. See CX-0006C (Dauskardt

    WS) at Q/A 634–35.

                   37.    Claim 42: The method of claim 39, wherein: the polishing
                          composition comprises less than 3 percent by weight of the
                          colloidal silica abrasive particles; and an average removal rate
                          of the silicon oxygen material in (c) is greater than 2000 Å/min
                          at a downforce of 4 psi or less.




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           This claim is practiced when CMC or its customers use the DI Products in the

    United States. Specifically, all DI Products at POU meet each limitation of claim 42 for

    the reasons described with respect to claims 6, 39, 40, and 41. See CX-0006C (Dauskardt

    WS) at Q/A 636–37.

                   38.    Claim 43: The method of claim 39, wherein: the polishing
                          composition comprises less than 2.0 percent by weight of the
                          colloidal silica abrasive particles; and an average removal rate
                          of the silicon oxygen material in (c) is greater than 2000 Å/min
                          at a downforce of 4 psi or less.

           This claim is practiced when CMC or its customers use the DI Products in the

    United States. Specifically, all DI Products at POU meet each limitation of claim 43 for

    the reasons described for claims 6, 39, 40, 41, and 42. See CX-0006C (Dauskardt WS) at

    Q/A 638–39.

                   39.    Claim 44: The method of claim 39, wherein: the polishing
                          composition comprises less than 2.5 percent by weight of the
                          colloidal silica abrasive particles; and a removal rate of the
                          silicon oxygen material in (c) is greater than 2000 Å/min at a
                          downforce of 4 psi or less and a removal rate of a silicon
                          nitride material is less than 300 Å/min at a downforce of 3 psi
                          or less.

           This claim is practiced when CMC or its customers use the DI Products in the

    United States. Specifically, regarding the removal rate for silicon oxygen material, the

    DI Products at POU meet each limitation of claim 44 for the reasons described with

    respect to claims 6, 39, 40, 41, 42, and 43. See CX-0006C (Dauskardt WS) at Q/A 640.

           Further, the DI Products at POU are used to achieve a removal rate of a silicon

    nitride material less than 300 Å/min at a downforce of 3 psi or less. See, e.g., CX-0006C




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    (Dauskardt WS) at Q/A 641–42; JX-0079C

                                                  ).

           Accordingly, all DI Products at POU practice claim 44.

           D.      Validity of the ‘721 Patent

           Respondents argue that (1) all of the asserted and DI claims are invalid under 35

    U.S.C. § 112(a) for lack of enablement and written description; (2) all of the asserted and

    DI claims are indefinite under 35 U.S.C. § 112(b); (3) independent claims 1 and 26 lack

    written description and enablement support in the ‘100 Provisional Application; (4) the

    asserted claims and DI claims are invalid over the prior art under 35 U.S.C. § 103; (5) the

    ‘721 patent is invalid for improper inventorship; and (6) the ‘721 patent is unenforceable

    due to a pattern of active concealment and affirmative misrepresentations. See Resps. Br.

    at 87-114, 114-33, 133-47, 147-215, 215-26, 226-34.

           The Staff argues that all of the asserted and DI claims are invalid under 35 U.S.C.

    § 112(a) for lack of enablement and written description. See Staff Br. at 96-132. The

    Staff disagrees with respondents with respect to the remaining invalidity arguments. See

    Staff Br. at 88-95, 133-44, 145-52, 153-54.

           CMC disagrees with respondents with respect to all invalidity issues. See Compl.

    Br. at 112-49, 149-59, 163-190, 212-18, 218-23, 223-28. CMC disagrees with the Staff

    with respect to enablement and written description issues. See Compl. Br. at 190-211.

           One cannot be held liable for practicing an invalid patent claim. See Pandrol

    USA, LP v. AirBoss Railway Prods., Inc., 320 F.3d 1354, 1365 (Fed. Cir. 2003).

    Nevertheless, each claim of a patent is presumed to be valid, even if it depends from a



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    claim found to be invalid. 35 U.S.C. § 282; DMI Inc. v. Deere & Co., 802 F.2d 421 (Fed.

    Cir. 1986).

            A party that has raised patent invalidity as an affirmative defense must overcome

    the presumption by “clear and convincing” evidence of invalidity. Checkpoint Systems,

    Inc. v. United States Int’l Trade Comm’n, 54 F.3d 756, 761 (Fed. Cir. 1995).

            For the reasons set forth below, it has not been shown by clear and convincing

    evidence that the asserted and DI claims of the ‘721 patent are invalid.

                    1.      Obviousness

            Respondents argue that the asserted claims and DI claims are invalid over the

    prior art under 35 U.S.C. § 103. See Resps. Br. at 147-215. CMC and the Staff disagree.

    See Compl. Br. at 112-49; Staff Br. at 88-95.

            Under section 103 of the Patent Act, a patent claim is invalid “if the differences

    between the subject matter sought to be patented and the prior art are such that the subject

    matter as a whole would have been obvious at the time the invention was made to a

    person having ordinary skill in the art to which said subject matter pertains.” 36 35 U.S.C.

    § 103. While the ultimate determination of whether an invention would have been

    obvious is a legal conclusion, it is based on “underlying factual inquiries including: (1)

    the scope and content of the prior art; (2) the level of ordinary skill in the art; (3) the

    differences between the claimed invention and the prior art; and (4) objective evidence of




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      The standard for determining whether a patent or publication is prior art under section
    103 is the same as under 35 U.S.C. § 102, which is a legal question. Panduit Corp. v.
    Dennison Mfg. Co., 810 F.2d 1561, 1568 (Fed. Cir. 1987).

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    nonobviousness.” Eli Lilly and Co. v. Teva Pharmaceuticals USA, Inc., 619 F.3d 1329

    (Fed. Cir. 2010).

            The objective evidence, also known as “secondary considerations,” includes

    commercial success, long felt need, and failure of others. Graham v. John Deere Co.,

    383 U.S. 1, 13-17 (1966); Dystar Textilfarben GmbH v. C.H. Patrick Co., 464 F.3d 1356,

    1361 (Fed. Cir. 2006). “[E]vidence arising out of the so-called ‘secondary

    considerations’ must always when present be considered en route to a determination of

    obviousness.” Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530, 1538 (Fed. Cir. 1983).

    Secondary considerations, such as commercial success, will not always dislodge a

    determination of obviousness based on analysis of the prior art. See KSR Int’l Co. v.

    Teleflex Inc., 550 U.S. 398, 426 (2007) (commercial success did not alter conclusion of

    obviousness).

            “One of the ways in which a patent’s subject matter can be proved obvious is by

    noting that there existed at the time of invention a known problem for which there was an

    obvious solution encompassed by the patent’s claims.” KSR, 550 U.S. at 419-20. “[A]ny

    need or problem known in the field of endeavor at the time of invention and addressed by

    the patent can provide a reason for combining the elements in the manner claimed.” Id.

            Specific teachings, suggestions, or motivations to combine prior art may provide

    helpful insights into the state of the art at the time of the alleged invention. Id. at 420.

    Nevertheless, “an obviousness analysis cannot be confined by a formalistic conception of

    the words teaching, suggestion, and motivation, or by overemphasis on the importance of

    published articles and the explicit content of issued patents. The diversity of inventive

    pursuits and of modern technology counsels against limiting the analysis in this way.” Id.

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    “Under the correct analysis, any need or problem known in the field of endeavor at the

    time of invention and addressed by the patent can provide a reason for combining the

    elements in the manner claimed.” Id. A “person of ordinary skill is also a person of

    ordinary creativity.” Id. at 421.

            Nevertheless, “the burden falls on the patent challenger to show by clear and

    convincing evidence that a person of ordinary skill in the art would have had reason to

    attempt to make the composition or device, or carry out the claimed process, and would

    have had a reasonable expectation of success in doing so.” PharmaStem Therapeutics,

    Inc. v. ViaCell, Inc., 491 F.3d 1342, 1360 (Fed. Cir. 2007); see KSR, 550 U.S. at 416 (a

    combination of elements must do more than yield a predictable result; combining

    elements that work together in an unexpected and fruitful manner would not have been

    obvious). 37

            For the reasons discussed below, respondents have not shown by clear and

    convincing evidence that the asserted claims and DI claims are invalid over the prior art

    under 35 U.S.C. § 103.

                           a.      Scope and Content of the Alleged Prior Art

            As an initial matter, respondents’ obviousness arguments rely extensively on

    documents not within the scope and content of the prior art. For example, respondents

    cite confidential CMC internal documents reflecting the inventors’ own work to support

    their argument that the particles described in the ‘073 publication contain internal



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      Further, “when the prior art teaches away from combining certain known elements,
    discovery of a successful means of combining them is more likely to be nonobvious.”
    KSR, 550 U.S. at 416 (citing United States v. Adams, 383 U.S. 39, 52 (1966)).

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    nitrogen. See e.g., RX-1076C (Raghavan WS) at Q/A 178–181, 188–191, 218–44, 578

    (citing confidential CMC internal documents). None of these confidential and “internal”

    documents are part of the “scope and content of the prior art” upon which the

    obviousness analysis must be based at least because they were not available to the public.

    See 35 U.S.C. § 102(a)(1).

           The specific prior art cited by respondents is discussed below.

                                  i.     RX-0230 (WO 2009/042073) (the “‘073
                                         Publication”)

           Respondents argue, inter alia:

                   Claims 1, 3-9, 15-19, 23-24, 26-29, 31-33, 34, 37, 39-44, and 46 of
           the ‘721 patent would have been obvious to a POSA based on the
           teachings of the ‘073 Publication (RX-0230), alone and in combination
           with each of Fuso colloidal silica abrasive particles BS-2H, HL-2, PL-2L,
           PL-3C, and         , and the knowledge of a POSA. Also, the ‘073
           Publication in combination with each of Fuso colloidal silica abrasive
           particles BS-2H and HL-2, and the knowledge of a POSA, render obvious
           claims 10-11, 13-14, 20, 21, 35, 36, and 38. A POSA would have been
           motivated with a reasonable expectation of success to combine the
           teachings of ‘073 Publication with these Fuso colloidal silica particles.
           RX-1076C (Raghavan WS) at QA 574. Indeed, “[i]f a property of a
           composition is in fact inherent, there is no question of a reasonable
           expectation of success in achieving it.” Hospira, 946 F.3d at 1332.

    Resps. Br. at 159.

           The ‘073 publication, a CMC patent with named inventors Dr. Grumbine, Dr.

    Dysard, and others, was considered by the PTO during prosecution of the ‘721 patent

    through CMC’s disclosure of its nearly identical U.S. counterpart, RX-0228 (U.S. Pub.

    2009/0081927). Moreover, respondents cite several portions of the ‘073 publication that

    also appear in RX-0025 (U.S. 7,994,057) (the “‘057 patent”), a patent that was cited,

    discussed in detail, and distinguished in the ‘721 patent. JX-0001 (‘721 Patent) at 5:3–


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    10. Respondents, thus, bear a heavy burden to prove invalidity in view the ‘073

    publication. Sciele Pharma Inc. v. Lupin Ltd., 684 F.3d 1253, 1260–61 (Fed. Cir. 2012).

            As the ‘721 patent inventors described, references like the ‘073 publication

    disclose CMP slurries in which “positive charge on the silica particles was achieved via

    treating an external surface of the particles” (JX-0001 (‘721 Patent) at 5:3–10), and not

    by incorporating an internal positively charged chemical species, as recited in each claim

    of the ‘721 patent. Respondents discredit this deficiency, as well as several others set

    forth below.

            [1c] and [26c] - “a chemical species incorporated in the colloidal silica
            abrasive particles internal to an outer surface thereof, wherein the chemical
            species is a nitrogen containing compound or a phosphorus containing
            compound” and [1f] “wherein the chemical species is not an aminosilane or a
            phosphonium silane”

            Under any party’s construction, the ‘073 publication does not disclose any

    internal charge in the silica particles. Indeed, the reference states that “[i]f the abrasive is

    silica, before the abrasive is treated with the aminosilane compound, it has a zeta

    potential of zero at a pH of 2 to 3”—i.e., no internal charge exists before external charge

    is added. RX-0230 (‘073 Publication) at [0023]; CX-0229C (Dauskardt RWS) at Q/A

    114. As respondents’ expert Dr. Raghavan admits, the ‘721 patent’s description of

    “internal charge” is a “new thing” (Tr. 537, 536 (“a new statement in the patent”)) that is

    not expressly disclosed in the ‘073 publication (Tr. 505 (“[T]he patent does not expressly

    state that…”).

            Respondents argue this limitation is disclosed by: (1) the description in the ‘073

    publication that silica particles “can be prepared” via a Stober process ((RX-0230 (‘073

    Publication) at [0015]; see RX-1076C (Raghavan WS) at Q/A 284)); and (2) the ‘073

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    publication’s listing of a broad array of commercially available products, including Fuso

    PL-1, PL-2, PL-3, and PL-3H particles as well as BINDZIL and Nalco particles ((RX-

    0230 (‘073 Publication) at [0015], see RX-1076C (Raghavan WS) at Q/A 282, 285)).

    See Resps. Br. at 161-62. Dr. Raghavan opines that a POSA would “expect” one of those

    particles—Fuso PL particles made with the Stober process—to incorporate some amount

    of the nitrogen containing catalyst. Raghavan Tr. 506.

           These arguments are unpersuasive for several reasons. First, Dr. Raghavan

    concedes that he cannot know with 100 percent certainty that there is internal nitrogen in

    a Stober particle without testing. See Raghavan Tr. 508 (“I would need to test that

    particle.”), 642 (Stober process can be run in many ways), 507–508 (Fuso does not

    publish the specific manufacturing process it uses), 532–533 (he has “not read papers

    specifically saying the nitrogen content particles [are] made by the Stober process”). Dr.

    Raghavan did no such testing (Tr. 510), and his expectation that internal nitrogen is likely

    to be present does not establish the existence of this limitation. Trintec Indus., Inc. v.

    Top–U.S.Q/A Corp., 295 F.3d 1292, 1295 (Fed. Cir. 2002); see Southwire Co. v. Cerro

    Wire LLC, 870 F.3d 1306, 1310 (Fed. Cir. 2017) (“[T]he use of inherency in the context

    of obviousness must be carefully circumscribed.”).

           Second, CMC’s unrefuted internal “                          ” testing proves that Fuso

                 have no measurable nitrogen. See Dauskardt Tr. 753, 754; CX-0229C

    (Dauskardt RWS) at Q/A 40; CX-0227C (Grumbine RWS) at Q/A 15; CX-0230C (CMC

    internal spreadsheet indicating

                       As Dr. Grumbine explained,

                       in the particles.” Grumbine Tr. 138, 139. Dr. Dauskardt further

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    explained that a POSA would not have expected ammonia to be inside the PL particles.

    See Dauskardt Tr. 755.

           Dr. Raghavan discredits these results, and points instead to early, confidential

    “Kjeldahl” testing performed by CMC that he says show                   with internal

    nitrogen. See RX-1076C (Raghavan WS) at Q/A 241 (discussing RX-0024C), 542

    (same). However, for               , this “Kjeldahl” testing was determined at the time to

    be (and expressly labeled as)                                  .” See RX-0024C (Internal

    spreadsheet); see also CDX-0008C (CX-0008C (Grumbine RWS); RX-0024C); RX-

    0064C (CMC internal presentation) at 11; CX-0227C (Grumbine RWS) at 15; CX-0229C

    (Dauskardt RWS) at Q/A 143; Tr. 751 (Dauskardt explaining Kjeldahl tests are

    unreliable). Kjeldahl testing also does not distinguish internal nitrogen from nitrogen

    bonded to the surface of the particle. See Tr. 513–514, 203; CX-0229C (Dauskardt

    RWS) at Q/A 149–152. At bottom, Dr. Raghavan cannot rely on confidential,

    inconclusive test results to prove this limitation is disclosed, especially when he admits

    that upon reviewing those results he recognized that something went wrong or was not

    measured properly. Raghavan Tr. 518–519, 517–518.

           Third, even under respondents’ theory that Fuso or Stober particles have internal

    nitrogen, respondents have not shown inherency because the ‘073 publication provides

    numerous options other than Fuso or Stober silica, including BINDZIL and Nalco

    particles (neither of which Dr. Raghavan opines have internal nitrogen species). The

    express option in the ‘073 publication to use other particles that Dr. Raghavan has not

    opined have internal nitrogen demonstrates that the ‘073 publication does not



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    “necessarily include” the limitation. See Transclean Corp. v. Bridgewood Servs., Inc.,

    290 F.3d 1364, 1373 (Fed. Cir. 2002).

            Specific elements of the asserted and DI claims are discussed below.

            [1e] and [26e] and [28] “the colloidal silica abrasive particles have a
            permanent positive charge of at least [15 or 13] mV”

            It is undisputed that the ‘073 publication does not expressly disclose this

    limitation under any party’s construction. It does not describe any permanent positive

    charge values at all, including as measured in accordance with the three-step procedure at

    column 11 of the ‘721 patent. See Raghavan Tr. 539. Respondents’ expert Dr. Raghavan

    concedes that “permanent positive charge” is a concept that is described extensively in

    the ‘721 patent and, indeed, that he had “never seen the [term] permanent positive charge

    anywhere else. The ‘721 Patent is the first time I saw the [term] permanent positive

    charge, and it defines that.” See Raghavan Tr. 537–538, 540.

            Lacking any express disclosure, respondents argue this limitation is inherently

    disclosed because the ‘073 publication discloses the particles are “preferably” treated

    with aminosilane and have a positive zeta potential. See Resps. Br. at 168; See RX-

    1076C (Raghavan WS) at Q/A 289. Although aminosilane may bond to the external

    surface of colloidal silica abrasive particles, it does not necessarily do so in all

    circumstances. Specifically, aminosilane can covalently bond or electrostatically

    associate with a silica particle surface, and the extent of covalent bonding depends on the

    reaction conditions. See, e.g., CX-0010C (Guo Dep. Tr.) at 74, 75; CX-0229C

    (Dauskardt RWS) at Q/A 159; Raghavan Tr. 544 (Dr. Raghavan admitting covalent




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    bonding is not “inevitable or inherent” because it “depends on the assumption that the

    bonding is done properly”).

           In the ‘073 publication, there is no description of the conditions of surface

    treatment or the bonding mechanism and no showing of how much of the measured zeta

    potential reflects a permanent positive charge versus a non-permanent positive charge.

    CX-0229C (Dauskardt RWS) at Q/A 156–57; CX-0228C (Dysard RWS) at Q/A 18–20.

    In these circumstances, Dr. Raghavan’s “hop[e]” of how the surface treatment was done

    in the ‘073 publication does not establish inherency. Raghavan Tr. 544–545; Continental

    Can Co. USA v. Monsanto Co., 948 F.2d 1264, 1269 (Fed. Cir. 1991) (“Inherency,

    however, may not be established by probabilities or possibilities. The mere fact that a

    certain thing may result from a given set of circumstances is not sufficient.”).

           Dr. Raghavan also cites extrinsic references regarding aminosilane bonding,

    including a third-party brochure and a third-party paper. RX-1076C (Raghavan WS) at

    Q/A 292–93 (citing RX-0194 (Shin Etsu 2012 brochure) and RX-0193 (Jankiewicz

    2011)). These references also provide no guidance as to what percentage of aminosilane

    is covalently bonded versus electrostatically associated with the particle surface in the

    ‘073 publication. See CX-0229C (Dauskardt RWS) at Q/A 166.

           Dependent claims 3–5, 6, 9, 17, 19, 24, 29, 31, 34, 37, 39–44

           The ‘073 publication does not disclose any dependent claims for the reasons

    discussed above for independent claims 1 and 26. Several dependent claims are also not

    separately disclosed.

           Claim 3 – buffering agent having a pKa from about 3.5 to about 5.5.

    Respondents cite disclosure of a buffering agent with a “pKa within 1 unit of the pH of

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    the polishing composition,” but this does not disclose a pKa in a range of about 3.5 to

    about 5.5 as required by claim 3. See CX-0229C (Dauskardt RWS) at Q/A 179.

            Claims 4, 5, 9, 19, 29, 34 – particle size. Claims 4, 5, 19, and 29 recite specific

    ranges of particle size from “about 30 to about 70” or from “about 40 to about 60,” and

    claims 9 and 34 require “primary particles”—i.e., particles that are aggregated with other

    primary particles—with a size range from “15 to 35 nm.” The ‘721 patent discloses that

    particle aggregation and the specific claimed size ranges for primary and aggregate

    particles are important for achieving high removal rates for the silicon oxide applications

    the patent targets. See JX-0001 (‘721 Patent) at 23:1–8, Table 4; CX-0229C (Dauskardt

    RWS) at Q/A 185. Respondents argue these claims are disclosed by a single generic

    disclosure in the ‘073 publication of “average particle size of 10 nm to 150 nm” and

    extrinsic knowledge of the size of PL-1, PL-2, and PL-3 particles. See Resps. Br. at 174,

    176, 179; RX-1076C (Raghavan WS) at Q/A 302, 305, 312. Such a generic description

    is insufficient to disclose the specific size limitations. Atofina v. Great Lakes Chem.

    Corp., 441 F.3d 991, 999–1000 (Fed. Cir. 2006) (holding that “the disclosure of a range .

    . . does not constitute a specific disclosure of the endpoints of that range” with sufficient

    specificity to anticipate). Moreover, respondents do not cite to any disclosure related to

    particle aggregation. Indeed, the ‘073 publication distinguishes aggregated particles and

    expressly states that the colloidal silica particles of the patent are typically “non-

    aggregated, individually discrete particles.” RX-0230 (‘073 Publication) at [0014]; CX-

    0229C (Dauskardt RWS) at Q/A 557.

            Claims 6 and 31 – weight percent of silica. These claims recite a weight percent

    of colloidal silica of between 0.5 and 4 weight percent or less than about 3 weight

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    percent—a critical feature of the ‘721 patent. See, e.g., JX-0001 (‘721 Patent) at 15:9–

    49, 21:27–29 (“high TEOS removal rates can be achieved using polishing compositions

    having 3 weight percent colloidal silica abrasive particles”). Respondents argue these

    claims are disclosed by a general disclosure of weight percent in a wide range between

    0.01 and 20. See Resps. Br. at 177, 194; RX-1076C (Raghavan WS) at Q/A 308. This

    generic description does not disclose the claimed range.

           Claims 17 – conductivity. Respondents argue that this claim, which recites a

    conductivity of “less than about 300 μS/cm,” is disclosed by a wide range of

    conductivities from 30 μS/cm to 1500 μS/cm. See Resps. Br. at 182-83; RX-1076C

    (Raghavan WS) at Q/A 315. Respondents cannot prove invalidity based on such a wide-

    ranging disclosure. The ‘721 patent describes the importance of the conductivity range to

    enabling a low pH, low concentration slurry at the required performance levels 7. See

    e.g., JX-0001 (‘721 Patent) at Table 3, Table 6A, Table 6B; CX-0229C (Dauskardt RWS)

    at Q/A 186.

           Claim 24 – silicon nitrogen polishing accelerator. Respondents do not identify

    any disclosure in the ‘073 publication describing a silicon nitrogen polishing accelerator.

    See Resps. Br. at 187; RX-1076C (Raghavan WS) at Q/A 321–323; CX-0229C

    (Dauskardt RWS) at Q/A 188.

           Claim 37 – bonded with silanol group. Respondents argue that this claim, which

    requires an aminosilane compound to be bonded with “less than 4%” of silanol groups on

    the outer surface of the particles, is disclosed by a wide range of “surface coverage” from

    “2% to 50%” and a specific disclosure of surface coverage of 5%. See Resps. Br. at 197-

    98; RX-1076C (Raghavan WS) at Q/A 346. Neither discloses the claim. The ‘721 patent

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    describes the importance of “very low surface treatment levels” to avoid “masking” the

    surface of the particle. See JX-0001 (‘721 Patent) at 7:56–62; CX-0229C (Dauskardt

    RWS) at Q/A 643–644. The ‘073 publication discloses the opposite, implying that a

    surface coverage of at least 5% is necessary for performance. See RX-0230 (‘073

    Publication) at [0085]; CX-0229C (Dauskardt RWS) at Q/A 532.

           Claims 40–44 – method claims. These claims recite removing “silicon oxygen

    containing material” at removal rates above a certain level (greater than at least 2000

    Å/min) and, in claim 44, removing silicon nitride material below a certain level (less than

    300 Å/min) at a certain weight percent and downforce—key features of the ‘721 patent.

    See CX-0229C (Dauskardt RWS) at Q/A 204–16; CX-0228C (Dysard RWS) at Q/A 7;

    see also, e.g., JX-0001 (‘721 Patent) at 2:15–18. The ‘073 publication, on the other hand,

    generally discloses lower removal rates of silicon oxygen material at the required weight

    percent and downforce. See e.g., RX-0230 (‘073 Publication) at Table 3 (removal rate of

    1180 Angstroms/minute at 1 weight percent); CX-0229C (Dauskardt RWS) at Q/A 205.

           Disregarding these disclosures, for claims 40 and 41 and 44, respondents instead

    cite to generic portions of the ‘073 publication describing removal rates of “200 Å/min to

    5000 Å/min” for silicon oxide, removal rates of “100 Å/min to 3000 Å/min” for silicon

    nitride, and a separate disclosure of a downforce of 4 psi. See Resps. Br. at 201, 205;

    RX-1076C (Raghavan WS) at Q/A 360–61, 374. For claims 42, 43, 44, respondents cite

    examples 1 and 7, but these examples do not disclose the elements arranged as required

    by the claim, for at least the reason that Example 1 of the ‘073 publication does not

    specify the zeta potential of the compositions. Neither Example 1 nor Example 7

    disclose the permanent positive charge of the compositions or the composition of claim 1,

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    and there is no disclosure of a “downforce of 3 psi or less” as required by claim 44. See

    CX-0229C (Dauskardt RWS) at Q/A 215.

                                   ii.     Whether the Silica Particles Are Prior
                                           Art

           Respondents rely on different silica particles—BS-2H, PL-2L, PL-3C,

    and HL-2 38—as secondary references which they argue were on sale or in public use

    before the effective filing date based solely on CMC’s purported use and purchase of

    those particles. See Resps. Br. at 154-55; RX-1076C (Raghavan WS) Q/A 161, 214.

           To be prior art, respondents must show by clear and convincing evidence that

    each of these particles was “subject of a commercial offer for sale” (e.g., “commercially

    exploited,” that these particles were not experimental uses; and that the particles were

    “ready for patenting.”). See, e.g., Pfaff v. Wells Elecs., Inc., 525 U.S. 55, 67 (1998)

    (holding that the on-sale bar applies only when “the product [was] the subject of a

    commercial offer for sale” and “the invention [was] ready for patenting”); Quest Integrity

    USA, LLC v. Cokebusters USA Inc., 924 F.3d 1220, 1227 (Fed. Cir. 2019) (“The on-sale

    bar seeks to prevent [a]ny attempt to use [the claimed invention] for a profit, and not by

    way of experiment, for more than one year before filing for a patent application.”)

    (internal citation omitted). Samples that were “sold for testing and evaluation purposes

    only, were subject to confidentiality agreements, and could not be resold to third parties”

    do not qualify as prior art. Certain Magnetic Data Storage Tapes and Cartridges




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     CMC states that “[r]espondents notified CMC the night before this post-hearing brief
    was due that it no longer intends to pursue obviousness arguments involving HL-3 or
             ” Compl. Br. at 121 n.31.

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    Containing the Same, No. 337-TA-1076, Comm’n Op. at 50 (June 20, 2019). Under this

    standard, none of the BS-2H, PL-3C,               and HL-2 particles are prior art.

           First, as set forth below on a particle-by-particle basis, each of the BS-2H, PL-

    3C,         , and HL-2 particles was

                                                                         . There is no evidence to

    the contrary. The single “brochure” respondents cite (RX-0231) has no known origin, no

    confirmed date of distribution, nor any indication of pricing or other indicia of a

    commercial sale. See CX-0229C (Dauskardt RWS) at Q/A 381–388; Grp. One, Ltd. v.

    Hallmark Cards, Inc., 254 F.3d 1041, 1047 (Fed. Cir. 2001); see also Pfaff, 525 U.S. at

    64.

           Second, CMC’s                                                        was subject to strict

    confidentiality requirements at all times. See CX-0229C (Dauskardt RWS) at Q/A 397;

    CX-0002C (Grumbine WS) at Q/A 54; CX-0268C (Confidentiality Agreement between

    Cabot and       ); see also JX-111C                                         ) (defining

    confidentiality obligations for      ); CX-0249C (First Amended and Restated Supply

    Agreement between Cabot and                        ) (defining confidentiality obligations for

    supply agreement). Such confidentiality supports the samples’

                                                                           See, e.g., Barry, 914

    F.3d at 1327 (“[A]n accessibility determination may be rejected where the evidence

    establishes a sufficient obligation of confidentiality.”). Accordingly, even if some

                                      , respondents have not shown that the

                 BS-2H, PL-3C,             , or HL-2 particles are prior art.



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            BS-2H particles. BS-2H particles were

                           at all times before June 25, 2014. Fuso’s confidential



                                                       ” See JX-0080C (Fuso, dated May 13,

    2015) at 20281; see also CX-0218C (Fuso Presentation dated May 25, 2012) at 92053.

    BS-2H

                               . See CX-0227C (Grumbine RWS) at Q/A 21; CX-0229C

    (Dauskardt RWS) at Q/A 410; CX-0257C (Email from Craig Zedwick to Colin

    Aschmidt) (CMC reporting to Fuso that

                                              ); CX-0257C (Email from Craig Zedwick to

    Colin Aschmidt) (Fuso asking CMC to

    CX-0254C (Particle Size Study and Factory Comparison) (evaluation

          . Consistent with the strict confidentiality discussed above, all materials were

    confidential. See CX-0229C (Dauskardt RWS) at Q/A 419.

            Contrary to respondents’ arguments, neither the

                                               establish any commercial sale. See JX-0111C

    (

                                              ); RX-0110C (Agreement) (describing

                ); CX-0227C (Grumbine RWS) at Q/A 21

    Any            did not reflect commercial marketing or commercial value. Rather, the

    amount of                                                            . See CX-0229C

    (Dauskardt RWS) at Q/A 398, 410.; CX-0013C (Kozhukh Dep. Tr.) at 42–43. Moreover,

    the            respondents point to as an alleged sale was subject to

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                    . See RX-0032C (spreadsheet) (Respondents cite                ); CX-

    0257C (Email from Craig Zedwick to Colin Aschmid) (describing

               .

            PL-3C particles. PL-3C particles were

                          at all times before June 25, 2014. Fuso’s



           ” See JX-0080C (Fuso, dated May 13, 2015) at 20281; see also CX-0218C (Fuso

    Presentation dated May 25, 2012) at 92063 (PL-3C                               . PL-3C

    also

                                See CX-0227C (Grumbine RWS) at Q/A 18; CX-0229C

    (Dauskardt RWS) at Q/A 434–435; JX-0130C (May 31, 2013, J. Dysard email) at 11–12

    (describing CMC feedback). After

    the PL-3C particle in any                      . See CX-0227C (Grumbine RWS) at Q/A

    19; RX-0677C (Dysard Dep. Tr.) at 215–216. Consistent with the strict confidentiality

    discussed above, all materials were confidential. See CX-0229C (Dauskardt RWS) at

    Q/A 439.

            Contrary to respondents’ arguments, no provision of the

                                         established any commercial sale. See JX-0111C

                                   ) at 3–4. Nor does the citation of “PL-3C” in a non-prior

    art patent reflect commercialization, as Dr. Raghavan opines. See RX-1076C (Raghavan

    WS) at Q/A 211. Any                did not reflect commercial marketing or commercial

    value. Rather, the amount of the



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                       . See CX-0229C (Dauskardt RWS) at Q/A 434, 439; CX-0013C

    (Kozhukh Dep. Tr.) at 42–43.

                   particles.        particles were experimental and provided solely for

    testing and evaluation at all times before June 25, 2014. Fuso’s



            See JX-0080C (Fuso, dated May 13, 2015) at 20281; see also CX-0218C (Fuso

    Presentation dated May 25, 2012) at 92063 (does not even include                         .

           also evolved significantly over the course of

                                        . CX-0227C (Grumbine RWS) at Q/A 18; CX-0229C

    (Dauskardt RWS) at Q/A 449, 454; RX-0677C (Dysard Dep. Tr.) at 215–216 (CMC was

                                                CX-0269C (Email from Glenn Whitener to

    Toyosaki Kazuyuki) (Fuso requests “                                                ”);

    CX-0253C (Email from Tamara Vincer to Justin Stewart) (testing); CX-0252C (Email

    from Kazuyuki Toyosaki to Seto Takahiro) (testing); CX-0250C (New Particle

    Performance Update) at 2. Consistent with the strict confidentiality discussed above, all

    materials were kept confidential. CX-0229C (Dauskardt RWS) at Q/A 450, 457.

           Contrary to respondents’ arguments, neither the

                                              establish any commercial sale of these

    particles. See JX-0111C                                  ) at 3–4; RX-0110C

    (Agreement) (describing                    ); RX-0677C (Dysard Dep. Tr.) at 249–250;

    CX-0227C (Grumbine RWS) at Q/A 18

               . Any            by CMC did not reflect commercial marketing or commercial



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    value. The amount of                                                             . See CX-

    0229C (Dauskardt RWS) at Q/A 450; CX-0013C (Kozhukh Dep. Tr.) at 42–43.

           Moreover, the             respondents point to as an alleged sale was subject to

                               . RX-0032C (spreadsheet) (Respondents cite

    lot). Indeed,                   was produced by

                                                     See CX-0270C (Email from Kiminobu

    Akatsuka to Craig Zedwick). Contrary to respondents’ arguments, before June 25, 2014,

    CMC used the                                                                 consistent

    with standard industry practices and not for any commercial purpose. See CX-0227C

    (Grumbine RWS) at Q/A 18; RX-0059C (Confidential email) (describing testing of “

                                                 ); CX-0271C (

                             ); CX-0013C (Kozhukh Dep. Tr.) at 101, 103.

           HL-2 particles. HL-2 particles were

                    at all times before June 25, 2014. Fuso’s

                                                                                       See JX-

    0080C (Fuso, dated May 13, 2015) at 20281; see also CX-0218C (Fuso Presentation

    dated May 25, 2012) at 92053; CX-0227C (Grumbine RWS) at Q/A 23. HL-2 also

                                                                            . See CX-0227C

    (Grumbine RWS) at Q/A 23; CX-0229C (Dauskardt RWS) at Q/A 476. After

                                                                in any commercial product. See

    JX-0130C (Dysard Ex. 6) at 29                                            Consistent with

    the strict confidentiality agreement, all materials were confidential. See CX-0229C

    (Dauskardt RWS) at Q/A 475.

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            As discussed, contrary to respondents’ arguments, the

                                         does not establish any commercial sale. See JX-

    0111C                                  ) at 3–4. Any               did not reflect commercial

    marketing or commercial value. Rather, the amount of the

                                 . See CX-0229C (Dauskardt RWS) at Q/A 472; CX-0013C

    (Kozhukh Dep. Tr.) at 42–43. Respondents also do not establish that any HL particles

    are prior art                                     . Indeed,                        further

    confirms the                                                            and shows that

                                                                          See CX-0019C (Van

    der Velden Dep. Tr.) at 26-27



             ; JX-0339C (Additive investigation, dated September 30, 2014)




                          b.        Motivation to Combine the ‘073 Publication with
                                    the Silica Particle Secondary References

            Respondents make at least five different obviousness combinations, combining

    CMC prior patent reference (‘073 publication) with any of at least five different asserted

    silica particles (BS-2H, HL-2, PL-2L, PL-3C, and              . For the alleged motivation to

    combine for each of these combinations, respondents rely on the same generic analysis—

    alleging, for example, that there would have been a reason to combine the ‘073

    publication with any member of the group of silica particles because the silica particles

    are all “suitable for CMP applications.” See RX-1076C (Raghavan WS) Q/A 568, Q/A

    571. Simply alleging that the ‘073 publication could have been combined with any of the


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    silica particles because they “were directed to the same art or same techniques” does not

    “articulate a sufficient motivation to combine.” See, e.g., Microsoft Corp. v. Enfish, LLC,

    662 F. App’x 981, 990 (Fed. Cir. 2016). See CX-0229C (Dauskardt RWS) at Q/A 483–

    549. “Such short-cut logic would lead to the conclusion that any and all combinations of

    elements known in this broad field would automatically be obvious, without the need for

    any further analysis.” Securus Techs., Inc. v. Glob. Tel*Link Corp., 701 F. App’x 971,

    977 (Fed. Cir. 2017).

                                   i.     The ‘073 Publication and the Particles

           Respondents’ argument is unpersuasive in view of the disparate nature of the

    particles and ‘073 publication reference. For example, there is no dispute that the five

    silica particles are non-analogous to the particles disclosed in the ‘073 publication or each

    other and have very different features—varying in size, shape, morphology, zeta

    potential, and isoelectric point, among other things. See CX-0229C (Dauskardt RWS) at

    Q/A 21, 557; RX-1076C (Raghavan WS) at Q/A 572. Respondents’ position based on

    swapping out the particles disclosed in ‘073 publication with any of the five disparate

    particles—without any teaching of whether or how it would work—is far from routine, as

    Dr. Raghavan opines. See CX-0229C (Dauskardt RWS) at Q/A 483–549.

           This is particularly true inasmuch as four of the five particles relied on by

    respondents (BS-2H, HL-2, PL-3C, and              ) are identified as

                                                           See JX-0080C (Fuso, dated May 13,

    2015) at 20281; see also CX-0218C (Fuso Presentation dated May 25, 2012) at 92063

    (does not even include                         ); CX-0229C (Dauskardt RWS) at Q/A

    333–36, 391–93, 409–10, 433, 448–49, 454–56, 471–72. These                        particles

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    had unique and unknown characteristics and features. As Fuso disclosed, at that time,

    HL-2 and BS-2H had                                                ” and the PL-3C and      -

                                              See JX-0080C (Fuso, dated May 13, 2015) at

    20281.

                   . See JX-0339C (Testing data spreadsheet) (investigating

                                                                                    CX-0010C

    (Guo Dep. Tr.) at 133–135; see also JX-0040C (Fuso Advanced Abrasive Testing Status)

    at 3843 (asking “                                             In January 2013, CMC similarly

    asks “

             ” See JX-0083C (Slurry Technology Development Highlights) at 2.

             There were several drawbacks with these particles, including that they had

    diminished performance in the very conditions disclosed in the ‘073 publication. See

    CX-0229C (Dauskardt RWS) at Q/A 555–58. For example, for HL particles,




                                                                         See RX-0189C (Slurry

    Quarterly Update Presentation) at RX-0189C.000015; JX-0040C (Fuso Advanced

    Abrasive Testing Status) at 3843 (

                                                                                   3845; CX-

    0227C (Grumbine RWS) at Q/A 23



             Regarding PL-3C and          particles, they had a

    the opposite of what ‘073 publication was trying to accomplish. See RX-0066C

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    (Synthesis and Characterizations Presentation) at CMC00017450; CX-0227C (Grumbine

    RWS) at Q/A 18                                JX-0419C (Shen Dep. Tr.) at 256



                     Similarly, for BS-2H particles, CMC found that it could



              See JX-0040C (Fuso Advanced Abrasive Testing Status) at 3845; JX-0067C

    (iDIEL Colloidal ILD Project Part 1) at 17462–64; CX-0227C (Grumbine RWS) at Q/A

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           Yet, rather than analyzing the specifics of the slurry of the ‘073 publication and

    whether it would work with the disparate characteristics of the five particles, Dr.

    Raghavan provides no analysis as to why there would be a reasonable expectation of

    success in making any of these combinations. See RX-1076C (Raghavan WS) Q/A 566–

    73; CX-0229C (Dauskardt RWS) at 563. As discussed below in more detail, this is not

    sufficient. See CX-0229C (Dauskardt RWS) at Q/A 612; CX-0229C (Dauskardt RWS)

    at Q/A 483–549.

                                   ii.     Respondents’ Specific Arguments

           First, respondents argue that a POSA would combine any of the five silica

    particles with the ‘073 publication because each particle is “consistent with the type of

    particles” in the ‘073 publication. See RX-1076C (Raghavan WS) Q/A 567. That

    disregards the disclosures of the documents and the characteristics of the particles. The

    particles identified in the ‘073 publication are “typically are non-aggregated individually

    discrete particles, which generally are spherical or nearly spherical in shape . . . .” See

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    RX-0230 (‘073 Publication) at [0014]. The BS-2H, PL-3C,            , and HL- 2 particles,

    on the other hand, are                                 . JX-0080C (Fuso, dated May 13,

    2015) at 20282. Particle size and morphology are “

                                             . Id. at 20291. A POSA would not have been

    motivated to try to use an                                      with a composition that

    was intended to be used with non-aggregated particles, or expect it to succeed. See CX-

    0229C (Dauskardt RWS) at Q/A 557.

           More fundamentally, respondents do not explain why a POSA would have used

    any of the BS-2H, HL-2, PL-2L, PL-3C, and            particles in the specific CMP slurry

    of the ‘073 publication when the ‘073 publication already identifies other commercially

    available, appropriate silica particles (PL-1, PL-2, PL-3, Nalco, and BINDZIL particles).

    See RX-0230 (‘073 Publication) at [0014]. Respondents have not even established that a

    POSA would have even known about the five other particles. See e.g., CX-0268C

    (

                                   JX-0353C, -0354C, -0355C, -0356C, -345C (Agreements)

                                                                     The only non-

    confidential document regarding some of particles cited by respondents is a purported

    brochure with no known origin or date of distribution and only limited description of the

    particles. See RX-1076C (Raghavan WS) at Q/A 570–71.

           Second, respondents argue that a POSA “would have been further motivated with

    a reasonable expectation of success…to use colloidal silica particles containing a

    nitrogen containing compound internal to an outer surface thereof.” RX-1076C

    (Raghavan WS) Q/A 569. No one—not even Fuso—

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                                                                                    . See Section

    IV.D.5 (Inventorship), infra; see also CX-0229C (Dauskardt RWS) at Q/A 505–11. Fuso

    was                                                                  . Fuso “



                                                                     ” Tr. 120. Indeed, Dr.

    Raghavan concedes that he has “not read papers specifically saying the nitrogen content

    [of] particles made by the Stober process” and that he is not sure “whether anybody

    bothered” to measure it because “there are many other applications for colloidal silica

    and a little bit of nitrogen in the particle may not bother them.” Raghavan Tr. 532–533.

    Indeed,

                                                                  . See JX-0339C (Additive

    Investigation in                            Slurry) at 4 (“



              Nor do respondents attempt to show, through testing or otherwise, the existence of

    an internal chemical species in any of the BS-2H, HL-2, PL- 3C,              , or PL-2L

    particles                                          , or that the versions of the particles

    existing before the ‘721 patent included such a species. Raghavan Tr. 510 (Dr. Raghavan

    saying “I did not do any … testing to prove that” any of these 5 Fuso particles actually

    contained internal nitrogen). Rather, Dr. Raghavan appears to opine that such an internal

    chemical species would be inherent. “[T]he use of inherency in the context of

    obviousness must be carefully circumscribed.” Southwire, 870 F.3d at 1310 (internal

    citations omitted). Dr. Raghavan’s opinion, that “[t]o [his] knowledge, the art did not

    teach any routine methods for avoiding the incorporation of some residual nitrogen

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    catalyst,” is ineffective. See RX-1076C (Raghavan WS) at Q/A 542; see also Honeywell

    Int’l Inc. v. Mexichem Amanco Holding S.A. DE C.V., 865 F.3d 1348, 1356 (Fed. Cir.

    2017) (finding analogous “reverse reasoning” to be insufficient to sustain the PTAB’s

    rejection of a claim).

           In any event, the ‘073 publication expressly teaches away from using particles

    with internal charge. As discussed above, the colloidal silica particles of the ‘073

    publication “have a zeta potential of zero” before surface treatment. See RX-0230 (‘073

    Publication) at [0023]. The ‘073 publication discloses that increasing external surface

    treatment is desirable and effective at increasing removal rates. See RX-0230 (‘073

    Publication) at [0085]; CX-0229C (Dauskardt RWS) at Q/A 532. There would be no

    reason that a POSA would turn to any mechanism other than surface charge in

    implementing the slurries of these references. See CX-0229C (Dauskardt RWS) at Q/A

    534; see also id. at Q/A 484–495, 512–513, 541–544; JX-0252C (Slurry Research

    Summary). Indeed, respondents’ expert Dr. Raghavan conceded that “if the surface

    coverage is high,” as it is in the ‘073 publication, then “the internal nitrogen should not

    make a big difference.” Raghavan Tr. 533, 535 (“So you really do not need to worry

    about, at that point, role played by internal nitrogen, because we are dealing with surface

    groups.”).

           Further, despite arguing that a POSA would have known about and would have

    been motivated to use, silica particles containing internal nitrogen in general, Dr.

    Raghavan also admitted that during his decades of academic experience, industry

    experience, research, and teaching directly on the issues presented in this investigation,

    he has “never” talked about internal charge of silica particles with anyone or mentioned

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    internal charge in any of his 183 published papers. See Raghavan Tr. 493–494, 494–495,

    525, 526–527 (“[I]n my years of teaching in colloid chemistry, I have never talked about

    internal charge.”), Raghavan Tr. 529.

           Third, respondents argue that a POSA “would therefore have been motivated with

    a reasonable expectation of success to use such surface modified silica particles with a

    more positive zeta potential.” See Resps. Br. at 168-69; RX-1076C (Raghavan WS) Q/A

    570, 587. The ‘073 publication already discloses zeta potentials of over 40 mV, and

    respondents provide no reason why a POSA would consider a higher zeta potential to be

    desirable with the asserted silica particles, which had unique morphologies and features

    that would have been unfamiliar to a POSA. See CX-0229C (Dauskardt RWS) at Q/A

    553. Moreover, at least PL-3C and            particles had preexisting aminosilane on their

    external surface, and respondents do not address whether a POSA would have had an

    expectation of success that adding more surface treatment to these particles, as disclosed

    in the ‘073 publication, would have even worked. See CX-0229C (Dauskardt RWS) at

    Q/A 570; see also id. at Q/A 496–504 (no general motivation to increase zeta potential).

           Nothing else in the state of the art or other generic motivations to combine that

    respondents raise change this analysis. See CX-0229C (Dauskardt RWS) at Q/A 359–74;

    483–549. Indeed, respondents’ identification of the “state of the art” is a list of

    references that provide no additional guidance, including (1) references from disparate

    technical fields that do not relate to CMP and would not have been considered for CMP

    ((e.g., RX-0201 (Wu), RX-0198 (Blaaderen), RX-0209 (Xiao), and RX-0223 (‘136

    publication) (alkaline solution with negative zeta potential and reduced colloidal stability

    in a substrate wafer polisher not CMP), RX-0211 (Ottenbrite); see also CX-0229C

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    (Dauskardt RWS) at Q/A 361–74, 511)); and (2) references relating to known ineffective

    surface treatment ((e.g., RX-0214 (Soto-Cantu), RX-0194 (Shin Etsu), RX-0209 (Xiao),

    RX-0216 (‘974 Patent); see also CX-0229C (Dauskardt RWS) at Q/A 375–80, 496–504,

    514–23)).

                           c.     Combination of ‘073 Publication with any one of
                                  the PL-2L, PL-3C,       , BS-2H, and HL-2
                                  Particles

           The ‘073 publication does not render the asserted or DI claims obvious alone, for

    the same reasons discussed above. As discussed below, each resulting combination of

    the ‘073 publication with any one of the PL-2L, PL-3C,          , BS-2H, and HL-2

    particles, does not disclose the limitations missing from the ‘073 publication.

                                  i.      ‘073 Publication and PL-2L

           As discussed below, respondents have not shown that there would have been a

    motivation to combine PL-2L and the ‘073 publication. PL-2L particles in combination

    with the ‘073 publication do not render claims 1, 4–9, 15–19, 24, 26–29, 31, 32–34, 37,

    39–44, and 46 obvious. PL-2L particles do not disclose numerous claim limitations.

           [1c], [26c] – Particle Species Limitations

           Respondents do not meet their burden to show that the particles have a nitrogen or

    phosphorous containing compound “internal to an outer surface” of the particle. As

    discussed above, no PL particles (including PL-2L, PL-3C, or          ) satisfy this

    limitation; nor does the ‘073 publication. See Tr. 753, 754; CX-0229C (Dauskardt RWS)

    at Q/A 40; CX-0227C (Grumbine RWS) at Q/A 15; CX-0230C (CMC internal

    spreadsheet indicating “

          . Respondents provide no basis for why this limitation would have been obvious.
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           [1d] and [27] - “a pH in a range from about 3.5 to about 6”

           The identified particles do not disclose this limitation because each are provided

    at a pH of              . See JX-0080C (Fuso, dated May 13, 2015) at 20282. Contrary

    to respondents’ arguments, it would not have been a matter of routine optimization to

    arrive at the claimed pH. See CX-0229C (Dauskardt RWS) at Q/A 524–29, 628, 638.

           [1e] and [26e] and [28] “the colloidal silica abrasive particles have a
           permanent positive charge of at least [15 or 13] mV”

           None of the asserted particles satisfy this limitation. It is undisputed that the

    particles as provided by Fuso have a pH of                  and, correspondingly, a

    permanent positive charge of                   . See JX-0080C (Fuso, dated May 13,

    2015) at 20282, 20296; CX-0229C (Dauskardt RWS) at Q/A 631. Nor does Dr.

    Raghavan show that the combination of the ‘073 publication with any of the listed

    particles—or even modifying the pH of the particles—would have disclosed this

    limitation. Respondents’ experts have not tested permanent positive charge for any

    particles. See CX-0229C (Dauskardt RWS) at Q/A 633–35.

           Claims 4, 5, 7, 8, 9, 29, 32, 33, 34 – particle size, aggregation

           Dr. Raghavan does not provide evidence that at least BS-2H, HL-2, and PL-2L

    satisfy claim 4, or that BS-2H, HL-2, PL-2L, and PL-3C satisfy claim 5, or that any of the

    particles satisfy claim 7, 8, or 9. See Resps. Br. at 175, 179; RX-1076C (Raghavan WS)

    Q/A 601–07; 617–19; CX-0229C (Dauskardt RWS) at Q/A 637. Moreover, Dr.

    Raghavan does not provide any explanation why a POSA would have selected a

    particular particle size or aggregation. Instead, respondents just seem to argue that any

    particle size or aggregation would have been obvious because it was known that particle



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    size or aggregation could have changed. Modifying particle size and aggregation would

    not have been “routine optimization.” See CX-0229C (Dauskardt RWS) at Q/A 536–37,

    645.

           Claims 3, 6, 17, 24, and 31

           Regarding claim 3 (buffering agent), claims 6 and 31 (weight percent), claim 17

    (conductivity), and claim 24 (silicon nitrogen polishing accelerator), Dr. Raghavan’s

    opinion that a POSA would simply have been motivated to arrive at these claims based

    on the knowledge of the art is not supported. See CX-0229C (Dauskardt RWS) at Q/A

    538–40, 602. Indeed, respondents’ R&D documents indicate

                 See CX-0261C (Development of a TEOS Removal Rate Model) at 15071




           Claim 18 – “particle density”

           Respondents evidence of particle density is not prior art and appears conflicting.

    Compare JX-0080C (Fuso, dated May 13, 2015) at 20284 (2015 document describing

    approximate densities) with 20285 (different density results). This is consistent with

                                   . Modifying a fundamental property such as density,

    without guidance, would also entail more than “routine optimization” as respondents

    argue. See RX-1076C (Raghavan WS) Q/A 646; CX-0229C (Dauskardt RWS) at Q/A

    607.

           Claims 15 and 16 – core shell particle structure

           Regarding claims 15 and 16, respondents do not argue that any of the BS-2H, HL-

    2, or PL-2L particles have a core shell structure. See Resps. Br. at 181-82. Dr. Raghavan

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    instead opines that the limitations of claims 15 and 16 would be within the knowledge of

    a POSA “generally.” See RX-1076C (Raghavan WS) Q/A 633–37. Dr. Raghavan cites a

    series of non-CMP references and does not explain why such references are “generally”

    related to the knowledge of a POSA. For example, Nakajo is not relevant to the

    disclosures of the ‘073 publication because it relates to polishing a semiconductor wafer,

    not chemical mechanical polishing applications. Moreover, Dr. Raghavan cites

    disclosures in other non-CMP material relating to surface treatment of silica. Id. (citing

    Soto- Cantu, RX-0198 (van Blaaderen), Graf, RX-0204 (Kalele)). These references do

    not disclose the limitations of claims 15 and 16, and a POSA would not have been

    motivated to combine such disclosures with the ‘073 publication. See CX-0229C

    (Dauskardt RWS) at Q/A 603.

           Claim 19

           Claim 19 recites a combination of limitations in other claims. For the reasons

    discussed with respect to those limitations, claims 19 would not have been obvious.

           Claim 37 – bonded silanol groups

           Regarding claim 37, respondents argue that it would have been routine

    optimization to arrive at this limitation. See Resps. Br. at 197-98. By arguing that larger

    zeta potential is always a motivator, respondents appear to argue that a POSA would have

    increased the amount of aminosilane—not decreased it. See Resps. Br. at 197-98; CX-

    0229C (Dauskardt RWS) at Q/A 530–35, 610. The ‘073 publication implies that a

    surface coverage of at least 5% is necessary for performance. See RX-0230 (‘073

    Publication) at [0085]; CX-0229C (Dauskardt RWS) at Q/A 532.




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           Respondents also point to confidential                                 to support his

    opinion that it would have been obvious to modify any of the give particles to bond

    aminosilane to less than 4% of particle surface silanol groups. See Resps. Br. at 198;

    RX-1076C (Raghavan WS) at Q/A 698. Dr. Raghavan’s conclusion is based on an



                             . See CX-0229C (Dauskardt RWS) at Q/A 609; JX-0419C (Shen

    Dep. Tr.) at 215 (“This is just our conjection [sic]. So this is our – just our guess.”).

           Claim 39–44, and 46 – method claims

           Respondents do not argue that the asserted particles fill the gaps on the ‘073

    publication related to these claims. See Resps. Br. at 201. Instead, Dr. Raghavan opines

    that the limitations would have been obvious because of routine optimization. See RX-

    1076C (Raghavan WS) at Q/A 709. There is no evidence, however, demonstrating that

    achieving the recited removal rate of either silicon oxygen or silicon nitride material at

    the recited particle level would have been obvious or a POSA would have had a

    reasonable expectation of success. See CX-0229C (Dauskardt RWS) at Q/A 358, 545–

    49.

           Regarding claim 46, Dr. Raghavan opines that use of a silicon nitride polishing

    inhibitor to achieve the claimed polishing rate selectivity would have been obvious from

    the disclosure of an “amino acid” in the ‘073 publication. See RX-1076C (Raghavan

    WS) Q/A 728. Dr. Raghavan did not provide an explanation of why the specific rate

    selectivity would have been obvious to achieve using the claimed polishing composition

    or that achieving this selectivity in the field of CMP would have been a matter of routine

    optimization. See CX-0229C (Dauskardt RWS) at Q/A 614.

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                                   ii.      ‘073 Publication and PL-3C

             Respondents have not shown that there would have been a motivation to combine

    PL-3C and the ‘073 publication for the reasons discussed above. For the same reasons

    discussed above for PL-2L, PL-3C in combination with the ‘073 publication does not

    render claims 1, 3–8, 17, 19, 24, 26–29, 31, 32, 37, 39–44, and 46 obvious, and PL-3C

    particles do not disclose numerous claim limitations. Moreover, as discussed above, the

    evidence indicates that PL-3C was                   and not prior art, and respondents have

    not proven the structure or features of the particles at that time. See Section IV.D.1.a.ii

    (Whether the Silica Particles Are Prior Art), supra.

                                   iii.     ‘073 Publication and

             Respondents have not shown that there would have been a motivation to combine

             and the ‘073 publication for the reasons discussed above. For the same reasons

    discussed above for PL-2L,            in combination with the ‘073 publication does not

    render claims 1, 3–8, 17, 19, 24, 26–29, 31, 32, 37, 39–44, and 46 obvious, and PL-3C

    particles do not disclose numerous claim limitations. Moreover, as discussed above, the

    evidence indicates that                             and not prior art, and respondents have

    not proven the structure or features of the particles at that time. See Section IV.D.1.a.ii,

    supra.

                                   iv.      ‘073 Publication and BS-2H

             Respondents have not shown that there would have been a motivation to combine

    BS-2H and the ‘073 publication for the reasons discussed above. For the same reasons

    discussed above for PL-2L, BS-2H in combination with the ‘073 publication does not

    render claims 1, 3–9, 10–11, 13–21, 24, 26–29, 31, 32, 33–44, and 46 obvious, and BS-
                                                 201
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    2H particles do not disclose numerous claim limitations. Moreover, as discussed above,

    the evidence indicates that BS-2H was                  and not prior art, and respondents

    have not proven the structure or features of the particles at that time. See CX-0229C

    (Dauskardt RWS) at Q/A 575, 585; Section IV.D.1.a.ii, supra.

           For example, for the particle species limitations, regarding BS-2H or HL-2

    particles, Dr. Raghavan appears to rely solely on theoretical speculation regarding the

    Stober process and the same                      . At least for HL particles, Dr. Raghavan

    could not confirm these were Stober process particles. See Raghavan Tr. 510. Moreover,

    as discussed above, respondents have not shown the confidential CMC




             See CX-0227C (Grumbine RWS) at 15; CX-0229C (Dauskardt RWS) at Q/A

    143; Tr. 751 (Dauskardt explaining Kjeldahl tests are unreliable); CX-0229C (Dauskardt

    RWS) at Q/A 149–52. For the same reasons, respondents have not shown that the recited

    particles disclose claim 10, 11, 13, 14, 35, 36. Claim 20 recites a combination of

    limitations in other claims. Claim 20 is not obvious for reasons discussed with respect to

    those limitations. Claim 38 recites a combination of limitations in other claims. The

    combination in claim 38 is also not obvious for the reasons discussed with respect to

    those limitations.

                                  v.      ‘073 Publication and HL-2

           Respondents have not shown that there would have been a motivation to combine

    HL-2 and the ‘073 publication for the reasons discussed above. For the same reasons

    discussed above for PL-2L and BS-2H, HL-2 in combination with the ‘073 publication

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    does not render claims 1, 3–9, 10–11, 13–21, 24, 26–29, 31, 32, 33–44, and 46 obvious,

    and HL-2 particles do not disclose numerous claim limitations. Moreover, as discussed

    above, the evidence indicates that HL-2 was                  and not prior art, and

    respondents have not proven the structure or features of the particles at that time. See

    CX-0229C (Dauskardt RWS) at Q/A 575, 585.

                           d.     Secondary Considerations

           The objective evidence, also known as “secondary considerations,” includes

    commercial success, long felt need, and failure of others. Graham v. John Deere Co.,

    383 U.S. 1, 13-17 (1966); Dystar Textilfarben GmbH v. C.H. Patrick Co., 464 F.3d 1356,

    1361 (Fed. Cir. 2006). “[E]vidence arising out of the so-called ‘secondary

    considerations’ must always when present be considered en route to a determination of

    obviousness.” Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530, 1538 (Fed. Cir. 1983).

    Secondary considerations, such as commercial success, will not always dislodge a

    determination of obviousness based on analysis of the prior art. See KSR Int’l Co. v.

    Teleflex Inc., 550 U.S. 398, 426 (2007) (commercial success did not alter conclusion of

    obviousness).

           As discussed in detail above, respondents have not established a prima facie case

    of obviousness. Even if such a case existed, however, for the reasons discussed below,

    objective evidence weighs against a finding of obviousness. Indeed, these objective

    indicia “can be the most probative evidence … to avert the trap of hindsight.” Crocs, Inc.

    v. Int’l Trade Comm’n, 598 F.3d 1294, 1310 (Fed. Cir. 2010).




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                                   i.     Nexus Between the ‘721 Patent and the DI
                                          Products

           Respondents argue CMC has failed to establish that the undeniable objective

    indicia are “commensurate in scope with the claims.” See Resps. Br. at 209-10. The

    evidence, including internal and external documents as well as corroborated testimony,

    shows the contrary. First, as discussed above, CMC’s DI Products are covered by the DI

    claims. See CX-0006C (Dauskardt WS) at Q/A 516–671. The claimed features of the

    ‘721 patent—an acidic slurry with silica particles having a positively charged internal

    chemical species—provide the DI Products with benefits, such as better cost and

    defectivity. See CX-0006C (Dauskardt WS) at Q/A 516–671, 643–71; CX-0002C

    (Grumbine WS) at Q/A 28–33.

           Second, CMC’s witnesses provided uncontested testimony that the DI Products

    are coextensive with the patented invention. For example, Dr. Woodland’s confirmed

    that the success of D922x was the “direct result” of the inventors “innovating a solution

    to a long-standing problem in the industry.” See CX-0001C (Woodland WS) at Q/A 28,

    48; JX-0067C (Internal CMC Presentation) at 4; Tr. 85–87. Indeed, the D922x products

    were able to meet an industry need of using a “fundamentally different removal

    mechanism,” and had a “specifically designed positively charged particle” in an acidic

    CMP slurry which resulted in “increased particle use efficiency” and a “much lower

    concentration of colloidal silica abrasive particles. See CX-0001C (Woodland WS) at

    Q/A 31. Similarly, Dr. Grumbine testified that the D922x slurries are “acidic CMP

    slurries with silica particles having a positively charged internal chemical species” that




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    “embody” and “use” the invention for the ‘721 patent. See CX-0002C (Grumbine WS) at

    Q/A 28; Tr. 129–140.

            Third, respondents argue that any purported objective indicia are not tied to the

    claimed “permanent positive charge” because CMC allegedly does not market permanent

    positive charge. See Resps. Br. at 211. Yet, substantial evidence shows that the D922x

    products were marketed to customers as having a “proprietary, ultra-pure colloidal silica

    particle with precisely engineered surface chemistry” and a “positive charge” which

    “enable efficient use of particle.” See e.g., JX-0028C (D922x marketing material)

    (“Switch to D922x and see the positive difference”); JX-0029C (D9228 marketing

    material) (“ultra-pure colloidal silica particles with precisely engineered surface

    chemistry”); JX-0030C (D9228 marketing material) (“Positive charge enables efficient

    use of particle”).

            Lastly, respondents’ reliance on Fox Factory, Inc. v. Sram, LLC, 944 F.3d 1366

    (Fed. Cir. 2019) is misplaced. See Resps. Br. at 211. Respondents argue that the DI

    Products are not afforded a presumption of nexus to the objective indicia because CMC’s

    DI Products allegedly embody the claims of other CMC patents. However, here, unlike

    in Fox Factory, CMC does not argue that other CMC patents share the same objective

    indicia as the ‘721 patent. Indeed, the evidence shows that CMC’s objective indicia are

    attributable to the claimed features of the ‘721 patent, including the acidic, cationic

    colloidal silica- based slurries that allow customers to achieve desired removal rates at

    low silica concentrations— not just the aminosilane compound being internally

    incorporated in the colloidal silica particles as respondents argue. Accordingly, a nexus

    exists where the product is coextensive with the patent. Fox Factory, 944 F.3d at 1375.

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                                  ii.     Long Felt Need and Failure of Others

           As discussed, there was a long felt need in the industry for the invention of the

    ‘721 patent. See JX-0001 (‘721 Patent) at 1:65–2:11; CX-0001C (Woodland WS) at Q/A

    30; CX-0002C (Grumbine WS) at Q/A 53; CX-0004C (Dysard WS) at Q/A 19–20; CX-

    0006C (Dauskardt WS) at Q/A 646. “[L]ongfelt need is closely related to the failure of

    others” as it demonstrates a demand and a failure to satisfy that demand. In re

    Cyclobenzaprine Hydrochloride, 676 F.3d at 1082–1083.

           Respondents argue that there was no long-felt need in the industry because the

    prior art “‘057 patent and ‘073 Publication” allegedly taught acidic slurries with “reduced

    silica concentrations.” See Resps. Br. at 212. However, the ‘057 patent and ‘073

    publication, as discussed above, were failed attempts at cationic surface treatments. See

    CX-0228C (Dysard RWS) at Q/A 5–6; JX-0083C (CMC Internal Presentation) at 21864

    (Technology LRM); CX-0004C (Dysard WS) at Q/A 20. As Dr. Dysard testified, the

    ‘057 patent was not effective and had the “exact opposite” intent as the ‘721 Patent.” See

    CX-0228C (Dysard RWS) at Q/A 8–10.

           Dr. Dysard’s testimony is corroborated by documents from that time indicating

    that attaching a positive charge to the external surface of a particle did not work because

    the external cationic chemistry “acts as glue” and “increases scratch[es].” See e.g., JX-

    0083C (CMC Internal Presentation) at 21864. Thus, these earlier attempts did not solve

    the need in the industry for a “low solids” CMP slurry with positively charged particles

    for dielectric applications “with better cost and defectivity.” See JX-0067C (CMC

    Presentation) at 4; JX-0001 (‘721 Patent) at 1:65–2:11; CX-0001C (Woodland WS) at



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    Q/A 30; CX-0002C (Grumbine WS) at Q/A 53; CX-0004C (Dysard WS) at Q/A 19–20;

    CX-0006C (Dauskardt WS) at Q/A 646.

             Further, CMC’s competitors,                        , also failed in this regard. See

    CX-0001C (Woodland WS) at Q/A 30; JX-0067C (CMC Presentation) at 4; CX-0002C

    (Grumbine WS) at Q/A 53; CX-0004C (Dysard WS) at Q/A 19–20; CX-0006C

    (Dauskardt WS) at Q/A 646. Respondents do not dispute that

                                          . See Resps. Br. at 213; RX-1402C (Dauskardt RWS)

    at Q/A 368; JX-0252C (Slurry research) at 17; JX-0210C (Status Review); JX-0170C




               . See CX-0006C (Dauskardt WS) at Q/A 28; CX-0010C (Guo Dep) at 29, 30,

    32, 33. The long-felt need, coupled with the failure of others further illustrates the non-

    obviousness of the asserted claims. See In re Piasecki, 745 F.2d 1468, 1475 (Fed. Cir.

    1984).

                                   iii.      Unexpected Results, Skepticism, Industry
                                             Praise

             The inventors’ testimony, which is corroborated by internal and external CMC

    documents, shows that they unexpectedly realized that “positively charged colloidal silica

    abrasive particles for dielectric applications may alternatively be obtained via

    incorporating certain positively charged chemical species into the abrasive particles (i.e.,

    incorporating the chemical species sub-surface in the interior of the particles).” JX-0001

    (‘721 Patent) at 5:21–26. Indeed, prior to the ‘721 patent, no one in the industry was

    considering using an internal charge. See CX-0004C (Dysard WS) at Q/A 20; CX-0006C


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    (Dauskardt WS) at Q/A 654. It was Dr. Dysard’s experience in a different industry that

    led him to realize imparting internal charge was the solution. See CX-0004C (Dysard

    WS) at Q/A 25; see, e.g., JX-0036C (CMC Presentation).

           Given the previous failures to achieve these results, initial skepticism was tied to

    the invention of the ‘721 patent. Dr. Woodland testified that customers such as

               had “appropriate skepticism about whether this product would actually work.”

    See CX-0001C (Woodland WS) at Q/A 35; JX-0143C (Internal CMC Document).

    Specifically, JX-0143C shows the significant number of tests that           required before

    considering using the DI Products. See JX-0143C (Internal CMC Document); JX-0145C

    (CMC Email Regarding                Testing).

           This skepticism led to praise when customers realized what CMC had invented.

    For example, Hynix considered this slurry to be ground-breaking and to revolutionize the

    market. See CX-0001C (Woodland WS) at Q/A 32. Hynix performed extensive tests and

    found very positive results, including “excellent” performance reducing scratch defects—

    a key issue for advanced node semiconductors. See CX-0001C (Woodland WS) at Q/A

    40–44; JX-0148C (Semicon Presentation). Dr. Grumbine also describes that the

    announcement of the DI Products and their superior performance was met with intense

    interest. See CX-0002C (Grumbine WS) at Q/A 43.

                                  iv.       Commercial Success

           The DI Products have been commercially successful. See, e.g., JX-0052C (Global

    D922x Revenue & Volume); CX-0001C (Woodland WS) at Q/A 46, 48; JX-0076C

    (Project Coyote, Progress Update and Lessons Learned) at CMC00018736; JX-0112C

    (Dielectrics Overview, FY19); JX-0113C (Dielectrics Overview, FY18); CX-0005C

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    (Vander Veen WS) at Q/A 128; CX-0019C (Van der Velden Dep. Tr.) at 185.

    Respondents argue that CMC failed to consider “

         , or cannibalization.” 39 See Resps. Br. at 213-14.

           The DI Products enjoy commercial success because they embody the innovative

    features of the ‘721 patent, including being acidic, cationic colloidal silica-based slurries

    that allow customers to achieve desired removal rates at low silica concentrations. As

    discussed above, there was a need for dielectric slurries that could outperform traditional

    offerings and achieve the same removal rates and planarization performance, and much

    lower solids. See CX-0001C (Woodland WS) at Q/A 48. The DI Products, practicing the

    features of the asserted claims, met this need and as a result disrupted the market. See id.

           As Dr. Grumbine testified, if the D922x family did not use a silica particle

    including internal nitrogen-containing chemical species, it would not be able to achieve

    the performance levels that it does. See CX-0002C (Grumbine WS) at Q/A 44. The

    internal nitrogen- containing chemical species allows the particle to maintain a high

    charge without saturating the surface of the silica with external treatments. See CX-

    0002C (Grumbine WS) at Q/A 44. Thus, the success of the D922x family has been a

    direct result of CMC’s invention. See id. at Q/A 28–29.

                                   v.      Copying

           Respondents argue that “evidence of copying requires more than identifying a

    competing product.” See Resps. Br. at 215.

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      Regardless of whether Dr. Vander Veen analyzed advertising data (Tr. 269–271), the
    sales numbers of the D922x products (which embody the ‘721 patent) show the
    commercial success of these products. See, e.g., JX-0052C (Global D922x Revenue);
    CX-0001C (Woodland WS) at Q/A 46; CX-0019C (Van der Velden Dep. Tr.) at 185.

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    patent, a patent application filed by Rohm and Haas Electronic Materials CMP Holdings,

    Inc. included similar language as paragraphs from the application that led to the ‘721

    patent. Compare JX-0417 (US 10,557,060) 7:26–36 with JX-0001 (721 Patent) at 11:4–

    3; see also CX-0006C (Dauskardt WS) at Q/A 154; CDX- 0006C.007 (citing same); CX-

    0050 (Comparison of CMC and DuPont Patents).

           Respondents argue that they had already developed “acidic cationic CMP slurries

    for silicon oxide removal before DuPont became aware of the ‘721 patent.” See Resps.

    Br. at 215; RX-1402C (Raghavan RWS) at Q/A 415. However, the evidence shows that

    any development that respondents had prior to the ‘721 patent did not work and was

    abandoned. See CX-0006C (Dauskardt WS) at Q/a 668-70; JX-0339C (Additive

    Investigation). See CX-0008C (Chu Dep. Tr.) at 191; CX-0007C (Auger Dep. Tr.) at

    130–131, 132, 136; JX-0170C                                      Additionally, the

    evidence shows that respondents’ internal documents discussed the

                                                      created by CMC’s patents. See JX-

    181C (DuPont Presentation); CX-0006C (Dauskardt WS) at Q/A 503.

           Nonetheless, while there is some circumstantial evidence that suggests the

    possibility of copying, the administrative law judge is not persuaded that the record

    evidence establishes copying by respondents.


                                         *       *      *


           Accordingly, for the reasons discussed above, objective evidence weighs against a

    finding of obviousness.




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                   2.      Indefiniteness

           Respondents argue that all of the asserted and DI claims are indefinite under 35

    U.S.C. § 112(b). See Resps. Br. at 114-33.

           CMC and the Staff disagree. See Compl. Br. at 149-59; Staff Br. at 133-44.

           The definiteness requirement of 35 U.S.C. § 112 ensures that the patent claims

    particularly point out and distinctly claim the subject matter that the patentee regards to

    be the invention. See 35 U.S.C. § 112, ¶ 2; Metabolite Labs., Inc. v. Lab. Corp. of Am.

    Holdings, 370 F.3d 1354, 1366 (Fed. Cir. 2004). If a claim’s legal scope is not clear

    enough so that a person of ordinary skill in the art could determine whether or not a

    particular product infringes, the claim is indefinite, and is, therefore, invalid. Geneva

    Pharm., Inc. v. GlaxoSmithKline PLC, 349 F.3d 1373, 1384 (Fed. Cir. 2003). 40

           Thus, it has been found that:

                   When a proposed construction requires that an artisan make a
                   separate infringement determination for every set of circumstances
                   in which the composition may be used, and when such
                   determinations are likely to result in differing outcomes
                   (sometimes infringing and sometimes not), that construction is
                   likely to be indefinite.

    Halliburton Energy Servs. v. M-I LLC, 514 F.3d 1244, 1255 (Fed. Cir. 2008).

           The Supreme Court addressed the issue of indefiniteness, and stated that a finding

    of indefiniteness should not be found if the claims, “viewed in light of the specification

    and prosecution history, inform those skilled in the art about the scope of the invention

    with reasonable certainty.” Nautilus, 572 U.S. at 910.



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      Indefiniteness is a question of law. IGT v. Bally Gaming Int’l, Inc., 659 F.3d 1109
    (Fed. Cir. 2011).

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           The burden is on the accused infringer to come forward with clear and convincing

    evidence to prove invalidity. See Young, 492 F.3d at 1344 (“A determination that a

    patent claim is invalid for failing to meet the definiteness requirement in 35 U.S.C. § 112,

    ¶ 2 is a legal question reviewed de novo.”).

           For the reasons discussed below, respondents have not shown by clear and

    convincing evidence that all of the asserted and DI claims are indefinite under 35 U.S.C.

    § 112(b).

                           a.     “A permanent positive charge of at least [13 or
                                  15] mV”

           Respondents argue that the term “a permanent positive charge of at least [13 or

    15] mV” is indefinite based on the testimony of their expert Dr. Miller that the permanent

    positive charge depends on zeta potential measurements and “measured zeta potential . . .

    depends on how the measurement is conducted and can vary substantially.” See RX-

    1075C (Miller WS) at Q/A 25. The evidence does not support this conclusion. The

    procedures outlined in the specification and the knowledge of a POSA provide reasonable

    certainty regarding the scope of the claims.

           First, a claim requiring a measurement satisfies the Nautilus standard when the

    patent “identifies the applicable methods of measurement and demonstrates their

    application via examples.” Guangdong Alison Hi-Tech Co. v. Int’l Trade Comm’n, 936

    F.3d 1353, 1362–63 (Fed. Cir. 2019). This is true even in the case where “there was no

    industry standard.” Presidio Components, Inc. v. Am. Tech. Ceramics Corp., 875 F.3d

    1369, 1376 (Fed. Cir. 2017) (citing Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796

    F.3d 1312, 1316 (Fed. Cir. 2015)).


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           The inventors of the ‘721 patent provide the very guidance the Federal Circuit has

    deemed sufficient. The patent provides specific and detailed guidance for measuring

    permanent positive charge, which Dr. Miller neither describes nor challenges in his

    witness statement. See JX-0001 (‘721 Patent) at 11:14–31 (describing detailed protocols

    for measuring permanent positive charge), 11:32–61 (explaining the underlying scientific

    principles for the permanent positive measurement), Example 10 (demonstrating the

    measurement and meaning of permanent positive charge through a working example);

    see also RX-1075C (Miller WS) at Q/A 27–29.

           The ‘721 patent also gives explicit guidance on the commercially-available

    instrument to use to make the zeta potential measurements, and uses such an instrument

    in each of the patent examples. Id. at 10:54-58 (“The zeta potential of a dispersion such

    as a polishing composition may be obtained using the Model DT-1202 Acoustic and

    Electro-acoustic spectrometer available from Dispersion Technologies, Inc. (Bedford

    Hills, N.Y.)”), 19:31–38 (“In these examples, reported zeta potentials values were

    measured using the Model DT-1202 Acoustic and Electro-acoustic spectrometer

    (available from Dispersion Technologies)…”); Tr. 377–379 (Dr. Miller admitting these

    points and conceding that the DT-102 instrument is a reasonable choice for measuring

    zeta potential). This explicit guidance alone defeats respondents’ arguments.

    Guangdong, 936 F.3d at 1362–63; see also Ethicon Endo-Surgery, 796 F.3d at 1316.

           Second, even if that guidance were not given, “[u]nder [the Federal Circuit’s]

    post-Nautilus cases, a claim is not indefinite if a person of skill in the art would know

    how to utilize a standard measurement method . . . to make the necessary measurement.”

    Presidio Components, 875 F.3d at 1376. The evidence establishes that zeta potential is a

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    standard parameter frequently measured in the CMP industry. For example, one of

    respondents’ experts has described zeta potential as an “an easily measured property of a

    nanomaterial, and has been proposed as an essential nanomaterial property for reporting

    in scientific publications and regulatory registration of new nanomaterials.” See RX-

    1024 (Lowry publication) at 1; see also, Tr. 372 (Dr. Miller admits that a POSA would

    understand what zeta potential means), 372 (Dr. Miller admitting that in 2014, zeta

    potential was a common parameter measured across several industries, including the

    CMP industry); RX-1076C (Raghavan WS) at Q81–82, 101, 103, 106, 153 (relying

    numerous references that disclose zeta potential measurement data).

            Similarly, numerous current and former employees of respondents specifically

    testified that

                                                  .” CX-0012C (Jacobs Dep. Tr.) at 30–31;

    see also CX-0016C (Penta Dep. Tr.) at 73 (testifying that he

                                           CX-0007C (Auger Dep. Tr.) at 26




                                   CX-0010C (Guo Dep. Tr.) at 151 (clarifying

                                                   .

            The inventor of the DT-1202 instrument, Dr. Dukhin, testified similarly, as did

    CMC’s expert, Dr. Dauskardt. See JX-0420C (Dukhin Dep. Tr.) at 234–236 (“Q: Is zeta

    potential a well- known parameter in colloidal science? A: It’s known for about 150

    years. Q: Can zeta potential be accurately measured by standard instruments? A: Yes.”);

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    CX-0229C (Dauskardt RWS) at Q/A 813 (“zeta potential is such a well-established

    parameter that a [POSA] would have no trouble understanding the term with reasonable

    certainty.”). Former employee and inventor Dr. Shen testified that he personally

    analyzed the embodiment examples using the DT-1202 instrument, JX-0419C (Shen Dep.

    Tr.) at 37-38, and confirmed “[DT-1202] is a very standard measurement equipment for

    zeta potential” and “everybody pretty much can operate on this instrument and get very

    repeatable results at CMC.” Id. at 39. 41

           Measuring zeta potential is a well-known and well-documented procedure and

    respondents’ arguments that permanent positive charge is indefinite are incorrect.

                                   i.     “reasonable certainty”

           The Supreme Court has recognized that “absolute precision is unattainable” in

    patent disclosure and as a result “the certainty which the law requires in patents is not

    greater than is reasonable, having regard to their subject-matter.” Nautilus, 572 U.S. at

    910 (citation omitted). To support respondents’ indefiniteness position, Dr. Miller

    characterizes the standard zeta potential parameter as “not directly measurable” and

    limits its use to only qualitative applications. Dr. Miller (respondents’ expert with

    respect to zeta potential (RX-1075C (Miller WS) at Q/A 8-10)) testified that it is “not []



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       Indeed, many of respondents’ patents include claims that recite zeta potential ranges.
    See, e.g., CX-0229C (Dauskardt RWS) at Q/A 826–832; CDX-0007C.024 (RX-0902
    (U.S. Patent No. 10,037,889); CX-0241 (U.S. Patent No. 10,119,048); CX-0266 (U.S.
    Patent Publication No. 20190185713); CX-0243 (U.S. Patent Publication No.
    2018/0094166); JX-0016 (U.S. Patent No. 10,508,221); CX-0262 (U.S. Patent No.
    10,584,265); JX-0119 (U.S. Patent No. 10,464,188)); see also CX-0010C (Guo Dep. Tr.)
    at 59 (confirming use of zeta potential in their patent applications). Measuring zeta
    potential is a well-known and well-documented procedure and respondents’ arguments
    that permanent positive charge is indefinite are incorrect.

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    in all practicality” possible to obtain a reliable quantitative value for zeta potential, Miller

    Tr. 403–404, and “any patent claim in a CMP patent that recites a zeta potential range is

    necessarily invalid.” Miller Tr. 385. Dr. Miller’s opinion directly contradicts the

    testimony of other experts in this investigation, his own reliance on zeta potential data

    where it suits his positions, and the standard practice in the CMP industry. See, e.g., CX-

    0229C (Dauskardt RWS) at Q/A 813-20; Tr. 354–355 (Dr. Lowry agrees that it is

    possible to obtain a reliable quantitative value for zeta potential); RX-1076C (Raghavan

    WS) at Q/A 81–82, 101, 103, 106, 153 (relying on zeta potential values for comparison);

    RX-1401 (Miller RWS) at Q/A 75–77, 218–19 (relying on zeta potential values from

    various documents for comparison with the zeta potential values measured by Dr.

    Dauskardt); Miller Tr. 373 (Dr. Miller admits that he “didn’t investigate standard

    practices in the CMP industry regarding zeta potential”); CX-0229C (Dauskardt RWS) at

    Q/A 821–32 (testifying on the standard practices of the use of zeta potential in the CMP

    industry).

            Respondents’ and Dr. Miller’s insistence on absolute certainty is not supported by

    law and cannot render a standard parameter such as zeta potential indefinite. See, e.g.,

    Sonix Tech. Co. v. Publ’ns Int’l, Ltd., 844 F.3d 1370, 1377 (Fed. Cir. 2017) (“a patentee

    need not define his invention with mathematical precision in order to comply with the

    definiteness requirement.”); Koninklijke Philips N.V. v. Zoll Med. Corp., 656 F. App’x

    504, 526 (Fed. Cir. 2016).




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                                  ii.     Existence of different zeta potential
                                          measurement instruments

           Disregarding the clear guidance of the specification regarding use of the DT-1202

    instrument for measuring zeta potential, Dr. Miller opines that “it was well known that

    measured zeta potential values can vary significantly from instrument to instrument.”

    See RX-1075C (Miller WS) at Q/A 27. Dr. Miller has not provided evidence of such

    variability. Dr. Dauskardt 42 directed rigorous testing of the Accused Products by two

    independent labs with two different instruments including the DT-1202 instrument

    disclosed in the ‘721 patent as well as the alternative Malvern instrument that Dr. Miller

    testified is more appropriate. See CX-0006C (Dauskardt WS) at Q/A 257–304; RX-

    1401C (Miller RWS) at Q/A 131. Those measurements show excellent agreement

    between the two instruments. See CX-0229C (Dauskardt RWS) at Q/A 843; CDX-

    0006C.0031 (CX-0026C (PTL Analysis Report II) at 3–5; CX-0024C (DTI Analysis

    Report) at 11).

           Dr. Miller, by contrast, relies on select data outliers of different types of samples

    under analysis conditions not pertinent to the claims at issue—and measurements taken

    on products other than the Accused Products and DI Products at issue in this

    investigation. See CX-0229C (Dauskardt RWS) at Q/A 840; see also Tr. 681–682. Dr.

    Miller also relies upon zeta potential data that was admittedly inaccurate. See RX-1075C

    (Miller WS) at Q/A 143–46; CX-229C (Dauskardt RWS) at Q/A 840–42; Tr. 347 (Dr.


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       Dr. Dauskardt has used “zeta potential extensively,” is very familiar with CMP
    technology, oversaw zeta potential testing in this investigation, provided his own
    independent assessment regarding the indefiniteness of the permanent positive charge
    term in both his expert report and his witness statement, and testified extensively on this
    matter in deposition and at the evidentiary hearing. See, e.g., Tr. 658, 665, 749–751.

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    Lowry testified that the purpose of his protocol “was not to measure zeta potential

    accurately”), 315–317 (Dr. Lowry concedes that he is not familiar with the instrument

    and did not oversee the testing), 317–319 (Dr. Lowry admits that the conductivity

    measurement discrepancies “had variance of—of almost an order of magnitude” and he

    did not know “the accuracy of any of the zeta potential values”), 320 (Dr. Lowry

    concedes that “the calculation would be affected by [the assumed density] value”), 374–

    375 (Dr. Miller concedes that he provided no input to the testing).

           In short, respondents at best demonstrate a mere “possibility” of different results.

    That is insufficient to render a claim indefinite. See Takeda Pharm. Co. Ltd. v. Zydus

    Pharm. USA, Inc., 743 F.3d 1359 at 1366–67 (Fed. Cir. 2014) (“[W]e do not believe that

    the mere possibility of different results from different measurement techniques renders

    claim [] indefinite.”); see also Osram GmbH v. Int’l Trade Comm’n, 505 F.3d 1351, 1357

    (Fed. Cir. 2007) (“When there is more than one method of measurement and the patent

    does not explicitly discuss the methods, persons experienced in the field are reasonably

    deemed to select the method that better measures the parameters relevant to the

    invention.”).

                                  iii.    Alleged ambiguity regarding the
                                          calculation method for zeta potential of a
                                          CMP slurry

           Dr. Miller also opines that zeta potential renders the permanent positive charge

    term indefinite because “the ‘721 Patent does not indicate what calculation theory should

    be used to calculate the zeta potential”—a classical (“Smoluchowski-type”) theory or an

    “advanced” theory. See RX-1075C (Miller WS) at Q/A 111, 178. Dr. Miller’s opinion is



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    hypothetical and unsupported by the facts. See CX-0229C (Dauskardt RWS) at Q/A

    845–50.

            While Dr. Miller acknowledges “an elementary [Smoluchowski] theory would be

    appropriate in many of the situations,” he opines “[f]or the CMP slurries described by the

    ‘721 Patent, it is unclear if an elementary theory or an advanced theory would be the

    most appropriate.” See RX-1075C (Miller WS) at Q/A 165–69. Even as Dr. Miller

    conceded that he had never “had any prior experience at all with CMP,” Miller Tr. 370–

    371, Dr. Miller did not investigate and disregarded the standard practice of the CMP

    industry. See Tr. 373, see also Tr. 658 (Dr. Dauskardt testifying that “measuring the zeta

    potential with the normal well-accepted quantitative methods that are widely, widely used

    in industry would be the quantitative metric that should be used.”).

            Furthermore, Dr. Dukhin, the inventor of and recognized expert of the DT-1202

    instrument, testified that

                                 ” and he

                    JX-0420C (Dukhin Dep. Tr.) at 237–238, 141–142 (Dr. Dukhin

    confirming that Smoluchowski zeta potential is the default option for all DT instruments).

    CMC’s corporate witness on this topic, Dr. Grumbine,

                                                                             , RX-0678C

    (Grumbine Dep. Tr.) at 245, which is further supported by the

                                            See RX-0877C                             ); CX-

    0229C (Dauskardt RWS) at Q/A 848.

            Respondents’ own expert Dr. Lowry conceded that Smoluchowski approximation

    is the most commonly used method for determining zeta potential. See Tr. 314, 345.

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    According to Dr. Lowry, “the Smoluchowski approximation is most often used for

    nanoparticles in aqueous media, even though the smallest nanoparticles, e.g. <20 nm

    diameter, may not have κa ≫ 1 necessary to justify application of the Smoluchowski

    approximation.” RX-1024 (Lowry publication) at 4. In fact, the evidence shows that the

    commercial labs that provide zeta potential measurement services have never used any

    theory other than than the Smoluchowski theory for calculating the zeta potential of an

    aqueous dispersion, including a CMP slurry. See CX-0006C (Dauskardt WS) Q/A 303.

            Dr. Miller is therefore not correct that “a POSA would not be able to determine”

    if “an elementary theory or an advanced theory would be the most appropriate.” See RX-

    1075C (Miller WS) at Q/A 169. The record shows that the Smoluchowski theory is the

    only theory that a POSA would have reasonably used. Indeed, respondents have not

    identified a single use of any other theory for calculating zeta potential in the CMP

    industry. 43

            Accordingly, there is no ambiguity as to the theoretical model for calculating the

    zeta potential of a CMP slurry sample and the claim term is not indefinite. See Presidio

    Components, 875 F.3d at 1376 (“A patent need not explicitly include information that is

    already well known in the art.”).


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      Respondents’ own patents that claim zeta potential do not specify the theory for
    calculating it. See CX-0229C (Dauskardt RWS) at Q/A 827–832, 849; Liqwd, Inc. v.
    L’Oreal USA, Inc., 720 F. App’x 623, 631 (Fed. Cir. 2018) (holding that “evidence of a
    challenger’s own ability to apply a term without unreasonable uncertainty counts against
    an indefiniteness contention”). Moreover, none of the references cited by Dr. Miller to
    support his noninfringement arguments discloses the theoretical model used to calculate
    the zeta potential. See, e.g., Tr. 397; RX-1401C (Miller RWS) at Q/A 76; RX-1425C
    (1598 Derivatization); RX-1426C (Modeling and Positive Silica Update); RX-1427C
    (DE011048 Results Discussion); RX-0547 (Japanese Patent Application No. 2007-
    273910).

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             Ultimately, Dr. Miller admitted under cross examination that “no amount of

    information in the patent would be enough” to resolve his conclusion regarding

    indefiniteness (Tr. 384) and further that any CMP patent that claims zeta potential

    values—including the Asserted Patent, and also numerous DuPont patents discussed at

    the hearing—is necessarily invalid. See Tr. 387–389. Dr. Miller’s opinions are not

    persuasive given the great weight of evidence regarding the CMP industry, all of which

    suggests zeta potential is a well-understood parameter commonly used and relied on in

    this industry, both for purposes of doing business, and for regular inclusion as

    quantitative ranges in patent claims.

                           b.      “an internal nitrogen or phosphorous containing
                                   chemical species”

             Respondents argue that “CMC’s new construction ‘wherein the colloidal silica

    abrasive particles have a permanent positive charge of at least 15 mV’ would render the

    term indefinite.” See Resps. Br. at 130-31. However, respondents did not identify

    CMC’s new claim construction. Respondents appear to raise for the first time a new

    indefiniteness argument that the term “an internal nitrogen or phosphorous containing

    chemical species,” is indefinite. See id.; Joint Reply Outline at 4-5; Resps. Reply Br. at

    33-37.

             In any event, respondents did not provide any support for their positions beyond

    conclusory statements and unsupported expert testimony. See id. By contrast, Dr.

    Dauskardt testified that the internal chemical species limitation plainly requires “a

    measurable amount,” and the specification provides detailed directions and examples

    regarding exactly how to measure the internal chemical species. See JX-0001 (‘721


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    Patent) at 20:48–50 (describing measurement procedures for internal chemical species

    with ion chromatography); CX-0006C (Dauskardt WS) at Q/A 70, 73; Tr. 739. The mere

    fact that a claim limitation requires measurements does not render a claim indefinite. See

    Guangdong, 936 F.3d at 1362–63.

                           c.     Removal Rate Terms

           Claims 40-44 claim specific removal rates which, respondents argue are indefinite

    because “[r]emoval rate in CMP applications depends on numerous conditions and

    factors in addition to the claimed particle weight percent and downforce.” See Resps. Br.

    at 131-33; RX-1076C (Raghavan WS) Q/A 356.

           However, it is not material whether there are other factors that can impact

    removal rate. See CX-0229C (Dauskardt RWS) at Q/A 868. Dr. Raghavan did not

    opine, nor did he cite to any evidence, that the removal rate can vary for a given CMP

    process under defined conditions, or that a POSA would not know how to determine the

    remove rate. See RX-1076C (Raghavan WS) Q/A 356–59. In fact, Dr. Raghavan was

    well aware of the term “removal rate,” Tr. 576, and cited to various references that

    demonstrate the definiteness of the term “removal rate.” See RX-1076C (Raghavan WS)

    Q/A 357-60. Moreover, evidence cited by Dr. Dauskardt establishes that a POSA would

    be able to determine “removal rate” of a given CMP process with reasonable certainty

    using routine procedures. See CX-0229C (Dauskardt RWS) at Q/A 864–70. The mere

    possibility that the Accused Products may be used under different conditions that may

    lead to a different, but quantifiable and defined removal rates does not create clear and

    convincing evidence that the claims are indefinite. At best this issue would impact



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    questions of infringement, and not patent validity. See Ethicon Endo-Surgery, 796 F.3d

    at 1319; Bell Commc’ns Research, 55 F.3d at 622–623.

                   3.      Written Description and Enablement

           Respondents and the Staff argue that all of the asserted and DI claims are invalid

    under 35 U.S.C. § 112(a) for lack of enablement and written description. See Resps. Br.

    at 87-114; Staff Br. at 96-132.

           CMC disagrees. See Compl. Br. at 163-190, 190-211.

           For the reasons discussed below, respondents and the Staff have not shown by

    clear and convincing evidence that all of the asserted and DI claims are invalid under 35

    U.S.C. § 112(a) for lack of enablement and written description.

                           a.      Applicable Law

           The Patent Act requires that “[t]he full scope of the claimed invention . . . be

    enabled.” Sitrick v. Dreamworks, LLC, 516 F.3d 993, 999 (Fed. Cir. 2008); see also

    Northpoint Tech. Ltd. v. MDS America Inc., 413 F.3d 1301, 1308-10 (Fed. Cir. 2005)

    (affirming a finding of invalidity for lack of enablement due to the patent’s failure to

    disclose an embodiment with an antenna that met the “directional reception range”

    limitation of each claim). Namely, “[a] patentee who chooses broad claim language must

    make sure the broad claims are fully enabled. ‘The scope of the claims must be less than

    or equal to the scope of enablement’ to ‘ensure[] that the public knowledge is enriched by

    the patent specification to a degree at least commensurate with the scope of the claims.’”

    Sitrick, 516 F.3d at 999 (quoting National Recovery Techs., Inc. v. Magnetic Separation

    Sys., Inc., 166 F.3d 1190, 1195-96 (Fed. Cir. 1999)). The enablement requirement is



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    satisfied when one skilled in the art, after reading the specification, could practice the

    claimed invention without undue experimentation. AK Steel Corp. v. Sollac & Ugine,

    344 F.3d 1234, 1244 (Fed. Cir. 2003), citing In re Wands, 858 F.2d 731, 737 (Fed. Cir.

    1988).

                     The question of undue experimentation is a matter of degree, and
             what is required is that the amount of experimentation not be “unduly
             extensive.” Chiron Corp. v. Genentech, Inc., 363 F.3d 1247, 1253 (Fed.
             Cir. 2004) (quoting PPG Indus., Inc. v. Guardian Indus., Corp., 75 F.3d
             1558, 1564 (Fed. Cir. 1996)). For example, the fact that a clinician’s
             involvement may be necessary to determine effective amounts of the
             single compound effervescent agent and its corresponding soluble acid
             source does not itself constitute undue experimentation. See Ortho–
             McNeil Pharm., Inc. v. Mylan Labs., Inc., 520 F.3d 1358, 1365–66 (Fed.
             Cir. 2008) (“[E]ven if clinical trials informed the anticonvulsively
             effective amount, this record does not show that extensive or ‘undue’ tests
             would be required to practice the invention.”). In addition, extensive
             experimentation does not necessarily render the experiments unduly
             extensive where the experiments involve repetition of known or
             commonly used techniques. See Johns Hopkins Univ. v. CellPro, Inc.,
             152 F.3d 1342, 1360 (Fed. Cir. 1998) (finding that the difficulty in
             producing certain antibodies could not be attributed to the shortcomings in
             the disclosure of the patent at issue, but rather, the difficulty was attributed
             to the technique commonly used during experimentation that generally
             required repetition). Thus, the focus “is not merely quantitative, since a
             considerable amount of experimentation is permissible, if it is merely
             routine, or if the specification in question provides a reasonable amount of
             guidance . . . .” PPG Indus., Inc., 75 F.3d at 1564 (citation and quotation
             omitted).

    Cephalon, Inc. v. Watson Pharms., Inc., 70 F.3d 1330, 1338-39 (Fed. Cir. 2013).

             Enablement is determined from the viewpoint of persons of ordinary skill in the

    field of the invention at the time the patent application was filed. Ajinomoto Co., Inc. v.

    Archer-Daniels-Midland Co., 228 F.3d 1338, 1345 (Fed. Cir. 2000). Thus, a claim in an

    issued patent can be rendered invalid due to lack of enablement if its scope is not fully

    enabled. Id.


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           The issue of whether a patent is invalid for failure to meet the written description

    requirement of 35 U.S.C. § 112, ¶ 1 is a question of fact. Bard Peripheral Vascular, Inc.

    v. W.L. Gore & Assocs., Inc., 670 F.3d 1171, 1188 (Fed. Cir. 2012). A patent’s written

    description must clearly allow persons of ordinary skill in the art to recognize that the

    inventor invented what is claimed. The test for sufficiency of a written description is

    “whether the disclosure of the application relied upon reasonable conveys to those skilled

    in the art that the inventor had possession of the claimed subject matter as of the filing

    date.” Id. (quoting Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir.

    2010) (en banc)).

           Enablement is a separate inquiry from written description, although the two “often

    rise and fall together.” Ariad, 598 F.3d at 1352. To be enabling, “the specification of a

    patent must teach those skilled in the art how to make and use the full scope of the

    claimed invention without undue experimentation.” See Union Carbide Chemicals &

    Plastics Tech. Corp. v. Shell Oil Co., 308 F.3d 1167, 1186 (Fed. Cir. 2002). Importantly,

    “a considerable amount of experimentation is permissible, if it is merely routine, or if the

    specification in question provides a reasonable amount of guidance with respect to the

    direction in which the experimentation should proceed.” PPG Indus., Inc. v. Guardian

    Indus. Corp., 75 F.3d 1558, 1564 (Fed. Cir. 1996). In evaluating whether

    experimentation rises to the level of undue, courts often consider the factors articulated in

    In re Wands, 858 F.2d 731, 737 (Fed. Cir. 1988).

           Additionally, “Section 112 requires enablement of only the claimed invention, not

    matter outside the claims.” McRO, Inc. v. Bandai Namco Games Am. Inc., 959 F.3d

    1091, 1100 (Fed. Cir. 2020). When the claims at issue do not recite a particular method

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    of making a claimed composition, “the enablement requirement is met if the description

    enables any mode of making and using the invention.” Invitrogen, 429 F.3d at 1071.

    Similarly, Section 112 “does not require that a patent disclosure enable one of ordinary

    skill in the art to make and use a perfected, commercially viable embodiment.”

    Vasudevan Software, Inc. v. MicroStrategy, Inc., 782 F.3d 671, 684 (Fed. Cir. 2015).

    Further, there is no requirement that the specification include working examples, or set

    forth “how or why the invention works.” Alcon Research Ltd. v. Barr Labs., Inc., 745

    F.3d 1180, 1189–90 (Fed. Cir. 2014). As with written description, the burden is with the

    challenger to show by clear and convincing evidence that the specification in its entirety

    is not enabling. Id.

                           b.      Respondents’ argument regarding “permanent
                                   positive charge”

           The asserted and DI claims recite CMP compositions having “permanent positive

    charge of at least [15 or 13] mV.” Respondents argue this range is invalid because it is

    “open-ended.” The ‘721 patent describes and enables this claimed range.

                                   i.     Whether the “permanent positive charge”
                                          limitation is sufficiently disclosed

           Possession of an open-ended range is achieved when there “is an inherent, albeit

    not precisely known, upper limit and the specification enables one of skill in the art to

    approach that limit.” Andersen Corp. v. Fiber Composites, LLC, 474 F.3d 1361, 1376

    (Fed. Cir. 2007) (quoting Scripps Clinic & Research Found. v. Genentech, Inc., 927 F.2d

    1565, 1572 (Fed. Cir. 1991)). In this investigation, there is no dispute that a POSA

    would have understood “permanent positive charge” to have an inherent upper limit. Dr.



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    Dauskardt testified that “in the area of these aqueous colloidal solutions containing

    particles, it would be very well understood that there is an upper limit [for permanent

    positive charge].” Tr. 628; see also id. at 750 (“[I]t would be well understood … that

    there are limits to the value that you would expect that anybody working in this field

    would know.”); CX-0229C (Dauskardt RWS) at Q/A 731, 749–50.

           Indeed, the only expert testimony offered by respondents on this issue comes

    from Dr. Klein, an expert in colloidal science who admits she is not an expert on the

    issues of zeta potential and permanent positive charge. Tr. 439 (“Q. And that’s because

    you’re not an expert on zeta potential, right? A. That’s correct.”); see also RX-1073C

    (Klein WS) at Q/A 117 (acknowledging that “zeta potential values are necessary

    elements of a ‘permanent positive charge’”). Respondents argue that “there is no basis

    for a POSA to have understood there to be an inherent limit of 50 mV for the PPC or zeta

    potential values.” See Resps. Br. at 109. Dr. Klein does not contest that a POSA would

    have understood permanent positive charge to be inherently limited. Rather, she only

    opines that a POSA would not have understood permanent positive charge “to be limited

    to about 50 mV.” See RX-1073C (Klein WS) at Q/A 137–38. Whether a POSA would

    have understood a precise value for an inherent upper limit is immaterial, as the law does

    not require a “precisely known” upper limit. Andersen Corp., 474 F.3d at 1376.

           Additionally, the ‘721 patent describes and conveys possession of compositions

    across the inherently limited permanent positive charge range. For example, the ‘721

    patent repeatedly describes the types of structures that a POSA would understand could

    achieve permanent positive charge—charged species inside the particle as well as surface

    treatments, which are components strongly associated (e.g., covalently bonded) with the

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    particle surface. See JX-0001 (‘721 Patent) at 11:6–10; CX-0229C (Dauskardt RWS) at

    Q/A 732, 740. All experts appear to agree internal chemical species and covalently

    bound species would provide permanent positive charge. See Tr. 456 (Dr. Klein

    testifying that aminosilane surface treatment “won’t wash off because it’s chemically

    bonded”), 541 (Dr. Raghavan testifying that “it is well known that when you have a

    covalent bond, it is not going to break. When you rinse with water, it is not going to

    come out”); 468, 470 (Dr. Klein agreeing that if there is “a nitrogen-containing catalyst

    that’s incorporated in the particle,” there would be “nothing to wash off” the particle

    during the three-step filtration process for measuring permanent positive charge), 762

    (Dr. Dauskardt testifying that “bound aminosilane, strongly associated with the surface”

    and “internally-incorporated nitrogen species” provide permanent positive charge); RX-

    1076C (Raghavan WS) at Q/A 588 (“Because their charge is based on internally

    incorporated nitrogen-containing catalyst … their charge would be ‘permanent.’”).

           Using these structures, the ‘721 patent also describes example polishing

    compositions, such as 10A, made with an internal chemical species and a surface bonded

    aminosilane in accordance with Example 13, and having a permanent positive charge of

    about 35–39 mV. See JX-0001 (‘721 Patent) at 26:61–28:50; CX-0229C (Dauskardt

    RWS) at Q/A 731, 742–45; CX-0229C (Dauskardt RWS) at Q/A 745; CX-0002C

    (Grumbine WS) at Q/A 39; CX-0227C (Grumbine RWS) at Q/A 30. Example 15 also

    conveys possession of compositions practicing the claimed permanent positive charge

    range. See, e.g., Klein Tr. 456 (Dr. Klein testifying about Example 15), Dauskardt Tr.

    630 (Dr. Dauskardt testifying that “we can certainly infer from other examples that they

    also would have had a permanent positive charge”).

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           Dr. Klein concedes that the ‘721 patent describes example compositions with

    permanent positive charge and structures a POSA would expect to provide permanent

    positive charge. See RX-1073C (Klein WS) at Q/A 125; Tr. 456. However, she opines

    that the compositions like 10A are not within the scope of any claims because they do not

    show possession of external aminosilane or internal EOPA. See RX-1073C (Klein WS)

    at Q/A 125. Dr. Klein’s opinion is inconsistent with the knowledge of a POSA.

    Aminosilane bonding with colloidal silica abrasive particles was a “[v]ery well

    understood” area and taught in Example 13. JX-0001 (‘721 Patent) at 30:30–32

    (“(APTMS) … was added to the mother liquid”); Dauskardt Tr. 643 (“[A]nybody reading

    this Example 13 would absolutely know … there would be aminosilane bound to the

    surface.”), 757; see also RX-1073C (Klein WS) at Q/A 217.

           Likewise, despite Dr. Klein’s opinion that “it is not necessarily the case that the

    amine catalyst, such as EOPA, would be incorporated” (id. at Q/A 179), the ‘721 patent

    describes numerous techniques for doing just that. See Tr. 643 (Dr. Dauskardt testifying

    that “clearly this is an example that intends to provide a recipe for making these particles

    with included EOPA”); JX-0001 (‘721 Patent) at 30:19–37, 20:32–38, 32:36–42

    (describing fabrication processes for making particles with internal EOPA); CX-0229C

    (Dauskardt RWS) at Q/A 742, 776; RX-1073C (Klein WS) at Q/A 273 (Example 15 is

    “disclosing some particles containing an internal EOPA species”).

                                   ii.    Whether the ‘721 patent enables the
                                          “permanent positive charge” element

           As noted above, an open-ended range is enabled when there “is an inherent, albeit

    not precisely known, upper limit and the specification enables one of skill in the art to


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    approach that limit” without undue experimentation. Andersen Corp., 474 F.3d at 1376.

    For many of the same reasons explained above with respect to written description, the

    ‘721 patent would have enabled a POSA to practice the claims with CMP compositions

    approaching the inherent upper limit for permanent positive charge. In addition to the

    disclosures noted above, the ‘721 patent discloses at least three methods of achieving

    desired levels of permanent positive charge, including by:

           (1) incorporating two or more positively charged species within the
           particles, JX-0001 (‘721 Patent) at 4:59–65 (“It will be understood that the
           colloidal silica abrasive particles may include two or more of the above
           described chemical species incorporated in the particles.”), 28:13–50
           (Example 10), 30:20–43 (Example 13);

           (2) using internally incorporated positively charged species and surface
           treatment in combination, JX-0001 (‘721 Patent) at 7:33–64 (describing
           “incorporating a positively charged chemical species into the abrasive
           particles and then further bonding (via surface treating) the same or a
           different chemical species to the particle surface”), 11:6–10 (“A
           permanent positive charge may further result from a covalent interaction
           between the particle and a positively charged species.”), 32:36–33:35
           (Example 15), and

           (3) controlling the amount of chemical species in the particles. JX-0001
           (‘721 Patent) at 20:48–21:31 (Example 2); see also CX-0229C (Dauskardt
           RWS) at Q/A 762–64.

           A POSA would have been able to formulate CMP compositions approaching the

    inherent upper limit for permanent positive charge with nothing more than routine

    experimentation in view of these disclosures. See CX-0229C (Dauskardt RWS) at Q/A

    731–40; see also Tr. 763 (“I could give this to a member of my lab and tell them to do it

    and I would have complete confidence that they would be able to do it.”).

           Dr. Klein admitted on cross examination that the ‘721 patent “describes using

    surface treatment in combination with low levels of internal nitrogen or internal charge to



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    achieve the desired levels of permanent positive charge.” Tr. 453. A POSA would have

    followed these disclosures to practice the full scope of the “permanent positive charge”

    elements without undue experimentation. See CX-0229C (Dauskardt RWS) at Q/A 757;

    see also id. at Q/A 762–64; CDX-0007C.021–22 (JX-0001).

           Finally, Dr. Klein cites CMC documents and opines they demonstrate the

    inventors faced “difficulty” in achieving permanent positive charges of greater than 50

    mV, leading to her conclusion that undue experimentation would be required to practice

    the full scope of the claims. See id. at Q/A 137, 144–147. However, as Dr. Klein

    acknowledged, the cited documents do not demonstrate that the inventors were trying to

    create compositions with permanent positive charge higher than 50 mV, or that the

    inventors would have faced difficulty doing so. Tr. 440 (“Q: Isn’t it possible that they

    weren’t trying to achieve permanent positive charge values of greater than 50 millivolts?

    A. That’s possible.”); CX-0229C (Dauskardt RWS) at Q/A 754–56. The documents

    merely demonstrate a well-known relationship between pH and zeta potential, which is

    disclosed in the ‘721 patent. See e.g., JX-0001 (‘721 Patent) at 10:47–54 (“The zeta

    potential is typically dependent on the pH of the aqueous medium.”); CX-0229C

    (Dauskardt RWS) at Q/A 754. They do not support Dr. Klein’s conclusion that the

    disclosures of the ‘721 patent are limited to the specific examples she identified. See CX-

    0229C (Dauskardt RWS) at Q/A 755.

                           c.      Respondents’ Section 112 arguments regarding
                                   the “chemical species” limitation

           The asserted and DI claims each recite “a chemical species incorporated in the

    colloidal silica abrasive particles internal to an outer surface thereof, wherein the


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    chemical species is a nitrogen containing compound or a phosphorus containing

    compound.” Independent claim 1 further recites that “the chemical species is not an

    aminosilane or a phosphonium silane.” The ‘721 patent fully describes and enables these

    limitations.

           Respondents’ argument that this limitation is not disclosed or enabled relies on

    respondents’ proposed claim construction, which erroneously imports a functional

    requirement into the claims. According to respondents, the genus of nitrogen-containing

    compounds and phosphorus-containing compounds is defined not by its chemical

    compositions, but by its function; according to respondents, only those internal species

    that alone “provide the claimed PPC” at the claimed levels qualify. See Resps. Br. at 97.

    Respondents frame the written description and enablement inquiry this way to invoke

    Federal Circuit precedent from the pharmaceutical industry, where patent claims

    frequently encompass a genus of compounds defined and claimed based on their ability

    to achieve a desired therapeutic effect. See, e.g., Idenix Pharm. LLC v. Gilead Scis. Inc.,

    941 F.3d 1149, 1155 (Fed. Cir. 2019), cert. denied sub nom. Idenix Pharm. v. Gilead

    Scis., Inc., No. 20-380, 2021 WL 161021 (U.S. Jan. 19, 2021) (analyzing claims directed

    to “some set of compounds that are effective for treatment of HCV”); AbbVie

    Deutschland GmbH & Co., KG v. Janssen Biotech, Inc., 759 F.3d 1285, 1292 (Fed. Cir.

    2014) (“The claims … at issue in these appeals define the claimed antibodies by their

    function … rather than by structure.”); Ariad, 598 F.3d at 1341 (“The claims are thus

    genus claims, encompassing the use of all substances that achieve the desired result.”);

    AbbVie, 759 F.3d at 1301 (“[f]unctionally defined genus claims can be inherently

    vulnerable to invalidity challenge for lack of written description support”).

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           Respondents rely on the incorrect premise that the asserted and DI claims

    represent a functionally defined genus. See, e.g., Resps. Br. at 87, 105 (citing Idenix), 88,

    108 (citing AbbVie). When properly construed, the asserted and DI claims define the

    claimed compositions in terms of their structure, not their functionality. Whether or not a

    colloidal silica abrasive particle includes internal nitrogen or phosphorous compounds is

    a structural property. Likewise, the zeta potential and permanent positive charge of a

    collection of particles in a CMP slurry is a physical property of the slurry. See, e.g., CX-

    0229C (Dauskardt RWS) at Q/A 821 (“Zeta potential is a standard parameter frequently

    measured in the CMP industry.”). As such “[t]he claims in this case, not involving

    functional claim language, do not present the fundamental difficulty presented by the

    claims in virtually all of the precedents on which Defendants rely.” GlaxoSmithKline,

    744 F.3d at 731.

                                   i.     Whether the “chemical species” limitation
                                          is sufficiently disclosed

           As required under the law, the ‘721 patent’s disclosure of the “chemical species”

    “details ‘relevant identifying characteristics’” such that members of the genus can be

    distinguished from compounds outside the genus. Pfizer Inc. v. Teva Pharm. USA, Inc.,

    555 F. App’x 961, 968 (Fed. Cir. 2014). Specifically, description of a genus “requires

    the disclosure of either a representative number of species falling within the scope of the

    genus or structural features common to the members of the genus so that one of skill in

    the art can ‘visualize or recognize’ the members of the genus.” Ariad, 598 F.3d at 1350.

    Importantly, “the amount of disclosure necessary to satisfy the written-description

    requirement ‘will necessarily vary depending on the context,’ considering such facts as


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    ‘the existing knowledge in the particular field’ … and ‘the predictability of the aspect at

    issue.’” Ajinomoto Co. v. Int’l Trade Comm’n, 932 F.3d 1342, 1359 (Fed. Cir. 2019),

    cert. denied sub nom. CJ CheilJedang Corp. v. Int’l Trade Comm’n, 141 S. Ct. 132, 207

    L. Ed. 2d 1078 (2020) (quoting Ariad, 598 F.3d at 1351).

           The ‘721 patent specification meets this standard at least because it provides

    extensive disclosure of nitrogen- and phosphorous-containing compounds suitable for use

    in the claimed invention. See, e.g., CDX-0007C.018 (CX-0229C (Dauskardt RWS) at

    Q/A 761; JX-0001 (‘721 Patent) at 3:23–4:44). In this regard, the ‘721 patent explicitly

    describes “relevant identifying characteristics” and “structural features” of nitrogen and

    phosphorus-containing compounds, as required by the Federal Circuit, including specific

    chemical formulas and names:

           When the chemical species is a phosphorus-containing compound it
           preferably includes a phosphine containing compound or phosphonium
           containing compound. An ammonium compound may include
           R1R2R3R4N+ and a phosphonium compound may include R1R2R3R4P3+,
           where R1, R2, R3, and R4 represent independently hydrogen, C1-C6 alkyl, a
           C7-C12 arylalkyl, or a C6-C10 aryl.

    JX-0001 (‘721 Patent) at 3:27–36; Pfizer, 555 F. App’x at 968. A POSA would have

    understood claims 1 and 26 to impose “commonsense bounds” on the internal chemical

    species, consistent with these disclosures of positively charged species (R1R2R3R4N+ and

    R1R2R3R4P3+) able to be incorporated in known colloidal silica abrasive particles (as

    recited in the claims). See Dauskardt Tr. 631–632 (testifying with respect to the

    aminosilane recited in Example 13 that “[t]here would be absolute commonsense

    bounds” and that “you would use something that would be similar, that was similar to

    those described and disclosed”).


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           Moreover, as respondents’ expert Dr. Klein acknowledged during the evidentiary

    hearing, the ‘721 patent provides numerous working examples (including examples 2, 6,

    10, 13, and 15) demonstrating possession of CMP slurries with colloidal silica particles

    having various internal nitrogen containing compounds. See, e.g., Tr. 455 (testifying that

    Example 15 describes particles that “have internal EOPA”), 468 (testifying that Example

    2 describes “nitrogen-containing catalyst that’s incorporated in the particle”); RX-1073C

    (Klein WS) Q/A 174 (acknowledging that composition 10A is “described as having an

    internally incorporated nitrogen species, specifically an aminosilane, and a permanent

    positive charge”), 185 (“Example 6 shows TMAH containing particles”). Likewise, a

    POSA would understand that the disclosed phosphorus containing compounds would

    work as well. See CX-0229C (Dauskardt RWS) at Q/A 772 (the patent examples “further

    demonstrate the ‘721 patent’s teachings that…phosphorous containing species can be

    incorporate inside colloidal silica abrasive particles to achieve positive charge”); CX-

    0227C (Grumbine RWS) at Q/A 37 (“the same methodologies” to incorporate an internal

    chemical species “could be used for both nitrogen-and phosphorous-containing species”).

    In sum, a POSA would readily have understood the inventors to be in possession of the

    genus of nitrogen- or phosphorus-containing compounds to incorporate into colloidal

    silica particles as claimed.

           Further, the sufficiency of this disclosure of chemical species must be considered

    from the perspective of a POSA in light of the existing knowledge in the field and “the

    predictability of the aspect at issue.” See, e.g., Ariad, 598 F.3d at 1351. Respondents’

    experts testified that the Stober process that is used to make these particles was well

    understood and would have been expected to predictably incorporate nitrogen containing

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    species into the particles. See, e.g., Tr. 506 (Dr. Raghavan testifying that “skilled artisans

    would thus expect such Stober particles to incorporate some amount of the nitrogen-

    containing Stober catalyst based on the Stober reaction”); RX-1073C (Klein WS) at Q/A

    179 (“One of ordinary skill in the art would understand that the Stober process always

    results in a particle that contains nitrogen”); see also Dauskardt Tr. 631–632 (testifying

    with respect to the aminosilane recited in Example 13 that “[t]here would be absolute

    commonsense bounds” and that “you would use something that would be similar, that

    was similar to those described and disclosed”).

            In view of these undisputed disclosures, respondents’ argument that the ‘721

    patent does not “indicate which nitrogen or phosphorus containing species will provide a

    colloidal silica particle or a CMP slurry with the claimed PPC of at least 13 or 15 mV” is

    misguided. See Resps. Br. at 98. Respondents have not shown lack of written

    description by clear and convincing evidence in view of this evidence. See Ajinomoto,

    932 F.3d at 1361 (rejecting written description challenge where “a skilled artisan could

    make relatively predictable changes” to practice the claimed invention); Hologic, Inc. v.

    Smith & Nephew, Inc., 884 F.3d 1357, 1362 (Fed. Cir. 2018) (finding adequate written

    description of “light guide” genus based on disclosure of single “fibre optics bundle”

    species in predictable art).

            Respondents argue that “[t]he ‘721 patent specification fails to show that the

    alleged inventors enabled or possessed the full scope of claimed CMP slurries comprising

    colloidal silica abrasive particles having incorporated therein.” See Resps. Br. at 97; see

    also RX-1073C (Klein WS) at Q/A 198. This is not correct. While the testing the

    applicants disclosed in the working examples used nitrogen-containing compounds, the

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    specification elsewhere repeatedly discloses that phosphorus containing compounds

    could be used as well. See, e.g., JX-0001 (‘721 Patent) at 3:29–36, 3:44–52, see also id.

    at abstract, 2:21, 2:53, 14:60; CX-0229C (Dauskardt RWS) at Q/A 772 (the patent

    examples “further demonstrate the ‘721 patent’s teachings that…phosphorous containing

    species can be incorporate inside colloidal silica abrasive particles to achieve positive

    charge”), Q/A 789 (“the ‘721 Patent describes multiple particle fabrication techniques for

    incorporating chemical species and multiple phosphorous containing species suitable for

    use in the claimed invention, including from column 3, line 27 to column 4, line 37.... a

    person of ordinary skill would have expected phosphorous compounds with similar

    chemical structure to the exemplary nitrogen containing compounds in the ‘721 Patent’s

    working examples to produce colloidal silica particles with similar characteristics.”); CX-

    0227C (Grumbine RWS) at Q/A 37 (“the same methodologies” to incorporate an internal

    chemical species “could be used for both nitrogen-and phosphorous-containing species”);

    CX-0228C (Dysard RWS) at Q/A 32.

           In any event, it is well settled that working examples of every species within the

    claim scope are not required to satisfy the written description requirement. See, e.g.,

    Falko-Gunter, 448 F.3d at 1366 (“A claim will not be invalidated on section 112 grounds

    simply because the embodiments of the specification do not contain examples explicitly

    covering the full scope of the claim language.”) (internal quotations omitted); Engel

    Indus., Inc. v. Lockformer Co., 946 F.2d 1528, 1531 (Fed. Cir. 1991) (“A patentee is not

    required to disclose all possible examples and scenarios as such disclosure would be

    boundless, and the pitfalls endless.”).



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                                   ii.     Whether the “chemical species” limitation
                                           is enabled

           There is no dispute that the ‘721 patent enables the claimed structure of colloidal

    silica abrasive particles with an internal “chemical species” under the correct claim

    constructions, which as explained above, do not impose any unrecited functional

    requirements on the claims, and do not require that the claimed threshold permanent

    positive charge results solely from the internally incorporated chemical species (as

    opposed to a combination of internal charge and external surface treatment), and which

    (for claim 1) do not preclude the presence of aminosilane in the colloidal silica abrasive

    particles in addition to the recited chemical species.

           Where, as here, the claims recite a composition and do not require that the

    composition to be made according to a particular method, “the enablement requirement is

    met if the description enables any mode of making and using the invention.” Invitrogen,

    Inc., 429 F.3d at 1071; see also Johns Hopkins Univ. v. CellPro, Inc., 152 F.3d 1342,

    1361 (Fed. Cir. 1998) (“Hopkins is correct; CellPro can carry its burden only by showing

    that all of the disclosed alternative modes are insufficient to enable the claims.”).

    Respondents’ expert Dr. Klein admits that the ‘721 patent “not only describes multiple

    different nitrogen-containing compounds, it also describes multiple methods for

    incorporating those compounds into the particles.” Tr. 449, 450 (“[C]olumn 7 also

    specifically describes a process for incorporating an alkali catalyst such as

    ethylenediamine, TMAH, or EOPA into the colloidal silica particles.”), 450 (“[T]he

    patent describes a process for incorporating an aminosilane into the outer shell of a

    colloidal silica particle.”); see also RX-1073C (Klein WS) at Q/A 213 (recognizing that


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    the ‘721 patent discloses “incorporating positively charged species in the particle by co-

    growing the particle (as in Example 13)”). Another of respondents’ expert testified that a

    POSA would “expect” the Stober process could incorporate internal chemical species. Tr.

    506 (Raghavan testifying that “skilled artisans would thus expect such Stober particles to

    incorporate some amount of the nitrogen-containing Stober catalysts based on the Stober

    reaction”).

           In short, it is undisputed that a POSA would have been able to fabricate colloidal

    silica abrasive particles using a wide range of nitrogen and phosphorous containing

    species using the numerous fabrication methods in the ‘721 patent. See CX-0229C

    (Dauskardt RWS) at Q/A 761–62; Tr. 644 (Dr. Dauskardt testifying “I could give this to

    a member of my lab and say: Go make these particles with included EOPA, without

    showing them anything else”); see also JX-0025 (File History) at 34 (“Applicants provide

    multiple strategies for forming the colloidal silica abrasive particles having a positive

    charge by incorporating a chemical species internal to an outer surface thereof.”). This is

    more than sufficient to enable the claims. Invitrogen, Inc., 429 F.3d at 1071 (where

    claims do not require the composition to be made according to a particular method, “the

    enablement requirement is met if the description enables any mode of making and using

    the invention”); see also Johns Hopkins Univ. v. CellPro, Inc., 152 F.3d 1342, 1361 (Fed.

    Cir. 1998) (“Hopkins is correct; CellPro can carry its burden only by showing that all of

    the disclosed alternative modes are insufficient to enable the claims.”).

                                   iii.    The ‘721 patent specification

           There is no dispute that the ‘721 patent describes and enables colloidal silica

    abrasive particles having an internal chemical species that contributes to a permanent

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    positive charge of 13 or 15 mV. Regarding written description, the patent describes

    multiple methods of accomplishing this result. For example, Dr. Klein admits that the

    ‘721 patent “describes using surface treatment in combination with low levels of internal

    nitrogen or internal charge to achieve the desired levels of permanent positive charge.”

    Tr. 453, 454 (“[C]olloidal silica abrasive particles may advantageously achieve such high

    charge levels using very low surface treatment levels of the aminosilane.”). Indeed, the

    ‘721 patent makes this explicit:

             Positively charged colloidal silica abrasive particles may alternatively
             be obtained via incorporating a positively charged chemical species
             into the abrasive particles and then further bonding (via surface
             treating) the same or a different chemical species to the particle
             surface. … [T]he colloidal silica abrasive particles may include an
             internal chemical species including a nitrogen-containing alkali catalyst
             having from 1 to 6 carbon atoms (such as the aforementioned
             ethylenediamine, TMAH, or EOPA). The abrasive particles may then
             further be surface treated, for example, with an aminosilane compound.
    JX-0001 (‘721 Patent) at 7:33–50 (emphases added); see also id. at 11:6–10 (“A

    permanent positive charge may further result from a covalent interaction between the

    particle and a positively charged species.”); see also CX-0229C (Dauskardt RWS) at Q/A

    763; Staff Br. at 61 (“[The] specification makes clear that aminosilane is bonded with the

    outer surface of the colloidal silica abrasive particles as an adjunct or supplement to the

    internally-incorporated chemical species, so that the overall charge of the particles

    (reflecting the contributions of both the internally-incorporated chemical species and the

    surface-bonded aminosilane) exceeds the 13 mV ‘permanent positive charge’

    threshold.”). Dr. Klein also agreed that the ‘721 patent has working examples

    demonstrating how to practice the claims using this method. See Tr. 455–456 (testifying




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    that Example 15 describes particles with “internal EOPA and an external aminosilane

    surface treatment” and permanent positive charge greater than 15 mV).

           Regarding enablement, a POSA would have been able to use this expressly

    disclosed method—surface treatment in combination with low levels of internal

    nitrogen—to practice the asserted and DI claims with the claimed genus of nitrogen or

    phosphorus containing compounds, without undue experimentation. See Tr. 763 (“I

    could give this to a member of my lab and tell them to [create permanent covalent bonds

    with the aminosilane and the surface] and I would have complete confidence that they

    would be able to do it.”). Respondents’ experts do not persuasively dispute this point.

    See, e.g., Tr. 456 (Dr. Klein acknowledging that the aminosilane surface treatment

    described in Example 15 would be expected to provide permanent positive charge); RX-

    1073C (Klein WS) at Q/A 227 (acknowledging Example 13 provides “detail (e.g.,

    amounts of reagents, addition rates, temperature, total time, etc.)”). 44

           Respondents argument excludes any contribution of aminosilane surface

    treatment to the threshold permanent positive charge, and requires the permanent positive

    charge of at least 13 or 15 mV to result solely from the internal chemical species. See,

    e.g., Resps. Br. at 98-99; RX-1073C (Klein WS) at Q/A 162, 166, 168, 200.

           Yet, the ‘721 patent “has an incredibly detailed set of examples” and discloses

    multiple ways of achieving permanent positive charge solely from internal chemical

    species. See Dauskardt Tr. 625-626. For example, regarding claim 26, Dr. Klein admits


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      As explained in a later section of this ID, Staff’s argument that sample 10C shows that
    the invention did not work appears not to account for the fact that 10C was included as a
    control—to demonstrate what is not the invention. See Section IV.D.3.e.ii (The Staff’s
    Enablement Arguments), infra.

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    that the ‘721 patent describes particles “having an internally incorporated nitrogen

    species, specifically an aminosilane, and a permanent positive charge,” as demonstrated

    by example composition 10A (which has a permanent positive charge of greater than 30

    mV). See RX-1073C (Klein WS) Q/A 174; JX-0001 (‘721 Patent) at 28:35–50; CX-

    0229C (Dauskardt RWS) at Q/A 742–45, 776.

            There are also detailed instructions for fabricating the particles used in

    composition 10A, including specific temperatures, amounts of chemical species, timing,

    and sequence, which a POSA would have been able to follow to routinely prepare

    particles practicing at least claim 26, having aminosilane bonded with the external

    particle surface. See CX-0229C (Dauskardt RWS) at Q/A 761–62; CDX-0007C.019–20

    (JX-0001 (‘721 Patent)); RX-1073C (Klein WS) at Q/A 213 (recognizing that the ‘721

    patent discloses “incorporating positively charged species in the particle by co-growing

    the particle (as in Example 13)”), Q/A 179 (“One of ordinary skill in the art would

    understand that the Stober process always results in a particle that contains nitrogen.”),

    Q/A 227 (acknowledging Example 13 provides “detail (e.g., amounts of reagents,

    addition rates, temperature, total time, etc.)”). Thus, respondents cannot support their

    argument that claim 26 is invalid under Section 112, even under their improper reading of

    the claim. 45



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      The same disclosures also describe and enable claim 1 as properly construed to allow
    for aminosilane and other chemical species, as example 10A incorporates both EOPA and
    aminosilane. See CX-0229C (Dauskardt RWS) at Q/A 762; JX-0001 (‘721 Patent) at
    4:59–65 (“It will be understood that the colloidal silica abrasive particles may include
    two or more of the above described chemical species incorporated in the particles.”),
    30:19–37 (Example 13 - “(EOPA) was added to the mixture … and 16.3 grams of 3-
    aminopropyltrimethoxysilane (APTMS).”).

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           Additionally, the ‘721 patent also describes working examples, including

    Examples 2, 6, and 10 demonstrating compounds that provide levels of positive charge

    solely from internal chemical species (TMAH, EOPA, and aminosilane). See JX-0001

    (‘721 Patent) at 21:6–25 (showing measured zeta potentials between 8 to 18 mV for

    particles with internally incorporated EOPA and TMAH), 24:44–60 (showing measured

    zeta potential of up to 18 mV for particles with internally incorporated TMAH). A POSA

    would have been guided by the ‘721 patent to adjust the concentration of internal

    chemical species to achieve the claimed levels of permanent positive charge. See JX-

    0001 (‘721 Patent) at 21:6–25 (demonstrating how increasing chemical species

    concentration can increase zeta potential); CX-0229C (Dauskardt RWS) at Q/A 764, 780.

    These disclosures are more than sufficient. See, e.g., PPG Indus., 75 F.3d at 1564 (“[A]

    considerable amount of experimentation is permissible … the specification in question

    provides a reasonable amount of guidance with respect to the direction in which the

    experimentation should proceed.”); Invitrogen, 429 F.3d at 1071 (“[T]he enablement

    requirement is met if the description enables any mode of making and using the

    invention.”).

           Respondents’ expert Dr. Klein does not address these disclosures and instead

    misinterprets a narrow subset of the ‘721 patent’s many examples. For example, Dr.

    Klein places substantial emphasis on Example 2 to opine that “the fact that two of the

    three species in Example 2 do not provide a zeta potential of even 13 or 15 mV shows

    that the named inventors did not have possession of or had enabled the broad scope of

    incorporated chemical species” and renders the limitation unpredictable. See e.g., RX-

    1073C (Klein WS) at 185. That some compositions in Example 2 have zeta potential

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    below 13 mV does not imply unpredictability or a lack of possession. To the contrary,

    Example 2 demonstrates incorporation of three different nitrogen-containing species and

    particle structures that respondents’ expert acknowledged would be expected to provide

    permanent positive charge. See Tr. 452 (Dr. Klein testifying that compositions 2A and

    2B “have EOPA,” 2C and 2D have “incorporated” TMAH, and 2E and 2F “have internal

    ethylenediamine”), 469:24–470:19 (Dr. Klein acknowledging that the particles described

    in Example 2 have “nothing to wash off” in the filtration procedure for measuring

    permanent positive charge).

           In any event, Dr. Klein’s opinion concerning whether Example 2 uses particles

    with internal nitrogen is irrelevant, as she acknowledges that the ‘721 patent “describes

    multiple methods for incorporating [nitrogen-containing] compounds into the particles.”

    Tr. 449; see also Invitrogen, 429 F.3d at 1071 (“[T]he enablement requirement is met if

    the description enables any mode of making and using the invention.”). On this point Dr.

    Klein is correct. See, e.g., JX-0001 (‘721 Patent) at 5:42–44 (“[C]olloidal silica abrasive

    particles having an internal chemical species may be fabricated, for example, via ….”),

    28:13–50 (Example 10), 30:20–43 (Example 13); CX-0229C (Dauskardt RWS) at Q/A

    762–64.

                                  iv.     Respondents’ cited cases

           Finally, respondents rely on a series of pharmaceutical cases to support their

    written description and enablement arguments, including Wyeth & Cordis Corp. v. Abbott

    Labs., 720 F.3d 1380 (Fed. Cir. 2013), and Idenix Pharm. LLC v. Gilead Scis. Inc., 941

    F.3d 1149 (Fed. Cir. 2019). The claims in those cases are materially different from the

    claims here. There, the claims recited a functionally defined genus encompassing “an

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    effective amount” of a compound selected from a large genus of candidate compounds

    for treating or preventing diseases. Wyeth, 720 F.3d at 1385 (claims require a POSA to

    assess each compound for “immunosuppressive and antirestenotic effects”); Idenix, 941

    F.3d at 1155 (“In combination with the requirement to administer an ‘effective amount,’

    this claim language ‘limits the scope of the claims to the use of some set of compounds

    that are effective for treatment of HCV.’”). In these cases, it was determined that the

    patents did not have enough disclosure of how to select and identify such an “effective

    amount” from among the compounds or how to determine an “effective” amount beyond

    known methods of synthesis and screening. Wyeth, 720 F.3d at 1382, 1385–86; Idenix,

    941 F.3d at 1155–57.

           Unlike the claims in Wyeth and Idenix, the claims here are not defined by a

    function to be achieved, but rather solely by their physical properties. The Federal

    Circuit has already differentiated between the type of claims in the ‘721 patent and the

    type in Idenix and Wyeth. For example, in GlaxoSmithKline LLC v. Banner Pharmacaps,

    Inc., 744 F.3d 725 (Fed. Cir. 2014), the Court considered claims to a chemical compound

    and its “solvates.” Id. at 727. In assessing the written description requirement, the Court

    found that “the claim term ‘solvate’ refers to a molecular complex defined by structure

    and by the process of creating it, not by what the molecule does.” Id. at 729. The Court

    held that the patent’s description of a solvate as a “complex of dutasteride molecules and

    solvent molecules” that is “created by…dissolving dutasteride (the solute) in a solvent”

    provided a sufficient “description by structure and process of creation that matches the

    claimed term.” Id. at 730. Accordingly, the Court held “[t]he claims in this case, not

    involving functional claim language, do not present the fundamental difficulty presented

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    by the claims in virtually all of the precedents on which Defendants rely” in which

    functional claiming recites “the problem to be solved…while claiming all solutions to it.”

    Id. at 731 (Fed. Cir. 2014).

           GlaxoSmithKline is instructive here. As in that case, the claimed “colloidal silica

    abrasive particles” incorporating a chemical species internal to the outer surface of the

    particles is purely structural. As explained above, there is no dispute that the ‘721 patent

    describes several ways of making that structure. See Tr. 449 (Dr. Klein testifying that the

    ‘721 patent “describes multiple methods for incorporating [nitrogen-containing]

    compounds into the particles”); CX-0229C (Dauskardt RWS) Q/A 761. This is not a

    case of functional claiming that “cover[s] any compound later actually invented and

    determined to fall within the claim’s functional boundaries.” GlaxoSmithKline, 744 F.3d

    at 731. “The claim term and its corresponding description, however broad, identify

    certain structures produced by certain processes. [The Federal Circuit has] not required

    more for an adequate written description that matches claim scope.” Id.

           Even under respondents’ interpretation of the “chemical species” limitation as

    requiring the function of contributing to the permanent positive charge of the particles,

    the claims and disclosures of the ‘721 patent are materially different from those in Wyeth

    and Idenix. 46 As the Federal Circuit recently explained, “[w]hat emerges from our case


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       AbbVie, 759 F.3d, also addresses different facts. In that case, “[t]he asserted claims
    attempt to claim every fully human IL–12 antibody that would achieve a desired result,
    i.e., high binding affinity and neutralizing activity, and cover an antibody as different as
    Stelara, whereas the patents do not describe representative examples to support the full
    scope of the claims.” Id. at 1301. The Court focused on the functional requirements of
    the claims, stating “[f]unctionally defined genus claims can be inherently vulnerable to
    invalidity challenge for lack of written description support, especially in technology
    fields that are highly unpredictable, where it is difficult to establish a correlation between
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    law is that the enablement inquiry for claims that include functional requirements can be

    particularly focused on the breadth of those requirements.” Amgen, 2020-1074, 2021 WL

    501114, at *4. In Amgen, each claim was “defined, not by structure, but by meeting

    functional limitations,” and the claims were “far broader in functional diversity than the

    disclosed examples.” Id. at *5. For example, the claims at issue recited antibodies that

    bind to one or more of fifteen amino acids (i.e., “residues”), and none of the examples in

    the specification could bind to three of the claimed residues. Id. at *1, *5 n.1. The

    Federal Circuit affirmed the district court’s enablement finding given “the use of broad

    functional claim limitations[, which] raises the bar for enablement.” Id. Wyeth and

    Idenix, like Amgen, involved claims with extensive functional breadth, encompassing

    compounds that achieved desired therapeutic effects in distinct ways. See id.; Wyeth, 720

    F.3d at 1385 (“[E]ven minor alterations to the sirolimus molecule could impact its

    immunosuppressive and antirestenotic properties.”); Idenix, 941 F.3d at 1158–59

    (rejecting patentee’s “attempts to narrow the claim to only those nucleosides that would

    inhibit the NS5B polymerase”).

           Yet, even under respondents’ interpretation, the function at issue is only that a

    positively charged chemical species will increase the positive charge of a particle. A

    POSA reading the ‘721 patent would have clearly recognized that the inventors had

    possession of and enabled the full scope of this function. See CX-0229C (Dauskardt

    RWS) at Q/A 740 (“[O]ne of skill in the art would have understood that increasing the


    structure and function for the whole genus or to predict what would be covered by the
    functionally claimed genus. Id. As explained above, there is a clear correlation between
    structure and the level of permanent positive charge, as described in the specification, as
    well as a routine method of testing it.

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    concentration of the positively charged species in the particle could lead to increased zeta

    potential and permanent positive charge.”), 783 (“[A POSA] would be able to fabricate

    particles incorporating a wide range of positively charged nitrogen or phosphorous

    containing chemical species using the methods described in the ‘721 Patent.”). Unlike

    Idenix, Wyeth and Amgen, where the accused articles were not described in the patent, the

    Accused and DI Products have an internal chemical species that does contribute to

    permanent positive charge, in structures that are nearly identical to those described in the

    patent. See, e.g., CX-0229C (Dauskardt RWS) at Q/A 728; CDX-0007C.015 (JX-0001

    (‘721 Patent); JX-0213C (Optiplane)); see also Wyeth, 720 F.3d at 1385 (specification

    disclosed functional effect of a single species).

                                   v.      Dependent claims 11, 13, 14, 35 and 36

           Respondents do not raise any of the written description or enablement arguments

    discussed above beyond those raised for the independent claims. In fact, claims 14 and

    36 further limit the claims to exactly three chemical species disclosed repeatedly in the

    patent specification—TMAH, EOPA, or ethylenediamine—that render respondents’

    written description and enablement arguments impossible to maintain against those

    claims. These three chemical species are each “amine compound[s]” as recited in claim

    11, and each of which include “from 1 to 6 carbon atoms” as recited in dependent claims

    13 and 35. Thus, claims 11, 13, 14 and 35 also have additional specific claim scope that

    respondents’ written description and enablement arguments cannot possibly reach.

           In this regard, as respondents’ expert Dr. Klein acknowledges, TMAH, EOPA,

    and ethylenediamine are described “as a source of internal nitrogen … [i]n a number of

    places throughout the patent.” Tr. 448. Dr. Klein also acknowledged that the ‘721 patent

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    “specifically describes a process for incorporating an alkali catalyst such as

    ethylenediamine, TMAH, or EOPA into the colloidal silica particles.” Tr. 450; see also

    RX-1073C (Klein WS) Q/A 70. As explained above, Dr. Klein acknowledges that

    Example 2 of the ‘721 patent describes working embodiments incorporating TMAH,

    EOPA, and ethylenediamine, respectively. See Tr. 452 (Dr. Klein testifying that

    compositions 2A and 2B “have EOPA,” 2C and 2D have “incorporated” TMAH, and 2E

    and 2F “have internal ethylenediamine”). Dr. Klein also acknowledged that the particles

    in Example 2 have a structure that would be expected to provide permanent positive

    charge. See Tr. 469–470 (testifying that the particles described in Example 2 have

    “nothing to wash off” when subjected to the three-step filtration process of the ‘721

    patent used to determine permanent positive charge).

           Dr. Klein testified that her enablement and written description positions are based

    on the fact that two of the species—EOPA and ethylenediamine—”don’t have enough

    charge to satisfy the threshold in the claim.” See Tr. 452–453. This position is based

    solely on respondents’ incorrect claim construction requiring that all of the permanent

    positive charge come from inside the particle. As Dr. Klein acknowledged, “the patent

    specification explicitly describes embodiments that have a low level of internal chemical

    species … [and] using surface treatment in combination with low levels of internal

    nitrogen or internal charge to achieve the desired levels of permanent positive charge,”

    Tr. 453:1–25 (describing JX-0001 (‘721 Patent) at 7:44–64):

           For example, in one embodiment the colloidal silica abrasive particles
           may include an internal chemical species including a nitrogen-containing
           alkali catalyst having from 1 to 6 carbon atoms (such as the
           aforementioned ethylenediamine, TMAH, or EOPA). . . . In embodiments
           in which the colloidal silica abrasive particles include an internal nitrogen-

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           containing alkali catalyst having from 1 to 6 carbon atoms and are further
           surface treated with an aminosilane compound, the colloidal silica
           abrasive particles may include a low level of the internal chemical species,
           for example, less than 0.20 mmol/g of nitrogen. In such embodiments the
           zeta potential of the particles prior to the surface treatment may be less
           than 15 mV (e.g., less than 13 mV or less than 10 mV) at a pH of 4.

    JX-0001 (‘721 Patent) at 7:44–64; see also Tr. 454 (Dr. Klein testifying “that’s talking

    about embodiments having one of those three internal nitrogen species and having some

    external surface treatment of aminosilane.”).

           Moreover, Dr. Klein acknowledged that Example 15 describes embodiments

    having internal EOPA and external aminosilane treatment which would be expected to

    provide permanent positive charge above 13 or 15 mV. See Tr. 455 (“[P]olishing

    compositions 15D, 15E, 15F, and 15G … all have internal EOPA and an external

    aminosilane surface treatment.”), 456 (“[T]hose zeta potential values would not decrease

    significantly if you were to put them through that washing step.”). The aminosilane

    surface treatments described throughout the ‘721 patent and demonstrated in Example 15

    could be “used on particles with all three species described in claims 14 and 36.” Tr.

    764. Indeed, Dr. Klein did not consider Example 15 in forming her opinions on written

    description and enablement of claims 14 and 36. See Tr. 470–471 (acknowledging lack

    of consideration of Example 15 in Dr. Klein’s single witness statement Q/A addressing

    written description and enablement of claims 14 and 36).

           Even under respondents’ incorrect claim construction, the ‘721 patent discloses

    that TMAH, EOPA, or ethylenediamine could be incorporated internally, and that the

    amounts of TMAH, EOPA, or ethylenediamine could be increased to achieve desired

    levels of permanent positive charge. See CX-0229C (Dauskardt RWS) at Q/A 762–64.


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    Dr. Klein does not materially dispute these disclosures, and respondents have not shown

    a lack of written description and enablement by clear and convincing evidence.

                           d.     Respondents’ argument regarding the
                                  “aminosilane” element of Claim 26

           Claim 26 recites “wherein an aminosilane compound is bonded with the outer

    surface of the colloidal silica abrasive particles.” Respondents argue that “[r]egardless of

    the construction, the ‘aminosilane’ limitation does not find 112 support in the ‘721

    patent.” See Resps. Br. at 111. Respondents’ own expert, however, disagrees. Dr.

    Raghavan testified that “the art taught Skilled Artisans to make and use colloidal silica

    abrasive particles having an aminosilane compound is [sic] bonded with an outer surface

    of the colloidal silica abrasive particles.” See RX-1076C (Raghavan WS) at Q/A 546.

    Respondents’ own expert testimony undermines respondents’ arguments.

                                  i.      Whether the “aminosilane” element is
                                          sufficiently disclosed

           The ‘721 patent provides extensive disclosure of an aminosilane compound

    bonded with the outer surface of the colloidal silica abrasive particles as in claim 26. For

    example, the ‘721 patent describes how “permanent positive charge may further result

    from a covalent interaction between the particle and a positively charged species.” See

    JX-0001 (‘721 Patent) at 11:8–13; see also CX-0229C (Dauskardt RWS) at Q/A 799.

    The ‘721 patent also describes numerous “suitable aminosilanes,” JX-0001 (‘721 Patent)

    at 4:11–44; CX-0229C (Dauskardt RWS) at Q/A 806, and a POSA would have

    understood which aminosilanes could be used to bond with silica particles. See Tr. 756–

    757 (testifying that “it would certainly be a limited scope of aminosilanes that would be



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    chosen” and that “one of ordinary skill in the art have understood that at the time of this

    patent”).

           Moreover, there is no dispute that aminosilane chemistry was well understood in

    the art. See Tr. 757 (testifying that the area of aminosilane bonding was “very well

    understood”); RX-1073C (Klein WS) at Q/A 217 (describing “well-known condensation

    reaction of an Si-hydroxy and/or Si-alkoxy group with the hydroxy group on the surface

    of the colloidal silica.”); see also CX-0229C (Dauskardt RWS) at Q/A 806; see also CX-

    0229C (Dauskardt RWS) at Q/A799- 800 (explaining various examples in the ‘721 patent

    that incorporated aminosilane as in claim 26).

           Additionally, there is no dispute that Example 15 provides a working example of

    CMP compositions with aminosilane bonded with the outer surface of the colloidal silica

    abrasive particles. See Tr. 456 (“[T]he aminosilane surface treatment on those particles is

    chemically bonded); CX-0229C (Dauskardt RWS) Q/A 800. Example 15 also

    demonstrates the inventors were in possession of dependent claim 37, which recites that

    “the aminosilane compound is bonded with less than 4% of silanol groups on the outer

    surface of the colloidal silica particles.” See CX-0229C (Dauskardt RWS) at Q/A 807.

    For example, the ‘721 patent describes compositions 15D–G with four different surface

    treatment levels: 1%, 1.5%, 2%, and 4%. JX-0001 (‘721 Patent) at 32:65–66, 33:28–31

    (Table 15A). Additionally, a POSA would have been able to determine aminosilane

    surface coverage of colloidal silica particles fabricated according to Example 13 with

    reasonable certainty and would have understood Example 13 to support this claim. See

    CX-0229C (Dauskardt RWS) at Q/A 807.



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           Nonetheless, despite their own experts acknowledging that bonding aminosilane

    with colloidal silica abrasive particles was known in the art (RX-1073C (Klein WS) at

    Q/A 217), respondents argue that the terms “aminosilane” and “phosphonium silane”

    encompass “compounds having Si substituted with groups such as alkyls or aryls” and

    that the ‘721 patent does not convey possession of bonding these particular types of

    aminosilanes to silica particles. See Resps. Br. at 112. However, respondents have not

    provided evidence that a POSA would actually have considered trying to bond such

    aminosilanes with colloidal silica particles. See Application of Smythe, 480 F.2d at 1385

    (reversing invalidity finding based on examples that “would be predictably inoperative in

    the invention and thus would never be selected by one skilled in the art”). As explained

    above, the ‘721 patent describes what the suitable aminosilane compounds are. See CX-

    0229C Q/A 806 (“While alkoxy silane may be the most common type of organosilane

    compounds, a person of ordinary skill in the art certainly would have been aware of other

    organosilane compounds with hydrolysable group that can also provide the same

    function. Afterall, silane chemistry is well understood in the art.”). Given the well

    understood nature of bonding aminosilane with silica particles, a POSA would have

    known that some aminosilanes have “features that just would not be – would not be

    appropriate.” See Tr. 756–757; CX-0229C (Dauskardt RWS) at Q/A 806.

                                   ii.     Whether the ‘721 Patent enables the
                                           “aminosilane” element

           There is no dispute that the ‘721 patent enables bonding aminosilane to the outer

    surface of colloidal silica abrasive particles, as both parties’ experts agree that performing

    such bonding was well understood at the time of the ‘721 patent. See Dauskardt Tr. 757


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    (testifying that the area of aminosilane bonding was “very well understood”); RX-1073C

    (Klein WS) at Q/A 217 (describing “well-known condensation reaction of an Si-hydroxy

    and/or Si-alkoxy group with the hydroxy group on the surface of the colloidal silica.”);

    see also CX-0229C (Dauskardt RWS) at Q/A 806. Rather, respondents argue that the

    aminosilane elements are not enabled “to the extent construed to encompass slurries

    comprising                                                     ” See RX-1073C (Klein

    WS) at Q/A 213.

           According to Dr. Klein, the ‘721 patent does not provide sufficient “direction or

    guidance or working examples to enable making the claimed colloidal silica particles,

    having both internal and external aminosilane                              ].” Id. at Q/A 215.

    Dr. Klein is incorrect. For example, Example 13 and composition 10A provide detailed

    guidance for practicing the claims using particles with both internal and external

    aminosilane. See Dauskardt Tr. 644 (“I could give this to a member of my lab and say:

    Go make these particles with included EOPA, without showing them anything else”); JX-

    0001 (‘721 Patent) at 28:13–50 (Example 10), 30:20–43 (Example 13), 4:59–65 (“It will

    be understood that the colloidal silica abrasive particles may include two or more of the

    above described chemical species incorporated in the particles.”); CX-0229C (Dauskardt

    RWS) at Q/A 742–45, 762, 776. Moreover, as Dr. Grumbine testified,

                                                      described in Example 13. See CX-

    0006C (Dauskardt WS) at Q/A 537–44; CX-0227C (Grumbine RWS) Q/A 30.

           Further, respondents’ arguments are irrelevant because claim 26 does not require

    colloidal silica particles having both internal and external aminosilane

        . Claim 26 is met with any internal nitrogen or phosphorous containing compound

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    combined with surface bonded aminosilane. JX-0001 (‘721 Patent) at 41:49–62. As

    explained above, Dr. Klein admits that the ‘721 patent describes methods for fabricating

    particles incorporating internal nitrogen containing compounds, including EOPA,

                                                         . See e.g., Tr. 449–450 (Dr. Klein

    testifying that the ‘721 patent specifically describes a process for incorporating an alkali

    catalyst such as … EOPA).

           It is also not disputed that the ‘721 patent provides guidance and working

    examples using surface bonded aminosilane to achieve desired levels of permanent

    positive charge. See e.g., Tr. 456 (acknowledging that the aminosilane surface treatment

    described in Example 15 would be expected to provide permanent positive charge); 763

    (Dauskardt testifying a POSA could easily replicate examples); JX-0001 (‘721 Patent) at

    4:11–44, 7:33–37, 11:8–14, 11:45–48, 18:23–27, 28:12–53 (Example 10), 32:36–33:35

    (Example 15); CX-0229C (Dauskardt RWS) at Q/A 799–800, 806. Indeed, even

    disregarding the ‘721 patent’s clear disclosures regarding the combination of internal and

    external aminosilane, the patent describes multiple methods for fabricating particles that

    practice claim 26. See Invitrogen, 429 F.3d at 1071 (“[T]he enablement requirement is

    met if the description enables any mode of making and using the invention.”); McRO,

    959 F.3d at 1100 (“Section 112 requires enablement of ‘only the claimed invention’”);

    Vasudevan, 782 F.3d at 684 (“Title 35 does not require that a patent disclosure enable

    one of ordinary skill in the art to make and use a perfected, commercially viable

    embodiment.”).

           For at least the reasons explained above with regard to claim 26, the ‘721 patent

    also fully enables dependent claim 37, which depends directly from claim 26 and adds

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    the limitation that “the aminosilane compound is bonded with less than 4% of silanol

    groups on the outer surface of the colloidal silica particles.” See CX-0229C (Dauskardt

    RWS) at Q/A 807. The additional limitation of claim 37 is also enabled by the ‘721

    patent specification, which describes preparing surface treated colloidal silica particles

    “by adding varying amounts of 1% APTMS to water [wherein] the amount of APTMS

    was calculated as a percentage of the number of silanols on the surface of 525 g of the

    precursor particle (105 g SiO2, 110 m2/g BET surface area), assuming 4.5 SiOH/nm2.”

    JX-0001 (‘721 Patent) at 32:57–65; see also CX-0229C (Dauskardt RWS) at Q/A 807.

           In view of the above a POSA would have been able to practice the “aminosilane”

    limitation in every claim in which it appears without undue experimentation.

           Accordingly, respondents have not shown a lack of enablement by clear and

    convincing evidence.

                           e.     The Staff’s Section 112 Arguments Under the
                                  Preamble

           The Staff’s arguments under Section 112 differ from respondents’ arguments, and

    flow directly from the Staff’s construction of the claim preamble, addressed in the claim

    construction section of this ID. See Section IV.A.4 (“A chemical mechanical polishing

    composition comprising”), supra.

                                  i.      The Staff’s Written Description
                                          Arguments

           The Full Range of “Chemical Species” - Claims 1 and 26

           The Staff concludes that the “chemical species” limitation lacks adequate written

    description because the ‘721 patent allegedly does not describe the “full range” of

    chemical species that “achiev[es] the claimed permanent positive charge values and/or
                                                257
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    CMP performance.” See Staff Br. at 102. The core of the Staff’s argument is that the

    ‘721 patent does not indicate a “clear pattern correlating” the level of internal chemical

    species to the level of “zeta potential” of the particle or the level of “removal rate” of the

    resulting CMP slurry. See Staff Br. at 104. This argument is not supported.

           First, the Staff’s arguments distance the written description inquiry from the

    claims. The Staff’s “dual functional requirements” are not limitations in claims 1 or 26.

    Nor are the concepts of “CMP performance,” “level[s]” of internal chemical species,

    “removal rate,” or their alleged “correlat[ions].” Moreover, the claimed “permanent

    positive charge” is no more a functional requirement than weight, length, thickness, or

    any other property of a material. See Section IV.D.3.c (Respondents’ Section 112

    arguments regarding the “chemical species” limitation), supra. In short, the Staff argues

    that a written description should detail descriptions of unclaimed “levels” of chemical

    species, unnamed additives, removal rates, and performance that would be “desired” in

    various polishing applications. See Staff Br. at 103. None of this is a requirement of the

    claim, and therefore not required by Section 112. Amgen, 314 F.3d at 1333 (“Under our

    precedent the patentee need only describe the invention as claimed….”).

           Second, under the Staff’s interpretation of the claims, the evidence shows that any

    incorporation of internal “chemical species” has a predictable correlation to increased

    zeta potential and CMP performance. This is disclosed in the ‘721 patent (see JX-0001

    (‘721 Patent) at 11:6–8 (“A permanent positive charge may be the result of incorporating

    the positive charged species in the particle.”)) and by both private parties’ technical

    experts. For example, respondents’ expert Dr. Raghavan opines that a POSA would

    recognize that internal chemical species “have positive zeta potentials known to be useful

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    for CMP applications.” RX-1076C (Raghavan WS) at Q/A 545; see also id. at Q/A 562

    (summarizing the benefits of “[h]igher zeta potential” and concluding “[i]n view of at

    least these teachings, a POSA would have been motivated, with a reasonable expectation

    of success, to undertake experiments and/or otherwise determine the optimum or

    workable nitrogen content of a colloidal silica abrasive particle…”). CMC’s expert Dr.

    Dauskardt explained that the same correlation is reflected in Example 2 of the ‘721

    patent—which “was really to show that the inventors were able to put nitrogen into the

    particles and that that correlated with higher removal rates.” See Dauskardt Tr. 727, 761

    (even “low level” of chemical species leads to a zeta potential of “5 or 10” mV).

           In this regard, the Staff lacks support for its argument that the ‘721 patent does

    not describe “significant portions” of the “structurally-diverse” and “broad genus” of

    internal chemical species. See Staff Br. at 109. The inventors identified suitable internal

    chemical species by common chemical formulas and well-known chemical names,

    including “amine containing compound[s],” “ammonium containing compound[s],”

    “phosphine containing compound[s],” or “phosphonium containing compound[s].” See

    JX-0001 (‘721 Patent) at 3:23–37. A POSA would have recognized the essential

    structural features of those types of compounds, and would have understood the

    “common sense” bounds pointing to “something that would be similar, that was similar to

    those described and disclosed.” See Dauskardt Tr. 631–632 (discussing aminosilane

    chemical species in Example 13).

           Each of the disclosed species is structurally similar, having positive charge

    (positively charged chemical formulas) and the ability to incorporate internal to a

    colloidal silica abrasive particle, and thus increasing zeta potential. See JX-0001 (‘721

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    Patent) at 4:42–7:55 (describing several known methods that could be used to incorporate

    all of the described chemical species); CX-0229C (Dauskardt RWS) at Q/A 789

    (testifying that a POSA would have expected “compounds with similar chemical

    structure to the exemplary nitrogen containing compounds in the ‘721 Patent’s working

    examples to produce colloidal silica particles with similar characteristics”). Such

    relevant identifying characteristics provide sufficient written description to a POSA. See

    GlaxoSmithKline, 744 F.3d at 731 (“The claim term and its corresponding description,

    however broad, identify certain structures produced by certain processes. We have not

    required more for an adequate written description that matches claim scope.”).

           Third, the case law cited by the Staff highlights the sufficiency of the ‘721 patent

    disclosures. See Staff Br. at 109 (citing AbbVie, Synthes, and Boston Scientific). Those

    cases each involved accused products that fell within the scope of the asserted claims but

    were structurally different from anything disclosed in the patent, making it unclear

    whether the inventors possessed the invention reflected in the accused products. 47 See,


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       The Staff’s argument that “there is no legal basis for applying distinct legal standards
    to different statutory classes of patented subject matter” is not persuasive. See Staff Br.
    at 131. The Federal Circuit has recognized that functionally defined claims “pose
    high[er] hurdles in fulfilling the enablement requirement,” Amgen Inc. v. Sanofi,
    Aventisub LLC, No. 2020-1074, 2021 WL 501114, at *4 (Fed. Cir. Feb. 11, 2021), than
    structurally defined claims. GlaxoSmithKline, 744 F.3d at 731. The pharmaceutical
    cases cited by Staff involved claims with broad functional scope, which were invalidated
    on that basis. See Enzo Life Scis., Inc. v. Roche Molecular Sys., Inc., 928 F.3d 1340,
    1346 (Fed. Cir. 2019), cert. denied, 140 S. Ct. 2634, 206 L. Ed. 2d 513 (2020) (“[T]he
    asserted claims here require not just a particular structure, but a particular functionality”);
    Promega Corp. v. Life Techs. Corp., 773 F.3d 1338, 1343 (Fed. Cir. 2014) (finding claim
    reciting “loci which can be co-amplified” non-enabled where “[t]here [was] no genuine
    dispute that identifying STR loci multiplexes that will successfully co-amplify is a
    complex and unpredictable challenge”); In re Vaeck, 947 F.2d 488, 490, 95 (Fed. Cir.
    1991) (finding claims to a “gene capable of being expressed in Cyanobacteria cells” non-
    enabled); In re Sichert, 566 F.2d 1154, 1162 (C.C.P.A. 1977) (finding claims non-
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    e.g., AbbVie, 759 F.3d at 1299–1301 (finding that the accused product fell within scope

    of functional claims but was not disclosed in specification and patent holder’s expert

    conceded that the patents “do not disclose structural features common to the members of

    the claimed genus”); Synthes USA, LLC v. Spinal Kinetics, Inc., 734 F.3d 1332, 1342–43

    (Fed. Cir. 2013) (finding that accused spinal prosthetic product was structurally different

    from any of the configurations disclosed in the specification); Boston Scientific Corp. v.

    Johnson & Johnson, 647 F.3d 1353, 1363–1364 (Fed. Cir. 2011) (claim covered species

    used in the accused product but specification contained “virtually no information” about

    that species and contained no “structure, formula, [or] chemical name” describing the

    genus). 48

            Those issues do not apply here. Respondents’ Accused Products use the same

    internal chemical species (EOPA) described in multiple examples of the ‘721 patent, and

    are coupled with aminosilane surface treatment—again, just as in the patent examples.



    enabled where “there [was] no evidence showing that one skilled in the art would know
    what ingredients … would favorably affect cellular respiration.”).
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       The Staff’s brief cites other cases. See, e.g., Staff Br. at 98-101 (table of cases). These
    cases are distinguishable for the same reasons. See, e.g., Idenix, 941 F.3d at 1155 (claims
    directed to method for treatment of hepatitis C covered the accused product, even though
    that structure was not disclosed or enabled in the specification); Wyeth, 720 F.3d at 1383
    (claims directed to method for treating restenosis covered accused product, even though
    structure was not disclosed or enabled by the specification); Centocor Ortho Biotech v.
    Abbott Labs., 636 F.3d 1341, 1349–50 (Fed. Cir. 2011) (accused product was “fully
    human antibody” but the specification contained very little description of such an
    antibody); Novozymes A/S v. DuPont Nutrition Biosciences APS, 723 F.3d 1336, 1341
    (Fed. Cir. 2013) (after learning of accused product, patentee filed continuation
    application with claims directed specifically to it, but specification “never presented [the
    claimed sequence] in any particular embodiment and did not highlight the [claimed
    sequence] among the other disclosed options”); Promega, 773 F.3d at 1348–49 (patentee
    argued for purposes of infringement that “any and all co-amplifying loci combinations …
    are encompassed by the claims …”).

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    See CX-0229C (Dauskardt RWS) at Q/A 728 (Examples 2, 13, and 15 have the same

    chemical species as the Accused Products and examples 13 and 15 have aminosilane

    surface treatment). Indeed, the Staff did not present evidence of any actual composition

    with a structurally distinct chemical species that falls within the claim but is not described

    in the ‘721 patent, which would address the core concern of the written description

    requirement. Amgen, 314 F.3d at 1330 (“The purpose of the written description

    requirement is to prevent an applicant from later asserting that he invented that which he

    did not”).

           The only species the Staff questions are those containing phosphorous because

    they are not disclosed in the working examples. See Staff Br. at 126. The only evidence

    on this point shows that phosphorous species would work because they have common

    structural features with those species used in the examples, including positive charge and

    the ability to incorporate in the claimed particles. See CX-0229C (Dauskardt RWS) at

    Q/A 772 (the patent examples “further demonstrate the ‘721 patent’s teachings

    that…phosphorous containing species can be incorporate inside colloidal silica abrasive

    particles to achieve positive charge”); CX-0227C (Grumbine RWS) at Q/A 37 (“the same

    methodologies” to incorporate an internal chemical species “could be used for both

    nitrogen-and phosphorous-containing species”); see also Falko-Gunter, 448 F.3d 1357,

    1366 (Fed. Cir. 2006) (“[I]t is clear that the absence of examples involving poxviruses in

    the Inglis applications does not render the written description inadequate.”).

           Finally, the Staff’s argument that the ‘721 patent lacks a “clear correlation

    between internal nitrogen levels, zeta potential, and CMP removal rates” (Staff Br. at

    106, 109) appears to be based on a misunderstanding of the patent examples. With

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    respect to Example 2, the Staff compares nitrogen levels, zeta potential, and CMP

    removal rates across different slurries with different formulations. See Dauskardt Tr. 729

    (“And, again, this is a very different slurry. It’s high concentration of colloidal

    silica…different conductivity. Much bigger particle size, almost three times the size. So

    it’s just a very different slurry.”).

            The Staff also argues that the “highest” and “lowest” internal nitrogen levels do

    not track with higher and lower zeta potentials. See Staff Br. at 105. The Staff again

    cites numbers across different compositions with different internal chemical species. Id.

    (comparing composition 2B, made from EOPA, and 2C, made from TMAH). Yet, when

    addressing compositions made with the same chemical species, the specification shows a

    clear correlation between nitrogen concentration and zeta potential. See CDX-0007C.022

    (CX-0229C (Dauskardt RWS) at Q/A 764; JX-0001 (‘721 Patent) at 20:48–53, Table 2

    (trend of increased nitrogen levels and zeta potential shown within compositions 2A and

    2B, made from EOPA, and compositions 2C and 2D, made from TMAH)).

            Likewise, the Staff misinterprets Example 6, and finds significance in the

    different compositions having different zeta potentials and different removal rates. See

    Staff Br. at 105-06. The purpose of Example 6 is to show the impact of a different

    feature—conductivity—a characteristic of a CMP composition separately recited in a

    dependent claim. See JX-0001 (‘721 Patent) 24:62–67 (“As is apparent from the results

    set forth in Table 6B, high TEOS removal rates were obtained for polishing compositions

    having a low electrical conductivity…”); claim 17 (reciting conductivity below a certain

    threshold). Given the guidance in the ‘721 patent, a POSA would have understood the

    compositions in Example 6 to teach how to practice claim 17, not that claims 1 and 26 are

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    unpredictable. See CX-0229C (Dauskardt RWS) at Q/A 779–80 (testifying that a POSA

    would not have understood Example 6 to show “purported ‘unpredictable variability’”).

           The Staff also relies on “Control 1” and “Control 2” in Example 2 (non-inventive

    comparators) as causing confusion because they have high zeta potentials but low

    removal rates (Control 2) or high removal rates and low nitrogen levels (Control 1), and

    Control 10C in Example 10 as showing that “external surface treatment is not guaranteed

    to yield particles having ‘permanent positive charge’ values” in the claimed range. See

    Staff Br. at 105 (Control 2), 107-08 (Control 10C); Dauskardt Tr. 728 (Control 1). One

    of ordinary skill, however, would reach a different conclusion. Controls 1 and 2 are

    identified as non-inventive because they are similar to problematic prior art compositions

    from which the ‘721 patent expressly teaches away. See JX-0001 (‘721 Patent) at 20:65–

    21:2 and 5:10–16 (Compositions like Control 2 have surface treatment, but not internal

    charge, result in “abrasive” particles that “may not always have some of the same

    desirable properties as untreated silica abrasive.”); 20:64 and 15:26–32 (Control 1 is

    Semisperse 25—a traditional alkaline slurry with high weight percent); see also

    Dauskardt Tr. 729 (“And, again, [Control 1] is a very different slurry.”).

           Likewise, Control 10C “was actually included to show that, if you only surface

    associate and not strongly associate a base catalyst, the TBAH, then, in fact you don’t

    have a charge that’s permanent. So it was put there to demonstrate exactly what is not a

    permanent positive charge.” Dauskardt Tr. 764; see also JX-0001 (‘721 Patent) at 28:53–

    56 (describing 10C as having a “positive charge” that was “not permanent”), 33:3–4

    (describing TBAH as “surface associated”). There is no dispute that POSAs understand

    the difference between TBAH association in Control 10C and the claimed permanent

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    aminosilane bonding. Dauskardt Tr. 757 (“the area of aminosilane bonding” is “[v]ery

    well understood”), 762–763 (testifying that there would be “complete confidence” that a

    POSA could replicate the covalent aminosilane bonding in the patent); RX-1076

    (Raghavan WS) at Q/A 546 (“Skilled Artisans” would understand that “having an

    aminosilane compound” “bonded with an outer surface of the colloidal silica abrasive

    particles” “exhibit a more positive zeta potential”).

           The Full Range of “Chemical Species” - Claims 11, 13, 14, 35, 36

           As discussed above, dependent claims 11, 13, 14, 35, and 36 significantly limit

    the “chemical species” to certain nitrogen-containing species fully represented by the

    examples in the specification. See Section IV.D.3.c.v (Dependent claims 11, 13, 14, 35

    and 36), supra. The Staff acknowledges that claims 14 and 36 “narrowly restrict the

    recited ‘chemical species’ to only three possible nitrogen-containing catalysts.” See Staff

    Br. at 110. Nonetheless, the Staff argues that all of claims 11, 13, 14, 35, and 36 lack

    adequate written description because (a) “Table 2 illustrates the inventors’ failure to

    prepare a polishing composition containing internally-incorporated ethylenediamine

    having the recited ‘permanent positive charge’ values”; and (b) citing control Example

    10C, “Table 10 shows that external surface treatment does not reliably result in a

    ‘permanent positive charge’ exceeding the minimum 13 mV/15mV cutoff values.” See

    Staff Br. at 110. As explained at the hearing, these conclusions appear to be based on a

    misinterpretation of Tables 2 and 10.

           Regarding the first point, as discussed above, the ‘721 patent discloses achieving

    permanent positive charge greater than 15 mV with each of the particles in Table 2,

    including ethylenediamine. See CX-0229C (Dauskardt RWS) at Q/A 763 (explaining

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    that Table 2 shows the zeta potential of particles with an internal species, but without a

    surface treatment). For example, as Dr. Dauskardt explained, Table 2 has to be read in

    conjunction with Examples 13 and 15. In Examples 13 and 15, an aminosilane surface

    treatment was added to finish the particles and so “with the internal charge and the

    surface treatment, the inventors clearly showed that you could easily achieve the

    permanent positive charge values.” Tr. 760. As Dr. Dauskardt confirmed, the disclosed

    aminosilane surface treatment, could “absolutely” be used for all three species recited in

    Table 2 and claims 14 and 36. Dauskardt Tr. 759–760, 764; see also CX-0229C

    (Dauskardt RWS) at Q/A 763 (“Returning to ethylenediamine, for example, a person of

    ordinary skill would have understood that particles incorporating internal

    ethylenediamine could be further surface treated to achieve desired levels of permanent

    positive charge.”).

           Regarding the Staff’s second point, as explained above, Control 10C does not

    convey unpredictability of “external surface treatment”—it actually conveys

    predictability because it uses a non-permanent surface treatment (TBAH) as a comparator

    to the invention and “was put there to demonstrate exactly what is not a permanent

    positive charge.” Dauskardt Tr. 764; JX-0001 (‘721 Patent) at 28:24–25 (composition

    10C included TBAH “associated with the particle surface” not bonded).

           By contrast, there is no dispute that the ‘721 patent discloses inventive examples

    using permanent surface treatment (covalently-bound aminosilane). See JX-0001 (‘721

    Patent) at 11:8–9 (“A permanent positive charge may further result from a covalent

    interaction between the particle and a positively charged species…”), 11:45–48

    (“Components that…are strongly associated (e.g., covalently bonded) with the particle

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    surface remain with the particle…”), 28:50–52 (aminosilane surface treatment leads to

    “permanent positive charge); Dauskardt Tr. 732 (covalent bonding can be “done with

    precision” if “you’re following a standard surface procedure that’s intended to bond a

    silane coupling agent like an aminosilane to the surface of the particles”), 757 (a POSA

    would know with “certainty” the procedures to follow to make covalent bonds

    permanent), 762–763 (Example 15 “[a]bsolutely” describes a procedure for creating

    “permanent covalent bonds” and a POSA could replicate the procedure without

    problems); Raghavan Tr. at 541 (“chemistry of binding an aminosilane to hydroxyl

    groups on a silica surface is one point, very well-known…it is well known that when you

    have a covalent bond, it is not going to break”).

           Merck Sharp, cited by the Staff, is not relevant to these facts. See Staff Br. at 113

    (citing Merck Sharp & Dohme Corp. v. Microspherix LLC 814 F. App’x 575, 580 (Fed.

    Cir. 2020)). In Merck Sharp, the court concluded that prior art was not entitled to the

    benefit of the filing date of its provisional application because one of the claimed options

    was “absent from the provisional.” By contrast, the ‘721 patent expressly discloses the

    use of ethylenediamine and the use of aminosilane surface treatment to provide a

    permanent positive charge greater than 15 mV. See, e.g., JX-0001 (‘721 Patent) at 7:43–

    64). That is more than sufficient to show the inventors possessed what is claimed. See

    Endo Pharm. Inc. v. Teva Pharm. USA, Inc., 731 F. App’x 962, 973 (Fed. Cir.), vacated

    in part, 729 F. App’x 936 (Fed. Cir. 2018) (“Nothing in our controlling precedent

    requires patent owners to test release rates for each dosage level before claiming such

    rates in the patents. Accordingly, the inventors chose ranges encompassing the invention

    while allowing for variations, as the court correctly noted.”).

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           “Chemical Additives”

           The Staff also argues that claims 1 and 26 are invalid because the inventors did

    not possess “CMP compositions containing the full range of chemical additives identified

    in the specification as possible components of the slurry.” See Staff Br. at 102.

    Importantly, claims 1 and 26 do not actually recite “chemical additives,” which are

    repeatedly described as “optional” in the ‘721 patent. JX-0001 (‘721 Patent) at 10:29

    (“optional chemical additives”); id. at e.g., 6:1–6, 12:40, 12:57, 13:21, 14:5, 14:23–24,

    14:31, 39:15. Indeed, the ‘721 patent makes clear that different chemical additives are

    used in different circumstances and for different reasons. See e.g., id. at 25:14–15

    (working example with acetic acid buffer and biocide), 26:1–2 (working example

    demonstrating the “effect of various polycarboxylic acids and a polyphosphonic acid

    additives on the TEOS and SiN polishing rates), 37:3–4 (acetic acid buffer and biocide)).

    Nonetheless, the Staff argues the claims lack an adequate written description under the

    theory that every possible alternative and combination of optional (and unclaimed)

    chemical additives should be described in the ‘721 patent. 49

           The law does not support this conclusion. See Cordis Corp. v. Medtronic AVE,

    Inc., 339 F.3d 1352, 1365 (Fed. Cir. 2003) (“As our case law makes clear, however, ‘[a]n

    applicant is not required to describe in the specification every conceivable and possible

    future embodiment of his invention.’”) (citations omitted); Lochner Techs., LLC v. Vizio,

    Inc., 567 F. App’x 931, 938–39 (Fed. Cir. 2014) (rejecting argument that open-ended

    term “including” required patentees to disclose recited as well as unrecited elements).

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      The full range of chemical additives is not required under the correct claim
    construction of claim term “a chemical mechanical polishing composition comprising,”
    as discussed in Section IV.A.4, supra.

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    Similarly, here, the ‘721 patent expressly states that chemical additives are optional, not

    required, and the patent has multiple working examples of multiple known additives. See

    JX-0001 (‘721 Patent) at 10:29 (“optional chemical additives”), 25:14–15 and 37:3–4

    (acetic acid buffer and biocide), 26:1–2 (different acid additives).

           Finally, even under the Staff’s proposed interpretation of the claims, there is no

    dispute that the full range of chemical additives was already known and available. “The

    written description ‘need not include information that is already known and available to

    the experienced public.’” Zoltek Corp. v. United States, 815 F.3d 1302, 1308 (Fed. Cir.

    2016) (citations omitted). For example, CMC’s expert Dr. Dauskardt testified that such

    additives were “well-known in the field” and would have had “well-defined ranges and

    well-understood ranges” and “predictable results.” Dauskardt Tr. 707 (“In real

    manufacturing situations, there would be other components to a slurry that would be very

    well-known in the field.”), 724 (“If ...you’re making these additions according to the

    well-defined ranges and well-understood ranges of how much surfactants you were to

    apply or how much biocide, you would have predictable results.”). Respondents’ expert

    likewise testified that adding chemical additives like “silicon nitrogen polishing

    accelerators, would have required no more than routine optimization for a Skilled

    Artisan” (see RX-1076C (Raghavan WS) at Q/A 660) and that “chelating or complexing

    agents” were known and that “[t]he art further taught Skilled Artisans to optimize

    properties and formulation of CMP compositions used in methods of polishing substrates,

    such as silicon oxygen and silicon nitride.” Id. at Q/A 728, 735.

           Whether “Substrates” are adequately described

           The Staff argues that the ‘721 patent’s disclosure of several potential applications

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    for which the claimed CMP composition “may be utilized” requires all the claims to

    cover any of these potential uses. See Staff Br. at 118 (citing JX-0001 (‘721 Patent) at

    39:1–19). Claims 1 and 26 are composition claims, and “[t]he scope of these

    composition claims cannot…embrace only certain uses of that composition.” Union Oil

    Co. of California v. Atl. Richfield Co., 208 F.3d 989, 995 (Fed. Cir. 2000). “Otherwise

    these composition claims would mutate into method claims.” Id. Under the Staff’s

    reasoning, a patentee would risk a finding of invalidity by disclosing potential uses for

    the invention, undermining a critical purpose of the written description requirement.

           In short, these composition claims do not require any specific use of the

    invention, and “the patentee need only describe the invention as claimed.” Amgen, 314

    F.3d at 1333. The AbbVie case cited by the Staff does not “closely resemble” these facts.

    See Staff Br. at 119. In AbbVie, the claims involved a “class of human antibodies that are

    defined by their high affinity and neutralizing activity” to a “known antigen.” AbbVie,

    759 F.3d at 1299. The issue was whether the patent described all of the various

    antibodies falling in that claimed genus. Id. at 1300. The Court did not consider or

    require that the patent describe every unclaimed application in which the antibodies could

    be used, as the Staff suggests here.

           Moreover, the factual basis for the Staff’s argument is not clear. If the Staff is

    interpreting the claims to require the invention to be useful for different substrates, the

    ‘721 patent does so. The patent, for example, describes well-known chemistries that can

    be used to adjust slurries to different applications. See e.g., JX-0001 (‘721 Patent) at

    1:54–64 (“Chemical-mechanical polishing compositions and methods for polishing (or

    planarizing) the surface of a substrate are well known in the art” including for dielectrics

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    and “metal layers (such as tungsten or copper),” which “commonly include” “various

    chemical accelerators, such as oxidizers, chelating agents, catalysts, and the like”), 25:1–

    61 (describing formulations for polishing TEOS and silicon nitride substrates). CMC’s

    expert Dr. Dauskardt confirmed that a POSA would have known common formulations

    to make the inventive CMP slurry useful for these different applications. Dauskardt Tr.

    742 (“it is possible to use the same essential mechanism of action of the – the slurry, and

    add known packages to allow planarization of different materials.”). The Staff’s own

    extrinsic evidence establishes that a POSA would expect slurries to be “substrate-

    specific.” See Staff Br. at 114-15.

                                   ii.     The Staff’s Enablement Arguments

           The Staff concludes that the same alleged limitations—”(1) internal ‘chemical

    specie(s) [sic]; (2) “chemical additive(s)’; and (3) target substrate(s)”—also lack an

    enabling disclosure because, according to the Staff, the ‘721 patent does not show how to

    “successfully combine[]” “multiple result-effective variables (e.g., internal chemical

    species and chemical additives)” for “multiple end-uses or applications (e.g.,

    substantially any target substrates).” See Staff Br. at 125, 129. These “multiple result-

    effective variables” and “multiple end-uses or applications” are not recited in the asserted

    independent claims.

           The Staff relies on its proposed construction of the preamble to import into the

    claims the very limitations that the Staff finds not enabled. If these additional limitations

    are not added to the claims through the Staff’s preamble construction, the Staff’s non-

    enablement argument need not be considered, as “it is the claimed invention for which



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    enablement is required.” W.L. Gore & Assocs., Inc. v. Garlock, Ina, 721 F.2d 1540, 1557

    (Fed. Cir. 1983). Nonetheless, the Staff’s enablement arguments are discussed below.

           Even applying the Staff’s preamble construction, the Staff’s enablement

    arguments are contrary to law and the evidence. 50 First, the Federal Circuit has

    repeatedly rejected the assertion that a claimed composition must be enabled across all

    potential “end-uses or applications (e.g., substantially any target substrates)” for that

    composition. See Staff Br. at 129. Rather, “[t]he enablement requirement is met if the

    description enables any mode of making and using the invention.” Edwards Lifesciences

    AG v. CoreValve, Inc., 699 F.3d 1305, 1309 (Fed. Cir. 2012); see also CFMT, Inc. v.

    Yieldup Int’l Corp., 349 F.3d 1333, 1338 (Fed. Cir. 2003) (absent a specific claim

    limitation imposing a level of performance, inquiry is whether the claim “enable[s] a

    person of skill in the art to make and use a system or apparatus to achieve any level” of

    performance without undue experimentation). As the Federal Circuit has recognized, if

    Section 112 required inventors to prove utility across each potential application of their

    inventive composition, the associated costs could prevent inventors from seeking patent

    protection on new and useful inventions at all. See In re Brana, 51 F.3d 1560, 1568 (Fed.

    Cir. 1995) (experiments on animals sufficient to meet enablement requirement even if

    intended use is for humans).

           The compositions of the independent claims (in contrast to dependent method

    claims) are not limited in any way by use on a particular type of substrate, let alone a

    requirement that they are useful for substantially all substrates, as the Staff appears to


    50
      The Staff does not address enablement of the significantly narrower dependent claims
    11, 13, 14, 35, and 36.

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    argue. Cf. JX-0001 (‘721 Patent) at claims 39–46 (dependent method claims requiring

    use of claimed composition for “silicon oxide” and “silicon nitride” substrates), 39:5–19

    (describing substrates for which the claimed composition “may also be utilized”). It is

    undisputed that the numerous working examples demonstrate the claimed invention can

    be used for multiple substrates. See e.g., id. at 27:39–40 (polishing “TEOS” and “SiN”).

    Requiring anything more “set[s] the enablement bar too high.” CFMT, 349 F.3d at 1338.

           Second, the Staff’s factual conclusions about the level of experimentation and

    predictability necessary to practice the claims appear to be based on the Staff’s own

    review of general textbook discussions of CMP. See, e.g., Staff Br. at 128-29. Based on

    this research, the Staff argues that adding the optional chemical additives identified in the

    ‘721 patent—including “oxidizers, accelerators, catalysts, buffers, chelating agents,

    corrosion inhibitors, film forming agents, surfactants, polishing uniformity additives,

    biocides” (JX-0001 at 6:1–5)—would unpredictably impact “permanent positive charge

    values while maintaining adequate CMP function.” See Staff Br. at 128.

           The testimony of the private parties’ technical experts does not support the Staff’s

    argument on this point. For example, as discussed above, CMC’s expert Dr. Dauskardt

    testified that such additives were “well-known in the field” and would have had “well-

    defined” ranges and “well-understood ranges” and “predictable results.” Dauskardt Tr.

    707, 724. One of respondents’ experts testified similarly about “silicon nitrogen

    polishing accelerators” and “chelating or complexing agents.” See RX-1076C (Raghavan

    WS) at Q/A 660 (selection of polishing accelerator additive can be done by a POSA with

    routine optimization), 728 (selection of chelating agents), 735 (selection of acids to

    control removal rate).

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           This evidence highlights the misplaced reliance on Creative Kingdom. See Staff

    Br. at 128-29. In that case, the Commission addressed claims in which the “novel aspect”

    of the invention involved the “combination of sensors” and found that the specification

    “must supply the novel aspects of the invention in order to constitute adequate

    enablement.” Creative Kingdoms, LLC v. Int’l Trade Comm’n, 588 F. App’x 993, 994

    (Fed. Cir. 2014). The Staff appears to argue the optional additives are novel aspects of

    the ‘721 patent, even when they are not claimed. See, e.g., Dauskardt Tr. 697 (chemical

    additives are generally optional), 723 (same).

           The Staff’s reliance on Promega is not persuasive. In that case, the claims recited

    DNA testing kits comprising a set of three allegedly novel loci. Promega Corp. v. Life

    Techs. Corp., 773 F.3d 1338, 1343 (Fed. Cir. 2014). All parties agreed that the

    “comprising” claims covered any loci combination containing those three loci—a

    construction that plaintiff advocated for purposes of infringement—and there was no

    genuine dispute that the resulting combinations would require undue experimentation.

    Id. at 1349. By contrast, no party but the Staff advocates adding “chemical additives” or

    “substrates” to the claims, and the only issue the construction is relevant to is the Staff’s

    own theory of invalidity (neither the Accused Products nor prior art are distinguished on

    the basis of chemical additives or substrates). Moreover, even under the Staff’s proposed

    construction, both private parties agree that a POSA would know how to incorporate

    these known chemical additives using known techniques. See, e.g., Dauskardt Tr. 707;

    RX-1076C (Raghavan WS) at Q/A 660, 728, 735.




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           Third, the Staff states that the full scope of the internal chemical species is

    “extremely large.” 51 See Staff Br. at 127. As discussed above, a POSA would have

    understood this set of species to have “common sense” bounds, and “would use

    something that would be similar, that was similar to those described and disclosed.” See

    Dauskardt Tr. 631–632. The ‘721 patent leaves no ambiguity (to a POSA) about how

    each of these species could be incorporated into colloidal silica abrasive particles,

    describing several known processes for making the claimed structure. See CX-0229C

    (Dauskardt RWS) at Q/A 761 (citing ‘721 patent at 5:26–7:55; CDX-0007C.019 (CX-

    0229C (Dauskardt RWS) at Q/A 761; JX-0001 (‘721 Patent) at 5:42–60, 6:22–36, 6:37–

    45, 6:56–67, 7:9–32). As discussed above, respondents’ experts agree that these known

    processes could be used to practice the claims. See e.g., Raghavan Tr. 506; RX-1073C

    (Klein WS) Q/A 179. The Federal Circuit has found similar disclosures to use methods

    in the art for synthesizing inventive compositions to be enabling, even if the claims cover

    “hundreds of permutations.” Pfizer, 555 F. App’x at 966–67.

           Nor is there support for the Staff’s argument that the ‘721 patent provides “little

    to no guidance for predicting” which internal chemical species can be used to meet the

    “permanent positive charge” threshold values in a “functional CMP composition.” See

    Staff Br. at 126. Again, the claims do not require the internal chemical species alone to

    provide the entire threshold amount of permanent positive charge. Moreover, as

    explained above, experts of both private parties agree that it would be well understood (to

    a POSA) that incorporating a chemical species, such as those disclosed in the

    51
      The Staff’s general arguments cannot apply to at least claims 11, 13, 14, 35, and 36,
    which significantly limit the “chemical species” to certain nitrogen-containing species
    fully represented by the examples in the specification, as explained above.

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    specification, increases zeta potential and improves performance. See RX-1076C

    (Raghavan WS) at Q/A 545; see also Dauskardt Tr. 761.

           For these reasons, the claims differ from those in the Idenix and Wyeth cases cited

    by the Staff. Those cases involved methods of treating diseases undisputedly covering

    “thousands” if not “millions” of chemical compounds, where the patentees conceded that

    the utility of each species in treating the diseases at issue was unknown before testing.

    Idenix, 941 F.3d at 1157, 1159; see also Wyeth, 720 F.3d at 1384–1385. By contrast, a

    POSA would have understood the scope of internal chemical species that could

    “incorporate” into “colloidal silica abrasive particles” as similar to what is expressly

    disclosed in the ‘721 patent, and there is no dispute among the private parties’ experts

    that each of these species will increase permanent positive charge when incorporated.

    See, e.g., CX-0229C (Dauskardt RWS) at Q/A 740 (“[O]ne of skill in the art would have

    understood that increasing the concentration of the positively charged species in the

    particle could lead to increased zeta potential and permanent positive charge.”); RX-

    1076C (Raghavan WS) at Q/A 545 (opining that a POSA would recognize that internal

    chemical species “have positive zeta potentials known to be useful for CMP

    applications”).

           The Staff also argues that the claims are not enabled because “high zeta potential”

    and “CMP performance do not always go hand in hand,” such as in

                            . See Staff Br. at 130. The very core of the invention is the

    realization that zeta potential alone is insufficient to achieve performance—a different

    structure (with internal chemical species) was needed. See Dauskardt Tr. 238; CX-0004C

    (Dysard WS) at Q/A 22. This does not reflect unpredictability. Rather, it is the central

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    distinction between the claims and the prior art, as spelled out in the ‘721 patent. See JX-

    0001 (‘721 Patent) at claims 1, 26 (chemical species incorporated in the colloidal silica

    abrasive particles internal to an outer surface thereof), 5:10–13 (“While certain benefits

    may be achieved when utilizing the CMP compositions including such positively charged

    silica abrasive particles, the use of a surface treating agent may mask (or shield) the

    particle surface…”).

           Finally, the gaps in the Staff’s evidentiary support limit the relevance of the

    Staff’s Wands analysis. Regarding the Quantity and Experimentation, Guidance in the

    Specification, Working Examples, and Scope of the Claimed Invention Wands factors,

    for example, the Staff repeats the argument that the claims cover a “vast array” of

    possible internal chemical species, chemical additives, and potential substrates, while the

    working examples involve “closely-related subject matter.” See Staff Br. at 125-28. The

    Staff, however, does not identify any differences between the examples and the scope of

    the claims and does not analyze what would have been known, followed, and easily

    understood by one of ordinary skill. See id. The specification, in fact, “has an incredibly

    detailed set of examples (Dauskardt Tr. 625–626), which, as discussed above, include

    recipes for making particles with multiple internal chemical species and measure zeta

    potential and removal rates for multiple substrates and using various chemical additives.

    See e.g., JX-0001 (‘721 Patent) at 27:39–40 (polishing “TEOS” and “SiN”), 25:14–15,

    26:1–2, 37:3–4 (various additives).

           The specification extends these examples to specific “suitable” chemical species,

    chemical additives, and substrates, of which the examples are representative. Id. at 6:11–

    13 (chemical species “may include one or more of the species described above”), 10:28–

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    30 (describing “optional chemical additives to the surface of a suitable substrate to be

    polished”), 12:22–25 (describing “suitable pH adjusting agents and/or buffering agents”),

    12:60 (“suitable poly acid”), 14:6 (“suitable biocide”), 13:4 (describing “[s]uitable poly

    phosphonic acids”). The Staff does not explain what is lacking in this guidance and

    improperly relies on an “abstract assertion of breadth” “without concrete identification of

    matter that is not enabled but is or may be within the claim scope.” McRO, 959 F.3d at

    1101.

            Regarding the Nature of Necessary Experimentation, Predictability in the Art, and

    Level of Ordinary Skill Wands factors, the Staff deals in generalities, for example,

    arguing that “CMP generally is very unpredictable and highly sensitive to multiple

    interrelated input variables” without explaining why this assertion is relevant to the

    claims other than by pointing to the Tables in the ‘721 patent, which, as explained above,

    the Staff appears to misinterpret. See Staff Br. at 126. As another example, the Staff

    argues unrelated “difficulties” in commercial particle “manufacturing” shows that

    experimentation may be undue. See Staff Br. at 125-26, 127. Enablement does not hinge

    on commercial manufacturability, especially where, as here, the Staff makes no link

    between manufacturing issues and the asserted claims. CFMT, 349 F.3d at 1336–40

    (“Title 35 does not require a patent disclosure enable one of ordinary skill in the art to

    make and use a perfected, commercially viable embodiment absent a claim limitation to

    that effect.”); Transocean Offshore Deepwater Drilling, Inc. v. Maersk Contractors USA,

    Inc., 617 F.3d 1296, 1306–07 (Fed. Cir. 2010) (A “patent specification only must enable

    one of ordinary skill in the art ‘to practice the claimed invention without undue



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    experimentation.’ It is not required to enable the most optimized configuration, unless

    this is an explicit part of the claims.”).

            CFMT, a case not cited by the Staff, is instructive in this regard. In that case, the

    Court reversed a district court’s finding that that a claim directed to semiconductor wafer

    “cleaning” was not enabled. The lower court had interpreted the claim’s preamble to

    require actual “removal of contaminants” and found the inventors spent months trying to

    achieve that goal in a commercial setting. CFMT, 349 F.3d at 1337–38. The Court held

    that “the district court set the enablement bar too high,” as “[e]nablement does not require

    an inventor to meet lofty standards for success in the commercial marketplace.” Id. at

    1338. “[W]hen an invention claims a general system to improve the cleaning process for

    semiconductor wafers, the disclosure enables that invention by showing improvements in

    the overall system.” Id. Where the claims state “no standard of cleaning,” the patent

    must only “enable a person of skill in the art to make and use a system or apparatus to

    achieve any level of contaminant removal without undue experimentation.” Id. That

    standard is met here. The patent contains numerous examples of working CMP slurries,

    and there is no evidence that a POSA would have to undertake undue experimentation to

    build a similar embodiment. See id. at 1339.

                    4.      Effective Filing Date

            Respondents argue that independent claims 1 and 26 lack written description and

    enablement support in the ‘100 Provisional Application. See Resps. Br. at 133-47.

            CMC disagrees. See Compl. Br. at 212-18. The Staff did not brief this issue. See

    Joint Outline at 3; Joint Reply Outline at 3.

            For the reasons discussed below, respondents have not shown that independent

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    claims 1 and 26 lack written description and enablement support in the ‘100 Provisional

    Application.

           Each of the asserted and DI claims is entitled to an effective filing date of June

    25, 2014, the filing date of Provisional Application No. 62/017,100 (“the ‘100

    provisional”) (JX-0027). See 35 U.S.C. § 101(i); 35 U.S.C. § 119(e)(1). Respondents’

    expert Dr. Klein repeats respondents’ written description and enablement arguments to

    conclude that the ‘100 provisional does not support the asserted and DI claims. See, e.g.,

    RX-1399C (Klein RWS) at Q/A 121. However, as discussed below, the ‘100 provisional

    (like the ‘721 patent) includes an enabling written description of each of the asserted and

    DI claims under any of the parties’ proposed claim constructions.

           As an initial matter, Dr. Klein emphasizes “the revisions and additions made in

    the ‘721 patent,” RX-1399C (Klein RWS) at Q/A 122, but does not identify any import

    of those arguments. These “revisions and additions” do not alter the written description

    and enablement analysis explained above. Rather, like the ‘721 patent, the ‘100

    provisional includes extensive disclosure conveying that the inventors invented what is

    recited in the asserted and DI claims and providing extensive guidance to a POSA as to

    how to make and use the claimed CMP compositions.

           Like the ‘721 patent, the ‘100 provisional describes example composition 10A,

    which practices the asserted and DI claims. See JX-0027 (‘100 provisional) ¶¶ [0079]–

    [0080]; CX-0006C (Dauskardt WS) at Q/A 87–90, 98; CX-0229C (Dauskardt RWS) at

    Q/A 742–46, 776. The ‘100 provisional describes numerous chemical species suitable

    for practicing the claimed invention. See JX-0027 (‘100 provisional) ¶¶ [0009]–[0013];

    CX-0229C (Dauskardt RWS) at Q/A 761. The ‘100 provisional describes particle

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    fabrication procedures for incorporating internal nitrogen or phosphorous containing

    chemical species, and examples, including Examples 2 and 13, demonstrating these

    procedures. See JX-0027 (‘100 provisional) ¶¶ [0017]–[0022], [0059], [0088] (Example

    13); CX-0006C (Dauskardt WS) at Q/A 92; CX-0229C (Dauskardt RWS) at Q/A 761.

           The ‘100 provisional describes at least three ways to achieve permanent positive

    charge of greater than 13 or 15 mV using the disclosed chemical species, including (1)

    fabricating particles with two or more positively charged species inside the particles, id.

    ¶¶ [0014], [0080]–[0081] (Example 10), [0088] (Example 13); (2) using internally

    incorporated chemical species and surface treatment together, id. ¶¶ [0034]; and (3)

    controlling amount of chemical species in the particles. Id. ¶ [0059] (Example 2); see

    also CX-0229C (Dauskardt RWS) at Q/A 762–64. As explained above with respect to

    the ‘721 patent’s overlapping disclosures, these disclosures convey possession of the

    claimed CMP compositions and would have enabled a POSA to practice the asserted and

    DI claims.

                           a.      Whether the ‘100 Provisional Describes and
                                   Enables Claims 1 and 26

           Respondents’ arguments with respect the ‘100 provisional’s support for

    independent claims 1 and 26 substantially overlap with their written description and

    enablement arguments for the ‘721 patent and are unpersuasive for the same reasons

    explained above. Dr. Klein again testified that the particle fabrication procedure

    described in Example 13 does not show possession of or enable colloidal silica particles

    containing an internal species that is not an aminosilane. RX-1399C (Klein RWS) at Q/A

    128. As explained above for the ‘721 patent, Dr. Klein disregards the explicit


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    disclosures. For example, a POSA would have understood the procedure described in

    Example 13 to result in EOPA being incorporated in the particles. See CX-0006C

    (Dauskardt WS) at Q/A 87–90, 98; CX-0229C (Dauskardt RWS) at Q/A 742–46, 776;

    Dauskardt Tr. 644. Indeed,

                                                       and have internal EOPA. See CX-0006C

    (Dauskardt WS) at Q/A 537–44; CX-0227C (Grumbine RWS) Q/A 30; CX-0002C

    (Grumbine WS) Q/A 37.

           Dr. Klein also repeats several additional incorrect opinions. Dr. Klein again

    opines in the context of the ‘100 provisional that (1) Examples 2 and 6 “show the

    inventors were not in possession of, and did not enable, the compositions of claim 1”

    (RX-1399C (Klein RWS) at Q/A 164); (2) it does not describe and enable the full scope

    of “colloidal silica particles having the claimed permanent positive charge but not

    including an aminosilane” (id. at Q/A 178); and (3) it “demonstrates unpredictable

    variability and the inability to consistently obtain even a zeta potential of at least 15 mV

    when incorporating non-aminosilane chemical species” (id. at Q/A 186).

           Each of these opinions fall short for the reasons explained above in the context of

    the ‘721 patent specification. The ‘100 provisional describes multiple methods for

    achieving desired levels of permanent positive charge with a wide range of nitrogen and

    phosphorous containing species, and a POSA would have been able to implement these

    methodologies without undue experimentation. See JX-0027 (‘100 provisional) ¶¶

    [0014], [0059] (Example 2), [0080]–[0081] (Example 10), [0088] (Example 13); CX-

    0006C (Dauskardt WS) at Q/A 101; CX-0229C (Dauskardt RWS) at Q/A 762–64; see

    also RX-1399C (Klein RWS) Q/A 140 (acknowledging that the ‘100 provisional

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    describes multiple methods for “creating colloidal silica particles comprising an internal

    nitrogen”); Johns Hopkins, 152 F.3d at 1361.

           Similarly, respondents repeat their incorrect arguments with respect to the

    aminosilane element of claim 26 and its dependents. Respondents’ expert Dr. Klein

    testified that Example 13 and the many examples prepared according to Example 13

    “would not be understood as falling within the scope of claim 26 … and are not working

    examples sufficient to guide a POSA to create the claimed compositions.” RX-1399C

    (Klein RWS) at Q/A 208. As explained above, Dr. Klein discredits clear disclosures in

    the ‘100 provisional. See Dauskardt Tr. 643; CX-0006C (Dauskardt WS) at Q/A 90,

    104–106; CX-0229C (Dauskardt RWS) at Q/A 800. Furthermore, as explained above,

    both the ‘721 patent and the ‘100 provisional describe how “[a] permanent positive

    charge may further result from a covalent interaction between the particle and a

    positively charged species.” See JX-0027 (‘100 Provisional) ¶ [0034]; CX-0006C

    (Dauskardt WS) at Q/A 90; CX-0229C (Dauskardt RWS) at Q/A 799.

           Respondents argue that the ‘100 provisional does not describe and enable the

    negative limitation in claim 1—”wherein the chemical species is not an aminosilane or a

    phosphonium silane.” See Resps. Br. at 140. However, respondents’ arguments with

    respect to the negative limitation are incorrect, at least because respondents’ expert

    disregards the extensive disclosure of alternative chemical species in the ‘100

    provisional. See Inphi Corp. v. Netlist, Inc., 805 F.3d 1350, 1356 (Fed. Cir. 2015) (“If

    alternative elements are positively recited in the specification, they may be explicitly

    excluded in the claims.”) (quoting MPEP § 2173.05(i)). The ‘100 provisional describes

    numerous alternatives to aminosilane, including EOPA and TMAH. JX-0027 (‘100

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    provisional) ¶¶ [0009]–[0012] [0059], [0067]–[0068], [0080], [0088]; CX-0006C

    (Dauskardt WS) at Q/A 89.

                           b.      Dependent Claims

           Respondents make cursory arguments with respect to the extensive supporting

    disclosure in the ‘100 provisional for the dependent claims—improperly dismissing

    explicit and generally applicable disclosures in the ‘100 provisional. As discussed below,

    all asserted and DI claims are entitled to an effective filing date of June 25, 2014.

           Claims 3, 6, 17, 19–21, 24, 27, 31, and 38 recite further properties of the polishing

    composition. The ‘100 provisional describes and enables each of the claim elements in

    combination under any parties’ proposed constructions. For example, the ‘100

    provisional describes suitable buffering agents, including acetic acid and numerous

    others. See JX-0027 (‘100 provisional) ¶ [0038]; CX-0006C (Dauskardt WS) at Q/A

    107. The ‘100 provisional provides numerous exemplary polishing compositions within

    the claimed weight percent ranges. See, e.g., JX-0027 (‘100 provisional) ¶¶ [0059]

    (Example 2), [0067] (Example 6), [0080] (Example 10), [0089] (Example 13); CX-

    0006C (Dauskardt WS) at Q/A 111–12. The ‘100 provisional also describes how low

    electrical conductivity can be desirable for silicon dioxide (TEOS) polishing performance

    and includes numerous exemplary polishing compositions having conductivity of less

    than about 300 μS/cm. See, e.g., JX-0027 (‘100 provisional) ¶¶ [0061] (Example 3),

    [0068] (Example 6), [0070] (Example 7), [0074] (Example 8), [0077] (Example 9); CX-

    0006C (Dauskardt WS) at Q/A 122, 126–27. Dr. Klein dismisses the clear disclosures

    supporting these claims as “picking and choosing” without further analysis. See RX-

    1399C (Klein RWS) at Q/A 230, 249.

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            Claims 4, 5, 7–9, 15, 16, 18, 23, 28, 29, and 32–34 recite additional properties of

    the colloidal silica particles: particle size (claims 4 , 5, and 29), particle aggregation

    (claims 7–9, and 32–24), particle core-shell structure (claims 15 and 16), particle density

    (claim 18), a combination of size and aggregation (claim 23), and permanent positive

    charge (claim 28). The ‘100 provisional describes and enables each of the claim

    elements in combination under any parties’ proposed constructions.

            For example, the ‘100 provisional describes how to measure particle size. See,

    e.g., JX-0027 (‘100 provisional) ¶ [0028], [0059] (Example 2); [0063] (Example 4);

    [0076] (Example 9), [0080] (Example 10). Further, a POSA would have known to

    modify parameters, such as the amount of silica producing compound and reaction time,

    disclosed in the ‘100 provisional to achieve the desired particle sizes. See CX-0006C

    (Dauskardt WS) at Q/A 109.

            With respect to claims 15 and 16, the ‘100 provisional describes a fabrication

    procedure for growing colloidal silica particles with a core-shell structure, and a POSA

    would have been able to achieve the desired outer shell thickness without undue

    experimentation. See JX-0027 (‘100 provisional) ¶[0020]; CX-0006C (Dauskardt WS) at

    Q/A 120.

            The ‘100 provisional also describes polishing compositions having the claimed

    aggregation and particle sizes, and describes how to prepare colloidal silica abrasive

    particles with the desired level of aggregation. See JX-0027 (‘100 provisional) ¶¶ [0024],

    [0025], [0027]; CX-0006C (Dauskardt WS) at Q/A 113. Furthermore, the provisional

    Figure and associated description provide instruction and guidance for determining a



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    polishing composition’s aggregate distribution using TEM images. See JX-0027 (‘100

    provisional) ¶ [0026]; CX-0006C (Dauskardt WS) at Q/A 113.

           Claims 10, 11, 13, 14, 35, and 36 further describe the “chemical species.” For

    example, claim 14 and claim 36 require that the chemical species “comprises

    ethyloxypropylamine, tetramethyl ammonium hydroxide, or ethylenediamine.” The ‘100

    provisional describes and enables each of the claim elements in combination under any

    parties’ proposed constructions for the reasons explained above. See, e.g., CX-0006C

    (Dauskardt WS) at Q/A 116–18.

           Claim 37 recites “the composition of claim 26, wherein the aminosilane

    compound is bonded with less than 4% of silanol groups on the outer surface of the

    colloidal silica particles.” The ‘100 provisional describes a specific particle fabrication

    procedure, which a POSA would have understood to convey possession of this claim

    given the low amount of APTMS used, and from which a POSA would have been able to

    determine aminosilane surface coverage of the resultant colloidal silica particles with

    reasonable certainty. See JX-0027 (‘100 provisional) ¶ [0088]; CX-0006C (Dauskardt

    WS) at Q/A 133–35.

           Claims 39–44 and 46 recite methods for using the polishing composition in claim

    1. The ‘100 provisional describes methods of chemical mechanical polishing a substrate

    using polishing compositions in accordance with the invention and provides example

    compositions achieving the claimed removal rates at the claimed weight percentages and

    downforces. See, e.g., JX-0027 (‘100 provisional) ¶¶ [0054], [0057] (composition 1C),

    [0059] (compositions 2C and 2D), [0068] (composition 6G); CX-0006C (Dauskardt WS)

    at Q/A 136–41. The ‘100 provisional also describes suitable silicon nitrogen inhibitors

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    and example compositions achieving the removal rates for silicon oxygen and silicon

    nitride materials as recited in claims 44 and 46. See, e.g., JX-0027 (‘100 provisional) ¶¶

    [0043], [0070]-[0071] (compositions 7A–C), [0076] (Example 9); CX-0006C (Dauskardt

    WS) at Q/A 140.

           Dr. Klein opines that the express disclosures in the ‘100 provisional supporting

    these claims should be ignored because the ‘100 provisional discloses example

    compositions with performance falling outside the claimed ranges. See RX-1399C (Klein

    RWS) at Q/A 235. However, as discussed above, interpreting the example compositions

    as limiting is improper, and the ‘100 provisional provides extensive guidance for

    practicing the method claims with a broad range of chemical species, including

    ethylenediamine. See e.g., CX-0229C (Dauskardt RWS) at Q/A 762.

                   5.       Inventorship

           Respondents argue that the ‘721 patent is invalid for improper inventorship. See

    Resps. Br. at 215-26.

           CMC and the Staff disagree. See Compl. Br. at 218-23; Staff Br. at 145-52.

           For the reasons discussed below, respondents have not shown that the ‘721 patent

    is invalid for improper inventorship.

           “The burden of showing misjoinder or nonjoinder of inventors is a heavy one.”

    BJ Servs. Co. v. Halliburton Energy Servs., Inc., 338 F.3d 1368, 1373–74 (Fed. Cir.

    2003). 35 U.S.C. § 116 provides the standard for joint inventorship:

           When an invention is made by two or more persons jointly, they shall
           apply for patent jointly and each make the required oath, except as
           otherwise provided in this title. Inventors may apply for a patent jointly
           even though (1) they did not physically work together or at the same time,
           (2) each did not make the same type or amount of contribution, or (3) each

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             did not make a contribution to the subject matter of every claim of the
             patent.

    35 U.S.C. § 116.
             Inventorship is a question of law based on underlying factual determinations.

    Vapor Point LLC v. Moorhead, 832 F.3d 1343, 1348 (Fed. Cir. 2016).

             The ‘721 patent properly names all co-inventors, and respondents have not shown

    otherwise by clear and convincing evidence. Importantly, the “inventors as named in an

    issued patent are presumed to be correct.” Hess v. Advanced Cardiovascular Sys., Inc.,

    106 F.3d 976, 980 (Fed. Cir. 1997). Thus, the ‘burden of showing misjoinder or

    nonjoinder of inventors is a heavy one.” Id. The definition for inventorship can be

    simply stated: ‘The threshold question in determining inventorship is who conceived the

    invention. Unless a person contributes to the conception of the invention, he is not an

    inventor. …” MPEP §2137.01 (citing Fiers v. Revel, 984 F.2d 1164, 1168 (Fed. Cir.

    1993).

             Dr. Klein opines that “Fuso was responsible for and contributed at least to the

    synthetic procedures for making colloidal silica particles on which the patent relies,” RX-

    1073C (Klein WS) at Q/A 223, and that “it does not appear that Cabot’s named inventors

    conducted, designed, developed, or controlled the processes necessary to make these

    particles.” Id. Q/A 262. However, the claim limitations do not relate to “synthetic

    procedures for making colloidal silica particles” or the “conduct[ing], develop[ing], or

    controll[ing]” of “processes necessary to make these particles.”

             Rather, the claims relate to a polishing composition having colloidal silica

    abrasive particles with a specific structure and existing in a composition that achieves a

    certain level of permanent positive charge. See JX-0001 (‘721 Patent) at 11:17, 10:48–
                                                 288
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    49; claims 1, 26; 6, 31, 40–44; CX-0004C (Dysard WS) at Q/A 30; JX-0067C (iDIEL

    Colloidal ILD Project Part 1) at CMC00017467, 17470 (summarizing experiments for

    determining optimal pH and optimal “charge”). The claims are not limited by a

    particular synthesis method or manufacturing process to make the structures as claimed.

    Respondents have not shown that anyone at Fuso contributed anything to any of the

    actual claim limitations. Sewall v. Walters, 21 F.3d 411, 416 (Fed. Cir. 1994) (“[T]he

    presence of Sewall’s alleged coinventive contributions, namely, the circuits that he

    designed, [are] completely optional to the apparatus of the count.”).

           Respondents’ argument appears largely to be based on Dr. Klein’s speculation.

    Indeed, a key part of her analysis appears to be her review of a subset of CMC’s

    document production and her conclusion that nothing in those documents “describe the

    synthetic steps necessary to create the particles on which the ‘721 patent relies…” See

    RX-1073C (Klein WS) Q/A 275–77.

           Yet, the actual evidence shows that Fuso did not contribute to any claim limitation

    and that the four named inventors were exclusively responsible for conception. Indeed,

    all four inventors named on the ‘721 patent testified that they were the correct and only

    inventors of the ‘721 patent, and

                                                       See CX-0002C (Grumbine WS) at Q/A

    7, 11; CX-0004C (Dysard WS) at Q/A 21–36; Dysard Tr. 119

               ), 120 (“Q. Did Fuso make any inventive contribution to your invention? A.

    No.”); JX-0419C (Shen Dep. Tr.) at 25, 69, 85, 136–137; CX-0227C (Grumbine RWS) at

    Q/A 26–44; CX-0228C (Dysard RWS) at Q/A 21–32.



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          Moreover, Fuso did not have the capability of conceiving the claimed invention

    because



                                    . See e.g., CX-0002C (Grumbine WS) at Q/A 11–12;

    CX-0004C (Dysard WS) at Q/A 21–39; CX-0227C (Grumbine RWS) at Q/A 26–27; CX-

    0228C (Dysard RWS) at Q/A 21–22.

          As Dr. Dysard explained, he confidentially disclosed to



                                                                               .” See Tr.

    120; see also CX-0004C (Dysard WS) at Q/A 21–30, 32; see also JX-0129C (Meeting

    Summary). He specifically provided




                                                                      See CX-0004C

    (Dysard WS) at Q/A 29–30; JX-0129C (Meeting Summary); Tr. 110 (testifying that

    CMC shared “

                                                      113



                                       .

          It was also clear to Dr. Dysard at the meeting that



                                                                                .” See Tr.

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    120; see also CX-0004C (Dysard WS) at Q/A 32. While CMC decided to




                                                          See, e.g., Tr. 121 (testifying that

    CMC




            Dr. Dysard’s testimony is corroborated by subsequent emails between Fuso and

    CMC. For example, CX-0219C (2012 Email to Fuso) and CX-0220C (CMC

    Spreadsheet) are a December 12, 2012, email and attachment from Dr. Grumbine to

    Fuso. Both describe CMC’s



                                    ” See CX-0002C (Grumbine WS) at Q/A 14–18. Dr.

    Grumbine also “

                                                           Id. at Q/A 19. Consistent with

    Dr. Dysard’s testimony, in Fuso’s response, CX-0211C (2012 Email from Fuso), Fuso

    said that

                                                                     . See also CX-0002C

    (Grumbine WS) at Q/A 22.

            None of respondents’ other inventorship arguments provide any proof that Fuso

    contributed to the invention of the ‘721 patent. See CX-0229C (Dauskardt RWS) at Q/A

    653–712. The                                                         JX-0111C

    (Agreement), does not identify the invention or any inventors. See CX-0229C

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    (Dauskardt RWS) at Q/A 666; see also Tr. 119 (testifying that CMC




           Contrary to Dr. Klein’s opinions, the evidence shows that CMC also designed and

    conceived of the particles disclosed in the ‘721 patent and the methods for making them.

    See CX-0227C (Grumbine RWS) at Q/A 30–39; CX-0229C (Dauskardt RWS) at Q/A

    693–702. Similarly, the evidence shows that any work

    did not contribute to the ‘721 patent invention in any way. See CX-0229C (Dauskardt

    RWS) at Q/A 704–07, 711; see also Tr. 120 (Dr. Dysard: “Q. Did Fuso make any

    inventive contribution to your invention? A. No.”). The Fuso Japanese patent cited by

    Dr. Klein does not relate to the ‘721 patent and is a method of manufacture—irrelevant to

    the inventorship issue here. See CX-0229C (Dauskardt RWS) Q/A 708.

           Additional email communications and interactions between CMC and Fuso

    confirm that CMC                                                                   . See

    CX-0216C (Email from Yoshiki Michiwaki to Steven Grumbine); CX-0217C (Email

    from Steven Grumbine to Yoshiki Michiwaki); CX-0213C (Email from Steven Grumbine

    to Yoshiki Michiwaki); CX-0214C (Email from Steven Grumbine to Yoshiki

    Michiwaki); CX-0212C (Email from Jeffry Dysard to Sugita Shinichi); CX-0190C

    (Email Correspondence); CX-0221C (Email- Dec. 10, 2013); CX-0210C (Email from

    Yoshiki Michiwaki to Steven Grumbine); CX-0215C (iDIEL D9225: The Evolution,

    Colloidal ILD Project Update, date June 19, 2014).

                  6.      Inequitable Conduct

           Respondents argue that the ‘721 patent is unenforceable due to a pattern of active

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    concealment and affirmative misrepresentations. See Resps. Br. at 226-34.

           CMC and the Staff disagree. See Compl. Br. at 223-28; Staff Br. at 153-54.

           For the reasons discussed below, respondents have not shown that the ‘721 patent

    is unenforceable due to a pattern of active concealment and affirmative

    misrepresentations.

           “To prevail on a claim of inequitable conduct, the accused infringer must prove

    that the patentee acted with the specific intent to deceive the PTO.” Therasense, 649

    F.3d at 1290. “In other words, the accused infringer must prove by clear and convincing

    evidence that the applicant knew of the reference, knew that it was material, and made a

    deliberate decision to withhold it.” Id. “[T]o meet the clear and convincing evidence

    standard, the specific intent to deceive must be the single most reasonable inference able

    to be drawn from the evidence,” and thus, “when there are multiple reasonable inferences

    that may be drawn, intent to deceive cannot be found.” Id. at 1290-91 (citations omitted).

    “Intent and materiality are separate requirements,” and thus a court “may not infer intent

    solely from materiality. Instead, a court must weigh the evidence of intent to deceive

    independent of its analysis of materiality.” Id. at 1290. “The absence of a good faith

    explanation for withholding a material reference does not, by itself, prove intent to

    deceive.” Id. at 1291.

           Respondents argue that CMC inventors and prosecution counsel failed to uphold

    their duty of candor to the PTO by failing to disclose the name of

                                        See Resps. Br. at 226-34; EDIS Doc. ID No. 728175

    (Respondents’ First Amended Response to the Complaint) at 34–36. Respondents have

    not shown that any of the inventors or patent agents and attorneys (respondents elected

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    only to depose one of several named patent agents and attorneys) understood the names

    PL-3C and            to be material to patentability or that they had an intent to deceive the

    PTO. See CX-0227C (Grumbine RWS) at Q/A 42–44; CX-0228C (Dysard RWS) at Q/A

    33–34; RX-0680C (Omholt Dep. Tr.) 294–295.

              First, the names of PL-3C and          particles are not material to patentability,

    and the evidence shows that the inventors did not understand this information to be

    material to patentability, for several reasons. As an initial matter, PL-3C and             are

    not prior art, as discussed above. See Section IV.D.1.a.ii (Whether the Silica Particles

    Are Prior Art), supra. As Dr. Grumbine testified, each particle was

                    l, and confidential at all times before filing the application that resulted in

    the ‘721 patent. See CX-0002C (Grumbine WS) at Q/A 42-44, 53–54, 56; see also CX-

    0228C (Dysard RWS) at Q/A 33-34.

                                             , and both         and PL-3C were confidential and

                                              during prosecution of the ‘721 patent. See CX-

    0002C (Grumbine WS) at Q/A 53-55; CX-0227C (Grumbine RWS) at Q/A 18, 19, 42-44.

    Likewise, PL-3C and             particles were designed only to have

                                                   and thus, were not relevant to prosecution and

    in fact                                    in the ‘721 patent’s specification. See CX-0002C

    (Grumbine WS) at Q/A 53–55; CX-0227C (Grumbine RWS) at Q/A 6–19, 41-44; CX-

    0229 (Dauskardt RWS) at Q/A 90, 134–152.

              As Dr. Grumbine testified, the PL-3C and            particles were similar to those

    particles “used in failed designs.” See CX-0002C (Grumbine WS) at Q/A 53. As Dr.

    Dysard explained,

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                            See Tr. 100–101. Thus, respondents have not shown that the

    names of either of PL-3C or          would have impacted the Examiner’s decisions such

    that the ‘721 patent would not have issued. See CX-0229 (Dauskardt RWS) at Q/A 90,

    134–36, 713–24.

           In this regard, respondents argue that the inventors could not have argued that the

    prior art Fu reference from prosecution does not disclose particles with internal nitrogen

    had the inventors disclosed by name the Fuso PL-3C and             particles. Respondents

    make no arguments that Fu discloses these particles, and thus respondents could have

    made the very same argument. Even if those particle names were disclosed to the PTO,

    rather than simply describe their characteristics and structures in great detail as was done

    in the ‘721 patent, the inventors could have argued that these particles are not prior art

    and that the PL particles do not include internal nitrogen, as shown above. See e.g., Tr.

    519–522 (discussing respondents’ opening demonstrative (RDX.0009C at slide 64) titled

    “Inequitable Conduct” that is based on “highly questionable” internal and confidential

    testing by CMC).

           Similarly, respondents have not shown the required “but-for” materiality because

    they have admitted that the Fuso particles do not disclose each and every element, and

    thus do not anticipate the claims. Respondents provide no explanation of how the

    examiner would have applied and used the PL-3C and              product names to reject

    claims 1 and 26. Respondents do not allege that those particles are combinable with the

    Fu reference applied by the examiner or any other prior art of record. Therefore,

    respondents have not demonstrated the requisite but-for materiality.

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           Second, the fact that the names of these particles were not identified does not

    reflect any intent to deceive. The inventors have repeatedly testified that they had no

    such intent and that they provided (and CMC required them to provide) all relevant

    information to the PTO. See CX-0227C (Grumbine RWS) at Q/A 42–44; CX-0228C

    (Dysard RWS) at Q/A 33–34. Indeed, being                     and confidential particles,

    the names were highly confidential and not relevant because most people in the industry

    at the time would not have recognized the names “PL-3C” or            ” to refer to any

    particular particle. See CX-0227C (Grumbine RWS) at Q/A 42–44; CX-0228C (Dysard

    RWS) at Q/A 33–34; CX-0227C (Grumbine RWS) at Q/A 41–44; CX-0002C (Grumbine

    WS) at Q/A 54, 56.

           In any event, the inventors did disclose extensive information about the particles’

    design and structure in a way that someone reading the ‘721 patent could understand.

    Specifically, using

                                                                       in the ‘721 patent. See

    CX-0002C (Grumbine WS) at Q/A 54, 55; see also, e.g., JX-0001 (‘721 Patent) at 20:65

    (“69 nm colloidal Stober silica having 3- (aminopropyl)trimethoxysilane associated with

    the particle surface”), Example 2, 10–13; CX-0227C (Grumbine RWS) at Q/A 42–44;

    CX-0228C (Dysard RWS) at Q/A 33–34. This conduct reflects an intent to be “as

    transparent as possible.” See CX-0002C (Grumbine WS) at Q/A 54; JX-0001 (‘721

    Patent) at 20:65. The non-inventive PL-3C and           structures were also

               in the ‘721 patent specification “so that a person reading the patent would

    know what would not work.” See CX-0002C (Grumbine WS) at Q/A 54; CX-0227C

    (Grumbine RWS) at Q/A 19, 41-44.

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           Respondents also argue that CMC intentionally removed reference to an internal

    nitrogen content of PL-3C particles from the provisional application leading to the ‘721

    patent. See Resps. Br. at 226-30. The evidence shows otherwise. As Dr. Grumbine

    testified, the inventors did not, and do not, believe PL-3C particles had internal nitrogen.

    See CX-0002C (Grumbine WS) at Q/A 55; see also CX-0227C (Grumbine RWS) at Q/A

    43. Thus, the reference in the provisional application was not “an accurate reporting of

    the internal nitrogen of PL-3C particles,” and “the number was very likely not included in

    the non-provisional application because we knew it was incorrect.” See CX-0002C

    (Grumbine WS) at Q/A 55 (further testifying that “[i]f the number related to PL-3C at all,

    it may have related to the nitrogen content of the external surface treatment”).

    Accordingly, the change from the provisional indicates efforts to correct the disclosure to

    the PTO, not to deceive the PTO.

           Accordingly, respondents have not shown that the ‘721 patent is unenforceable

    due to a pattern of active concealment and affirmative misrepresentations.

    V.     Domestic Industry (Economic Prong)

           CMC argues, inter alia:

                   The economic prong of the domestic industry requirement is met
           when there exists in the United States in connection with articles
           practicing at least one claim of the patent-at-issue: (A) significant
           investment in plant and equipment; (B) significant employment of labor or
           capital; or (C) substantial investment in its exploitation, including
           engineering, R&D, or licensing. 19 U.S.C. § 1337(a)(3). Satisfaction of
           any one of these criteria suffices. Certain Integrated Circuit Chipsets &
           Products, Inv. No. 337-TA-428, Order No. 10 at 3 (May 4, 2000).

                   “DuPont does not dispute that CMC satisfied the economic prong
           of the domestic industry requirement.” RPreHBr at 42. Indeed, CMC
           satisfies all three criteria. CMC is one of the largest suppliers of
           consumable materials to the semiconductor industry. See JX-0019 (CMC

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          evidence, and DuPont’s representation that it will not contest the
          economic prong, the Staff agrees that CMC has shown significant
          investments in plant and equipment.

                 Labor and Capital

                 CMC has presented evidence that it has employed and continues to
          employ a significant workforce at both the 845 Enterprise Facility and the
          870 R&D Facility. According to CMC, the employees at the 845
          Enterprise Facility perform manufacturing activities relating to the
          Domestic Industry Products, while employees at the 870 R&D Facility
          perform activities relating to, among other things, the invention and
          commercialization of the Domestic Industry Products.

                   CMC’s evidence demonstrates that its total allocated investments
          in labor and capital at the 870 R&D Facility, based on the percentage of
          experiments in the clean room on the Domestic Industry Products each
          year, have a total value of                 allocable to the ‘721 patent from
          2014 through June 2020; similarly, the total allocated investments in labor
          and capital at the 870 R&D Facility, based on the percentage of requests in
          the pilot plant related to the Domestic Industry Products each year, have a
          total value of               , allocable to the ‘721 patent from 2014 through
          June 2020. Id. at 221-22. In view of this evidence, and DuPont’s
          representation that it will not contest the economic prong, the Staff agrees
          that CMC has shown sufficiently significant investments in labor and
          capital.

                 Investment in Exploiting the ‘721 Patent

                  CMC’s evidence shows that the ‘721 patent claims are directed to
          CMP products having specific characteristics, such that research and
          development directed to the Domestic Industry Products is “necessarily
          research and development directed to the patented technology of the ‘721
          Patent,” such that a “nexus therefore exists” between its R&D
          expenditures in the Domestic Industry Products and the patented
          technology of the ‘721 patent. Id. at 222. See Certain Gas Spring Nailer
          Products & Components Thereof, Inv. No. 337-TA-1082, Comm’n Op. at
          80 (Apr. 28, 2020) (nexus exists when activities relate to developing DI
          products embodying patent-in-suit).

                   CMC’s evidence demonstrates that its total allocated investments
          at the 870 R&D facility based on the percentage of experiments in the
          clean room relating to the Domestic Industry Products each year have a
          total value of              from 2014 through June 2020; similarly, its
          total allocated investments at the 870 R&D Facility based on the
          percentage of requests in the pilot plant relating to the Domestic Industry

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    in Aurora, Illinois, which includes a          square foot R&D facility (the “870 R&D

    Facility”). See JX-0019 (CMC 2019 Form 10-K) at 29; CX-0088C (Floor Plan); CX-

    0089C (Floor Plan); CX-0090C (Floor Plan). Some of these activities occur in CMC’s

    170,000 square foot manufacturing plant and distribution center (the “845 Enterprise

    Facility”), which also is located in Aurora, Illinois. See JX-0019 (CMC 2019 Form 10-

    K) at 27.

                     1.        Manufacturing at the 845 Enterprise Facility

             The land on which the 845 Enterprise Facility is located had a net book value of

                   in February 2020, of which approximately

                            is allocable to the ‘721 patent. See CX-0005C (Vander Veen WS) at

    Q/A 57–58; CDX-0005C.08 (JX-0158C (Assets Necessary for Production)). This

    allocation is based on the square footages used to manufacture, and to support the

    manufacture, of the DI Products. Id.

             The                                                                  and is 100%

    necessary for manufacturing the DI Products. See CX-0005C (Vander Veen WS) at Q/A

    58; JX-0124C (Facility Breakdown). The entirety of CMC’s investments in this portion

    of the 845 Enterprise Facility is allocable to the ‘721 patent even though it may be used

    to manufacture other products. See Storage Tapes, Comm’n Op. at 114–15 (Mar. 8,

    2018).

             In addition,

                                                                                           ) is

    allocable to the ‘721 patent. See CDX-0005C.08 (JX-0124C (Facility Breakdown)). The

         corresponds to the total sales revenue generated from DI Products as a percentage

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                   2.       Engineering, Research, and Development at the 870
                            R&D Facility

           Of the approximately            square feet that make up the 870 R&D Facility at

    CMC’s Aurora, Illinois headquarters, approximately

                                                          . See CX-0088C (Floor Plan); CX-

    0089C (Floor Plan); CX-0090C (Floor Plan). CMC has performed numerous

    experiments on the DI Products in its clean room and responded to numerous requests

    relating to the DI Products in its pilot plant over the past      . Approximately



                                                                                   . See CX-

    0005C (Vander Veen WS) at Q/A 81; CDX-0005C.05 (JX-0122C (Clean Room

    Experiment)). Approximately



                                        . See CX-0005C (Vander Veen WS) at Q/A 81; CDX-

    0005C.06 (JX-0126C (Year-by-year Slurry Requests)).

           The clean room includes extensive



                        See CX-0001C (Woodland WS) at Q/A 50; CX-0091C (Global

    Cleanroom Capabilities) at 8–13. The pilot plant is a



                                        See CX-0001C (Woodland WS) at Q/A 50. These

    assets are all associated with CMC’s                    , which is associated with CMC’s

               products, which in turn includes the DI Products. The net book value of the


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    assets associated with CMC’s



                                                                  . See CX-0005C (Vander

    Veen WS) at Q/A 64; CDX-0005C.09–10 (JX-0159C (Aurora Asset List – D922x)).

           Based on the percentage of experiments in the clean room that were on the DI

    Products each year, approximately




                           . See CDX-0005C.09 (JX-0159C (Aurora Asset List–D922x)).

    Alternatively, based on the percentage of requests in the pilot plant related to the DI

    Products each year, approximately




                             See CDX-0005C.10 (JX-0159C (Aurora Asset List – D922x)).

                   3.      Total Allocated Investments in Plant and Equipment

           Allocating CMC’s domestic investments at the 870 R&D facility based on the

    percentage of experiments in the clean room were on the DI Products each year, CMC

    invested a total of                                                     ) in assets that were

    allocable to the ‘721 patent from 2014 through February 2020, which resulted in those

    assets having a net book value of

               as of February 2020. Further, when allocating CMC’s domestic investments at

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    the 870 R&D facility based on the percentage of requests in the pilot plant that were

    related to the DI Products each year, CMC invested a total of

                           ) in assets that were allocable to the ‘721 patent from 2014 through

    February 2020, which resulted in those assets having a net book value of

                                                          as of February 2020. The differences

    between these domestic investments in plant and equipment allocated based on these two

    methodologies are negligible. Both methodologies demonstrate that CMC’s investments

    are quantitatively significant on their face.

           B.      CMC’S Investment in Labor and Capital

           CMC has employed and continues to employ a significant workforce in the

    United States. In this regard, employees at CMC’s 845 Enterprise Facility include

    technicians, engineers, and other personnel that perform manufacturing activities for the

    DI Products—activities that are necessary to make saleable products for CMC’s

    customers in the United States. Employees at CMC’s 870 R&D Facility include

    scientists, engineers, technicians, and other personnel that invented, research, develop,

    engineer, improve, and commercialize the DI Products. CMC invests a significant

    amount of money in salaries, incentives, and other compensation and benefits for these

    employees and also makes significant investments in operating expenses, capital

    expenditures, and material costs in the United States to support the work of these

    employees in connection with the DI Products.




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                   1.      Manufacturing at the 845 Enterprise Facility

           CMC employed



                               . JX-0123C (Headcount Summary). CMC’s investments in

    salaries, bonuses, and shared base compensation for employees at the 845 Enterprise

    Facility working on the manufacture of



                                  . See CX-0005C (Vander Veen WS) at Q/A 70; CDX-

    0005C.11 (CX-0086C (Costs – FY14-FY20)).

           In addition to these investments in labor, CMC also makes investments in the

    employment of capital at the 845 Enterprise Facility. CMC’s investments in the

    employment of capital include costs of goods sold, inventory costs, and packaging costs.

    CMC invested



                                        . See CDX-0005C.14 (CX-0086C (Costs – FY14-

    FY20)). These expenditures are specific to           products manufactured at the 845

    Enterprise Facility.

           The DI Products accounted for



                                                                      0. See CDX-0005C.03

    (JX-0127C (854 Enterprise Products D922x Revenue and Volume)). Thus, of CMC’s

    investments in labor during these years,



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                                 . See CX-0005C (Vander Veen WS) at Q/A 72; CDX-

    0005C.11 (CX-0086C (Costs – FY14-FY20)). Of CMC’s investments in capital during

    these years,



                   See CX-0005C (Vander Veen WS) at Q/A 77; CDX-0005C.14 (CX-0086C

    (Costs – FY14-FY20)).

                     2.    Engineering, Research, and Development at the 870
                           R&D Facility

           CMC employed                   at the 870 R&D facility working on CMP slurries



                                                       . See JX-0123C (Headcount

    Summary). CMC’s investments in salaries, bonuses, and shared base compensation for

    employees at the 870 R&D Facility was



                                       See CX-0005C (Vander Veen WS) at Q/A 80; CDX-

    0005C.12–13 (JX-0125C (COGS FY14-FY20)).

           CMC also makes investments in the employment of capital at the 870 R&D

    facility. CMC’s investments in the employment of capital include the costs of employee

    training, the costs of operation and lab supplies, and other miscellaneous expenses. CMC

    invested



                   See CX-0005C (Vander Veen WS) at Q/A 85; CDX-0005C.15–16 (JX-

    0125C (COGS FY14-FY20)).


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           Based on the percentage of experiments in the clean room that were on the DI

    Products from 2014 through June 2020, investments in labor of



                                                                                     and

    investments in capital of



                                      See CX-0005C (Vander Veen WS) at Q/A 93; CDX-

    0005C.12,15 (CX-0101C (R&D – FY14-FY20)). Alternatively, based on the percentage

    of requests in the pilot plant related to the DI Products from 2014 through June 2020,

    investments in labor of



                                      See CX-0005C (Vander Veen WS) at Q/A 93; CDX-

    0005C.13,19 (CX-0101C (R&D – FY14-FY20)).

                   3.      Total Allocated Investments in Labor and Capital

           Allocating CMC’s domestic investments at the 870 R&D facility based on the

    percentage of experiments in the clean room, CMC invested a total of

                                                          ) in labor and capital that was

    allocable to the ‘721 patent from 2014 through June 2020. Allocating CMC’s domestic

    investments at the 870 R&D facility based on the percentage of requests in the pilot plant,

    CMC invested a total of

                 in assets that were allocable to the ‘721 patent from 2014 through June 2020.

    Both methodologies demonstrate that CMC’s domestic investments in labor and capital

    are quantitatively significant.

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           C.      CMC’s Investments in Exploiting the ‘721 Patent

           The claims of the ‘721 patent are directed to a composition, wherein the

    composition and its components have certain characteristics. See supra § II. Thus, R&D

    directed to the DI Products, which are compositions having these components and

    characteristics, is necessarily R&D directed to the patented technology of the ‘721 patent.

    A nexus therefore exists between CMC’s R&D in the DI Products and the ‘721 patent.

    See, e.g., Certain Gas Spring Nailer Products & Components Thereof, Inv. No. 337-TA-

    1082, Comm’n Op. at 80 (Apr. 28, 2020).

           CMC conducts                  R&D activities on the DI Products at its 870 R&D

    Facility. See CX-0001C (Woodland WS) at Q/A 49, 51. CMC’s investments in

    exploiting the ‘721 patent therefore include its investments in plant, equipment, labor,

    and capital in the 870 R&D Facility. The calculation of these investments is discussed in

    more detail above.

           Allocating CMC’s domestic investments at the 870 R&D facility based on the

    percentage of experiments in the clean room, CMC invested a total of

                                            in exploiting the ‘721 patent from 2014 through

    June 2020. Allocating CMC’s domestic investments at the 870 R&D facility based on

    the percentage of requests in the pilot plant, CMC invested a total of

                                            in exploiting the ‘721 patent from 2014 through

    June 2020. Both methodologies show that CMC’s domestic investments in exploiting the

    ‘721 patent are quantitatively significant.




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           D.      Whether CMC’s Investments Are “Significant” and
                   “Substantial”

           Determining whether an investment is “significant” or “substantial” under

    19 U.S.C. § 1337(a)(3) is context-dependent. Certain Integrated Circuit Chips and

    Products Containing the Same, Inv. No. 337-TA-859, USITC Pub. No. 4849, Comm’n

    Op. at 145 (Nov. 2018). “[T]he magnitude of the investment cannot be assessed without

    consideration of the nature and importance of the complainant’s activities to the patented

    products in the context of the marketplace or industry in question.” Id. However,

    “qualitative factors alone are insufficient” to show that an investment is significant. Lelo

    Inc. v. International Trade Comm’n, 786 F.3d 879, 885 (Fed. Cir. 2015). Section

    337(a)(3) “requires a quantitative analysis to determine whether there is a ‘significant’

    increase or attribution by virtue of the claimant’s asserted commercial activity in the

    United States.” Id. at 883.

           “[T]here is no minimum monetary expenditure that a complainant must

    demonstrate to qualify as a domestic industry under the ‘substantial investment’

    requirement” of 19 U.S.C. § 1337(a)(3)(C). Stringed Musical Instruments, Comm’n Op.

    at 25. “[T]he inquiry depends on ‘the facts in each investigation, the article of commerce,

    and the realities of the marketplace.’” Certain Carburetors and Products Containing

    Such Carburetors, Inv. No. 337-TA-1123, Comm’n Op. at 8 (Oct. 28, 2019) (quoting

    Printing and Imaging Devices, Comm’n Op. at 27).

           CMC’S Total Domestic Investments in the ‘721 Patent

           The below table summarizes CMC’s investments in the ‘721 patent by category:




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                            Plant &              Plant &
                           Equipment                               Labor and
                                                Equipment                           Exploitation
                                                                    Capital
                            (Annual)            (Net Book)

   By Clean Room
     Experiment

    By Pilot Plant
      Request


           For the reasons discussed below, investments shown above are quantitatively and

    qualitatively significant and substantial, and separately satisfy the economic prong of the

    domestic industry requirement under each of subsections (A), (B), and (C) of section

    337(a)(3). The evidence shows that CMC’s domestic investment in plant and equipment

    and labor associated with research and development has been both significant and

    substantial in overall context.

           CMC’s manufacturing and R&D activities in the United States add significant

    value to the DI Products.              R&D for these products occurred and continues to

    occur in the United States, as does CMC’s manufacturing process, which is needed to

    produce the final, saleable product. See JX-0099C (iDIEL D9228 Technology Transfer

    package, dated August 8, 2017); JX-0088C (iDIEL D9225 Technology Transfer Package,

    May 2018). These value-added activities establish the qualitative significance of CMC’s

    domestic activities. See, e.g., Certain Male Prophylactic Devices, Inv. No. 337-TA-546,

    Comm’n Op. at 41–46 (Aug. 1, 2007).

           CMC’s labor and equipment at the 845 Enterprise Facility account for an average

    of approximately                                                                        .

    See JX-0156C (CMC Rolled Up Cost Report). Further, CMC’s domestic activities add

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    well over                    of the D9225 product and D9228 products. In 2020, for

    example, D9225 and D9228 slurries were manufactured from approximately

                            . See id. CMC’s average sales price was

                     See, e.g., JX-0157C (D922x Sales) at “D9228 Broken Out” Tab. Thus,

    CMC’s domestic activities also add significant monetary value to the D9225 and D9228

    products.

             CMC’s investments also are significant because the revenue and volume of the DI

    Products made in the United States comprise a large portion of the revenue and volume

    of all           slurries made and sold by CMC in the United States. See JX-0127C

    (854 Enterprise Products D922x Revenue and Volume). For example, domestic

    production of the DI Products comprised approximately



    See CX-0005C (Vander Veen WS) at Q/A 105 (citing JX-0052C (D922x Revenue and

    Volume)). Additionally, CMC’s manufacturing headcount at the 845 Enterprise Facility

    comprised approximately

                                                      Id.

             In addition, the number of experiments run in the 870 R&D Facility clean room

    and number of requests to the 870 R&D Facility pilot plant relating to the DI Products is

    a significant portion                                         slurry

    experiments/requests and all CMP slurry experiments/requests. See JX-0122C (Clean

    Room Experiment); JX-0126C (Year-by-year Slurry Requests). CMC’s “Slurry R&D”

    headcount in Aurora comprised                                                      ,



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                                                              . See CX-0005C (Vander Veen

    WS) at Q/A 105 (citing JX-0123C (Headcount Summary)).

              CMC’s domestic activities with respect to the DI Products also are significant

    compared to others in the marketplace. For example, revenue from the D9228 and

    D9225 slurries made in the United States is significantly higher than the revenue and

    volume attributable to the DuPont’s Accused Products. Compare JX-0272C (Sales &

    StdMargin – Adhoc Financial Analysis) with JX-0052C (D922x Revenue and Volume);

    see also CX-0005C (Vander Veen WS) at Q/A 102.


                                           *      *       *


              Accordingly, the record evidence supports a finding that CMC has satisfied the

    economic prong of the domestic industry requirement of 19 U.S.C. § 1337(a) under

    subparagraphs (A), (B) and (C).


    VI.       Conclusions of Law

                  1. The Commission has subject matter, personal, and in rem jurisdiction in

          this investigation.

                  2. The Accused Products have been imported or sold for importation into the

          United States.

                  3. The Accused Products infringe the asserted claims of U.S. Patent No.

          9,499,721.

                  4. The domestic industry requirement has been satisfied with respect to U.S.

          Patent No. 9,499,721.



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               5. It has not been shown by clear and convincing evidence that the asserted

       claims of U.S. Patent No. 9,499,721 are invalid.


    VII.   Initial Determination on Violation

           Accordingly, it is the INITIAL DETERMINATION of the undersigned that a

    violation of section 337 (19 U.S.C. § 1337) has occurred in the importation into the

    United States, the sale for importation, or the sale within the United States after

    importation, of certain chemical mechanical planarization slurries and components

    thereof that infringe the asserted claims of U.S. Patent No. 9,499,721.

           Further, this Initial Determination, together with the record of the hearing in this

    investigation consisting of (1) the transcript of the hearing, with appropriate corrections

    as may hereafter be ordered, and (2) the exhibits received into evidence in this

    investigation, is CERTIFIED to the Commission.

           In accordance with 19 C.F.R. § 210.39(c), all material found to be confidential by

    the undersigned under 19 C.F.R. § 210.5 is to be given in camera treatment.

           The Secretary shall serve a public version of this ID upon all parties of record and

    the confidential version upon counsel who are signatories to the Protective Order, as

    amended, issued in this investigation.

           Pursuant to 19 C.F.R. § 210.42(h), this Initial Determination shall become the

    determination of the Commission unless a party files a petition for review pursuant to

    § 210.43(a) or the Commission, pursuant to § 210.44, orders on its own motion a review

    of the ID or certain issues herein.




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    VIII. Recommended Determination on Remedy and Bonding

           This is the recommended determination of the administrative law judge on

    remedy and bonding.

           The administrative law judge must issue a recommended determination

    concerning the appropriate remedy in the event that the Commission finds a violation.

    See 19 C.F.R. § 210.42(a)(1)(ii). That recommendation is contained herein below.

    Nevertheless, the Commission did not authorize the administrative law judge to take

    public interest evidence or to provide findings and recommendations concerning the

    public interest. Thus, in accordance with the usual Commission practice and the

    applicable Commission Rule, only the Commission can determine the role that public

    interest factors may play in this investigation. See 19 C.F.R. § 210.50(b)(1).

           A.      Limited Exclusion Order

           The Commission has broad discretion in selecting the form, scope, and extent of

    the remedy in a section 337 proceeding. Viscofan, S.A. v. United States Int’l Trade

    Comm’n, 787 F.2d 544, 548 (Fed. Cir. 1986). A limited exclusion order directed to

    respondents’ infringing products is among the remedies that the Commission may

    impose. See 19 U.S.C. § 1337(d).

           CMC argues:

                   If a violation of Section 337 is found and it is not otherwise
           determined to be contrary to the public interest, “the Commission … shall
           direct that the articles concerned … be excluded from entry into the
           United States”. 19 U.S.C. § 1337(d)(1). The articles concerned here are
           “[CMP] slurries and components thereof, including colloidal silica.” 85
           FED. REG. 40685 at 40686. Thus, any limited exclusion order (“LEO”)
           that issues in this Investigation “shall” be directed not only to DuPont’s
           infringing CMP slurries, but also to the imported components of those
           slurries, “including colloidal silica.”

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                   With regard to DuPont’s infringing CMP slurries, the LEO should
          cover all such slurries, not just Optiplane 2600. It is irrelevant that “CMC
          … has not shown that any other Accused Slurry Products, specifically
          Optiplane™ 2300A, Optiplane™ 2300                   ), Optiplane™ 2602,
          Optiplane™ 2601,                        , and Optiplane™ 2300            )
          have been imported into the U.S.” See RPreHBr at 35. The Commission
          has in rem jurisdiction over all these slurries (if they are determined to
          infringe) because DuPont’s importation of Optiplane 2600 alone satisfies
          the importation requirement of Section 337, as discussed supra at
          § III.B.1. See also 19 U.S.C. § 1337(a)(B)(1)(i). Indeed, “while
          individual models may be evaluated to determine importation and
          infringement, the Commission’s jurisdiction extends to all models of
          infringing products that are imported at the time of the Commission’s
          determination and to all such products that will be imported during the
          life of the remedial orders.” Certain Hardware Logic Emulation Systems
          & Components Thereof, Inv. No. 337-TA-383, Comm’n Op. at 16 (Mar.
          31, 1998). Thus, the LEO should apply to all of DuPont’s infringing CMP
          slurries, not just Optiplane 2600.

                  DuPont also should be barred from importing the components of
          these infringing CMP slurries, “including colloidal silica.” 85 FED. REG.
          40685 at 40686. DuPont’s imported colloidal silica particles contribute to
          and induce infringement of the ‘721 Patent. See supra § VI.C; see also
          Network Devices II, Comm’n Op. at 123 (finding that components of
          infringing products should be excluded from entry where components
          induced infringement). Even if it is determined that these particles do not
          contribute to or induce infringement, DuPont should at least be barred
          from importing these components and combining them into infringing
          CMP slurries in the United States. See id. (“[Respondent] is barred from
          importing components of its devices and then assembling those devices
          into infringing products.”); Marine Sonar, Comm’n Op. at 8 (clarifying
          that an LEO covered imported components that did not individually
          infringe but were used “for the purposes of assembling or ‘kitting’ the
          infringing devices”); Network Devices I, Comm’n Op. at 23 (finding that
          respondent would “circumvent a Commission remedy by importing only
          the components of the accused products for reassembly into complete
          functional [products]”).

                  At bottom, the imported colloidal silica particles should be
          excluded from entry because they are expressly recited in the asserted
          claims, they are a material part of the claimed invention, and the asserted
          method of use claims cannot be practiced without them. See Network
          Devices I, Comm’n Op. at 22, 23 (finding that respondent would
          “circumvent a Commission remedy by importing only the components of
          the accused products for reassembly into complete functional [products]”

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           where “[t]he various components of the imported accused products [were]
           claimed in the asserted apparatus claims, and asserted method claim 1
           could not be carried out without the accused products”); Fluidized
           Supporting Apparatus, ID, 1984 WL 273788 at *55.

    Compl. Br. at 240-42.

           Respondents argue:

                   In this Investigation, CMC has requested that the Commission
           issue a limited exclusion order covering “all of Respondents’ CMP
           slurries and components thereof that infringe one or more of the Asserted
           Claims.” CMC PreHB at 228. Such an expansive request is not supported
           by the evidentiary record.

                  1.        Carve-Outs are Warranted

                   In particular, throughout the course of the Investigation, DuPont
           has produced technical information and other discovery regarding a host
           of DuPont CMP slurries with a pH between about 1.5 and about 7. EDIS
           Doc ID 719941 (Respondents’ Resp. to Complainant’s List of Proposed
           Representative Products). CMC has not accused these products of
           infringement or included them in the Joint Stipulation Regarding
           Representative Accused Products. JX-0403C (Joint Stipulation Regarding
           Representative Accused Products). As such, any exclusion order that
           issues should expressly carve out these products from the order.

                   In addition, CMC appears to be taking the position that any
           proposed remedial order should include all imported “components
           thereof,”                                                         . CMC
           PreHB at 227-28; JX-0399C (10/23/20 CMC Supp. Resp. to First
           Interrogs.) at 256-57. CMC has only raised direct infringement allegations
           for the ‘721 patent against the Optiplane™ 2300 and 2600 slurry products
           and indirect infringement allegations based on the            particle.
           See, e.g., JX-0394C (10/9/20 CMC Supp. Resp. to First Interrogs., Ex. A-
           1 (Infringement Chart for OP 2300)) at 12-19 (claim [1c]); JX-0395C
           (10/9/20 CMC Supp. Resp. to First Interrogs., Ex. A-2 (Infringement
           Chart for OP 2600)) at 13-19 (claim [1c]). CMC has thus waived the
           argument that the importation of
                     for use in the Optiplane™ 2300 and 2600 products directly
           infringe the ‘721 patent. Thus, CMC has also waived any argument that
           these components induced or contributed to the infringement of the ‘721
           patent. Moreover, DuPont has provided unchallenged evidence that
                                                    are used in numerous other CMP
           slurries manufactured by DuPont in the U.S. that CMC has not alleged to
           infringe the ‘721 patent. RX-1398C (Jacobs Reb. WS) at QA 18-23.
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              Thus, as the Staff also agrees, any LEO should expressly carve-out,
                                                        , which Cabot chose not to accuse
              of infringement in this investigation. Staff PreHB at 171.

                     2.      The LEO Should Include a Certification Provision

                      Moreover, to the extent that the ALJ recommends that a limited
              exclusion order issues, any such limited exclusion order should contain a
              certification provision in order to facilitate enforcement of the order by the
              U.S. Bureau of Customs and Border Protection.

    Resps. Br. at 234-36.

              The Staff argues, inter alia:

                      The Staff believes that any issued LEO should extend to all
              infringing CMP slurry products, including those identified in the parties’
              Joint Stipulation Regarding Representative Accused Products. The Staff
              agrees that the LEO should also cover the               particles
              incorporated in the Accused Products, because as CMC states, those
              particles properly construed, expressly recited claim language, and also
              are a “material part” of DuPont’s Accused Products. The Staff also agrees
              that a certification provision may help facilitate enforcement of the LEO.

    Staff Br. at 159.

              The administrative law judge recommends that in the event the Commission

    determines that a violation of section 337 has occurred, and if consideration of the

    statutory public interest factors does not require that remedies be set aside or modified,

    the Commission should issue a limited exclusion order covering all of the infringing

    articles (“chemical mechanical planarization (“CMP”) slurries and components thereof,

    including colloidal silica.”) 54 imported, sold for importation, or sold after importation by

    respondents and should apply to respondents’ affiliated companies, parents, subsidiaries

    or other related business entities, or their successors or assigns.

              Further, inasmuch as respondents have persuasively argued that certain

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         See Order No. 3 (citing 85 Fed. Reg. 40685 (July 7, 2020)) (July 16, 2020).

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    components may have non-infringing uses, in the event the Commission does issue a

    limited exclusion order in this investigation, the exclusion order should include a

    provision that allows the respondents to certify, pursuant to procedures to be specified by

    U.S. Customs and Border Protection, that they are familiar with the terms of the order,

    that they have made appropriate inquiry, and that, to the best of their knowledge and

    belief, the products being imported are not excluded from entry under the order.

           B.      Cease and Desist Order

           Section 337 provides that in addition to, or in lieu of, the issuance of an exclusion

    order, the Commission may issue a cease and desist order as a remedy for a violation of

    section 337. 19 U.S.C. § 1337(f)(1). The Commission “generally issues a cease and

    desist order only when a respondent maintains a commercially significant inventory of

    infringing products in the United States.” Certain Ground Fault Circuit Interrupters and

    Products Containing Same, Inv. No. 337-TA-615, Comm’n Op. at 24 (Mar. 26, 2009);

    Certain Video Game Systems, Accessories, and Components Thereof, Inv. No. 337-TA-

    473, Comm’n Op. at 2 (Dec. 24, 2002).

           CMC argues that “[a] cease-and-desist order (‘CDO’) should issue in this

    Investigation.” Compl. Br. at 242.

           Respondents argue, inter alia:

                  CMC fails to meet its burden to demonstrate that such inventories
           are “commercially significant.” DuPont has produced information
           regarding its inventory of Accused Products, including the inventory of
           BS-3 particles. JX-0276C (Native Excel - Rep. for Inventory Volume and
           Value From Sept. 2019 thru Sept. 16, 2020). The inventory for the slurry
           products represents                     of sales to customers and is thus
           not commercially significant. CX-0012C (Jacobs Depo. Tr.) at 199:10-1,
           203:4-13 (testimony regarding inventory of BS-3 particles).


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                 ” See CX-0012C (Jacobs Dep.) at 199–201. Exhibit JX-0276C shows, for

    example, that levels of         inventory

                                                                                . See JX-0276C

    (Inventory Volume and Value – Sept. 2019 thru Sept. 16, 2020) at “           Inventory” Tab.

    The inventory levels had then                       by September 2020—the date for which

    the data in the table above was provided. Thus, it appears likely that respondents’

    inventories of      have since been replenished and represent

           .

           Mr. Jacobs testified that

                                                                    . See CX-0012C (Jacobs

    Dep.) at 199–200, 201, 202. Mr. Jacobs also testified that respondents generally




                              r. Id. at 201–203. Thus, it is reasonable to conclude that, even by

    their own estimates, respondents maintain



                A CDO is therefore needed here to prevent respondents from undercutting the

    remedial effect of an LEO.

           C.        Bond

           Pursuant to section 337(j)(3), the administrative law judge and the Commission

    must determine the amount of bond to be required of a respondent, during the 60-day

    Presidential review period following the issuance of permanent relief, in the event that

    the Commission determines to issue a remedy. The purpose of the bond is to protect the

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           Accordingly, the administrative law judge recommends that a bond in the amount

    of 100% of entered value should be set.


    IX.    Order

           To expedite service of the public version of this document, the parties shall file a

    joint proposed public version, on the date and in the manner required by Order No. 18.




                                                     David P. Shaw
                                                     Administrative Law Judge

    Issued: July 8, 2021




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 CERTAIN CHEMICAL MECHANICAL PLANARIZATION                           Inv. No. 337-TA-1204
 SLURRIES AND COMPONENTS THEREOF


                         PUBLIC CERTIFICATE OF SERVICE

         I, Lisa R. Barton, hereby certify that the attached INITIAL DETERMINATION has
 been served via EDIS upon the Commission Investigative Attorney, Thomas Chen, Esq., and
 the following parties as indicated, on August 6, 2021.




                                                 Lisa R. Barton, Secretary
                                                 U.S. International Trade Commission
                                                 500 E Street, SW, Room 112
                                                 Washington, DC 20436


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